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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



EL PUENTE, et al.,

              Plaintiffs,                 Case No.: 1:22-cv-02430-CJN

       v.

U.S. ARMY CORPS OF ENGINEERS, et al.,
              Defendants.




                  JOINT APPENDIX IN SUPPORT OF PARTIES’
            MOTIONS AND CROSS-MOTIONS FOR SUMMARY JUDGMENT

                                   VOLUME 1


Dated: May 5, 2023                        Respectfully submitted,

                                          s/ Catherine Kilduff

                                          Catherine Kilduff, DC Bar No. 1026160
                                          Julie Teel Simmonds, DC Bar No. CO0091
                                          Miyoko Sakashita, DC Bar No. CA00061
                                          CENTER FOR BIOLOGICAL DIVERSITY
                                          1212 Broadway, Suite 800
                                          Oakland, CA 94612
                                          (510) 844 - 7100
                                          ckilduff@biologicaldiversity.org
                                          jteelsimmonds@biologicaldiversity.org
                                          miyoko@biologicaldiversity.org

                                          Attorneys for Plaintiffs El Puente,
                                          CORALations, and Center for
                                          Biological Diversity
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                                            
                            FISH AND WILDLIFE SERVICE
                             Caribbean Ecological Services Field Office
                                           PO Box 491
                                       Boquerón, PR 00622


In Reply Refer To:
FWS/R4/CESFO/72127-002



Ms. Angela Dunn
Chief, Environmental Branch
Corps of Engineers
Jacksonville District
701 San Marco Blvd - P.O. Box 4970
Jacksonville, FL 32232

                                              Re: San Juan Harbor New Dredge Area
                                              Supplemental Environmental Assessment

Dear Ms. Dunn:

Thank you for November 4, 2021, letter. The U.S. Army Corps of Engineers, Jacksonville
District (Corps) has submitted a Supplemental Environmental Assessment and is seeking
concurrence for a modification in the existing San Juan Harbor Navigation Improvements project
(SJHNI) section 7 consultation with the U.S. Fish and Wildlife Service (Service) completed with
issuance of the USFWS Coordination Act Report and informal Section 7 Consultation dated June
21, 2018.

The proposed project modification consists of dredging a 15-acre (ac) area outside of the Federal
navigation channel, West of Cut-6. This new dredge area is proposed as a source of additional
suitable dredge material and could be used to cap the material placed in the proposed Condado
Lagoon restoration. This additional dredging would assist in Condado Lagoon, which is
expected to fill approximately 18-acres of the easternmost artificial depressions to a target depth
of -13 feet creating habitat for seagrass colonization.

A recent benthic survey of the area identified low quality hardbottom habitat, unconsolidated
sediment, and debris within portions of the proposed new dredge area. Hardbottom features
included boulders, rocks and rubble likely produced by past channel widening projects. Other
debris such as pipelines and cables were also present throughout the area. Wildlife observations
during the benthic survey included the Antillean manatee (Trichechus manatus manatus) seen in
the Condado Lagoon and at the Club Náutico de San Juan.

Although this entails additional dredging, the existing manatee conservation measures
established in the 2018 consultation should be sufficiently protective for this new dredging area.
As such, the USACE is proposing no modification to the existing Section 7 consultation and




                                                                                                FWS_00026
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Ms. Dunn                                                                                           2

previous determination that the proposed channel dredging may affect but is not likely to
adversely affect the Antillean manatee.

We have reviewed the information provided in your letter, the Supplemental EA and in our files
and concur with your determination that a new consultation is not warranted. No adverse
impacts to designated critical habitat are anticipated.

In view of this, we believe that requirements of section 7 of the Endangered Species Act (Act)
have been satisfied. However, obligations under section 7 of the Act must be reconsidered if: (1)
new information reveals impacts of this identified action that may affect listed species or critical
habitat in a manner that was not previously considered; (2) this action is subsequently modified
in a manner not previously considered in this assessment; or, (3) a new species is listed or critical
habitat determined that may be affected by the identified action.

Thank you for the opportunity to comment on his action, if you have any questions please
contact Felix Lopez of my staff at (787) 510-5208.

                                              Sincerely yours,

                                                             Digitally signed by EDWIN
                                              EDWIN          MUNIZ
                                                             Date: 2021.12.01
                                              MUNIZ          06:24:13 -04'00'

                                              Edwin E. Muñiz
                                              Field Supervisor
Fhl

cc:
DNER, San Juan
Paul DeMarco, Jacksonville
NMFS, San Juan
SJBE, San Juan




                                                                                                 FWS_00027
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                                  DEPARTMENT OF THE ARMY
                            CORPS OF ENGINEERS, JACKSONVILLE DISTRICT
                                   701 SAN MARCO BOULEVARD
                                JACKSONVILLE, FLORIDA 32207-8175


                                       04 N 2021




Mr. Edwin E. Muñiz
U.S. Fish and Wildlife Service
Post Office Box 491
Boquerón, Puerto Rico 00622-0491

Dear Mr. Muñiz:

   The U.S. Army Corps of Engineers, Jacksonville District (USACE) is seeking concurrence
that no modification is needed to the existing Section 7 consultation with the U.S. Fish and
Wildlife Service (USFWS) completed with issuance of the USFWS Coordination Act Report and
informal Section 7 Consultation dated 21 June 2018 (ttached) for the San Juan Harbor
Navigation Improvements project (SJHNI). A minor project modification is proposed to include
dredging a 15-acre (ac) area outside of the Federal navigation channel, West of Cut-6 ( ee
ttached ap).

   This new dredge area is proposed as a source of additional suitable dredge material and
could be used to cap the material placed in Condado from the expansion of Federal channel
Cut-6. When combined, these two areas would provide approximately 260,000 cubic yards of
dredge material. Placement in Condado Lagoon is expected to fill approximately 18-acres of
the easternmost artificial depressions to a target depth of -13 feet creating habitat for seagrass
colonization. As such the USACE is proposing no modification to the existing Section 7
consultation.

   Staff from the USACE and USFWS (Mr. Felix Lopez) discussed the proposed project
modifications on 26 July 2021 and USACE provided a draft 2021 benthic survey on
8 October 2021. The benthic survey identified low quality hardbottom habitat, unconsolidated
sediment, and debris within portions of the proposed new dredge area. Hardbottom features
included boulders, rocks and rubble likely produced by past channel widening projects. Other
debris such as pipelines and cables were also present throughout the area. Encrusting
organisms consisted primarily of cyanobacteria and sponges with no stony corals present.
Wildlife observations during the benthic survey included the Antillean manatee (Trichechus
manatus manatus) seen in the Condado Lagoon and at the Club Náutico de San Juan - Yacht
Club Marina.

   Additional information is included in the draft Supplemental Environmental Assessment (SEA)
located at this website under Puerto Rico then San Juan Harbor:
https://www.saj.usace.army.mil/About/Divisions-Offices/Planning/Environmental-
Branch/Environmental-Documents/. The USACE  determined the proposed action is not
likely to adversely the Antillean manatee. Due to no major modifications to the project, USACE
is seeking concurrence from the USFWS to apply the previous consultation. The proposed
project modifications will follow the terms and conditions of the 2018 consultation
(FWS/R4/CESFO/72127-002).




                                                                                                FWS_00028
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                                               2




  The USACE appreciates the collaboration and input provided by the USFWS on this project.
Any questions regarding this consultation should be directed to Mr. Paul DeMarco, via electronic
mail at paul.m.demarco@usace.army.mil or by telephone at 904-521-5627.


                                            Sincerely,
                                                           Digitally signed by
                                                           DUNN.ANGELA.E.130
                                                           0303923
                                                           Date: 2021.11.04
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                                            Angela E. Dunn
                                            Chief, Environmental Branch




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                  United States Department of the Interior

                             FISH AND WILDLIFE SERVICE
                                   Caribbean Ecological Services
                                            Field Office
                                           P.O . Box 49\
                                       Boqueron, PR 00622
                                         JU N 21 1016
In Reply Refer to:
FWS/R4/CESF0I7 2127 -002


Mr. Paul DeMarco
U.S. Anny Corps of Engi neers
Planni ng Division, Envi ronmental Branch
70 1 San Marco Blvd.
Jacksonville, Florida 32207-8175

                                               Re:      Biologica l Assessment San Juan Harbor
                                                        Dredging Project, San Juan

Dear Mr. DeMarco:

We have reviewed the Biological Assessment (SA) for the San Juan Harbor (SJH) dredging
project received on August 2, 20 18. Our comments are provided under the Endangered Species
Act (87 Stat. 884, as amended; 16 U.s.c. 153 1 et ~. ) , the Fish and Wildl ife Coordination Act
(48 Stat. 40 1. as amended ; 16 U.S.C. 661 et seq.). and the Marine Mammal Protection Act (86
Stat. 1027. as amended; 16 U.s.c. 1361 et seq.). The BA includes some measures to avoid and
minim ize potential effects on the Antillean manatee.

On June 21. 20 18, the Service completed the Fish and Wi ldlife Coordinatio n Act Report (CAR)
for the proposed San Juan Harbor Dredging project. In that report, the Se rvice identi fied thaI the
potential effects of the wideni ng and deepening of the San Juan Bay Harbor on the manatee and
its habitat may include but are not limited to : vessel and construction equipment strikes with
manatees: manatee harassment by conSl'ruction ac ti vit ies; seagrass habitat impacts: possibi lity of
a spi ll ; post-construction increase in commercial boat traffic; blasting impacts and noise.

The fina l CA R for the San Juan Harbo r Dredging project contains the fo ll owing project specific
measures to address the potenti al adverse effects on the Antillean manatee and its habitat.
especiall y since the proj ect "viii incl ude 24-hour operation:

  a. Befo re the initiation of the project. a pre-construction meeting shou ld be held with the
     contractors to review the requi rements for conservation measures that should be
     implemented during the proposed work . The Corps should contact the Federal and State
     Reso urce Age ncies at least fiftecn ( 15) days in advance of the preferred meeti ng date fo r
     pote ntial participatio n.




                                                                                                   FWS_00047
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Mr. DeMarco                                                                                         2


 b. A protective species watch plan detailing the proposal for observi ng protected marine
    species should be developed. The plan should include the fo llowing:

    • a list of all observers assoc iated with the project (names. credentials. qual ifications.
      contact information and a description of their observation experience conducting
      nighttime and/or daytime marine monitoring work);
    • the equipment used to aid in observat ion (e.g. polarized sunglasses, binoculars. etc.);
    • the length of work shifts for the observers and proposed break times;
    • the equipment used to communicate with the dredge operator~ and
    • a descri ption of where the observer will be located during work and how they will cover
      the areas required. including speci fic s on the position(s) of the nighttime observers and
      proximity to the dredging equipment.

    In addition. the pl an should note if observers are in elevated positions to maximize
    visibility or obscrving fro m land hased position. The location description should include
    the position of tugboats and c rew vesscls ifmooring to the dredge. All observers should
    ha ve sig.nificant OiHhe job t!xperienee observing protected marine species during dredge
    operations. Manatee observe rs working at night-time should take a synchronized. 30
    minute break immediately fo llowing four (4) con seclItivc and continuous hours of manatee
    observation. If the required number of observers is not availab le to observe in water work.
    then dredging will need to cease while observers are on break.

     Appropriate experience shou ld be demonstrated through documented experience as an
     observer that has monitored marine animals and their behaviors in association with in-
     water construction projects. After the agencies review the plan, observer's modifications or
     suggesti ons for improvements to the measures may be required.

 c. All on-site project personnel are responsible for observing water-related activities for the
    presence of manatees. Ifa manatee is sighted within 100 yards of the proj ect area, all
    appropriate precaut ions shou ld be implemented by the contractor to ensure protection of
    the manatees. All in-water act ivities, including vessel operation, must be shut down ir a
    manatee comes within 50 feet of the acti ve construction site duri ng daytime hours.
    Activities will not resume until the manatee has moved beyond the 50-foot radius of the
    project operation. or until 30 minutes elapses if the manatee has not reappeared within 50
    feet of the operation. During nighttime dredging (nighttime should be defined as one half
    hour before sunset and one half hour after sunrise), all moving equipment and construction
    activities should cease if a manatee moves closer than 75 feet from such equipment or the
    project area. Activities will not resume unti l the manatee has moved
    beyond the 75 -foot radius of the project operation, or unti l 30 minutes elapses if the
    manatee has not reappeared within 75 feet of the operation. Animals must not be herded
    away or harassed into leaving.




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Mr. DeMarco                                                                                          3


 d. During nighttime dredging operations. dredging equipment will use lights to illum inate the
    water surface sufficient ly to pennit observati on of manatees within 75 to 100 feet of the
    operation hoi st line (clam bucket cable). The lighting system should be assessed for
    compl iance prior to commencement of nighttime dredging act iviti es. Nightti me operations
    should not commence or cont inue if at any ti me lighting is not considered effective by the
    observer or if lighting does not comply wi th the above requirements.

 e. Observers: When in·water work is being perfonned or vessels are mov ing, all required
    dedicated observers must be on site during all in·water construction acti vities. For
    dredging operations, the observer(s) should be positioned to clearly observe the point of
    entry and exit of dredging equipment as well as the waters surrounding the opemtion to a
    radius of 100 feet around the entr y/exit point. During nightt ime hours (nighttime should be
    defined as one half hour before sunset and one half hour after sunri se), the contractor
    should prov ide at least three dedi cated marine animal observers on site during all in·water
    construction acti vities. The protected marine anima l observers must be on si te during all
    ilHvater constnJction activi ties and should advise person nel to cease operation upon
    sight ing a manatee wi thi n 50 teet or any iIH \'ater construction activ ity (75 feet for
    nighttime work ). If dedicated observers detemlines that weather condit ions wi ll prevent
    detection of manmees during \\lark. operations will cease until conditions improve.

 f.    Observers should maintain daily logs detai ling sightings. coll isions. or injuries to protected
       marine animal s, as well as project specific information as such when each observer took a
       break and maintain fo r how long. as work itinerary. weather and 1l00H\'eather related work
       shutdowns. shift changes, elc. For manatee behavior. observers should log time of
       observance, estimated distance of the manatee related to the \\'ork area. type of behavior
       (passing through, pausing in the project vicinity, interaction with equipment or vessels.
       etc.), and construction act ivi ty during the observation. During the first week of dredging
       operations, the contractor should ensure that copies of the daily logs are submitted after the
       first week of work to the Service (Mareli sa Rivera emai l: mare li sa riverar@ fws.!!ov)andto
       the appropriate Corps contact. After the first week. the contractor should ensure that copies
       of the daily logs are submitted on a monthl y basis to the Service and appropriate Corps
       contact.

 g. All vessel s associated with the project construction wi ll operate at "no wake/ idle" speed
    while in shallow waters ( 10 feet or less) and vessel s will follow routes of deeper water
    whenever possible.

 h. Any colli sion with and/or inj ury to a manatee shall be reponed immediately to the
    Department of Natural and Environmental Resources Law Enforcement (787-724 · 5700)
    and the USFWS Caribbean Eco logical Servi ces Field Office (787· 851· 7297).

  I.   The penni t holder andlor contractor shall have temporary manatee signs in all proj ect
       related vessels as recommended by the following guidelines:




                                                                                                   FWS_00049
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Mr. DeMarco                                                                                          4


      • Signs must be placed in prominent locat ions within the vesse ls for maximum visibil ity,
        for example , in the vessel controls area. Permittee may also consider pl acing temporary
        signs in areas such as dock walkways, dock master offices. near restrooms or other high
        patron foot traffic areas.
      • Signs must be replaced when faded, damaged or outdated.
      • These signs must not face the water. must never be attached to pilings or navigati onal
        markers in the water. Some exceptions to signs facing the water ex ist for temporary signs
        during in· water work.
      • You may find a couple of sign examples at thi s link:
        ht tps: Ilwww. fws.gov/caribbeanles/documentsIManateeSigns Letferos. od r

 J.   The precedi ng measures will be rev ised if adverse impacts to manatees occur during their
      proper implementation. or to reflect new infomlation on the spec ies or protect ive measures
      relevant to the co ntinued adequacy o f those measures during dredging operations.

Provided that the all manatee conservation measures outlined in the CA R repon, and replicated
in this letter, are impl emented, the Service concurs with the Corps detennination that the
proposed project may affect, but is not likely to adversely affect the Antillean manatee. If
blasting would occur as part of the proj ect. the Corps will need to re·in itiate consultation with the
Servi ce in order to incorporate additional measures to avoid and minimize blasting effects on the
manatee and its habitat .

Furthermore, the BA prov ided by the Corps did not inc lude a determination for federally listed
nesting sea turtles that may occ ur in the San Juan Bay. In the CAR report. the Service ident ified
the Esperanza peninsula, Isla Cabra and other small pocket beaches that could provide suitable
nesting habitat fo r sea turtles. Nevertheless, the proposed project action area is well outside
these potential nesting areas and thus, we do not anticipate significant adverse effects on any of
the potemial nesting sea turtles or their nests from the proposed project.




                                                                                                   FWS_00050
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Mr. DeMarco                                                                                       5


If you have any questions or require additional infonnation. please contact Marclisa Rivera at
787-85 1-7297 ext. 206. Felix Lopez at 787-851 -7297 ext. 210. orlan P. Zegarra at 787-851 -
7297 ext. 220. You may also visi t our websi te hup :/lwww.fws. gov/caribbeanlES for additional
informati on on threatened and endangered spec ies.

                                            Sincerely yours.




                                       Ab~ uniZ
                                             Fi eld Supervisor


JPZ

cc:
CDE. San Juan
USCG. San Juan
NMFS. San Juan
DNER. San Juan
Ports Authority. San Juan




                                                                                              FWS_00051
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                     United States Department of the Interior

                             FISH AND WILDLIFE SERVICE
                                   Caribbean Ecological Services
                                           Field Office
                                           P.O. Box 491
                                       8 oqueron. PR 00622
                                           JUN S1 2018

In Reply Refer To:
FWS/R4 /C ESFon 2 I 27-002



Colonel Jason A. Kirk
District Commander
US Army Corps of Engineers
JacksonvilJe District
701 San Marco Boulevard
Jacksonville, Florida 32207-8175
                                               Re: Coordination Act Report for the San Juan
                                               Harbor Navigation Project, San Juan. Puerto Rico
Dear Col. Kirk:

The Department of the Interior. U. S. Fi sh and Wi ldlife Service, has prepared the enclosed the
fina l Fish and Wildlife Coordination Act (FWCA) report for the proposed San Juan Harbor
Navigation Project. This project proposes deepening of entrance cut #6, the widening of the
Army Terminal channel and turning basin and the 1.050 foo t federal expansion of jurisdiction of
the San Antonio channel. This report fulfills the requirements of section 2(b) of the FWCA (48
Stat. 401 , as amended; 16 U.S.c. 661 el seq .) and represents the Secretary of the Interior' s report
to Congress on the San Juan Harbor Navigation Study.

We ask that the Corps include the report as the findings of the Secretary of the Interior in the
Chief on Engineers Report. We are providing the Corps a concurrence letter for the compliance
of Section 7 of the Endangered Species Act on a separate correspondence.

If you have any questions feel free to contact Felix Lopez of our office at 787·581·7297 x2I o.

                                               Sincerely.




fbi
                                         ~iMunlZField Supervisor




                                                                                                   FWS_00052
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     Final FISH AND WILDLIFE
   COORDINATION ACT REPORT
                             For
 San Juan Harbor Improvement Study
        San Juan, Puerto Rico




           U.S. Fish and Wildlife Service
      Caribbean Ecological Services Field Office
                     June 2018



                                                                     FWS_00053
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Fish and Wildlife Coordination Act Report, San Juan Harbor Navigation Project



Executive Summary
The U.S. Fish and Wildlife Service (Service) evaluated the potential natural resource impacts
resulting from a proposed deepening and widening of the Federal navigation channels within San
Juan Harbor located in San Juan, Puerto Rico. This evaluation includes habitats within the
Federal navigation channel, potential dredged material placement sites, review of the affected
areas and mitigation for expected impacts to jurisdictional wetlands and submerged aquatic
vegetation, and additional natural resource recommendations.
The preliminary results of ecological modeling conducted by the U.S. Army Corps of Engineers
(Corps) indicates that the project alternatives outlined in the Review Plan may result in
additional impacts to submerged aquatic vegetation and marine habitats and only minor effects
on mangrove wetlands, fish, and marine mammals. The Recommended Plan (RP) significantly
reduces impacts but the Army Terminal channel and turning basin width expansion would still
have some direct and indirect impacts to marine soft bottom habitats. The RP also includes a
1,050 foot federal jurisdiction expansion of the San Antonio channel. The proposed expansion
of Anchorage F is the responsibility of the U.S. Coast Guard. It would entail 52 acres of new
dredging in some areas previously undisturbed by harbor expansion. This would have the
greatest impacts to marine habitats. The U.S. Coast Guard would have to secure the funding for
this expansion and at the present time it is not included in the RP.
Threatened and endangered species under the Service jurisdiction occurring in the area include
the Antillean manatee and possible nesting sea turtles. Endangered species avoidance and
minimization measures are included in this Coordination Act Report as indicated in the Fish and
Wildlife Coordination Act (48 Stat. 401, as amended; 16 U.S.C. 661 et seq.).
The use of the San Juan ODMDS is currently the least cost alternative and preferred disposal
method in the RP. Previously, there were various alternatives for the proposed placement of
dredged material. The Service has reviewed information provided with the proposed project as
well as other sources, and recommends the beneficial use of dredged material placement and/or
proposed dredged material placement sites over ocean disposal.
The Service recommends that any future consideration given to hardened revetments in the
project area be restricted to the refurbishment of existing revetments and that other methods,
such as the creation or extension of a un-vegetated flats or mangrove fringe, be considered in
other areas whenever practicable.
Within the project area, there are no designated units of the Coastal Barrier Resources System, as
defined by the Coastal Barrier Resources Act of 1982, as amended (CBRA).
The Service recommends that the following are addressed during the planning process and
incorporated into future Corps Analysis:
1. Engineering details regarding construction techniques, disposed material quality and
quantities, and possible impacts from induced wake-erosion and potential of channel slumping
should be provided to the Service and other natural resource agencies in a timely manner to
ensure conservation measures can be fully developed and incorporated into the project design.


May 2018                                                                                          2

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Fish and Wildlife Coordination Act Report, San Juan Harbor Navigation Project


2. The Service recommends that completion of the previously authorized mitigation associated
with past dredging activities should be pursued immediately in conjunction with any future
construction/maintenance activities. The mitigation debt regarding previous COE dredging
action in San Juan Bay needs to be calculated into the current Project cost/benefit analysis.
3. The Service recommends that mitigation be implemented at the Condado Lagoon Depressions
and that the mitigation is implemented concurrent with project construction.
4. The Corps should coordinate with the Service and other natural resource agencies to develop
mitigation monitoring and success criteria, reporting requirements, and an adaptive management
plan for such mitigation.
5. We encourage the Corps to consider the opportunity to implement an ESA Section 7(a)(1)
project to determine manatee usage in the project area to ensure future and ongoing construction
and maintenance do not unintentionally result in unforeseen impacts to manatees.




May 2018                                                                                           3

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Fish and Wildlife Coordination Act Report, San Juan Harbor Navigation Project



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Fish and Wildlife Coordination Act Report, San Juan Harbor Navigation Project



1.0            ,QWURGXFWLRQ
The information contained in this document is based on the Corps August 2017 Draft Integrated
Feasibility Report and Environmental Assessment (DIFR/EA) for San Juan Harbor and
information submitted during the planning process and presentation of the Recommended Plan
(RP). 6DQ-XDQ+DUERULVORFDWHGRQWKHQRUWKFRDVWRI3XHUWR5LFRDQGLVWKHLVODQG¶VSULQFLSDO
port. The majority of the CRPPRQZHDOWK¶VZDWHUERUQHFDUJRDQGFUXLVHVKLS traffic pass through
the harbor, handling more than 75 percent of the CoPPRQZHDOWK¶VQRQ-petroleum waterborne
commerce. To meet increasing demands of the growing global economy, the shipping and cruise
industry continues to progress to larger, more efficient vessels. The completion of the Panama
Canal expansion in 2016 will allow mega cruise ships to transit the canal. The new Panama
Canal will soon be able to handle vessels with a maximum length of 1,200 feet, width of 160
feet, and draft of 50 feet. The San Juan Harbor currently suffers from known shipping
inefficiencies GXHWROLPLWHGFKDQQHOZLGWKDQGUHVWULFWLRQVWKDWGRQ¶WDOORZWZR-way traffic.
Certain sizes of container and cargo vessels cannot exit the port through the Graving Dock
channel due to limited depth and width, and have to turn and transit near the Army Terminal
channel, which creates delays with incoming ships using the same channels. Cruise ship docking
has also reached its full capacity. This Final Coordination Act Report (FCAR) is prepared
following the JXLGDQFHFRQWDLQHGLQ³3ROLF\DQG*XLGDQFHRQFulfillment of the Fish and
Wildlife Coordination Act Responsibilities in the Corps of Engineers Water Resources
'HYHORSPHQW3URJUDP´GDWHG1RYHPEHU and the information contained in the DFS/EA,
prepared by the Corps, as required by of the Fish and Wildlife Coordination Act.


2.0            $XWKRUL]DWLRQ
House Report 109-738, 109th Congress (2005-2006) December 29, 2006, as reported by the
Transportation and Infrastructure Committee contains the authority for the San Juan Harbor
Improvements Study. This FCAR presents updated evaluations of fish, wildlife, and habitat
impacts from the proposed project, and discusses mitigation alternatives. The submission of this
FCAR is presented in fulfillment of the Fish and Wildlife Coordination Act (48 Stat. 401, as
amended; 16 U.S.C. 661 et seq.). This report constitutes the official report of the Secretary of
Interior as required by Section 2(b) of the Act. The Corps proposes additional SAV surveys of
the Army Terminal Channel eastern flare GXULQJWKHSURMHFW¶V3UHFRQVWUXFWLRQ(QJLQHHULQJDQG
Design (PED) phase. The best way to calculate impacts if SAV is found, is to complete a post
dredge survey. These actions would occur during PED and the construction phase to attempt to
calculate indirect impacts. The Condado Fill proposed in Section 4.3.3 of the Final IFR/EA and
in Section 4.21 of the FCAR would compensate for these potential impacts.


3.0            3URMHFW'HVFULSWLRQ
The San Juan Harbor study area encompasses the bar (entrance) channel, offshore and inland
beneficial use dredged material disposal sites, inner harbor channels, and any extension of the
water bodies and shorelines that could be impacted by proposed improvements (Figure 1).
Navigation concerns include three main types of problems: difficult wind and wave conditions,
limited channel and turning basin widths, and insufficient Federal channel depths. Alternative
May 2018                                                                                          5

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Fish and Wildlife Coordination Act Report, San Juan Harbor Navigation Project


plans combine multiple structural and nonstructural measures to improve the safety and
efficiency of the existing navigation system.




                      Figure 1. Existing conditions San Juan Harbor Project.
Previously proposed harbor deepening and widening included all existing channels, designated
anchorage areas, Puerto Nuevo turning basin, Army Terminal turning basin, the dredged material
placement, and the dredged material placement sites. The work would be performed with
various dredges, and the use of explosives may be required for some rock removal (Figure 2). If
it is determined that the use of explosives is necessary for certain portions of the channel
improvements, additional conservation and mitigation measures may be required to avoid
impacts to listed species and sensitive habitats (e.g. manatee conservation measures).




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Figure 2. Previously proposed alternatives to the San Juan Harbor improvements showing the
widening of the various navigation channels and expansion of the various anchorages.




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Figure 3. Tentatively Proposed Plan which became the Recommended Plan with reduction in
dredging footprint. Only areas outlined in white will be dredged.

The RP has greatly reduced the proposed dredging. Dredging is now limited to the Anegado
Channel, San Antonio Channel and Army Terminal Channel and turning basin. Entrance
channel Cut #6 will also be deepened. Explosives would not be used; there is the possibility
that a hopper dredge could be used instead of the traditional clamshell dredge. Estimates of the
quantity of material to be remove are about 2,110,000 cubic yard not including the proposed
expansion of Anchorage F. The Corps is considering 24 hour operations to expedite the work.

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Several Dredge Material Management Areas (DMMA) within the San Juan Harbor were
initially proposed along with offshore disposal at the San Juan Ocean Dredged Material
Disposal Site (ODMDS) located a few miles north of the harbor. The U.S. Environmental
Protection Agency (EPA) will have to be consulted for the use of the ODMDS site. The use of
the San Juan ODMDS is currently the least cost alternative and preferred disposal method in the
RP. The following DMMA locations are being considered and further evaluated in this FCAR:

    x    Condado Lagoon (fill depressions)
    x    Puerto Nuevo Mudflats



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               (IIHFWHG(QYLURQPHQW
The proposed project is located in the San Juan Harbor, within the city limits of Municipalities of
San Juan, Cataño, and Guaynabo. The Army Terminal navigation channel will be widened an
additional 50 feet on either side along with Army Terminal Turning Basin. The Anegado
channel will be deepened to 44 feet, and the San Antonio channel will be deepened to 36 feet and
extended 1050 feet. This extension will be new dredging. The entrance channel Cut#6 will be
also deepened to 46 feet. The Corps is proposing 24 hour operations to expedite the work.

   4.1         Dredging Areas
The proposed dredging of the Federal channel extends from Cut#6, through the Anegado
Channel, San Antonio Channel and down the Army Terminal channel and turning basin. It does
not include the proposed Coast Guard extension of Anchorage F. Habitats associated with these
segments include areas dominated by red algae, sea vine, some hard ground communities and
mixed sand and shell shallows. Sand and silt comprise a substantial portion of the benthic
sediments inside the channels. %DVHGRQWKH&RUSV¶VXUYH\VWKHService believes that the
proposed widening of the Army Terminal channels could impact new areas along the navigation
channel which is being proposed to be widened 50 feet on either side of the channel. Indirect
effects may include the intensification of wake-induced erosion along the shore in the
Municipalities of Guaynabo and Cataño as the vessels will transit closer and there will be less
wake attenuation to these because of the channel widening.
The information regarding wildlife resources in the existing channels is from the February 2016
National Marine Fishery Service report (Rivera, 2016). In the vicinity of the Bar Channel
section 51 limestone crevices and ledges were reported along the channel sides. This provided
habitat for marine invertebrates in addition, at depths of 53 to 54 feet algae over limestone was
reported. Regarding Federally protected species, the endangered Antillean manatee (Trichechus
manatus manatus) occurs within the San Juan Bay. There is also the potential for the threatened
green (Chelonia mydas), and hawksbill (Eretmochelys imbricata) sea turtles to use portions of
the bay and estuary. There are no known sea turtle nesting beach areas within the San Juan Bay,
however the sand beach of the Esperanza peninsula could provide suitable nesting habitat for sea
turtles.
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4.1.1 Anegado Channel
There is no widening being proposed for this segment. However, deepening is being proposed
from the current 40 foot depth to 41-45 feet. There is no information regarding the marine
habitat currently found at these depths, but the constant ship traffic and sediment resuspension
caused by vessels would rule out substantial habitat or habitat value.
This channel is a transit area for the Antillean manatee. The Corps has discounted the need for
blasting in this channel segment. Work to be done in this area should follow the cautionary
measures outlined in Appendix A ³6WDQGDUG0DQDWHH&RQVWUXFWLRQ&RQGLWLRQV.

4.1.2 Army Terminal Channel and Turning Basin
The Army Terminal Turning Basin is being proposed for expansion and deepening to 40-45 feet.
This is to accommodate larger ships and a proposed LNG vessel for the Puerto Nuevo power
plant. Final design of the LNG berth is pending. The Sabana Approach will also be deepened
from 34 to 45 feet. The Sabana Approach may be expanded by a private developer proposing to
bring in compressed gas liquid (Guaynabo Gas Port). This project was presented in a San Juan
COE October 2016 Interagency Meeting. While this is not part of the San Juan Harbor Project,
the Corps should remain aware of this since it represents additional dredging and may conflict
with the project dredging schedules. The Army Terminal Channel is being proposed to be
expanded 50 feet on both sides of the channel for a total of 100 feet. The eastern side of the
channel faces Punta Cataño, a shoal area known as Escollo Grande which is only 1-2 feet deep
and was reported to have SAV by the Service (1993 CAR) for the previous San Juan Harbor
project. According to the nautical chart this bottom is marked as ³foul´ with submerged
obstacles. The proposed 50 foot expansion in this area may indirectly impact the Escollo Grande
shoal due to dredging activities, slumping and increased erosion from ship wakes.

4.2 Proposed Dredged Material Placement Sites
The offshore disposal at the San Juan ODMDS located a few miles north of the harbor is the
preferred disposal method. The U.S. Environmental Protection Agency (EPA) will have to be
consulted for the use of the ODMDS site. Given the off shore nature and depths at the ODMDS,
disposal at this site would not impact species under the purview of the Service. The use of the
San Juan ODMDS is currently the least cost alternative and preferred disposal method. Of the
previously proposed dredged material disposal areas, only the Condado Lagoon site has made it
to the RP.

4.2.1 Condado Lagoon Depressions
According to the Corps, the restoration of dredged pits or holes in Condado Lagoon which is tied
to previous Corps San Juan Harbor dredging works; it is still pending. We recommend that the
pending mitigation be included in the upcoming San Juan Harbor project. The Condado Lagoon
has about 32 acres below the depth of 15 feet, some areas reaching 35 feet in depth, the result of
past dredging activities for the hotel development of the Condado area. The pending mitigation
for the previous dredging project will not be able to restore the entire impacted area. However, if
additional material is used from this current proposed San Juan Harbor dredging and expansion,
there may be additional mitigation benefits to Condado Lagoon from an increase in shallow
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water habitat. The widening of the Army Terminal channel may provide additional suitable
material. Provided dredged material placement is appropriately monitored for migration and
resuspension, impacts to marine organisms like crustaceans, mollusks, and other invertebrates
that use these depressional areas are expected to be temporary. The Service continues to prefer
the beneficial use of dredge spoil in this area over ocean disposal since it could result in a net
environmental gain in habitat and compensate for past and proposed dredging impacts. Also
should the project have indirect impacts to marine habitat due to sloughing, the Condado Fill
proposed in Section 4.3.3 of the Final IFR/EA and in this Section of the FCAR would
compensate for these impacts.

4.2.2 Puerto Nuevo Mudflats
The restoration of the Puerto Nuevo mudflats is being proposed by the Service as an additional
dredge disposal location within SJB to create emergent wetland habitat with dredge spoil. These
mudflats were a series of shoals created at the mouth of the Rio Puerto Nuevo as it discharged
into San Juan Bay. This area was once considered a Critical Wildlife Area by DNER. However,
navigation projects, flood control projects and port development have all but eliminated this tidal
flat area. Prior efforts to partially restore the area resulted in the deposition of excess material,
mangroves colonized the site and it is not available to wading birds. With the proposed
deepening and expansion of the Army Terminal Turning Basin and Army Terminal Channel,
there exists the possibility of using the dredge spoil to create shallow flat areas in front of the
existing mangrove fringe. This could be an efficient way of disposing the soft sediments found
in the dredging area while at the same time help to re-establish and important habitat for the
ED\¶VVHDELUGDQGZDGLQJELUGSRSXODWLRQ, provided that proper intertidal depths can be
achieved. About 3-6 acres of tidal flats can be created in the area between the mouth of the
Puerto Nuevo and the San Juan Maritime Center (Figure 5).




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Figure 5. FWS proposed mudflat creation area. Looking south from the Puerto Nuevo Turning
Basin is the entrance of the Rio Puerto Nuevo is to the right. This quiet cove can be used to
deposit dredge material from the nearby Graving dock and Puerto Nuevo Turning basin to create
a tidal flat.


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The San Juan Bay has approximately 6.5 miles (10.5 km) of coastline and is highly developed.
San Juan Bay was described by early settlers as one of the most magnificent harbors of the New
World. Today, the area surrounding the harbor is highly urbanized, with office buildings,
residential areas, parks and recreation areas, cargo and cruise line terminals, and an extensive
and sophisticated transportation network. San Juan Bay is connected to the Atlantic Ocean by
the Boca del Morro and to the Condado Lagoon by the San Antonio Channel. The San Antonio
Channel is 1.2 miles (2 km) long and has a number of port-related facilities as well as two
marinas on the eastern end. Centuries of development has severely altered the natural ecosystems
of the bay. Most of the shoreline is now hardened and developed, but coastal mangrove wetland
habitats are still found along the Esperanza peninsula, and mouth of the Puerto Nuevo River.
La Esperanza Peninsula: In 1963 the La Esperanza (Palo Seco) Peninsula was created using
dredge spoil from a Corps navigation project in the bay. Over the past 54 years, this 30 acre
sand spit has changed its shape and position, migrating and changing due to the prevailing winds,
tides, wave action, and annual swells produced by northern cold fronts. Over the years it formed
a semi open lagoon behind the peninsula. A small park was built on this unstable land by the
Municipality of Cataño which has armored the shore in an effort to avoid further movement.
During its 54 year existence, this area has been colonized and overgrown with red, black and
white mangroves, Australian pine, maho, and a variety of other plants. Although intended to
protect the Bay View residential area from coastal erosion, this peninsula rapidly became a
primary wildlife area. Numerous gulls, terns, pelicans, and frigate birds use the peninsula and

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sheltered waters behind it for roosting and feeding. Once considered a Primary Wildlife Area
(DNER 1979, 1988) it was not included in the 2005 DNER revision because of perceived habitat
degradation due to development, human access and the constant migration of sand towards the
south. However, it remains an important green area in the heavily developed San Juan Bay and
continues to be an important area for both resident and migratory birds. In 2005, the La
Esperanza Peninsula was dredged by the Corps under the authority of Section 1135 of WRDA of
1986 as amended, to restore water quality of the Esperanza Cove and wildlife habitat on the
Esperanza Peninsula. However, due to the littoral drift and wave action, the La Esperanza
Peninsula is now in need of a maintenance dredging, the tip of the Peninsula is currently nearing
the existing western shoreline and could meld into the shore, closing circulation in that area.
The Corps has proposed additional dredging of the Peninsula to correct this drift along with the
beneficial use and placement of suitable dredged material from La Esperanza Peninsula Section
1135 project footprint (Corps 2015) into an artificial depression of approximately 4 acres within
the Condado Lagoon (See Section 4.2.1). With the passing of Hurricanes Irma and Maria, the
loss of vegetation on the tip of the peninsula may increase erosion or migration of sand in that
area.
The Puerto Rico Breeding Bird Atlas
(http://www.aosbirds.org/prbba/Puerto%20Rico%20Status.html), states that about 58 species of
birds are found within the San Juan Bay area, 44 of which are sea birds, waterfowl or wading
birds that still utilize the shallows, wetlands and open water of San Juan Bay. The brown pelican
(Pelecanus occidentalis) is a permanent resident in the bay. Pelicans feed throughout the bay but
prefer the calm waters behind the Esperanza Peninsula and mangrove lined shores. Antillean
manatees and sea turtles also use the bay habitats. Manatees can be found as far into the bay as
the Puerto Nuevo River.
In addition to direct impacts to the bay that will be caused by the widening of the navigation
channels, there will be indirect impacts since the buoys and channel markers will also have to be
moved to the new channel dimensions and alignments. These will have to be relocated and
occupy new bay bottom in a permanent fashion. Excess turbidity due not only to the dredging
but from some of the proposed mitigation actions also needs to be considered. While these
impacts are temporary in nature, they should be taken into account when discussing water quality
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Benthic Habitats
A preliminary survey of submerged aquatic resources was conducted by NMFS (Rivera, 2016).
No stony corals were identified in this preliminary survey, but soft corals were found in the outer
channel segments (51), which according to the Corps will not be dredged. Limestone
hardgrounds was also found in the entrance channel area. Limestone hardgrounds have an
association of sponges, soft corals, two species of seagrass were identified; Halophila decipiens
and Thalassia testudinum. In addition to seagrass beds, several algae beds were also identified
associated with the limestone hardgrounds. The areas where seagrasses were found coincide
with Anchorage Area F expansion and the Puerto Nuevo Turning Basin.
The Corps conducted side scan sonar and underwater video surveys between May-December
2016 of the proposed expansion and dredge areas (Figures 6&7). The survey report (DeMarco
and Staley, 2017) corroborates the previous NMFS survey for Anchorage Area F and Puerto
Nuevo. An estimated 18 acres of SAV (H. decipiens and macro-algae) could be eliminated by

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the proposed expansion of the Anchorage Area F. In addition, hardbottom habitat (rocks with
SAV, sponges, colonial tunicates) was found along the proposed Cataño living shoreline site,
which would occupy bay bottom. Finally, impacts to SAV from channel expansion in the other
areas are not well quantified but the possibility exists for indirect impacts from sloughing in
some areas. Based on these surveys, the only areas with definitive SAV impacts are the
expansion of Anchorage F.




                   Figure 6. COE side scan sonar and underwater video tracks

Water Quality
Potential environmental changes due to channel deepening may include alteration of salinity and
water circulation in San Juan Bay, including potential effects of the proposed action on four
ecological communities; fishes, benthic macroinvertebrates, submerged aquatic vegetation
(SAV), and wetlands.


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The San Juan Bay Estuary Program (SJBEP) has several water quality monitoring stations within
San Juan Bay. They have water quality data for the area starting in 2008. Over the years water
quality in the bay has actually improved. The elimination of sewage discharges, stricter
regulations regarding disposal of waste by ships, and increased regulations have resulted in that
the overall water quality for the bay has been classified as good, with oil and grease being the
one parameter that falls below the set standards (Bauzá-Ortega, J (Ed). 2013). The data from
these ZDWHUTXDOLW\PRQLWRULQJVWDWLRQVFRXOGVHUYHDVWKHEDFNJURXQGGDWDIRU&RUSV¶ZDWHU
quality monitoring program during and after the proposed San Juan Harbor Improvements. The
existence of these water quality monitoring stations presents an opportunity for the Corps to
partner with the SJBEP to assure that water quality standards are not being violated during the
dredging operations. (Figure 7).




Figure 7: Location of water quality monitoring stations maintained by the SJBEP.
SJBEP has also conducted sea level rise modeling of San Juan Bay which may be of help to the
Corps in their modeling efforts.

Fisheries Resources
Although highly developed and having lost much of its shoreline nursery habitat, fishery
resources in the bay continue to be present. The bay, for purposes of local regulations, is
FRQVLGHUHGWREH³RFHDQLF´DQGWKXVQRWUHVWULFWHGWRUHFUHDWLRQDOILVKLQJ. Recreational and
subsistence fishing occurs in numerous areas around the bay. Licensed commercial fishing with
nets and traps as well as spearfishing is also allowed. The following commercially important
fish species were reported for San Juan Bay (Ojeda et al, 2007, Reef fish Spawning Aggregations
of the Puerto Rican Shelf).

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Species Name                                          Common Name
Scomberomorus regalis                                 Cero mackerel
Epinephelus guttatus                                  Red hind
Lutjanus griseus                                      Mangrove snapper
Lutjanus synagris                                     Lane snapper
Caranx bartholomaei                                   Yellow jack
Caranx crysos                                         Blue runner
Centropomus undecimalis                               Common snook
Cephalopholis fulva                                   Coney
Ocyurus chrysurus                                     Yellowtail snapper
Epinephelus itajara                                   Goliath grouper
In addition, several fish spawning aggregation were reported by Ojeda et al 2007 at the Bar
Channel entrance to San Juan Bay and in the vicinity of the Puerto Nuevo area. Fishermen catch
bait fish in the Puerto Nuevo area and Esperanza Peninsula lagoon. (See Figure 8)




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Figure 8: Ojeda et al 2007, the red dots identify reported spawning aggregations, and the blue
dots represent past or historical areas.

Threatened and Endangered Species
Federally listed species that can be found within the San Juan Bay project area are:

Green sea turtle (Chelonia mydas) in the water                        NOAA Threatened

Hawksbill sea turtle (Eretmochelys imbricata) in the water            NOAA Endangered

Antillean manatee (Trichechus manatus manatus)                        USFWS Endangered

Corals
There are 7 listed coral species for the Caribbean although Critical Habitat has been designated
for only the two Acropora species. Some listed corals are found outside the project area, these
areas will not be impacted by the proposed project. Dredging and widening will start beyond the
Bar Channel where listed corals may be found. Critical habitat for Acropora corals is seaward of
the project. Once inside the Anegado Channel, suitable substrate for corals is not found.
Although NOAA has designated Critical Habitat for Acropora coral species, pursuant to ESA
section 3(5)(A)(i), all areas containing existing (already constructed) federally authorized or
permitted man-made structures such as aids-to-navigation (ATONs), artificial reefs, boat ramps,
docks, pilings, maintained channels, marinas and federally authorized channels and harbors, are
not included in the Critical habitat designation. Any final determination regarding possible
effects to listed species and designated critical habitat is XQGHU12$$¶VMXULVGLFWLRQQHHGs to be
coordinated by the Corps with NOAA-NMFS.

Listed Sea Turtles
Sea turtles enter into San Juan Bay and although there are not documented records of sea turtle
nesting, hatchlings have been found in the bay, and there are several sand beach areas in
Esperanza, Isla Cabra and other small pocket beaches that are suitable habitat for nesting. The
sea turtle species most likely to be found in San Juan Bay are the hawksbill sea turtle
(Eretmochelys imbricata) and the green sea turtle (Chelonia mydas).
Green Sea Turtle

The green sea turtle was federally listed on July 28, 1978 (43 FR 32800). Breeding populations
of the green sea turtle in the Caribbean are listed as threatened. The green sea turtle has a
worldwide distribution in tropical and subtropical waters.

The green sea turtle grows to a maximum size of about 4 feet and a weight of 440 pounds. It has
a heart-shaped shell, small head, and single-clawed flippers. The carapace is smooth and colored
gray, green, brown, and black. Hatchlings are black on top and white on the bottom (NMFS
2009b). Hatchling green sea turtles eat a variety of plants and animals, but adults feed almost
exclusively on seagrasses and marine algae.


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Within the U.S., green sea turtles nest in small numbers in the U.S. Virgin Islands and Puerto
Rico. Green sea turtles are generally found in fairly shallow waters (except when migrating)
inside reefs, bays, and inlets. The green sea turtle is attracted to lagoons and shoals with an
abundance of marine grass and algae. Open beaches with a sloping platform and minimal
disturbance are required for nesting.

Hawksbill Sea Turtle

The hawksbill sea turtle was federally listed as an endangered species on June 2, 1970 (35 FR
8491). The hawksbill is found in tropical and subtropical seas of the Atlantic, Pacific, and Indian
Oceans. The species is widely distributed in the Caribbean Sea and western Atlantic Ocean.
In the Wider Caribbean, adult hawksbills have been reported as typically weighing around 176
pounds or less; hatchlings average about 1.6 inches straight length and range in weight from 0.5
to 0.7 ounces. The carapace is heart shaped in young turtles, and becomes more elongated or
egg-shaped with maturity. The top scutes are often richly patterned with irregularly radiating
streaks of brown or black on an amber background. The head is elongated and tapers sharply to
a point. In the U.S. Caribbean, hawksbill nesting occurs on beaches throughout Puerto Rico and
the U.S. Virgin Islands.

Antillean Manatee
The Antillean manatee is currently considered as a threatened species (82 FR 16668). The
Antillean manatee is also protected under the U.S. Marine Mammal Protection Act (16 USC §
1361 et seq. 1976 & supp. V 1981) and listed as endangered by the International Union for
Conservation of Natural Resources (Self-Sullivan and Mignucci 2008). The species is also listed
as endangered by the PRDNER (2004).
While the Antillean manatee has been reported to occur in Puerto Rico since Spanish exploration
(Powel et al. 1981), except for anecdotal descriptions, the historical population size is unknown.
Aerial surveys to estimate the population size have been completed and current preliminary
results estimate a mean population size of 532 individuals with a 95% confidence interval of 342
to 802 (Pollock et al. 2013). The Antillean manatee population in Puerto Rico is considered
stable (USFWS 2016).
Manatees are obligate herbivores (Bonde et al. 2004) and are efficient in the gathering and
consumption of submerged aquatic vegetation (Marshall et al. 2000). Antillean manatees in
Puerto Rico primarily feed on seagrass and require freshwater sources, neither of which is
considered a limited resource in Puerto Rico (Drew et al. 2012). The Antillean manatee
performs most activities (i.e., feeding, drinking, resting, calving) within shallow coves and bays
characterized by low-energy waves (Lefebvre et al. 2000), but also travel through open, deep
marine waters. Local movement patterns show alternating use between seagrass beds for feeding
and freshwater sources for drinking (Slone et al. 2006). During a manatee expert elicitation
process (Drew et al. 2012), manatees were described to regularly traverse deep water when
moving between local sites or resources, do not feed or rest in waters deeper than 13 m (42.7 ft),
and spend the majority of their time in waters less than 5 m (16.4 ft) deep (Drew et al. 2012).
The SJB is located within the range of the Antillean manatee in Puerto Rico. Drew et al. (2012)
identified areas in Puerto Rico which include the three key ecological attributes (i.e. seagrass,
freshwater, shelter) necessary to support manatee populations and identified areas where take can
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be reduced from watercraft related threats. Waters within San Juan were described to provide a
high shelter value for manatees and a high motorized watercraft threat. Waters within San Juan
were not associated with having a significant source of seagrass, but have at least one or more
freshwater sources for manatees to drink from. The SJB may also have other potential feeding
sources besides seagrass, for example, certain algae or freshwater plants.
The number of manatees that transit or reside within the SJB is unknown. Due to the high
turbidity waters of the SJB, manatee counts during aerial surveys are low. However, we know
that manatees are found within the SJB from Isla de Cabras to the Rio Puerto Nuevo channel
mostly from public reports, dredging and construction project monitoring reports, USCG
anecdotal reports from their dock area, and mortality reports.
For example, from August 16 to August 18, 2006, four males and one female adult Antillean
manatees were found dead in the SJB area. The cause of death for these animals was determined
to be human related due to a large boat impact. Dead manatees showed signs of blunt trauma
and large boat propeller scars. When a single female is associated to a group of males, they are
forming a mating herd and the manatees are extremely active and thus making themselves more
visible. This event, although unfortunate, serves as part of the evidence that manatees do use the
San Juan Bay area. This accident may have been prevented by following idle speed zones within
the San Juan Bay and/or by having an observer on board while transiting in that area.
The specific use of the SJB by manatees has not been studied in detail as opposed to other areas
like Ceiba and Guayanilla, where manatees have been captured and released with radio tracking
devices (Slone et al. 2006). Together with the PR-DNER and the PR Manatee Conservation
Center, the Service has proposed to capture manatees in the SJB area, conduct health
assessments tests, and release and follow them with the use of satellite tracking devices. There is
current data on one rehabilitated and released sub-adult male manatee (Aramaná) that was using
the SJB and was tracked with satellite technology, this data contributes to our understanding of
manatee use within the SJB area (see Fig. 9).




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Figure 9: Satellite and visual tracking of the manatee Aramaná, Data provided by the Puerto Rico
Manatee Conservation Center.

During April 12, 2017 to July 4, 2017 the San Juan Harbor Maintenance Dredging Project took
place. The End of Project Summary Report for the biological monitoring for sea turtles and
Antillean manatee indicates a total of thirty-seven (37) sightings. A total of sixteen (16)
Antillean manatees (Trichechus manatus manatus) were spotted and within the 100 feet
perimeter, thirteen (13) individuals were observed. Also, seventy-three (73) dolphins were
spotted and within 100 feet perimeter, forty-five (45) individuals were observed. No sea turtles
or whales were observed during this period (Solá 2017).




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Manatee Conservation Measures
Both the Service and the Corps have developed manatee conservation measures to avoid and
minimize potential in-water project effects on the manatee. In-water project effects may include,
but not limited to: vessel and construction equipment strikes with manatees; manatee harassment
by construction activities; seagrass habitat impacts; possibility of a spill; post-construction
increase in commercial boat traffic; blasting impacts and noise. These technical assistance
measures can be used for the proposed project as appropriate. Some example measures include:
minimize vessel speeds, minimize work in shallow areas close to the shore, manatee observers
before and during construction, manatee awareness, appropriate signage, blasting exclusion
zones, bubble curtains, among others. However, in the specific case of the SJB, water turbidity
PLQLPL]HVDQREVHUYHU¶VGHWHFWLRQRIDPDQDWHH,WLVFULWLFDOWKDWWhe conservation measures
account for this limitation. For example, conservation measures can be adjusted to increase the
amount of observers, provide high observation points, and potentially use innovative measures
such as drones. Because the Corps is considering 24 hour operations, dedicated day and night
observers would be required in the work area.
We have developed the following project specific measures to address the potential adverse
effects on the Antillean manatee and its habitat, especially since the project will include 24-hour
operation:

 a. Before the initiation of the project, a pre-construction meeting should be held with the
    contractors to review the requirements for conservation measures that should be
    implemented during the proposed work. The Corps should contact the Federal and State
    Resource Agencies at least fifteen (15) days in advance of the preferred meeting date for
    potential participation.

 b. A protective species watch plan detailing the proposal for observing protected marine
    species should be developed. The plan should include the following:

     i. a list of all observers associated with the project (names, credentials, qualifications,
        contact information and a description of their observation experience conducting
        nighttime and/or daytime marine monitoring work);
    ii. the equipment used to aid in observation (e.g. polarized sunglasses, binoculars, etc.);
   iii. the length of work shifts for the observers and proposed break times;
   iv. the equipment used to communicate with the dredge operator; and
    v. a description of where the observer will be located during work and how they will cover
        the areas required, including specifics on the position(s) of the nighttime observers and
        proximity to the dredging equipment.

     In addition, the plan should note if observers are in elevated positions to maximize
     visibility or observing from land based position. The location description should include
     the position of tugboats and crew vessels if mooring to the dredge. All observers should
     have significant on-the job experience observing protected marine species during dredge
     operations. Manatee observers working at night-time should take a synchronized, 30
     minute break immediately following four (4) consecutive and continuous hours of manatee
     observation. If the required number of observers is not available to observe in water work,
     then dredging will need to cease while observers are on break.

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     Appropriate experience should be demonstrated through documented experience as an
     observer that has monitored marine animals and their behaviors in association with in-
     water construction projects. After the agencies review the plan, observer's modifications or
     suggestions for improvements to the measures may be required.

 c. All on-site project personnel are responsible for observing water-related activities for the
    presence of manatees. If a manatee is sighted within 100 yards of the project area, all
    appropriate precautions should be implemented by the contractor to ensure protection of
    the manatees. All in-water activities, including vessel operation, must be shut down if a
    manatee comes within 50 feet of the active construction site during daytime hours.
    Activities will not resume until the manatee has moved beyond the 50-foot radius of the
    project operation, or until 30 minutes elapses if the manatee has not reappeared within 50
    feet of the operation. During nighttime dredging (nighttime should be defined as one half
    hour before sunset and one half hour after sunrise), all moving equipment and construction
    activities should cease if a manatee moves closer than 75 feet from such equipment or the
    project area. Activities will not resume until the manatee has moved
    beyond the 75-foot radius of the project operation, or until 30 minutes elapses if the
    manatee has not reappeared within 75 feet of the operation. Animals must not be herded
    away or harassed into leaving.

 d. During nighttime dredging operations, dredging equipment will use lights to illuminate the
    water surface sufficiently to permit observation of manatees within 75 to 100 feet of the
    operation hoist line (clam bucket cable). The lighting system should be assessed for
    compliance prior to commencement of nighttime dredging activities. Nighttime operations
    should not commence or continue if at any time lighting is not considered effective by the
    observer or if lighting does not comply with the above requirements.

 e. Observers: When in-water work is being performed or vessels are moving, all required
    dedicated observers must be on site during all in-water construction activities. For
    dredging operations, the observer(s) should be positioned to clearly observe the point of
    entry and exit of dredging equipment as well as the waters surrounding the operation to a
    radius of 100 feet around the entry/exit point. During nighttime hours (nighttime should be
    defined as one half hour before sunset and one half hour after sunrise), the contractor
    should provide at least three dedicated marine animal observers on site during all in-water
    construction activities. The protected marine animal observers must be on site during all
    in-water construction activities and should advise personnel to cease operation upon
    sighting a manatee within 50 feet of any in-water construction activity (75 feet for
    nighttime work). If dedicated observers determines that weather conditions will prevent
    detection of manatees during work, operations will cease until conditions improve.

 f. Observers should maintain daily logs detailing sightings, collisions, or injuries to protected
    marine animals, as well as project specific information as such when each observer took a
    break and maintain for how long, as work itinerary, weather and non-weather related work
    shutdowns, shift changes, etc. For manatee behavior, observers should log time of
    observance, estimated distance of the manatee related to the work area, type of behavior
    (passing through, pausing in the project vicinity, interaction with equipment or vessels,
    etc.), and construction activity during the observation. During the first week of dredging
May 2018                                                                                        22

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       operations, the contractor should ensure that copies of the daily logs are submitted after the
       first week of work to the Service (Marelisa Rivera email: marelisa_rivera@fws.gov) and to
       the appropriate Corps contact. After the first week, the contractor should ensure that copies
       of the daily logs are submitted on a monthly basis to the Service and appropriate Corps
       contact.

    g. All vessels associated with the projeFWFRQVWUXFWLRQZLOORSHUDWHDW³QRZDNHLGOH´VSHHG
       while in shallow waters (10 feet or less) and vessels will follow routes of deeper water
       whenever possible.

    h. Any collision with and/or injury to a manatee shall be reported immediately to the
       Department of Natural and Environmental Resources Law Enforcement (787-724-5700)
       and the USFWS Caribbean Ecological Services Field Office (787-851-7297).

    i. The permit holder and/or contractor shall have temporary manatee signs in all project
       related vessels as recommended by the following guidelines:

       x Signs must be placed in prominent locations within the vessels for maximum visibility,
         for example, in the vessel controls area. Permittee may also consider placing temporary
         signs in areas such as dock walkways, dock master offices, near restrooms or other high
         patron foot traffic areas.
       x Signs must be replaced when faded, damaged or outdated.
       x These signs must not face the water, must never be attached to pilings or navigational
         markers in the water. Some exceptions to signs facing the water exist for temporary signs
         during in-water work.
       x You may find a couple of sign examples at this link:
         https://www.fws.gov/caribbean/es/documents/ManateeSigns_Letreros.pdf

    j. The preceding measures will be revised if adverse impacts to manatees occur during their
       proper implementation, or to reflect new information on the species or protective measures
       relevant to the continued adequacy of those measures during dredging operations.


In addition there exist opportunities under Section 7(a)(1) of the Endangered Species Act for the
Corps to help further the conservation of the manatee. These measures can be offsite or even out
of the project area as long as these measures increase or protect the population or threatened
habitat.
        Develop and implement navigational aids (manatee speed buoys) for SJB focused on
         avoiding and minimizing watercraft threats to the manatees.
        Support ongoing efforts to study manatee use within the SJB. The Service has a project
         with the PR Manatee Conservation Center and the DNER to assess the health of manatees
         within the SJB and track manatees to study movement patterns and habitat use within the
         SJB.
        Develop a manatee specific education campaign using existing and new alternatives and
         media sources.

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With the selection of the RP the consultation process under Section7 of the Endangered Species
Act has commenced. Recommendations made in this FCAR should be incorporated into the
section 7 consultation for the project.

5.1            Mitigation for Environmental Effects
The various mitigation measures using dredge spoil were discussed above. A conceptual
mitigation plan is included in the IFR/EA (Condado lagoon restoration). While preliminary
findings indicate that the proposed expansion dredging will not result in impacts requiring
mitigation. Additional benthic surveys are proposed during the PED and if SAV are found in the
army terminal channel flare, additional mitigation would be proposed. The proposed Condado
lagoon restoration would be able to incorporate those additional impacts.
Possible mitigation in the form of transplanting SAV from the expansion of the Army Terminal
Channel to Condado Lagoon should also be considered. A transplant technique for Halophila
has been developed in the U.S. 9LUJLQ,VODQGVE\DORFDOFRQVXOWDQWFRQVLVWLQJRI³UDNLQJ´XSWKH
sea vine, placing it in netting and transporting it to a recipient site. This plus the removal of the
upper six to 12 inches of sediment (possible seed bank) for a cap in the Condado Lagoon
restoration should be considered since it will speed up the colonization of the material by SAV.
An Environmental Monitoring and Corrective Action Plan should be developed in conjunction
with any proposed mitigation plan. This plan should be developed in coordination with other
agencies, in order to determine whether the effects assessment has accurately predicted the
effects. Monitoring data will be used to evaluate whether the proposed mitigation sufficiently
offsets the predicted effects. The results of these monitoring and analyses will be available to
agencies and stakeholders. The Corrective Action Plan would provide a methodology to
evaluate whether project effects exceed those already mitigated for in the base mitigation plan.
The Corrective Action Plan specifies the methodology for how additional compensatory
mitigation will be determined and implemented.


6.0            1R$FWLRQ$OWHUQDWLYH
Based on the Corps documentation, if no action is taken to deepen the San Juan Harbor, the most
probable future condition is continued utilization of the harbor under present conditions. Deep
draft vessel traffic in the harbor is likely to continue to increase. The ability of the San Juan
Harbor to be used by the larger ships now able to pass through the Panama Canal will remain
very limited if the harbor is not deepened. This in turn would have negative economic effects on
the shipping and cruise ship industry and the San Juan area in general. Under this alternative fish
and wildlife resources would not be impacted.


7.0            6XPPDU\RI)LVKDQG:LOGOLIH6HUYLFH
               3RVLWLRQ
The Service carried out a site visit to the various areas within the harbor on September 26, 2016.
Use of the Esperanza Peninsula by migratory birds was confirmed and one osprey was sighted
May 2018                                                                                           24

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perched atop an Australian pine. The continued sand migration towards the shore was also
noted. Impacts to the forested areas by sand extraction for mitigation of the peninsula should be
avoided. The boat operators stated that brown pelicans regularly feed in the lagoon created
behind the peninsula and that fisherman catch bait fish in the area. North of the Puerto Nuevo
River mouth is a cove where fishermen also catch shrimp and baitfish with hand nets. This is the
general area where the Service is proposing the creation of a tidal flat using dredged spoil.
There exists the possibility of additional restoration of the Condado Lagoon and transplant of
SAV to the completed Condado Lagoon restoration from SJB dredging sites. This would greatly
speed up the stabilization of deposited sediments and increase the habitat quality of the lagoon.
Other mitigation opportunities such as living shorelines would replace lost coastal mangrove
habitat and provide shoreline protection to the Cataño shore. Although this type of shoreline
protection is favored over traditional rip-rap, there exists the possibility of additional impacts to
marine existing habitats from this alternative. Therefore a careful evaluation of the net
environmental benefits needs to be made prior to implementing this mitigation option.
This Report is presented as a Final Coordination Act Report. The Corps will determine if
mitigation will be required for this project based on additional benthic surveys conducted during
the SURMHFW¶VPreconstruction, Engineering and Design (PED) phase. Mitigation was considered
during the Alternatives Evaluation and Analysis, but because the preliminary surveys indicate
impacts are not likely, the dredged material placement option for Condado lagoon restoration
represents the conceptual mitigation plan for the Revised Plan. Further coordination with the
Service to review project specific mitigation will be needed in PED phase. At this stage of
project planning the Service does not object to the project as proposed provided the
recommendations in our report are addressed during the subsequent process and incorporated
into the PED Analysis.


8.0            &RDVWDO%DUULHU5HVRXUFH$FW
The Coastal Barrier Resources Act (CBRA), first enacted in 1982 (16 U.S.C. 3502 et seq.), was
reauthorized and amended by the Coastal Barrier Improvement Act (CD3A) of 1990 (16 U.S.C.
3501). Its purpose, as stated in section 2(b), is "...to minimize the loss of human life, wasteful
expenditure of Federal revenues, and the damage to fish, wildlife, and other natural resources
associated with the coastal barriers..." CBRA established the Coastal Barrier Resources System,
(CBRS) a mapped series of undeveloped coastal barriers on the Atlantic and Gulf coasts,
including the Great Lakes Region, Virgin Islands, and Puerto Rico. Areas within the system are
designated as either "units" or "otherwise protected areas" (OPA's). Section 5(a) prohibits all
new Federal expenditures and financial assistance within unit boundaries, with some exceptions
as determined through a process of consultation.
There are no designated CBRA units within the project area. The closest CBRA units are PR-86
Punta Salinas to the east and PR-87 Piñones to the west.




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9.0            5HIHUHQFHV
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RE: [EXTERNAL] RE: [Non-DoD Source] San Juan CAR (UNCLASSIFIED)
DeMarco, Paul M CIV USARMY CESAJ (US) <Paul.M.DeMarco@usace.army.mil>
Fri 5/11/2018 8:10 AM
To: Lopez, Felix <felix_lopez@fws.gov>


  2 attachments (13 MB)
8-lionfishvlc-record-2016-09-21-14h29m35s-VIDEO8CONT4(0056).mov-.avi; SJH Army Terminal Channel Eastern Flare.jpg;


CLASSIFICATION: UNCLASSIFIED

Good morning Felix, just wanted to send the updated ATC eastern flare map. It extends further north than what I
sent yesterday (finally received the CAD file) but still within the mud/clay bottom area. The bright green lines are the
towed video tracks and video 8 is north and 5 south as I explained yesterday. Anyway, just wanted you to have the
correct map. Also attached is a video clip from towed video 8. Will discuss later today. Thanks, Paul DeMarco

-----Original Message-----
From: DeMarco, Paul M CIV USARMY CESAJ (US)
Sent: Thursday, May 10, 2018 5:14 PM
To: Lopez, Felix <felix_lopez@fws.gov>
Cc: Walther, David <david_walther@fws.gov>; Spinning, Jason J CIV USARMY CESAJ (US)
<Jason.J.Spinning@usace.army.mil>
Subject: Re: [EXTERNAL] RE: [Non-DoD Source] San Juan CAR (UNCLASSIFIED)

Yes sounds good Felix I'll be in the office and I'm free in the afternoon

Sent from my BlackBerry 10 smartphone.
From: Lopez, Felix
Sent: Thursday, May 10, 2018 4:44 PM
To: DeMarco, Paul M CIV USARMY CESAJ (US)
Cc: Walther, David; Spinning, Jason J CIV USARMY CESAJ (US)
Subject: Re: [EXTERNAL] RE: [Non-DoD Source] San Juan CAR (UNCLASSIFIED)

Paul can I give you a call tomorrow afternoon, I've got my morning full already.

On Thu, May 10, 2018 at 3:47 PM, DeMarco, Paul M CIV USARMY CESAJ (US) <Paul.M.DeMarco@usace.army.mil
<mailto:Paul.M.DeMarco@usace.army.mil> > wrote:



 CLASSIFICATION: UNCLASSIFIED

 Felix, I see your point after reading "WATER RESOURCES DEVELOPMENT UNDER THE FISH AND WILDLIFE
COORDINATION ACT" dated November 2004. However, I also believe we already have "clear documentation of the
recommended project's impacts upon fish and wildlife".

 The only proposed expansion feature with the potential for direct impacts (SAV) is the eastern army terminal
channel flare. This feature is 1.04 acres and 12 ft deep at its shallowest. The May 2016 sidescan survey of this area
indicates it is muddy bottom with invertebrate burrows but no SAV (see attached jpeg SJH Army Terminal Channel
Eastern Flare). Although we do not have towed video of this specific area, it is likely too deep for SAV colonization in
the inner harbor and videos 5 and 8 (snapshots attached) from 2016 located north and south of this area
corroborate the muddy bottom assumption based on the sidescan mosaic. So direct impacts are not anticipated.
                                                                                                          FWS_00081

 There is the possibility for sloughing of the adjacent slope which could indirectly impact adjacent SAV. This is
the only reason we     Case   1:22-cv-02430-CJN
                           propose                    Document
                                    additional SAV surveys  of this 30-1
                                                                    area inFiled 05/05/23thePage
                                                                           PED. Probably           53 ofto247
                                                                                             best way      calculate impacts
would be to complete a pre-dredge survey of this area and if SAV is found, complete a post dredge survey. These
actions would occur during PED and the construction phase to attempt to calculate indirect impacts. The Condado
Fill proposed in Section 4.3.3 of the Final IFR/EA and in Section 4.2 of the CAR would compensate for these impacts.

 Mitigation acreage can be calculated based on the post construction survey should indirect impacts due to
sloughing occur. We can set up a conference call to discuss further if you would like, just let me know.

 Paul DeMarco
 Biologist
 Corps of Engineers - SAD
 Jacksonville District
 Planning and Policy Division
 701 San Marco Blvd - P.O. Box 4970
 Jacksonville, FL 32232
 904-232-1897 (phone)
 904-232-3442 (fax)
 Paul.M.DeMarco@usace.army.mil <mailto:Paul.M.DeMarco@usace.army.mil>

 -----Original Message-----
 From: Lopez, Felix [mailto:felix_lopez@fws.gov <mailto:felix_lopez@fws.gov> ]
 Sent: Thursday, May 10, 2018 8:55 AM
 To: DeMarco, Paul M CIV USARMY CESAJ (US) <Paul.M.DeMarco@usace.army.mil
<mailto:Paul.M.DeMarco@usace.army.mil> >
 Cc: Walther, David <david_walther@fws.gov <mailto:david_walther@fws.gov> >
 Subject: Re: [EXTERNAL] RE: [Non-DoD Source] San Juan CAR (UNCLASSIFIED)

 Paul, there can only be one report of the Secretary of Interior under section 2(b) for FWCA. That report is
supposed to cover every aspect of the project including mitigation, if by some chance something is left pending, as
additional surveys during the PED, we cannot complete the 2(b) report. We can however keep the CAR alive by
issuing a partial CAR, our position in the partial CAR is that we do not object to the project as proposed at this time,
so the Corps can continue to move forward.

 I'm including David Walther since he is our guru in this. I'm not sure if we can amend the Final CAR somewhere
down the line and then call it the 2(b) report.

 On Wed, May 9, 2018 at 9:47 AM, DeMarco, Paul M CIV USARMY CESAJ (US) <Paul.M.DeMarco@usace.army.mil
<mailto:Paul.M.DeMarco@usace.army.mil> <mailto:Paul.M.DeMarco@usace.army.mil
<mailto:Paul.M.DeMarco@usace.army.mil> > > wrote:

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 CLASSIFICATION: UNCLASSIFIED

 Felix, our preliminary findings are that the expansion dredging will not result in impacts requiring
mitigation. However, a conceptual mitigation plan is included in the IFR/EA (Condado lagoon restoration). The CAR
already mentions that the prior SAV mitigation commitment from the 2001 expansion of RPN channel has yet to be
met (though we have tried 3 times but failed due to lack of responsive bidders). As discussed we will coordinate the
additional benthic survey results with your agency in PED and if SAV is found in the army terminal channel flare
(doubtful based on side-scan sonar), additional mitigation would be proposed. However, the conceptual plan in the
IFR/EA covers compensation for those impacts. So I do not understand why this cannot be the final CAR. What
specifically does the FWS manual say? There does not have to be a mitigation component if there are no              impacts. So
                                                                                                                  FWS_00082
why cannot the final CAR state additional mitigation requirements will depend on the results of additional benthic
surveys which the       Case 1:22-cv-02430-CJN
                         USACE                        Document
                                will coordinate with USFWS         30-1
                                                              in the       Filed after
                                                                      PED phase  05/05/23
                                                                                       projectPage  54 of 247Just trying to
                                                                                               authorization?
understand. Thanks, Paul DeMarco

 -----Original Message-----
 From: Lopez, Felix [mailto:felix_lopez@fws.gov <mailto:felix_lopez@fws.gov> <mailto:felix_lopez@fws.gov
<mailto:felix_lopez@fws.gov> > ]
 Sent: Tuesday, May 8, 2018 5:25 PM
 To: DeMarco, Paul M CIV USARMY CESAJ (US) <Paul.M.DeMarco@usace.army.mil
<mailto:Paul.M.DeMarco@usace.army.mil> <mailto:Paul.M.DeMarco@usace.army.mil
<mailto:Paul.M.DeMarco@usace.army.mil> > >
 Subject: [Non-DoD Source] San Juan CAR

 Paul, I'm going over the document to pass it on to my boss for final review. Since mitigation will be
pending until the PED phase, I'm going to call this a CAR or a partial CAR as per the FWS manual rather than a final
or draft.


 Never got a reply from PR DNER or the Bay Estuary folks, on the report.
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
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Felix Lopez
USFWS Caribbean Field Office
cel. 787 510-5208

No one seems to know what it is we do, but we are the only ones that can do it, and we do it well.

"People will generally accept facts as truth only if the facts agree with what they already believe."- Andy Rooney




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                                 DEPARTMENT OF THE ARMY
                           JACKSONVILLE DISTRICT CORPS OF ENGINEERS
                                      701 San Marco Boulevard
                                 JACKSONVILLE, FLORIDA 3220708175




                                                                    AUG 0 1 liJ17
Planning and Policy Division


Mr. Edwin E. Muniz
u.s. Fish and Wildlife Service
Post Office Box 491
Boquer6n, Puerto Rico 00622-0491

Dear Mr. Muniz:

      The U.S. Army Corps of Engineers, Jacksonville District (Corps), proposes to
widen, deepen and maintain the San Juan Harbor Federal navigation project. This
project is currently being evaluated in a Draft Feasibility Study and Environmental
Assessment. Completion of the dredging project may employ a hopper dredge,
clamshell dredge, or cutterhead dredge. The dredging will remove approximately 2.1
million cubic yards of material . The Tentatively Selected Plan consists of deepening
Entrance Channel Cut-6 to 46 feet, widening the Army Terminal Channel by 100 feet
and deepening Anegado and Army Terminal Channels and the Army Terminal Turning
Basin to 44-feet. Lesser increments of widen ing and deepening were also evaluated.
In addition, the San Antonio Channel wou ld be deepened to 36-feet. The dredged
material is expected to be suitable for placement in the Ocean Dredged Material
Disposal Site but some material may be suitable for placement in dredged holes and for
other beneficial purposes.

     Listed species or designated critical habitat with in the action area under the
jurisdiction of the U.S. Fish and W ildlife Service (USFWS) includes the endangered
Antillean manatee.

      Enclosed please find the Corps' biological assessment of the effects of the
proposed project on listed species under USFWS purview in the action area. We
request initiation of informal consultation under section 7 of the Endangered Species
Act of 1973, as amended , concerning potential effects of the proposed activities on the
Ant illean manatee.

    After reviewing the status of the species in the action area and the special
conditions placed in our specifications, the Corps determines that the widening and
deepening of the San Juan Harbor may affect, but is not likely to adversely affect, the




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Antillean manatee. The Corps requests written concurrence of our determination within
60 days of the date of this letter.

  If you have any questions, please contact Mr. Paul DeMarco at 904-232-1897 or by
ema il atPaul .M .OeMarco@usace .army.mil.


                                          Sincerely,




                                      y   Gina Paduano R I
                                          Chief, Environm/ ntal Branch

Enclosure                                              {




                                                                                 FWS_01350
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                      ENDANGERED SPECIES ACT
                       BIOLOGICAL ASSESSMENT
                    SA JUAN HARBOR, PUERTO RICO
                EXPANSION AND MAINTENANCE DREDGING


       PREPARED FOR THE U.S. FISH AND WILDLIFE SERVICE




                                                                    JULY 2017
US Army Corps
of Engineers '"
Jacksonville Dlstric1
                                                                            FWS_01351
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FIGURE 2: HOPP ER DREOGE AND TURTlE DEfUCll NG DRAGHEAD SCHEMATICS ............................. .................... .......................... .. 9


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1   BACKGROUND / HISTORY
The purpose of th is Diological Assessment (SA) is to address the potential effects of the
construction and operations and maintenance (O&M) dredging of the San Juan Harbor Federal
nav igation project on species listed as threatened or endangered under the Endangered Spec ies Act
(ESA) of 1973. as amended and their designated critical habitat. The U.S. Army Corps of
Engineers. Jacksonville District (Corps) is seeking authorization for thc ex pansion of the Federal
project. however. O&M of the existing federal navigation channe l is was authorized by Section
30 1 ofWRDA of 1996.

The project includes construction and maintenance dredging \\ ith material placement in the ocean
dredged material disposal site (ODMDS). Some of thc construction material may be suitable for
placement in dredged holes and for other beneficia l purposes. Because o rLhe nature oflhe project.
it has the polenliallo a ffect the fo llowing ESA -listed species under the purvie\\ of lhe U.S. Fish
and \Vildlife Service (USFWS): Antillcan manatee (Trichechus mal/milS manallls).

Currentl) there are navigational constra ints within the existing channel and harbor. \\ hich cause
loading inefficiencies, in -pon delays and increased maneuvering times. For example. ex isting
cargo shippers experience increased operation costs due 10 light loading. vessel size limitations.
and congestion de lays. The Puerto Rico Electric Power AUlhori!) (PREPA) expericnces increased
po" er generat ion costs in northern power plants due to inability to reliably bring Liquefied Natura l
Gas (LNG) by ship to its proposed San Juan Harbor terminal given the \\orld fleet of avai lable
LNG tankers. Existing cruise vt:s!.ei operators experience increased in-port maneu vering COSt S due
to channe l and turning basin \\ idth and depth constraints. Existing Liquefied Petroleum Gas (LPG)
importers on the island of Puerto Rico experience increased operating costs due to transporting
LrG to San Juan from the sou thern coast by truck rather than by ship dire<:t to San Juan Harbor.

Therefore. petroleum tankers and LNG ta nkers transiting the Arm) Temlinal Channel and cruise
vessels util izing the cruise docks north of the San Antonio Approach Channel are the main sources
of project benefits (Sec Figure I). Measures considered in the Draft Feas ibi li ty Study and
Environmental Assessment allow larger tanker and Li'lG \ essels to call San Ju:tn Harbor. allo\\
these larger vessels to use San Jua n Harbor marc efficiently through inc reased vessel loading.
allow ex ist ing medium ranger (MR) tanker vessels to use San Juan Harbor more efficiently through
increased \ essel loading. reduce cruise vessel transit times within the port. and allo\\ use of
walemay transportation of LPG di rect to San J uan rather than trucking of the product from the
island's southem coast.




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1.1   Project Authority

A list ofa ulhorizat ions a nd authorizing documelHs for Sa n Juan Harbor is provided below.
         ACTS                        WORK AUTHORIZED                            DOCUMENTS
      8Aug 1917        Anchorage (inner harbor) area of 206 acres and San House Document
                       Anton io Channel to 30· foot.                        865/63/2
     22 Sep 1922       Substitution of a 68·ac re area 30 fee t deep, along Speci fi ed in Act
                       soulh ·easterly side of anchorage area . for one 25
                       acres in extent and of same depth extending easterly
                       from eastem end of the San Antonio project channel.
       3 Ju l 1930     Mod ified conditio ns of local cooperation .         I-louse Document
                                                                            45171 /2
     30 Aug 1935       Entrance channel across outer bar 38 feet deep and Ri vers & Harbors
                       800 feet wide. and thence across bay to Harbors Comm . Doc. 38/74/ 1
                       anchomge area (Anegado Rtach Channel) 30 feet
                       deep and 700 feet wide and increasing anchorage
                       area to 239 acres to a 30·foot depth.
     26 Aug 1937       Widening Anegado Reach Channel and increasing Ri vers & Harbors
                       anchorage area to 329 acres.                         Comm. Doc. 42/75 /1
      17 0ct1940       Remo\'al to 8·foot depth of Anegado. Largo , and House Document
                       Capitancjo Shoals. and dredging to a 30·fool depth 36417611
                       the entrance channel and turning basin to the
                       Graving Dock.
     2 Mar 1945        Maintenance of the 30· foot depth entrance channel Specified in Act
                       and tuminll: basin to the Anny Terminal.
       3 1ul 1958      Deepening portions of thc entrance, the approach HOllse Document
                       channels. and basins to Anny Tennina l and San 38/8511
                       Antonio Pier area 10 35·45 feet; new 32·foot depth
                       Puerto Nuevo Channel: and new 36·foot depth
                       anchorage.
     17Nov 1986        Centerline shifted 350 fee l west and Bar Channel Public Law 99·662
                       deepened to 48 feet over ma;.:imum width of 800
                       feet: deepened Anegado Channel to 46, 43 , and 40
                       feet from the Bar Channel over a bouom \\ idth of
                       800 feet: deepen Anny Terminal and Puerto Nuevo
                       Channels to 40 feel and widen to 450 feet : Deepen
                       Graving Dock Channel to 36 feet and widen to 450
                       feet ; extend San Anlonio Channel 1500 feet and
                       deepen to 36 feet over minimum width of 500 fect;
                       deepen Cruise Ship Basin to 36 feet; provide Sabana
                       Approach Channel with depth of 32 feet over width
                       of250 feet; deepen Anchorage Area E to 38 feCI and



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        ACTS                       WORK AUTHOIUZ ED                                   DOC UMENTS
                       provide six mooring dolphins; provide 22 acres of
                       shallow bay bottom for mitigation.

In addition, the Corps initiated the feas ibi lity study at the request of the Puerto Rico Ports Authority
(PRPA). the projecL"s non-Feder.:!l Sponsor (N FS). under the authorization prO\·jded by House Repon
109·738 • 1091h Congress (2005-2006) December 29, 2006, As Rcp:med by the Transportation and
Infrastructure Comminee documents the resol ut ion approving the navigation study.

"WATER R£50URCES SURVEY RESOLUTIONS APPROVED BY nIE COMJ1ITTEE ON
TRANSPORTATION AND hYFRASTRUCTURE .Hr. FOr/uno: San Juan Harbor, PR, Docket
number: 2i6./, Dare filed: February 23, 2006 (nm'igation project). September 20, 2006. Resolll1ion
adopred by the Commiflee on Transportation {lnd Infrastructure . .,

2 DESCRIPTION OF PROPOSED ACTION & ACT IO N AREA
San Juan Harbor is located on the nonh coast of Pueno Rico and is the island's principal port (Figure
I). The majorit) of the commonwealth's \\aterbomc cargo and cruise ships pass through the harbor.
handling more than 60 percent of the Commonwealth"s non-petroleum waterborne commerce. San
Juan Harbor provides the only natural harbor o lTering all-weather protection to shipping along the
entire north coast of Puerto Rico.

This SA addresses the potential environmental effects on Antillean manatee associated with
e.x pansion. maintenance dredging and placement of dredged material either within the ODMDS as
we ll as beneficia l placement of materials (Condado lagoon) from the \\ iden ing and deepening o f
the San Juan Harbor Federal Navigation Channel. The proposed project consists of deepening
Entrance Channel Cut-6 to 46 feet. widening the Army Tenn ina l Cha nnel by 100 feet and
deepening Anegado and Aml)' Termi na l Channe ls and the Army Terminal Turnin g Basin to 44-
feeL In addition. the San Anton io Channel \\ould be deepened 10 36-feet (Figure I). The dredging
will remove approx imately 2.1 millio n cubic yards of material which is expec ted to be suitable for
placement in the ODMDS. Ho\'. ever. some material may be suitable for placement in dredged
holes and for other beneficia l purposes.




                                                    ;




                                                                                                        FWS_01356
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                                                    TENTATIVelY SelECTED PLAN

                                                    WIDENING
                                                      Widen Army Tem\lnol Chonnelltom
                                                      350' 10 450' maJdmum

                                                    DEEPENING (count.-tc!ock....... J
                                                      Cut, lo .u.'
                                                      An.godo Chonne' to 44'
                                                      Ivmy ' emlinal Channel 10 ...'
                                                      Army 'emllno! TUrning 8aJln 10 44'
                                                      San Anlonlo Chonnello 36'
                                                      Crul,_ Ship Iosin East 10 3"

                                                    COAST GUARD ANCHORAGE
                                                    AREA f EXMNSION -       -   -
                                                      A Future Wlthout. Proje<.1 C ondition
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                                                      once consll'ucled

                                                    CONSTRlICnON
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                                                       boliom-dump borg. 'romport to
                                                       ofbhore Ocean Dfedged Malefi cl
                                                       DlJPOSOI SHe (OOMOS)
                                                       ~ 2. 1M cubic YOfdl of moteriol




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2.1   Dredging Techniques

The Corps docs not normally specif} the type of dredging equipment to be used due to restrictions
assoc iated \\ ith the Competition in Contracting Act ( 10 US Code 2304 and 41 US Code 253). The
dec ision regarding equipment used during construction is generall y left to the dredging industry
contractors. allowing them to offer the most appropriate and competitive equipment availablc at
the time. Nc\crtheless, certain types of dredg ing equipment are considered more appropriate
depend ing on the type of male rial. the depth of the channel. the depth of access 10 the disposal or
placement site, the amou nt of material. the distance to the disposal or placement site, the wave-
energy em'ironment. etc. A more detailed description oft)pes of dredging equipment and their
characteristics can be found in Engineer Manua l. EM 11 10-2-5025. "Engineering and Design -
Dredging and Dredged Materia l Di sposal:'

Dredging equipment uses either hydraulic or mechanical means to transport maleria l from the
substrate to the surface. Hydrau lic dredges use \\aler to pum p the dredged material as slurry to
the surface and mechanical dredges use a bucket-type device to exca\ate and raise the material
from the channel bouom. The most common hydraulic dredges include cutterhead-suction and
hopper dredges: the most common mechanical dredges include clamshelts, backhoes. and marine
excavator dredges. Pub lic Law 100-329 requi res dredges working on U,S. government projects to
ha\ e U.S. built hulls, which can limit the options for equ ipment types if a nc\\ type of dredge is
developed overseas.

Various project elements influence the selection of the dredge type and size. These factors include
the type of material to be dredged (rock, clay, sand. si lt. or combination): the water depth; the
dredge CUI thickness. length. and width: the sea or wave conditi ons; vessel traffic conditions;
environmental restrictions; other operating restrictions: and the required completion time. In
addition. all of these facto rs impact dredge production and, as a resu lt. costs. Multiple dredges of
the same or different types may be used to expedite work or to accommodate varying conditions
within the dredging areas. Final!). regardless of the type of dredge. operations would continue 24
hours per day.

2.1.1 Hopper Dredge
The hopper dredge, or trailing suction dredge, is a self-propel led ocean -go ing ,'essel with a section
of the hull compartmented into one or more hoppers. Fitted with powerful pumps, the dredges
suck sed iment from the channe l bottom through long intake pipes. called drag anns. and store it in
the hoppers. Normal hopper dredgc configuration has two dragarms. one on each side of the vessel.
A dragann is a pipe suspended over the side of the "essel with a suction open ing called a draghead
for contact \\ ith the bottom (Figure 2). Depending on the hopper dredge, a slurry of water and
sediment is generated from the plowing of the draghead ··teeth.·· the use of high pressure \~ater
jets. and the suction veloc ity of the pumps. The dredged slurry is disuibuted wi thin the vessels
 hopper allowing ror sol ids to senle out and the water poni on of the slurry to be discharged from



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the vessel during operations through its ove rflow system. Whcn the hopper auains a full load.
dredging stops and the ship travels to an in-water disposal site, ,\ here the dredged material is
discharged through the bonom of the ship b) spliuing the hull. Some hopper dredges are capable
of pumping the material back out of the vessel and through a se ries of shore-pipe to a designated
placementldisposallocation.

Hopper dredges are \\c ll suited to dredging heavy sands. They can maintain operations safely,
effective ly. and economically in relatively rough seas and because they are mobile. they can be
used in high· traffic areas. They are often used at ocean entrances and offshore. but cannot be used
in confined or shallow areas. Hopper dredges can move quick ly to disposal sites under their own
power (maximum speed unloaded - ...=; 17 knots: maximum loaded - !: 16 knots), but since the
dredging stops during the transit to and from the disposal area. the operation loses ellicienc)" if the
haul distance is too far. Based on the rev iew of hopper dredge speed data provided by the Corps'
Silent Inspector program. the average speed for hopper dredges whi le dredgi ng is between 1-3
knots. \\ ith most dredges never exceeding 4 knOtS (Jay Rosani. ERDe: personal communication).
Hopper dredges also have se\ eral limitations. Considering their normal operating conditions.
hopper dredges cannot dredge continuously. The precision of hopper dredging is tess than other
types of dredges: therefore, they have difficu lty dredging steep side banks and connal effecth'el)
dredge around structures. Finally. hopper dredges are unable to dredge rock and highl)
consolidated materials. Therefore. they could not be used to perform the proposed expansion
dredging but cou ld be used to perform thc proposed maintenance dredging.




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Figure 2: Hopper dredge and HIrt le deflecting draghcad schematics




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2.1.2 Pipe lin e and Cutter Suction Dredge
Pipeline dredges are des igned to handle a wide range of materials including clay. hardpan. silts.
sands. gravel. and some types of rock formations without blasting. They are used for new work
and maintenance in projects where suitable placement/d isposal areas are available and operate in
an almost continuous dredging cycle resulting in maximum production, economy. and efficiency.
Pipeline dredges are capable of dredging in shallow or deep water and have accurate bottom and
side slope cutting capability. Limitations of pipeline dredges include re lative lack of mobility.
long mobilization and demobilization. inability to work in high wave action and currents, and arc
impractical in high traffic areas.

Pipeline dredges are mrely self-propelled and: therefore. must be transported to and from the
dredge site. Pipeline dredge size is based on the inside diameter of the discharge pipe which
commonly ranges from 6" lO 36." They require an extensive array of support equipment including
pipeline (floating, shore, and submerged), boats (crew. work. survey), barges. and pipe handling
equipment. Most pipeline dredges have a cunerhead on the suction end. A cutterhead is a
mechanical device that has rotating teeth to break up or loosen the bottom material so that it can
be sucked through the dredge. Some cunerheads are rugged enough to break up rock for removal
(Figure 3).

During the dredging operation a cunerhead suction dredge is held in posi tion by twO spuds at the
stem of the dredge. only one of which can be on the bottom while the dredge swings. There are
two swi ng anchors some distance from either side of the dredge. which arc connccted by steel
cable to the swing winches. The dredge swings to pon and starboard alternately. passing the cutter
through the bonom materia l unt il the proper depth is achic\'ed. The dredge advances by "walking"
itself fomard on the spuds. This is accomplished by swinging the dredge to the port, using the
pon spud and appropriate distance. then the starboard spud is dropped and the port spud raised.
The dredge is then swung an equal distance to the starboard and the port spud is dropped and the
starboard spud raised.

Cunerhead pipeline dredges \\-ork best in large areas with deep shoals. where the cutterhead IS
buried in the bouom. A cunerhead removes dredged material through an intake pipe and then
pushes it out the discharge pipeline directly into the placement site. Most, but nOI all, pipeline
dredging operations invol ve upland placement of the dredged material. Therefore, the di scharge
end orthe pipeline is connected to shore pipe. When effective pumping di stances 10 the placement
si te become too long. a booster pump is added to the pipel ine to increase the efficiency of the
dredging operation.




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                    Hydraulic Cutterhead Dredge




Figu re 3: Cuucrhead pipe line dredge schcmalic and representative close-up photographs

2.1,3 Clam she ll Dredges

Clamshell dredges are the most common of the mechanical dredges. Clamshell dredges usc a
number of different bucket types for mud. graveL rock. o r boulders. The clamshel l dredging
operation cycle [O\... ers a bucket in the open pos it ion to the bottom surface: penetrates the bottom
sediments \\ ith the weight of the bucket: closes the bucket. and ra isl's the bucket above hopper
level. swinging forwa rd to dump the material into the scow: and then the bucket swings back to
repeul lhe enti re process. The dredging depth is limited by the length orthe wire lIsed to lower the
bucket and production depends upon the bucket size. dredging depth. rind type of mmeriaJ.
Clamshell dredges arc able to \\ork in confined areas. can pick up large particles. :md are less
sensi tive to sea (wave) conditions than other dredges. Their capacit). ho"c\'er. is 10\\ and they
are unable to dig in fiml or consol idated materials. such as rock. Therefore. they could not be used
to perfonn the proposed expansion dredgi ng but could be used to pcrfonn the proposed
ma intenance dredgi ng.



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Clamshell dredges require a tug (0 move to and from the dredge and di sposa l locations. In
unconsolidated sediments. the primary environmental impact of clamshell dredges is increased
turbid ity due to the re-suspension of sedimenl s as the bucket moves through the water column.
Operational controls such as a reduct ion in bucket speed may reduce impacts. as would the use of
a closed bucket system . Sill curtains may be deployed around the dredge if water quality standards
cannot be met using operational controls. The reduction in bucket speed would al so reduce
potentia l impacts to swimm ing anima ls (sea tunics, manatee s. dolphins) whic h could be in the
construction area and possibly be missed by the required observers. Mechanica l dredges require
dedicated and qualified marine anim al observers during operations to prevent impacts to these
species. In addition. for nighttime dredging light ing must illum inate the water's surface
sufficiently for observation oft hc bucket's ent ry and exit from th e water. In addition, the dredge
lighting must be sufficient for the observers to monitor a 50· foo t radius fo r manatees.




                                  with Clamshe ll.

2.1.4 Backhoe Marine Excavator

A backhoe dredge is a back-acting excavati ng machine that is usuall y mo unted on pontoons or a
barge. The backhoe digs toward the mach ine with a bucket penetrati ng the surface from the top
of the cut face. The ope ration cycle is similar to the clamshell dredge. as are the fa ctors a ffecting
product ion. Backhoe marine excavators have accurate positioning abil ity and are able to excavate
tinn or consolidated materials. However. they are susceptib le lO swells and have low to moderate
production. Backhoe mari ne exca vators could be used to excavate unconsolidated overburden.



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fraclUred rock. and possibly some unfrac tured rock. The dredge requires a lUg to move the dredge
to and from 3 location and to move the dredged material sco\\ to and from the disposal [ocalion.

Environmental impacts from backhoe marine excavator dredging in unconsolidated sed iment arc
similar to those ofa clamshe[1 dredge. as are the operationa l controls to reduce that impact. Slo\\ ing
the movement of the bucket through the \\ater is an example of an operationa l control.
Envi ronmental impacts arc sign ificantly less for a backhoe marine excavator dredge removing
fractured (blasted) rock as the volume of fine -grained sediment is significantl) less in fractured
rock than unconsolidated sedimem and as a result the potential for sediment re-suspens ion is
reduced. The same operational controls can be applied to fractured rock as to unconsolidated
sediment. such as slo\\ ing the bucket speed in the water. Finally. as for clamshell dredges.
dedicated and qualified marine animal observers are required during operations to prevent impacts
to swimming animals (sea turtl es. manatees, dolphins) and the dredge lighting requiremen ts are
also the same as disc ussed above for clamshell dredges.

3 LISTED SPECIES & CRITICAL HABITAT IN THE ACTION AREA
Listed species under the purv iew of the US FWS \...·hich may occur in the vicinity of and may be
affected by the project include: the endangered West lndian manatee (Trichechus manaws).

4   ENVIRONMENTAL BASELINE COND ITIONS

4.1 Antillean Manatee
The Antillean manatee (Trichechlls manaws manarl/s) is a subspecies of the West Indian manatee
(Trichechlls maflatlls) and can be found throughoullhe Caribbean, including in the project arca.
The Antillean manatee inhabits the coasta l \\alers of Puerto Rico. and has been documented both
feeding and travel ing in the San Juan Bay and Harbor. Seagrass and olht=r submerged aquatic
vegetation (SA V) in the Bay provide suitable foraging habitat for the species. Furthermore, the
location of the Condado lagoon provides suitable she lter for the species (SJBEP. 20 I I). The
US FWS has j urisdiction for protection of the manatee under ESA. and has jurisdiction under the
Marine Mammal Protection Acl. This species is also protected by Law Number 241 (Wildl ife
Law of the Commom\t~alth of Pueno Rico ) and Regulation Number 6766, which regulates the
management of threatened and endangered species in I}ueno Rico.

The existing literature suggests that manatees in Pueno Rico are more commonly observed in
coastal areas from San Juan. eastward to the cast coast. (and incl uding Culebra and Vicques
Islands) and then south and \\esl. past Jobos Bay. to the west coast. and then about as far to the
northwest as Rincon. Manatees arc concentrated in several "hot spotS" including Ceiba. Vieques
Island. Jobos Bay and Boqueron Bay. and are less abundant along the north coast. bet\\een Rinc6n
and Dorado (West of San Juan). Aeria l sur'l'c) s to estimate the population size have been
completed and current preliminar)' results estimate a mean population size of 532 individuals \~ ith
a 95% confid ence interval of342 to 802 Wollock Cl al. 20(3). The Antillean manatee population
in Puerto Rico is considered stabk' (US FWS 2016).



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Manatees have been reported within the SJ B from Is la de Cabras (at the mouth ofSJ H) to the Rio
Puerto Nuevo channel (upstream of the port) mostly from public reports, dredging and construction
project monitoring reports. USCG anecdOlal reports from thei r dock area. and mortality reports.
From August 16 to August 18,2006. fou r malcs and one female adult Antillean manatees "ere
found dead in the SJB area. The cause of death fo r these animals was detennined to be human
related due to a large boat impact. Dead manatees showed signs of blunt trduma and large boat
propeller scars. When a single female is associated to a group of males. the) are forming a mating
herd and the manatees are extreme ly active and thus making themselves more visible. This event.
although unfortunate. sen es as part of the evidence that manatees do use the San Juan Bay area.
This accident may have been prevented by following idle speed zones within the San Juan Bay
andlor by having an observer on board while trans iting in that area (US FWS 2017).


5    EFFECTS OF THE ACTION

5. 1 West Indian Ma"atee
5.1.1 Effects of Dredging and Disposal
The USACE has detcnnined that dredging and disposal operations for the proposed project would
not direcliy affec t existing mangrove wetlands or SAY. In addition. temporary indi rect effects from
elevated turbidi ty le\ els during constnlction arc also nOl anticipated si nce these resources are
greater than 150m from the deepening and widening tootprint. There lo re. the proposed San Juan
I larbor expansion would have negligible effects on manatee foraging habitat.

In addition. the channe l improvements would a llo,\ for the current shipping fleet to full) load their
,essels and/or fo r fe"cr. larger sh ips to calion the port. bOlh ofwhieh would reduce the number
of pan calls and reduce lhe potential for vesse l strikes to manatees. During dredged material
disposal operations in the OOMDS or Condado lagoon. obse rvers \'ould be requ ired to monimr
for the presence of Antillean manatees. Per section 6 below. operations "ould be shmdO\\1l should
a manatee come" ithin SO-fcct or closer to in-water operati ons.

Therefore, expansion and maintenance dredgi ng, including ODMDS dumps and Condado lagoon
pipeline discharge, is not likely to adversely afTec t the manatee. This determination is consistent
with prior consultation for the maintenance dredging of SJH with Condade lagoon placement
(FWS/R4/CESF0I72127-002. May S. 2014) and is cont ingent upon the implementation of
appropriate conservation measures. Therefore, to insure manatees are not hanned by construction
equipment during dredging and disposal operations, the USFWS Standard Manatee Protection
Measures for In-Water Work will be incorporated into the plans and specifications fo r the project
(see below).




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6    ENVIRONMENTAL COMMITMENTS
Efforts 10 eliminate or s ignificantly reduce the potential impacts associated \\1111 dredging activities
wi ll be addressed by implementing the following act ions:

    a. Prior to the commencement ofconstnlclion activities. the CQmraetor will instruct all personnel
          associtlted with the project on w hich endangered species may be in the (I rca, and on the civil
          and criminal penalties for hann ing, harassing, or killing them.

    b. Construction access and slaging areas w ill be identi fied in the CCOlmet plans and speci licalian.
       Contractor vehicles. conSlnJct ion equi pment. and slOrage faci lities will be required to stay
       within the idcnti lied construction area.

    c.    Any incident involving the death or injury of any listed threatened Of endangered species
          described in this Biological Assessment shall be immcdiatel~ reported to the U.S. A nny Corps
          of Engineers (Jacksonville) and the U.S. Fish and Wildlife Service (Baqueron).

    d . All personnel associated \\ ith the project shall be instructed about the presence ofmanatccs
        and manatee speed zones. and the need to avoid collisions \\ ith manatees. Construction
        personnel shall be advised that there are c.ivil and crimi nal penalt ies for hanning. harassing.
        o r killing manatees. wh ich are protected under the Mar ine Mammal Protect ion Act. the
        Endangered Spec ies Act. and the Florida ,Vlanatee Sanctuary Act.

    c. All \essels assoc iated wi lh Ihe construct ion proj ect shall operate at "Idle SpeedfNo Wake"
       a t all t imes \I,.hile in the immediate area and while in \\ater \\here the draft of the \ essel
       provides less than a four~foot clearance from the bouom. All \essels \\·ill fol low routes of
       deep water whc:never poss ible.

    f.    Siltation or turbidity barriers shall be made of material in \\ hich manatees cannot become
          ema ngled. shall be properly secured. and sha ll be regularly monitored to avoi d manatee
          entanglemem or cmrapment. Barriers must not impede manatee mm cment .

    g. All on ~ s ite project personnel are respons ib le for observing \\ilter-related activities fo r the
       presence of manatec(s). Al l in-water operat ions. includ ing vessels. must be shutdown if a
       manatcc(s) comes within 50 feet of the operation. Activities \\ ill not resume until the
       manatec(s) has moved beyond the 50~ foQ( radi us of the project operation. or until 30
       mi nutes elapses if the manatee(s) has not reappeared \\ith in 50 feet of the operation.
       Animals must not be herded away or harassed inlo lea\ ing.

    h. Any co ll ision with or injury to a manatee shall be re pon ed immediately to the FWC Hotl ine
       at 1-888-404-FWCC Collision and 'or injur) s hould also be reported to the U.S . Fish and
       Wild l ife Service in Jacksonvi lie (I ·904 ~ 73 I ~33 36).




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    L     Temporary signs concerning manatees shall be posted prior 10 and du ring all in-\\aler
          project act ivities. All signs are to be rerno\'ed b~ the penniuee upon completion of the
          projecl. Awareness signs that ha\ e alrend) been approved for this use b) the Florida Fish
          and Wildlife Conservation Commission (F WC) must be used (see l\JlyFWC.com). One
          sign which reads emllion: Manalee Habilal must be posted. A second sign measuring at
          least 8 1,11" by II" explaining the requirements for " Idle SpcedINo Wakc" and the shutdown
          of in-water operations mu st be posted in a location promi nently visible to all personnel
          engaged in \\ater-related activi ties.

In addition to these standard cond itions. for mechanical dredging these additional measures would be
implemented:

   j.     Two dedicated, qualified manatee observers will be present during mechanical dredging
          work.

    k. To reduce the risk ofa vessel crushing a manatee. the Penninee shall install and maintain the
       proposed wharf fenders to prm ide sufficient standoff space of at least four (4) feet under
       ma.ximum designed compression. Fenders or buoys provid ing a min imum st:lIldofT space of
       at least fo ur (4) feet under maximum designcd compression shall also be utilized between two
       vesse ls that arc moored together such as. but nOI limited to. tbe mooring of the scow and
       dredge barges .

    1.    During clamshell operations. the dredge operator shall gra\ il~·release the clamshell bucket
          only at the waters surface. and only after confinnation that there are no manatees within the
          50-foot safety d istance during the da) or the 75- foo t distance during nighttime operations.
          The observers shal l notiry the dredge operator if manatees enter wi thin the designated safety
          distances.


7 CONCLUSIONS
In conclusion, due to the inclusion of USF WS Standard Manmee PrOlection Measures the Corps
has determined that the proposed action may a ffect , but is not likel) to adverse ly affect. Antillean
manatee . Based on this detennination. the USAC E requests that the US FWS concur with our
detenninution for the Antillean manatee.




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              United States Department of the Interior

                         FISH AND WILDLIFE SERVICE
                               Caribbean Ecological Services
                                       Field Office                                   FlLEDbY~
                                       P.O.Box491
                                   Boqueron, PR 00622
In Reply Refer To:
FWS/R4/CESF0I72127-002               DEC 01 1015


Mr. David A. Tipple
Interim Chief, Planning and Policy Division
US Anuy Corps of Engineers
Jacksonville District
701 San Marco Boulevard
Jacksonville, Florida 32207-8175

                                      Re: Feasibility Study for the San Juan Harbor
                                      Navigation Project, San Juan, Puerto Rico

Dear Mr. Tipple:

This is in reply to your October 15, 2015, Notice ofIntent to carry out a dredging project
in San Juan Harbor, and your letter dated October 8, 2015, inviting the Service to become
a cooperating agency for an Environmental Impact Statement (ElS) associated with a
feasibility study for the San Juan Harbor Navigation Project. Our comments are provided
in accordance to the Endangered Species Act (87 Stat. 884, as amended; 16 United
States Code 1531 et seq.) and the Fish and Wildlife Coordination Act (48 Stat. 401, as
amended; 16 U.S.C. 661 et seq.). The Service has been coordinating with the Corps for
dredging actions in San Juan Bay since 1993.

As we discussed during the project seoping meeting, our comments are focused on the
need to assess possible effects of the dredging and future disposal of dredged materials to
aquatic resources and the Antillean manatee.

Ocean Disposal:
At present time, the Corps will examine measures to improve navigation in the San Juan
Harbor by deepening and widening certain channels and anchorage areas within the
harbor. Specific dredging areas and how much material will be dredged have not yet
been detennined. The dredged material is expected to be suitable for placement in the
Ocean Dredged Material Disposal Site (ODMDS) located a few miles from the harbor's
entrance. Based on the preliminary infonnation in your communication, some material
may be suitable for placement in dredged holes and for other mitigation purposes.

In addition, the new dredging being contemplated in the inner harbor may re-suspend or
expose layers of contaminated sediments currently not available to marine organisms.




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The quality of the sediments to be dredged needs to be evaluated for potential impacts
and suitability for disposal in the San Juan ODMDS.

Antillean manatee:
The San Juan Harbor is located within the range of the Antillean manatee. Although
quality of manatee habitat within the San Juan Bay has decreased over time, manatees
continue to use the San Juan Bay. Due to the high turbidity of the waters of San Juan
Bay. manatee counts during aerial surveys are low. Ho\.vever, the use of the San Juan
Bay area by manatees has been documented by public reports, dredging and construction
project reports, mOliality reports and USCG anecdotal reports from their dock area.
:Manatees have been repOrted at the entrance to San Juan Bay, Condado Lagoon, Coast
Guard station, and in the Rio Puerto Nuevo, and are not limited to these areas.

In 2012, the Service, under contract, completed the study titled Science Summary in
Support of Manatee Protection Area Design in Puerto Rico (Drew et al2012). This study
identified areas and characterized the three key ecological attributes (i.e. seagrass,
freshwater, shelter) necessary to support manatee populations and identified areas vmere
take can be reduced from watercraft related threats. The San Juan Bay area was
described to provide a high shelter value for manatees, having at least one or more
freshwater sources, having a high motorized watercraft threat, and was not associated
with a seagrass hotspot

The only mass manatee mortality event that has occurred in Puel10 Rico took place
within the San Juan Harbor/Bay area. On August 16 to August 18, 2006, four males and
one female adult Antillean manatees were found dead in the San Juan Harbor/Bay area.
111e cause of death for these animals was detennined to be human related due to a
watercraft impact. Carcasses showed signs ofbhmt trauma and large boat propeller
scars. It is believed these manatees were forming a mating herd and the accident could
have been prevented by following idle speed zones within the San Juan HarborlBay
andJor hav-ing observers on board while transiting in that area.

Both the Service and the Corps have developed manatee conservation measures to avoid
and minimize potential in-water project effects on the manatee. These conservation
measures can be used for the proposed project as appropriate. Some example measures
include: manatee observers before and during construction, manatee awareness, and
appropriate signage, li'-mong others.

As. previously mentioned, the Service is interested on collaborating with the Corps for the
designing and implementing of proactive conservation measures for the Antillean
manatee in accordance with Section 7(a)(l) of the Act. Some examples of Section
7(a)(I) opportunities for the conservation of the manatee that could be implemented on
this project include:
    • Develop and implement a navigational aids plan for the San Juan Bay focused on
        avoiding and minimizing watercraft threats on the manatee.
     • Support ongoing efforts to study manatee use within the San Juan Bay. The
        Service has a project with the PR Manatee Conservation Center and the DNER to




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         assess the health of manatees within the San Juan Bay and track manatees to study
         movement patterns and habitat use within the San Juan Bay.
     •   Develop a manatee specific education campaign using existing and new
         alternatives and media sources.

 The San Juan Bay also harbors in-water habitat for the federally listed hawksbill
 (Eretmochelys imbricata) and green (Chelonia mydas) sea turtles. There is also the
 potential for a hawksbill nesting in the area of the Palo Seeo peninsula that needs to be
 considered when evaluating potential effects of the proposed project. In addition, as for
 the manatee, there are a number of already described measures for avoiding and
 minimizing effects on sea turtles III the water for the proposed project. Please contact the
 NOAA Fisheries Caribbean Field Office regarding possible effects on sea turtles in the
 water.

Aquatic resources:
While San Juan Harbor has been extensively modified as a commercial port, there are
patches of aquatic vegetation and other habitats that remain in the area. The proposed
channel widening and expansion of the Army Tenninal turning basin has the potential of
impacting remaining sea grasses and hardgrounds within the San Juan Bay area. Based
on our preliminary assessment of the NOAA benthic habitat maps (200 1) and the
drawings of the proposed actions, the expansion of the turning basin may impact a 69
acre area of sea grasses. 8eagrass beds provide foraging opportunities for the Antillean
manatee within San Juan Bay, in addition they serVe as important habitats for
commercially important fish species and other marine organisms.

 However, the distribution and extent of seagrass and other benthic habitats within San
 Juan Bay are not well documented because of the turbidity of the waters or outdated
 infonnation. Thus, there is a need to better document the extent of marine habitats within .
.San Juan Bay to be affected by the project. As part of the feasibility study, benthic
 surveys along the proposed project site should be conducted to quantifY the project
 impacts on marine habitats. Once project impacts are identifies, appropriate mitigation
 measures should be developed to compensate for those impacts.

 The Corps and the Service have fonnally committed to work together to conserve,
protect, and restore fish and wildlife resources while ensuring environmental
 sustainability of our Nation's water resources under the January 22, 2003, Partnership
Agreement for Water Resources and Fish and Wildlife. Accordingly, the Service would
be pleased to serve as a cooperating agency in developing the Environmental Impact
Statement (EI8) for the proposed project in accordance with applicable NEPAICouncil on
Enviromuental Quality guidance. Our participatiof!. will be specifically limited to:
        (1) participating in meetings and field trips to obtain baseline information on
project-area fish and wildlife resources;
        (2) eValuating the proposed project's impacts to wetlands
and associated fish and wildlife resources, and assisting in the development of measures
to avoid, minimize, and/or compensate for those impacts (including project alternatives);
and,




                                                                                            FWS_01392
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Mr. Tipple                                                                              4

        (3) providing technical assistance in the development of a Biological Assessment
describing the impacts of the proposed activity to federally listed threatened or
endangered species and/or their critical babiiat.

Agreeing to be a coopemting agency does not preclude the Service from providing
couunents on the draft and final NEPA documents and does not ensure our support oflhe
ftnal selected plan.

]fyou have any questions regarding our conunents please feel free to contact Mare1isa
Rivera at 787 851-7297 x 206.

                                            Sincerely yours,


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                                         X.A-"'<J I ('\
                                            Edwin E.      uni
                                            Field Supervis

cc:
COE, Planning, Jacksonville
DNER, San Juan
EPA,NewYorl<
NMFS, Boqueron
NMFS, San Juan




                                                                                        FWS_01393
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                                                 UNITED STATES DEPARTMENT OF COMMERCE
                                                 National Oceanic and Atmospheric Administration
                                                 NATIONAL MARINE FISHERIES SERVICE
                                                 Southeast Regional Office
                                                 263 13th AvenLte South
                                                 51. Petersburg, Florida 33701-5505
                                                 http://sero.nmfs.noaa.gov


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                                                        AfAY!9 2018

Gina Paduano Ralph, Ph.D.
Chief, Environmental Branch
Planning and Policy Division
Jacksonville District Corps of Engineers
Department of the AITI1Y
701 San Marco Boulevard
Jacksonville, Florida 32207-0019

Ref: San Juan Harbor (SJH) Expansion, San Juan, Puerto Rico

Dear Sir or Madam:

The enclosed Biological Opinion C'Opinion") responds to your request for consultation with us,
the National Marine Fisheries Service (NMFS), pursuant to Section 7 of the Endangered Species
Act (ESA) for the following action.

The Opinion considers the effects of the U.S. Army Corps of Engineers (USACE) proposal to
conduct dredging to expand the SJH and dispose of associated dredge material on the following
listed species and/or critical habitat: leatherback, green (North Atlantic [NA] and South Atlantic
[SA] distinct population segments [DPS]), hawksbill , and loggerhead (Northwest Atlantic
[NWA] DPS) sea turtles; sperm, sei, blue and fin whales; elkhorn, staghorn, pillar, rough cactus,
mountainous star, lobed star, and boulder star corals; scalloped hammerhead sharks (Southwest
Atlantic [SWA) DPS); Nassau grouper; giant manta ray; and designated critical habitat for
elkhorn and staghorn corals. NMFS concludes that the proposed action is not likely to adversely
affect leatherback sea turtles, sperm, sei, blue, and fin whales, elkhorn, staghorn, pillar, rough
cactus, mountainous star, lobed star, and boulder star corals, scalloped hammerhead sharks,
Nassau grouper, and designated critical habitat for elkhorn and staghorn corals. NMFS also
concludes that the proposed action may adversely affect but is not likely to jeopardize the
continued existence of green, loggerhead, and hawksbill sea turtles.




                                                                                               NMFS_00004
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We look forward to further cooperation with you on other projects to ensure the conservation of
our threatened and endangered marine species and designated critical habitat. If you have any
questions on this consultation. please contact Kelly Logan, Consultation Biologist, by phone at
727-460-9258_ or by email at Kelly.Logan@noaa.gov.




                                                   ;F~
                                                    Roy E. Crabtree, Ph.D.
                                                    Regional Administrator

Enclosure
File: 1514-22.F.9




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                     Endangered Species Act - Section 7 Consultation
                                                                             MAY U 2018
                                  Biological Opinion


Action Agency:             U.S. Anny Corps o f Engineers (USACE), Jacksonville District

Activity:                  U.S. Army Corps of Engineers (USACE), Jacksonville District

                           Expansion of SJH, San Juan, Puerto Rico

Consulting Agency:         Protected Resources Division
                           Southeast Regional Office
                           National Marine Fisheries Servi ce

                           Consultation Number SER-2017-18 763




Approved by:
                           Roy E. Crab ce, Ph.D., Regional Administrator
                           NMFS. So heast Regional O ffi ce
                           SI. Petersburg, Florida

Date Issued:




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Acronyms and Abbreviations
ATON      Aids To Navigation
BIRNM     Buck Island Reef National Monument
CFMC      Caribbean Fisheries Management Council
CPUE      Catch Per Unit Effort
DPS       Distinct Population Segment
DTRU      Dry Tortugas Recovery Unit
DWH       Deep Water Horizon
EEZ       Exclusive Economic Zone
EPA       Environmental Protection Agency
ESA       Endangered Species Act
FMP       Fisheries Management Plan
FP        Fibropapillomatosis
FWCC      Florida Fish and Wildlife Conservation Commission
FWRI      Florida Wildlife Research Institute
GADNR     Georgia Department of Natural Resources
GCRU      Greater Caribbean Recovery Unit
HMS       Highly Migratory Species
ITS       Incidental Take Statement
NAD83     North American Datum 1983
NCWRC     North Carolina Wildlife Resources Commission
NGMRU     Northern Gulf of Mexico Recovery Unit
NMFS      National Marine Fisheries Service
NOAA      National Oceanic and Atmospheric Association
NOS       National Ocean Service
NRC       National Research Council
NRU       Northern Recovery Unit
NTUs      Nephelometric Turbidity Units
ODMDS     Ocean Dredged Material Disposal Site
Opinion   Biological Opinion
PRDNER    Puerto Rico Department of Environment and Natural Resources
RPMs      Reasonable and Prudent Measures
SARBO     South Atlantic Regional Biological Opinion
SCDNR     South Carolina Department of Natural Resources
SCL       Straight Carapace Length
SEFSC     Southeast Fisheries Science Center
SJH       San Juan Harbor
SMMP      Site Management and Monitoring Plan
TEWG      Turtle Expert Working Group
USACE     U.S. Army Corps of Engineers
USCG      United States Coast Guard
USFWS     U.S. Fish and Wildlife Service
USVI      U.S. Virgin Islands


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Units of Measurement

in                inch(es)
ft                foot/feet
m                 meter(s)
mm                millimeters
cm                centimeter(s)
kt                knots
kg                kilograms
lb                pound(s)
oz                ounces
yd                yard(s)
ft2               square foot/feet
yd3               cubic yards




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Background

Section 7(a)(2) of the Endangered Species Act (ESA) of 1973, as amended (16 U.S.C. § 1531 et
seq.), requires each federal agency to “insure that any action authorized, funded, or carried out
by such agency is not likely to jeopardize the continued existence of any endangered or
threatened species or result in the destruction or adverse modification of critical habitat of such
species.” Section 7(a)(2) requires federal agencies to consult with the appropriate Secretary on
any such action. National Marine Fisheries Service (NMFS) and the U.S. Fish and Wildlife
Service (USFWS) share responsibilities for administering the ESA.

Consultation is required when a federal action agency determines that a proposed action “may
affect” listed species or designated critical habitat. Consultation is concluded after NMFS
determines that the action is not likely to adversely affect listed species or critical habitat or
issues a Biological Opinion (“Opinion”) that identifies whether a proposed action is likely to
jeopardize the continued existence of a listed species, or destroy or adversely modify critical
habitat. The Opinion states the amount or extent of incidental take of the listed species that may
occur, develops measures (i.e., reasonable and prudent measures - RPMs) to reduce the effect of
take, and recommends conservation measures to further the recovery of the species. Notably, no
incidental destruction or adverse modification of designated critical habitat can be authorized,
and thus there are no RPMs—only reasonable and prudent alternatives that must avoid
destruction or adverse modification.

This document represents NMFS’s Opinion based on our review of impacts associated with the
U.S. Army Corps of Engineers (USACE) proposed action within San Juan, Puerto Rico. This
Opinion analyzes the project’s effects on threatened and endangered species and designated
critical habitat, in accordance with Section 7 of the ESA. We based it on project information
provided by the USACE and other sources of information, including the published literature
cited herein.


1   CONSULTATION HISTORY

We received your letter requesting consultation on July 17, 2017. We requested additional
information during a teleconference on November 8, 2017, and via email on November 30, 2017.
We received a final response on December 1, 2017, and initiated consultation that day.

NMFS previously issued a concurrence letter (SER-2013-10961) on the placement of dredged
material into the beneficial use area of the Condado Lagoon for seagrass restoration and
determined that it was not likely to adversely affect any ESA-listed sea turtles or corals. NMFS
also issued 2 concurrence letters (SER-2005-3186 and SER-2010-2658) for the use of the SJH
Ocean Dredged Material Disposal Site and determined that it was not likely to adversely affect
any ESA-listed sea turtles, elkhorn and staghorn corals, whale species, or coral critical habitat.




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2     DESCRIPTION OF THE PROPOSED ACTION AND ACTION AREA

2.1        Proposed Action

The USACE proposes to conduct dredging to expand the SJH. The proposed action can be seen
in Figure 1, below, and includes the following activities:

      1.   Dredging to remove approximately 2.1 million cubic yards (yd3) of material.
      2.   Deepen Cut-6 from 42 feet (ft) to 46 ft.
      3.   Deepen Anegado Channel from 40 to 44 ft.
      4.   Deepen Army Terminal Channel from 40 to 44 ft and widen by 100 ft.
      5.   Deepen Army Terminal Turning Basin from 40 to 44 ft.
      6.   Deepen San Antonio Channel and Cruise Ship Basin East from 30 to 36 ft.
      7.   Placement of dredged material in the SJH Ocean Dredged Material Disposal Site
           (ODMDS) or the Condado Lagoon for seagrass restoration.

The construction will be performed using a variety of dredging methods which may include
cutterhead, clamshell, hopper dredge, and/or backhoe. Methods of transporting dredged material
to disposal sites may include self-propelled transport via hopper dredges or towing/pushing of
loaded barges to disposal sites via tugboats. Dredged material will be transported and disposed
of within the SJH ODMDS or transported and placed in previously dredged holes within the
Condado Lagoon as beneficial use to restore seagrass habitat. Dredge material would be
transported to the Condado Lagoon through the San Antonio Channel and then pumped into the
Lagoon via pipeline. Bed leveling may also be used to redistribute sediments after dredging is
completed.

The USACE reports that it has determined, based on geotechnical investigations, the material to
be dredged is primarily silts and clay, historically and currently transported from upland areas by
rivers and streams and deposited into SJH. More specifically, the material is soft clay and stiff
plastic clay. The USACE’s biological assessment notes that sand and gravel mixes with some
limestone and sandstone were also encountered.

The USACE initially proposed to use relocation trawling; however, relocation trawling is
authorized only when it can be done safely as a means to reduce sea turtle mortalities. Given the
low number of sea turtles expected in and around the action area, NMFS and the USACE now
agree that relocation trawling is not warranted for this project. Therefore, relocation trawling is
not authorized by this Opinion.

In order to reduce the chances of turbidity and sedimentation impacts to ESA-listed corals and
designated critical habitat from dredging and potential leaks from disposal vessels, the USACE
will work in conjunction with the NMFS to develop a turbidity monitoring plan for inclusion in
the project The monitoring plan will include turbidity monitoring stations adjacent to ESA-listed
corals (if any are found during the pre-construction resource surveys) and at the edges of the
designated critical habitat for elkhorn and staghorn corals near the disposal vessel transit route.
The exact number and locations of the monitoring stations will be determined and detailed in the
collaborative monitoring plan. Turbidity in these locations must not exceed 7 Nephelometric

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Turbidity Units (NTUs) above background as measured at the control locations positioned 200
meters (m) upstream of the dredge. The monitoring plan will include adaptive management
measures to be implemented to mitigate turbidity in the event that turbidity exceeds 7 NTUs
above background at these locations. Adaptive management may include measures to correct
disposal vessel leakage, reducing overflow, etc.

The USACE will require their contractor(s) to follow the Terms and Conditions in the 1997
(Appendix A) and 1995 South Atlantic Regional Biological Opinions (SARBO) (or any
subsequent SARBO, when issued), with the exception of the conditions related to the southeast
United States’ North Atlantic Right Whale calving area, because the proposed project is not
located in or near the calving area. The USACE will also incorporate the protective measures of
NMFS’ Sea Turtle and Smalltooth Sawfish Construction Conditions 1 into the project plans and
specifications. The USACE will also adhere to the conditions in the February 1, 2011,
Environmental Protection Agency’s (EPA’s) Site Management and Monitoring Plan (SMMP) for
use of the ODMDS (Appendix B), including measures to limit sedimentation and NMFS’ Vessel
Strike Avoidance Measures 2. Dredging is expected to occur year round and last approximately
14 months.




1
  NMFS. 2006b. Sea Turtle and Smalltooth Sawfish Construction Conditions revised March 23, 2006. National
Oceanic and Atmospheric Administration, National Marine Fisheries Service, Southeast Regional Office, Protected
Resources Division, Saint Petersburg, Florida.
http://sero.nmfs.noaa.gov/protected_resources/section_7/guidance_docs/documents/sea_turtle_and_smalltooth_sawf
ish_construction_conditions_3-23-06.pdf, accessed June 2, 2017.
2
  NMFS Southeast Region Vessel Strike Avoidance Measures and Reporting for Mariners; revised February 2008.
http://sero.nmfs.noaa.gov/protected_resources/section_7/guidance_docs/documents/copy_of_vessel_strike_avoidanc
e_february_2008.pdf

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Figure 1. Project components. Figure is from cover page of Biological Assessment-San
Juan Harbor Improvement Study, USACE, July 13, 2017.
2.2    Action Area

The action area is defined by regulation as “all areas to be affected directly or indirectly by the
federal action and not merely the immediate area involved in the action” (50 CFR 402.02). The
center of the SJH project site is located at latitude 18.449907°N, longitude 66.114265°W (North
American Datum 1983 [NAD83]) (Figure 1). The action area includes the SJH (specific
channels to be dredged are also shown in Figure 1.)

The action area also includes the Condado Lagoon (18.458055°N, 66.081298°W [NAD83])
(Figure 2), and the disposal vessel transit route through the San Antonio Channel between the
lagoon and dredge site.

The action area also includes the ODMDS (18.502833°N, 66.158667°W, 18.502833°N,
66.141333°W, 18.519500°N, 66.141333°W, 18.519000°N, 66.158667°W [NAD83]) (Figure 3)
and the disposal vessel transit route between the ODMDS and the dredge site. The ODMDS is
approximately 1 square mile in area, located about 2.2 nautical miles northwest of the entrance to
SJH in the Atlantic Ocean, with an average water depth of 965 ft.


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Figure 2. SJH project location and Condado Lagoon (©2017 Google)




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Figure 3. ODMDS location (©2017 Google).
3   STATUS OF LISTED SPECIES AND CRITICAL HABITAT

Tables 1 and 2 below provide a list of the ESA-listed species and critical habitat that may occur
in or near the action area.


Table 1. Effects Determination(s) for Species the Action Agency or NMFS Believes May Be
Affected by the Proposed Action

                                                   ESA          Action Agency
                                                                                   NMFS Effect
                    Species                      Listing            Effect
                                                                                   Determination
                                                  Status        Determination
                                           Sea Turtles
 Green (North Atlantic and South Atlantic
                                                      T              LAA                LAA
 distinct population segments [DPSs])
 Leatherback                                          E             NLAA               NLAA
 Loggerhead (Northwest Atlantic Ocean DPS)            T             LAA                LAA
 Hawksbill                                            E             LAA                LAA
                                               Fish

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                                                             ESA          Action Agency
                                                                                                NMFS Effect
                       Species                              Listing           Effect
                                                                                                Determination
                                                            Status        Determination
    Nassau Grouper                                             T              NLAA                   NLAA
    Scalloped hammerhead shark (Southwest
                                                      T            NLAA                              NLAA
    Atlantic DPS)
    Giant manta ray 3                                 T            NLAA                              NLAA
                                   Invertebrates and Marine Plants
    Elkhorn coral (Acropora palmata)                  T            NLAA                              NLAA
    Staghorn coral (Acropora cervicornis)             T            NLAA                              NLAA
    Boulder star coral (Orbicella franksi)            T            NLAA                              NLAA
    Mountainous star coral (Orbicella faveolata)      T            NLAA                              NLAA
    Lobed star coral (Orbicella annularis)            T            NLAA                              NLAA
    Rough cactus coral (Mycetophyllia ferox)          T            NLAA                              NLAA
    Pillar coral (Dendrogyra cylindrus)               T            NLAA                              NLAA
                                           Marine Mammals
    Blue whale                                        E            NLAA                              NLAA
    Fin whale                                        E              NLAA               NLAA
    Sei whale                                        E              NLAA               NLAA
    Sperm whale                                      E              NLAA               NLAA
    E = endangered; T = threatened; NLAA = may affect, not likely to adversely affect; LAA =
    likely to adversely affect


Table 2. Critical Habitat NMFS Believes May Be Affected by the Proposed Action

    Species             Unit
    Staghorn and
                        Area 2: Puerto Rico and associated Islands Unit
    elkhorn coral


3.1       Species and Critical Habitat Not Likely to be Adversely Affected

Whales
We believe that the proposed action is not likely to adversely affect blue, fin, sei, or sperm
whales. Potential effects to these species are limited to the following: temporary avoidance of
the area during offshore transportation and disposal operations, injury from potential interactions
with construction equipment (e.g., a dredge or disposal vessel striking a whale), and effects from
disposal of dredged material. The dredge crew and contractors will be required to abide by
NMFS’s Southeast Region Vessel Strike Avoidance Measures and Reporting for Mariners, per



3
 NMFS published a final rule to list the giant manta ray under the Endangered Species Act as threatened on January
22, 2018 (83 FR 2916), effective February 21, 2018.

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the ODMDS SMMP, and all dredges will be required to have NMFS-approved endangered
species observers aboard, per the SARBO.

Whales are not expected to be present within the harbor itself and so should not be in the vicinity
of the dredging. Whales are also not expected to be present in the vicinity of the Condado
Lagoon dredge material disposal site or transit routes. However, whales could be present near
the ODMDS or along the disposal routes.

Whales may avoid the area around the ODMDS disposal site and vessel routes due to presence of
construction equipment and related noise. The disposal is occurring in the open ocean
environment, and similar habitat, which would support the same activities by whales, surrounds
the project area. Thus, any animals disrupted by the disposal activities would be expected to
continue to conduct the same activities in the surrounding areas that are not being disrupted by
the project. Therefore, NMFS believes that avoidance effects will be temporary and insignificant.

NMFS has previously consulted on disposal operations in the ODMDS (SER-2005-03186 and
SER-2010-02658) and determined that effects from vessel strikes from transiting vessels and
exposure to dredge materials are not likely to adversely affect listed whale species (NMFS
2010). The USACE will dispose of material at the ODMDS in a manner consistent with the
activities described in that previous consultation. We have no new information indicating that
the conclusions in that consultation is no longer valid, and accordingly conclude the effects to
blue, fin, sei, and sperm whales from disposal of dredged materials at the ODMDS will be either
insignificant or discountable.

Leatherback sea turtles
Leatherbacks are not expected within the SJH because their life history, sheltering, and foraging
requirements are not met within SJH. Leatherback sea turtles have a pelagic, deepwater life
history, where they forage primarily on jellyfish. Further, no leatherbacks have been reported
within the San Juan Bay. Leatherback nesting has been reported within the Condado Lagoon.

The first disposal option is placement of dredged material in the ODMDS. NMFS has previously
consulted on disposal operations at the ODMDS (SER-2005-03186 and SER-2010-02658) and
determined that effects from vessel strike from transiting vessels, exposure to dredge materials,
and impacts to sea turtle habitat from dredge material spillage or vessel groundings are not likely
to adversely affect listed leatherbacks or other listed sea turtles (NMFS 2010). As discussed
above, the USACE will dispose of material at the ODMDS in a manner consistent with the
activities described in those previous consultations. We have no new information indicating that
the conclusions in those consultations are no longer valid, and accordingly conclude all the
effects to leatherback sea turtles from disposal of dredged materials at the ODMDS will be either
insignificant or discountable.

Dredged material may also be used to fill previously dredged holes within the Condado lagoon to
restore seagrass habitat. NMFS has previously consulted on this action, and determined that the
restoration may affect, but is not likely to adversely affect leatherbacks or other listed sea turtles
(NMFS 2014a). The USACE will conduct the proposed disposal of dredged materials in
Condado Lagoon in a manner consistent with the activities consulted on in that consultation. We


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have no new information regarding effects to leatherbacks as a result of the proposed restoration,
and therefore conclude that any effects on leatherbacks associated with transit and disposal of
dredged materials within the Condado lagoon will be discountable.

Even if leatherbacks are present in SJH, NMFS concludes that hopper and non-hopper dredging
activities may affect, but are not likely to adversely affect, leatherback sea turtles. There has
never been a reported take of a leatherback by a hopper dredge. Even if a leatherback turtle were
to enter SJH, this species is unlikely to be entrained in hopper dredges, because the typical adult
or sub-adult leatherback is as large as or larger than the industry-standard California-type hopper
dredge trailing-suction draghead. Additionally, the California-type draghead design and level
position during dredging (as opposed to more upright positioning of other dredge types), makes
it less likely to entrain larger sea turtles (Studt 1987). NMFS determined in the 1997 SARBO
that leatherback sea turtles are unlikely to be adversely affected by hopper dredging, and we have
not received any new information that would change the basis of this determination.

NMFS has previously determined in dredging Opinions (NMFS 1991; NMFS 1995; NMFS
1997b; NMFS 2003a) that non-hopper type dredging methods (e.g., clamshell or bucket
dredging, cutterhead dredging, pipeline dredging,) are slower and unlikely to adversely affect
leatherback or other listed sea turtles. Sea turtles are highly mobile species and can avoid
interactions with these slow moving dredge types. Further, NMFS believes that sea turtles are
likely to avoid the areas during construction, due to the noise and associated disturbances. Thus,
NMFS believes that injury or death from interactions with clamshell and/or hydraulic dredging
equipment is extremely unlikely to occur, and is, therefore, discountable.

Leatherback or other sea turtles may be susceptible to being crushed by bed levelers if they
remain burrowed into the sea floor as the bed leveler passes over them. The USACE performed
a review of data from the use of bed leveling devices at Port Everglades, Port Canaveral, Miami
Harbor, and Palm Beach Harbor did not find any correlation between bed leveling and sea turtle
injuries or increased strandings (USACE 2013). Sea turtles are known to burrow into the sea
floor when the water temperatures are cold; however, sea turtles are not expected to burrow in
the SJH project area due to the year-round warm water temperatures at this location. Based on
the above information NMFS believes that effects from bed leveling will be discountable.

Leatherback or other sea turtles may be temporarily unable to use portions of the action area for
forage and shelter habitat due to avoidance of construction activities and related noise. The
action area is surrounded by similar habitat, which would support the same activities by sea
turtles. Thus, any animals disrupted by the dredging activities would be expected to continue to
conduct the same activities in the surrounding areas, which are not being disrupted by dredging.
NMFS believes that those avoidance effects will be temporary and insignificant. Additionally
the previous consultations for the ODMDS (SER-2010-2658) and the Condado lagoon (SER-
2013-10961) found that effects to sea turtles from impacts to forage and shelter habitat were
discountable. Based on the above information, we believe that all the effects to leatherback sea
turtles will be either insignificant or discountable.




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Scalloped Hammerhead, Giant Manta Ray, and Nassau Grouper
Scalloped hammerhead sharks, giant manta ray, and Nassau grouper are unlikely to be found
within the SJH and have not been reported within the San Juan Bay. The final rule listing DPS’s
of scalloped hammerhead shark as threatened, including the Southwest Atlantic DPS where
Puerto Rico is located, indicated that we have not been able to establish that the species is
present in waters around Puerto Rico (80 FR 71774). Giant manta ray are typically found in
offshore in the open ocean and sometimes may be found around nearshore reefs and estuarine
waters; none of these conditions are found within the SJH. Giant manta ray may transit the area
around the ODMDS or vessel disposal routes. Nassau grouper are found in offshore waters
among coral and hardbottom. These conditions are not present with the SJH but the species may
be found transiting near the disposal routes in areas where hardbottom is present. Direct,
physical injury impacts to these species are not expected from construction machinery or
materials because scalloped hammerhead sharks, giant manta ray, and Nassau grouper have the
ability to detect and move away from dredge and disposal vessels. Thus, direct physical impacts
are considered extremely unlikely to occur and are therefore discountable.

NMFS previously analyzed the disposal of sediments from the SJH area into the ODMDS (SER-
2010-2658) and determined that the deposition of materials would not impact ESA-listed sea
turtles or whales. NMFS believes that this same rationale applies to scalloped hammerhead
sharks, Nassau grouper, and giant manta ray, including possible effects from exposure to
contaminants in the material or in the water column. Monitoring data indicate that levels of
cadmium, chromium, mercury, nickel, and lead from samples taken in the ODMDS do not
exceed the maximum concentrations for acute toxicity to aquatic organisms, but that the high end
of the range of concentrations for arsenic, copper, and zinc do sometimes exceed these
concentrations. However, arsenic occurs naturally in the volcanic soils of Puerto Rico and
copper was used as an anti-fouling agent for vessels for many years and the dredge materials are
from an active port. Further, neither EPA nor the USACE have reported that monitoring
undertaken as part of the SMMP or reports from completed disposal activities indicate that the
benthic habitat or water or sediment quality have been significantly altered in the area of the
ODMDS. Therefore, NMFS believes that impacts to scalloped hammerheads, Nassau grouper,
and giant manta ray related to exposure to contaminants in the dredge spoil during disposal in the
ODMDS will be discountable.

Scalloped hammerhead sharks, giant manta ray, and Nassau grouper may be temporarily unable
to use the area around the disposal vessel transit routes for forage and shelter habitat due to
avoidance of construction activities and related noise. The action area is surrounded by similar
habitat, which would support the same activities by these species. Thus, any animals disrupted
by the disposal activities would be expected to continue to conduct the same activities in the
surrounding areas that are not being disrupted by the project. Therefore, NMFS believes that
avoidance effects will be temporary and insignificant. Based on the above information, we
believe that all the effects to scalloped hammerhead sharks, giant manta ray and Nassau grouper
will be either insignificant or discountable.

ESA-listed Corals
All 7 species of ESA-listed corals may be found in and around the action area. NMFS believes
that the proposed action may affect, but is not likely to adversely affect all 7 species of ESA-


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listed coral. No corals were recorded by the USACE or NMFS habitat conservation division
staff during towed video surveys within the dredging areas and there will be no direct removal of
ESA-listed corals as part of the project. ESA-listed corals may be found near the vessel disposal
routes, particularly near the mouth of the SJH and may be affected by sedimentation and
turbidity associated with dredging and leakage from disposal vessels. The USACE has not
conducted resource surveys in these areas at this time but plans to do so prior to construction.
According to the USACE the sediments to be dredged include mostly unconsolidated sediments
mixed with sand and clay. In some areas rock may be mixed with more consolidated clays. This
type of sediment does not require any blasting or pre-treatment, which leads to reduced
sedimentation compared to projects that use those methods.

NMFS has previously consulted on disposal of dredged material in the Condado Lagoon for sea
grass restoration, and determined that the restoration may affect, but is not likely to adversely
affect ESA listed corals or designated critical habitat (NMFS 2014a). The USACE will conduct
the proposed disposal of dredged materials in Condado Lagoon in a manner consistent with the
activities consulted on in that consultation. We have no new information regarding effects to
ESA listed corals or designated critical habitat as a result of the proposed restoration, and
therefore conclude that any effects to corals and critical habitat associated with transit and
disposal of dredged materials within the Condado lagoon will be discountable.

Although sedimentation occurs naturally in the SJH area, dredging can increase the duration,
severity, and frequency of the sedimentation, with detrimental consequences for coral reefs
(Erftemeijer et al. 2012a; Nugues and Roberts 2003; Riegl and Branch 1995). Sedimentation can
directly smother corals, reduce feeding, and deplete energy reserves (Erftemeijer et al. 2012a)
leading to lower calcification rates (Erftemeijer et al. 2012a; Rogers 1990) and reproductive
output (Erftemeijer et al. 2012b; Jones et al. 2015; Richmond 1993). Global climate change has
introduced additional stressors to coral reefs. Increased seawater temperature has led to
increased bleaching events which cause reductions in coral tissue growth, fecundity,
calcification, and overall survival rates (Abrego et al. 2010; Glynn et al. 1996). A recent study
indicates that coral recruits survive better under warmer temperatures when anthropogenic
sedimentation is maintained at the lowest level (30 mg/cm2) (Fourney and Figueiredo 2017).
The study also indicated that at current water temperatures, increasing turbidity from 4.62 to
>14.2 NTUs leads to a 50% drop in the survival of P.astreoides recruits within the first month.
Increasing amounts of anthropogenic sediment considerably increased turbidity and increased
coral recruit mortality (Fourney and Figueiredo 2017). High turbidity levels indicate that the
sediment which may settle on top of the coral is fine grained and thus highly deleterious for coral
recruits (Erftemeijer et al. 2012a). Fourney and Figueiredo (2017), indicate that the maximum
allowable turbidity in coral reefs during short-term construction events should be 7 NTU or less.

To ensure that ESA-listed corals are not impacted by turbidity and sedimentation from dredging
and/or disposal vessels, the USACE will conduct turbidity monitoring in accordance with a
monitoring plan that will be developed in partnership with NMFS prior to construction. The
monitoring plan will include turbidity monitoring stations adjacent to ESA-listed corals if any
are found during the resource surveys. Turbidity in these locations must not exceed 7 NTUs
above background as measured at the control locations positioned 200 m upstream of the dredge.
NMFS believes that limiting project related turbidity to 7 NTU or less above background at the


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monitoring stations will protect corals from project related effects. This metric is consistent with
the Fourney and Figueiredo paper and is more conservative than the current EPA standard of 29
NTUs over background or the Puerto Rico standard of 10 NTU over background for project
related turbidity. Additionally, the action area where corals may be found is subject to natural
levels of turbidity due to its location near the mouth of the harbor and the associated run off and
inputs from nearby rivers emptying into the area. The monitoring plan will include adaptive
management measures to be implemented to mitigate turbidity in the event that turbidity exceeds
7 NTUs above background at these locations. With the implementation of adaptive
management measures based on a monitoring threshold of 7 NTUs, NMFS believes that effects
to ESA listed corals will be discountable. The development of monitoring plan with a 7 NTU
over background threshold is the basis for NMFS’ discountable finding; reinitiation would be
required in the event that a monitoring plan is not completed prior to the beginning of
construction, or turbidity persists at levels above 7 NTUs above background at stations near any
known ESA listed coral which is not corrected by the adaptive management measures.

Designated Critical Habitat for Elkhorn and Staghorn Corals
Designated critical habitat for elkhorn and staghorn corals is located outside the mouth of the
SJH approximately 2,500 ft north of the dredging area and adjacent to the disposal routes.
Critical habitat consists of specific areas on which are found those physical or biological features
essential to the conservation of the species. The physical feature essential to the conservation of
staghorn and elkhorn corals is defined as substrate of suitable quality and availability, in water
depths from mean high water to 30 m, to support larval settlement and recruitment, and
reattachment of asexual fragments. Substrate of suitable quality and availability is defined as
natural consolidated hard bottom or dead coral skeleton that is free from turf or fleshy
macroalgae cover and sediment cover.

Coral critical habitat may be affected by sedimentation from dredging and leakage from disposal
vessels. Sedimentation affects larval settlement and recruitment, and fragment attachment.
Sediment accumulation on dead coral skeletons and exposed hard substrate reduces the amount
of available substrate suitable for coral larvae settlement and fragment reattachment. Even small
increases in sedimentation can significantly reduce coral recruitment and survivorship (Babcock
and Smith 2000), and sediments coupled with turf algae further impede recruitment (Birrell et al.
2005). Further supporting the impact sedimentation has on recruitment, coral larvae of some
species settle preferentially on vertical surfaces to avoid sediments and cannot successfully
establish themselves in shifting sediment (U.S. Army Engineer Research Development Center
2005). Last, survivorship of branching coral fragments is significantly affected by the type of
substrate, with increased mortality being linked to the presence of sandy sediments (Lirman
2000). NMFS has previously determined that sediment depths of 0.5cm (or more) of fine
sediment precludes coral recruitment and fragment attachment meaning that the habitat would no
longer be functioning as designated critical habitat (NMFS 2016).

The nearest coral critical habitat is approximately 2,500 ft from the active dredging area. The
USACE will also conduct turbidity monitoring in accordance with a monitoring plan to be
developed in partnership with NMFS prior to construction. The plan will include turbidity
monitoring stations at locations which will detect impacts to the designated critical habitat. The
specific locations and number of monitoring stations will be detailed in the monitoring plan.


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Turbidity at these stations must not exceed 7 NTUs above background as measured at the control
locations positioned at 200 m upstream from the dredge. As discussed above, the action area is
subject to natural levels of turbidity due to its location near the mouth of the harbor and the
associated run off and inputs from nearby rivers emptying into the area. We will consider project
related turbidity as anything measured above the control levels. Fourney and Figueiredo (2017)
suggest that maintaining turbidity at 7 NTU or less is protective of coral recruits and correlates to
lower levels of fine sediments settling on the corals and reef habitat. As such, and for the
reasons discussed above, NMFS believes that limiting project related turbidity to 7 NTU or less
above background at the monitoring stations at the edges of the designated critical habitat will
ensure that the habitat remains available for coral recruitment. The monitoring plan will include
adaptive management measures to be implemented to mitigate turbidity in the event that
turbidity exceeds 7 NTUs above background. The USACE will also adhere to the conditions in
the February 1, 2011, SMMP for use of the ODMDS (Appendix B) including all conditions that
apply to transit of the disposal vessels. For purposes of this Opinion “transit” is defined as any
movement of the disposal vessel once loaded at the dredge site and all conditions of the SMMP
apply from that moment throughout the transit to the disposal site and back to the loading sites.
Based on the implementation of the above measures, NMFS believes that sedimentation impacts
to coral critical habitat from dredging and disposal vessel leakage will be discountable.

3.2      Status of Species Likely to be Adversely Affected

NMFS believes that the proposed project may adversely affect green, hawksbill, and loggerhead
sea turtles.

3.2.1    Sea Turtles

The following subsections are synopses of the best available information on the status of the sea
turtle species that are likely to be adversely affected by one or more components of the proposed
action, including information on the distribution, population structure, life history, abundance,
and population trends of each species and threats to each species. The biology and ecology of
these species as well as their status and trends inform the effects analysis for this Opinion.
Additional background information on the status of sea turtle species can be found in a number
of published documents, including: recovery plans for the Atlantic green sea turtle (NMFS and
USFWS 1991a), loggerhead sea turtle (NMFS and USFWS 2008a), and hawksbill sea turtle
(NMFS and USFWS 1993); Pacific sea turtle recovery plans (NMFS and USFWS 1998b; NMFS
and USFWS 1998c; NMFS and USFWS 1998d; NMFS and USFWS 1998b); and sea turtle
status reviews, stock assessments, and biological reports (Conant et al. 2009b; NMFS-SEFSC
2001; NMFS-SEFSC 2009; NMFS and USFWS 1995; NMFS and USFWS 2007a; NMFS and
USFWS 2007c; NMFS and USFWS 2007e; NMFS and USFWS 2007f; NMFS and USFWS
2007h; TEWG 1998; TEWG 2000a; TEWG 2007; TEWG 2009).

3.2.1.1 General Threats Faced by All Sea Turtle Species

Sea turtles face numerous natural and man-made threats that shape their status and affect their
ability to recover. Many of the threats are either the same or similar in nature for all listed sea
turtle species, those identified in this section are discussed in a general sense for all sea turtles.


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Threat information specific to a particular species are then discussed in the corresponding status
sections where appropriate.

Fisheries
Incidental bycatch in commercial fisheries is identified as a major contributor to past declines,
and threat to future recovery, for all of the sea turtle species (NMFS and USFWS 1991b; NMFS
and USFWS 1992; NMFS and USFWS 1993; NMFS and USFWS 2008b; NMFS et al. 2011).
Domestic fisheries often capture, injure, and kill sea turtles at various life stages. Sea turtles in
the pelagic environment are exposed to U.S. Atlantic pelagic longline fisheries. Sea turtles in the
benthic environment in waters off the coastal United States are exposed to a suite of other
fisheries in federal and state waters. These fishing methods include trawls, gillnets, purse seines,
hook-and-line gear (including bottom longlines and vertical lines [e.g., bandit gear, handlines,
and rod-reel]), pound nets, and trap fisheries. Refer to the Environmental Baseline section of this
opinion for more specific information regarding federal and state managed fisheries affecting sea
turtles within the action area). The Southeast U.S. shrimp fisheries have historically been the
largest fishery threat to benthic sea turtles in the southeastern United States, and continue to
interact with and kill large numbers of sea turtles each year.

In addition to domestic fisheries, sea turtles are subject to direct as well as incidental capture in
numerous foreign fisheries, further impeding the ability of sea turtles to survive and recover on a
global scale. For example, pelagic stage sea turtles, especially loggerheads and leatherbacks,
circumnavigating the Atlantic are susceptible to international longline fisheries including the
Azorean, Spanish, and various other fleets (Aguilar et al. 1994; Bolten et al. 1994). Bottom
longlines and gillnet fishing is known to occur in many foreign waters, including (but not limited
to) the northwest Atlantic, western Mediterranean, South America, West Africa, Central
America, and the Caribbean. Shrimp trawl fisheries are also occurring off the shores of
numerous foreign countries and pose a significant threat to sea turtles similar to the impacts seen
in U.S. waters. Many unreported takes or incomplete records by foreign fleets make it difficult
to characterize the total impact that international fishing pressure is having on listed sea turtles.
Nevertheless, international fisheries represent a continuing threat to sea turtle survival and
recovery throughout their respective ranges.

Non-Fishery In-Water Activities
There are also many non-fishery impacts affecting the status of sea turtle species, both in the
ocean and on land. In nearshore waters of the United States, the construction and maintenance of
federal navigation channels has been identified as a source of sea turtle mortality. Hopper
dredges, which are frequently used in ocean bar channels and sometimes in harbor channels and
offshore borrow areas, move relatively rapidly and can entrain and kill sea turtles (NMFS
1997a). Sea turtles entering coastal or inshore areas have also been affected by entrainment in
the cooling-water systems of electrical generating plants. Other nearshore threats include
harassment and/or injury resulting from private and commercial vessel operations, military
detonations and training exercises, in-water construction activities, and scientific research
activities.




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Coastal Development and Erosion Control
Coastal development can deter or interfere with nesting, affect nesting success, and degrade
nesting habitats for sea turtles. Structural impacts to nesting habitat include the construction of
buildings and pilings, beach armoring and renourishment, and sand extraction (Bouchard et al.
1998; Lutcavage et al. 1997). These factors may decrease the amount of nesting area available to
females and change the natural behaviors of both adults and hatchlings, directly or indirectly,
through loss of beach habitat or changing thermal profiles and increasing erosion, respectively
(Ackerman 1997; Witherington et al. 2003; Witherington et al. 2007). In addition, coastal
development is usually accompanied by artificial lighting which can alter the behavior of nesting
adults (Witherington 1992) and is often fatal to emerging hatchlings that are drawn away from
the water (Witherington and Bjorndal 1991). In-water erosion control structures such as
breakwaters, groins, and jetties can impact nesting females and hatchling as they approach and
leave the surf zone or head out to sea by creating physical blockage, concentrating predators,
creating longshore currents, and disrupting of wave patterns.

Environmental Contamination
Multiple municipal, industrial, and household sources, as well as atmospheric transport,
introduce various pollutants such as pesticides, hydrocarbons, organochlorides (e.g.,
dichlorodiphenyltrichloroethane [DDT], polychlorinated biphenyls [PCB], and perfluorinated
chemicals [PFC]), and others that may cause adverse health effects to sea turtles (Garrett 2004;
Grant and Ross 2002; Hartwell 2004; Iwata et al. 1993). Acute exposure to hydrocarbons from
petroleum products released into the environment via oil spills and other discharges may directly
injure individuals through skin contact with oils (Geraci 1990), inhalation at the water’s surface,
and ingesting compounds while feeding (Matkin and Saulitis 1997). Hydrocarbons also have the
potential to impact prey populations, and therefore may affect listed species indirectly by
reducing food availability in the action area.

The April 20, 2010, explosion of the DEEPWATER HORIZON (DWH) oil rig affected sea
turtles in the Gulf of Mexico. An assessment has been completed on the injury to Gulf of
Mexico marine life, including sea turtles, resulting from the spill (DWH Trustees 2015).
Following the spill, juvenile Kemp’s ridley, green, and loggerhead sea turtles were found in
Sargassum algae mats in the convergence zones, where currents meet and oil collected. Sea
turtles found in these areas were often coated in oil and/or had ingested oil. The spill resulted in
the direct mortality of many sea turtles and may have had sublethal effects or caused
environmental damage that will impact other sea turtles into the future. Information on the spill
impacts to individual sea turtle species is presented in the Status of the Species sections for each
species.

Marine debris is a continuing problem for sea turtles. Sea turtles living in the pelagic
environment commonly eat or become entangled in marine debris (e.g., tar balls, plastic
bags/pellets, balloons, and ghost fishing gear) as they feed along oceanographic fronts where
debris and their natural food items converge. This is especially problematic for sea turtles that
spend all or significant portions of their life cycle in the pelagic environment (i.e., leatherbacks,
juvenile loggerheads, and juvenile green turtles).




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Climate Change
There is a large and growing body of literature on past, present, and future impacts of global
climate change, exacerbated and accelerated by human activities. Some of the likely effects
commonly mentioned are sea level rise, increased frequency of severe weather events, and
change in air and water temperatures. NOAA’s climate information portal provides basic
background information on these and other measured or anticipated effects (see
http://www.climate.gov).

Climate change impacts on sea turtles currently cannot be predicted with any degree of certainty;
however, significant impacts to the hatchling sex ratios of sea turtles may result (NMFS and
USFWS 2007d). In sea turtles, sex is determined by the ambient sand temperature (during the
middle third of incubation) with female offspring produced at higher temperatures and males at
lower temperatures within a thermal tolerance range of 25°-35°C (Ackerman 1997). Increases in
global temperature could potentially skew future sex ratios toward higher numbers of females
(NMFS and USFWS 2007d).

The effects from increased temperatures may be intensified on developed nesting beaches where
shoreline armoring and construction have denuded vegetation. Erosion control structures could
potentially result in the permanent loss of nesting beach habitat or deter nesting females (NRC
1990b). These impacts will be exacerbated by sea level rise. If females nest on the seaward side
of the erosion control structures, nests may be exposed to repeated tidal overwash (NMFS and
USFWS 2007g). Sea level rise from global climate change is also a potential problem for areas
with low-lying beaches where sand depth is a limiting factor, as the sea may inundate nesting
sites and decrease available nesting habitat (Baker et al. 2006; Daniels et al. 1993; Fish et al.
2005). The loss of habitat as a result of climate change could be accelerated due to a
combination of other environmental and oceanographic changes such as an increase in the
frequency of storms and/or changes in prevailing currents, both of which could lead to increased
beach loss via erosion (Antonelis et al. 2006; Baker et al. 2006).

Other changes in the marine ecosystem caused by global climate change (e.g., ocean
acidification, salinity, oceanic currents, dissolved oxygen levels, nutrient distribution) could
influence the distribution and abundance of lower trophic levels (e.g., phytoplankton,
zooplankton, submerged aquatic vegetation, crustaceans, mollusks, forage fish) which could
ultimately affect the primary foraging areas of sea turtles.

Other Threats
Predation by various land predators is a threat to developing nests and emerging hatchlings. The
major natural predators of sea turtle nests are mammals, including raccoons, dogs, pigs, skunks,
and badgers. Emergent hatchlings are preyed upon by these mammals as well as ghost crabs,
laughing gulls, and the exotic South American fire ant (Solenopsis invicta). In addition to
natural predation, direct harvest of eggs and adults from beaches in foreign countries continues
to be a problem for various sea turtle species throughout their ranges (NMFS and USFWS
2008b).




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Diseases, toxic blooms from algae and other microorganisms, and cold stunning events are
additional sources of mortality that can range from local and limited to wide-scale and impacting
hundreds or thousands of animals.

3.2.1.2 Loggerhead Sea Turtle – Northwest Atlantic DPS

The loggerhead sea turtle was listed as a threatened species throughout its global range on July
28, 1978. NMFS and USFWS published a final rule designating 9 DPSs for loggerhead sea
turtles (76 FR 58868, September 22, 2011, and effective October 24, 2011). This rule listed the
following DPSs: (1) Northwest Atlantic Ocean (threatened), (2) Northeast Atlantic Ocean
(endangered), (3) South Atlantic Ocean (threatened), (4) Mediterranean Sea (endangered), (5)
North Pacific Ocean (endangered), (6) South Pacific Ocean (endangered), (7) North Indian
Ocean (endangered), (8) Southeast Indo-Pacific Ocean (endangered), and (9) Southwest Indian
Ocean (threatened). The Northwest Atlantic (NWA) DPS is the only one that occurs within the
action area and therefore is the only one considered in this Opinion.

Species Description and Distribution
Loggerheads are large sea turtles. Adults in the southeast United States average about 3 ft (92
centimeters (cm)) long, measured as a straight carapace length (SCL), and weigh approximately
255 lb (116 kg) (Ehrhart and Yoder 1978). Adult and subadult loggerhead sea turtles typically
have a light yellow plastron and a reddish brown carapace covered by non-overlapping scutes
that meet along seam lines. They typically have 11 or 12 pairs of marginal scutes, 5 pairs of
costals, 5 vertebrals, and a nuchal (precentral) scute that is in contact with the first pair of costal
scutes (Dodd 1988).

The loggerhead sea turtle inhabits continental shelf and estuarine environments throughout the
temperate and tropical regions of the Atlantic, Pacific, and Indian Oceans (Dodd 1988). Habitat
uses within these areas vary by life stage. Juveniles are omnivorous and forage on crabs,
mollusks, jellyfish, and vegetation at or near the surface (Dodd 1988). Subadult and adult
loggerheads are primarily found in coastal waters and eat benthic invertebrates such as mollusks
and decapod crustaceans in hard bottom habitats.

The majority of loggerhead nesting occurs at the western rims of the Atlantic and Indian Oceans
concentrated in the north and south temperate zones and subtropics (NRC 1990a). For the
Northwest Atlantic DPS, most nesting occurs along the coast of the United States, from southern
Virginia to Alabama. Additional nesting beaches for this DPS are found along the northern and
western Gulf of Mexico, eastern Yucatán Peninsula, at Cay Sal Bank in the eastern Bahamas
(Addison 1997; Addison and Morford 1996), off the southwestern coast of Cuba (Gavilan 2001),
and along the coasts of Central America, Colombia, Venezuela, and the eastern Caribbean
Islands.

Non-nesting, adult female loggerheads are reported throughout the U.S. Atlantic, Gulf of
Mexico, and Caribbean Sea. Little is known about the distribution of adult males who are
seasonally abundant near nesting beaches. Aerial surveys suggest that loggerheads as a whole
are distributed in U.S. waters as follows: 54% off the southeast U.S. coast, 29% off the northeast



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U.S. coast, 12% in the eastern Gulf of Mexico, and 5% in the western Gulf of Mexico (TEWG
1998).

Within the Northwest Atlantic DPS, most loggerhead sea turtles nest from North Carolina to
Florida and along the Gulf Coast of Florida. Previous Section 7 analyses have recognized at
least 5 western Atlantic subpopulations, divided geographically as follows: (1) a Northern
nesting subpopulation, occurring from North Carolina to northeast Florida at about 29ºN; (2) a
South Florida nesting subpopulation, occurring from 29°N on the east coast of the state to
Sarasota on the west coast; (3) a Florida Panhandle nesting subpopulation, occurring at Eglin Air
Force Base and the beaches near Panama City, Florida; (4) a Yucatán nesting subpopulation,
occurring on the eastern Yucatán Peninsula, Mexico (Márquez M 1990; TEWG 2000b); and (5)
a Dry Tortugas nesting subpopulation, occurring in the islands of the Dry Tortugas, near Key
West, Florida (NMFS-SEFSC 2001).

The recovery plan for the Northwest Atlantic population of loggerhead sea turtles concluded that
there is no genetic distinction between loggerheads nesting on adjacent beaches along the Florida
Peninsula. It also concluded that specific boundaries for subpopulations could not be designated
based on genetic differences alone. Thus, the recovery plan uses a combination of geographic
distribution of nesting densities, geographic separation, and geopolitical boundaries, in addition
to genetic differences, to identify recovery units. The recovery units are as follows: (1) the
Northern Recovery Unit (Florida/Georgia border north through southern Virginia), (2) the
Peninsular Florida Recovery Unit (Florida/Georgia border through Pinellas County, Florida), (3)
the Dry Tortugas Recovery Unit (islands located west of Key West, Florida), (4) the Northern
Gulf of Mexico Recovery Unit (Franklin County, Florida, through Texas), and (5) the Greater
Caribbean Recovery Unit (Mexico through French Guiana, the Bahamas, Lesser Antilles, and
Greater Antilles) (NMFS and USFWS 2008a). The recovery plan concluded that all recovery
units are essential to the recovery of the species. Although the recovery plan was written prior to
the listing of the Northwest Atlantic DPS, the recovery units for what was then termed the
Northwest Atlantic population apply to the Northwest Atlantic DPS.

Life History Information
The Northwest Atlantic Loggerhead Recovery Team defined the following 8 life stages for the
loggerhead life cycle, which include the ecosystems those stages generally use: (1) egg
(terrestrial zone), (2) hatchling stage (terrestrial zone), (3) hatchling swim frenzy and transitional
stage (neritic zone 4), (4) juvenile stage (oceanic zone), (5) juvenile stage (neritic zone), (6) adult
stage (oceanic zone), (7) adult stage (neritic zone), and (8) nesting female (terrestrial zone)
(NMFS and USFWS 2008). Loggerheads are long-lived animals. They reach sexual maturity
between 20-38 years of age, although age of maturity varies widely among populations (Frazer
and Ehrhart 1985b; NMFS 2001). The annual mating season occurs from late March to early
June, and female turtles lay eggs throughout the summer months. Females deposit an average of
4.1 nests within a nesting season (Murphy and Hopkins 1984), but an individual female only
nests every 3.7 years on average (Tucker 2010). Each nest contains an average of 100-126 eggs
(Dodd 1988) which incubate for 42-75 days before hatching (NMFS and USFWS 2008a).
Loggerhead hatchlings are 1.5-2 inches (in) long and weigh about 0.7 ounces (oz)(20 grams).

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 Neritic refers to the nearshore marine environment from the surface to the sea floor where water depths do not
exceed 200 meters.

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As post-hatchlings, loggerheads hatched on U.S. beaches enter the “oceanic juvenile” life stage,
migrating offshore and becoming associated with Sargassum habitats, driftlines, and other
convergence zones (Carr 1986; Conant et al. 2009a; Witherington 2002). Oceanic juveniles
grow at rates of 1-2 in (2.9-5.4 cm) per year (Bjorndal et al. 2003; Snover 2002) over a period as
long as 7-12 years (Bolten et al. 1998) before moving to more coastal habitats. Studies have
suggested that not all loggerhead sea turtles follow the model of circumnavigating the North
Atlantic Gyre as pelagic juveniles, followed by permanent settlement into benthic environments
(Bolten and Witherington 2003; Laurent et al. 1998). These studies suggest some turtles may
either remain in the oceanic habitat in the North Atlantic longer than hypothesized, or they move
back and forth between oceanic and coastal habitats interchangeably (Witzell 2002). Stranding
records indicate that when immature loggerheads reach 15-24 in (40-60 cm) SCL, they begin to
reside in coastal inshore waters of the continental shelf throughout the U.S. Atlantic and Gulf of
Mexico (Witzell 2002).

After departing the oceanic zone, neritic juvenile loggerheads in the Northwest Atlantic inhabit
continental shelf waters from Cape Cod Bay, Massachusetts, south through Florida, The
Bahamas, Cuba, and the Gulf of Mexico. Estuarine waters of the United States, including areas
such as Long Island Sound, Chesapeake Bay, Pamlico and Core Sounds, Mosquito and Indian
River Lagoons, Biscayne Bay, Florida Bay, and numerous embayments fringing the Gulf of
Mexico, comprise important inshore habitat. Along the Atlantic and Gulf of Mexico shoreline,
essentially all shelf waters are inhabited by loggerheads (Conant et al. 2009a).

Like juveniles, non-nesting adult loggerheads also use the neritic zone. However, these adult
loggerheads do not use the relatively enclosed shallow-water estuarine habitats with limited
ocean access as frequently as juveniles. Areas such as Pamlico Sound, North Carolina, and the
Indian River Lagoon, Florida, are regularly used by juveniles but not by adult loggerheads. Adult
loggerheads do tend to use estuarine areas with more open ocean access, such as the Chesapeake
Bay in the U.S. mid-Atlantic. Shallow-water habitats with large expanses of open ocean access,
such as Florida Bay, provide year-round resident foraging areas for significant numbers of male
and female adult loggerheads (Conant et al. 2009a).

Offshore, adults primarily inhabit continental shelf waters, from New York south through
Florida, The Bahamas, Cuba, and the Gulf of Mexico. Seasonal use of mid-Atlantic shelf waters,
especially offshore New Jersey, Delaware, and Virginia during summer months, and offshore
shelf waters, such as Onslow Bay (off the North Carolina coast), during winter months has also
been documented (Hawkes et al. 2007; Georgia Department of Natural Resources, unpublished
data; South Carolina Department of Natural Resources, unpublished data). Satellite telemetry
has identified the shelf waters along the west Florida coast, The Bahamas, Cuba, and the Yucatán
Peninsula as important resident areas for adult female loggerheads that nest in Florida (Foley et
al. 2008; Girard et al. 2009; Hart et al. 2012). The southern edge of the Grand Bahama Bank is
important habitat for loggerheads nesting on the Cay Sal Bank in The Bahamas, but nesting
females are also resident in the bights of Eleuthera, Long Island, and Ragged Islands. They also
reside in Florida Bay in the United States, and along the north coast of Cuba (A. Bolten and K.
Bjorndal, University of Florida, unpublished data). Moncada et al. (2010) report the recapture in
Cuban waters of 5 adult female loggerheads originally flipper-tagged in Quintana Roo, Mexico,


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indicating that Cuban shelf waters likely also provide foraging habitat for adult females that nest
in Mexico.

Status and Population Dynamics
A number of stock assessments and similar reviews (Conant et al. 2009a; Heppell et al. 2003;
NMFS-SEFSC 2001; NMFS-SEFSC 2009; NMFS and USFWS 2008a; TEWG 1998; TEWG
2000b; TEWG 2009) have examined the stock status of loggerheads in the Atlantic Ocean, but
none have been able to develop a reliable estimate of absolute population size.

Numbers of nests and nesting females can vary widely from year to year. Nesting beach surveys,
though, can provide a reliable assessment of trends in the adult female population, due to the
strong nest site fidelity of female loggerhead sea turtles, as long as such studies are sufficiently
long and survey effort and methods are standardized (e.g., (NMFS and USFWS 2008a). NMFS
and USFWS (2008a) concluded that the lack of change in 2 important demographic parameters
of loggerheads, remigration interval and clutch frequency, indicate that time series on numbers
of nests can provide reliable information on trends in the female population.

Peninsular Florida Recovery Unit
The Peninsular Florida Recovery Unit is the largest loggerhead nesting assemblage in the
Northwest Atlantic. A near-complete nest census (all beaches including index nesting beaches)
undertaken from 1989-2007 showed an average of 64,513 loggerhead nests per year,
representing approximately 15,735 nesting females per year (NMFS and USFWS 2008a). The
statewide estimated total for 2013 was 77,975 nests (FWRI nesting database).

In addition to the total nest count estimates, the Florida Fish and Wildlife Research Institute
(FWRI) uses an index nesting beach survey method. The index survey uses standardized data-
collection criteria to measure seasonal nesting and allow accurate comparisons between beaches
and between years. This provides a better tool for understanding the nesting trends (Figure 4).
FWRI performed a detailed analysis of the long-term loggerhead index nesting data (1989-2015)
(http://myfwc.com/research/wildlife/sea-turtles/nesting/loggerhead-trends/). Over that time
period, 3 distinct trends were identified. From 1989-1998 there was a 24% increase that was
then followed by a sharp decline over the subsequent 9 years. A large increase in loggerhead
nesting has occurred since, as indicated by the 74% increase in nesting between 2008 and 2015.
FWRI examined the trend from the 1998 nesting high through 2015 and found that the decade-
long post-1998 decline was replaced with a slight but nonsignificant increasing trend. Looking
at the data from 1989 through 2015 (an increase of over 38%), FWRI concluded that there was
an overall positive change in the nest counts (http://myfwc.com/research/wildlife/sea-
turtles/nesting/loggerhead-trends/).




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         70,000


         60,000


         50,000


         40,000
 Nests




         30,000


         20,000


         10,000


             0
                  1990 1992 1994 1996 1998 2000 2002 2004 2006 2008 2010 2012 2014 2016
                                               Year



Figure 4. Loggerhead sea turtle nesting at Florida index beaches since 1989.

Northern Recovery Unit
Annual nest totals from beaches within the Northern Recovery Unit (NRU) averaged 5,215 nests
from 1989-2008, a period of near-complete surveys of NRU nesting beaches (Georgia
Department of Natural Resources [GADNR] unpublished data, NCWRC unpublished data, South
Carolina Department of Natural Resources [SCDNR] unpublished data), and represent
approximately 1,272 nesting females per year, assuming 4.1 nests per female (Murphy and
Hopkins 1984). The loggerhead nesting trend from daily beach surveys showed a significant
decline of 1.3% annually from 1989-2008. Nest totals from aerial surveys conducted by SCDNR
showed a 1.9% annual decline in nesting in South Carolina from 1980-2008. Overall, there are
strong statistical data to suggest the NRU had experienced a long-term decline over that period
of time.

Data since that analysis (Table 3) are showing improved nesting numbers and a departure from
the declining trend. Georgia nesting has rebounded to show the first statistically significant
increasing trend since comprehensive nesting surveys began in 1989 (Mark Dodd, GADNR press
release, http://www.georgiawildlife.com/node/3139). South Carolina and North Carolina nesting
have also begun to show a shift away from the declining trend of the past.

Table 3. Total Number of NRU Loggerhead Nests (GADNR, SCDNR, and NCWRC
nesting datasets)



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Nests             2008       2009         2010         2011        2012         2013        2014
Recorded
Georgia          1,649        998         1,760        1,992       2,241       2,289        1,196
South            4,500       2,182        3,141        4,015       4,615       5,193        2,083
Carolina
North             841         302         856          950         1,074       1,260         542
Carolina
Total            6,990       3,472        5,757        6,957       7,930       8,742        3,821

South Carolina also conducts an index beach nesting survey similar to the one described for
Florida. Although the survey only includes a subset of nesting, the standardized effort and
locations allow for a better representation of the nesting trend over time. Increases in nesting
were seen for the period from 2009-2012, with 2012 showing the highest index nesting total
since the start of the program (Figure 5).




Figure 5. South Carolina index nesting beach counts for loggerhead sea turtles (from the
SCDNR website, http://www.dnr.sc.gov/seaturtle/nest.htm).

Other Northwest Atlantic DPS Recovery Units
The remaining 3 recovery units—Dry Tortugas (DTRU), Northern Gulf of Mexico (NGMRU),
and Greater Caribbean (GCRU)—are much smaller nesting assemblages, but they are still
considered essential to the continued existence of the species. Nesting surveys for the DTRU are
conducted as part of Florida’s statewide survey program. Survey effort was relatively stable
during the 9-year period from 1995-2004, although the 2002 year was missed. Nest counts
ranged from 168-270, with a mean of 246, but there was no detectable trend during this period
(NMFS and USFWS 2008a). Nest counts for the NGMRU are focused on index beaches rather
than all beaches where nesting occurs. Analysis of the 12-year dataset (1997-2008) of index
nesting beaches in the area shows a statistically significant declining trend of 4.7% annually.

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Nesting on the Florida Panhandle index beaches, which represents the majority of NGMRU
nesting, had shown a large increase in 2008, but then declined again in 2009 and 2010 before
rising back to a level similar to the 2003-2007 average in 2011. Nesting survey effort has been
inconsistent among the GCRU nesting beaches, and no trend can be determined for this
subpopulation (NMFS and USFWS 2008a). Zurita et al. (2003b) found a statistically significant
increase in the number of nests on 7 of the beaches on Quintana Roo, Mexico, from 1987-2001,
where survey effort was consistent during the period. Nonetheless, nesting has declined since
2001, and the previously reported increasing trend appears to not have been sustained (NMFS
and USFWS 2008a).

In-water Trends
Nesting data are the best current indicator of sea turtle population trends, but in-water data also
provide some insight. In-water research suggests the abundance of neritic juvenile loggerheads
is steady or increasing. Although Ehrhart et al. (2007a) found no significant regression-line
trend in a long-term dataset, researchers have observed notable increases in catch per unit effort
(CPUE) (Arendt et al. 2009; Ehrhart et al. 2007a; Epperly et al. 2007). Researchers believe that
this increase in CPUE is likely linked to an increase in juvenile abundance, although it is unclear
whether this increase in abundance represents a true population increase among juveniles or
merely a shift in spatial occurrence. Bjorndal et al. (2005), cited in NMFS and USFWS (2008a),
caution about extrapolating localized in-water trends to the broader population and relating
localized trends in neritic sites to population trends at nesting beaches. The apparent overall
increase in the abundance of neritic loggerheads in the southeastern United States may be due to
increased abundance of the largest oceanic/neritic juveniles (historically referred to as small
benthic juveniles), which could indicate a relatively large number of individuals around the same
age may mature in the near future (TEWG 2009). In-water studies throughout the eastern United
States, however, indicate a substantial decrease in the abundance of the smallest oceanic/neritic
juvenile loggerheads, a pattern corroborated by stranding data (TEWG 2009).

Population Estimate
The NMFS Southeast Fisheries Science Center developed a preliminary stage/age demographic
model to help determine the estimated impacts of mortality reductions on loggerhead sea turtle
population dynamics (NMFS-SEFSC 2009). The model uses the range of published information
for the various parameters including mortality by stage, stage duration (years in a stage), and
fecundity parameters such as eggs per nest, nests per nesting female, hatchling emergence
success, sex ratio, and remigration interval. Resulting trajectories of model runs for each
individual recovery unit, and the western North Atlantic population as a whole, were found to be
very similar. The model run estimates from the adult female population size for the western
North Atlantic (from the 2004-2008 time frame), suggest the adult female population size is
approximately 20,000 to 40,000 individuals, with a low likelihood of being up to 70,000 (NMFS-
SEFSC 2009). A less robust estimate for total benthic females in the western North Atlantic was
also obtained, yielding approximately 30,000-300,000 individuals, up to less than 1 million
(NMFS-SEFSC 2009). A preliminary regional abundance survey of loggerheads within the
northwestern Atlantic continental shelf for positively identified loggerhead in all strata estimated
about 588,000 loggerheads (interquartile range of 382,000-817,000). When correcting for
unidentified turtles in proportion to the ratio of identified turtles, the estimate increased to about
801,000 loggerheads (interquartile range of 521,000-1,111,000) (NMFS-NEFSC 2011).


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Threats (Specific to Loggerhead Sea Turtles)
The threats faced by loggerhead sea turtles are well summarized in the general discussion of
threats in Section 3.2.1.1. Yet the impact of fishery interactions is a point of further emphasis for
this species. The joint NMFS and USFWS Loggerhead Biological Review Team determined that
the greatest threats to the Northwest Atlantic DPS of loggerheads result from cumulative fishery
bycatch in neritic and oceanic habitats (Conant et al. 2009a).

Regarding the impacts of pollution, loggerheads may be particularly affected by organochlorine
contaminants; they have the highest organochlorine concentrations (Storelli et al. 2008) and
metal loads (D'Ilio et al. 2011) in sampled tissues among the sea turtle species. It is thought that
dietary preferences were likely to be the main differentiating factor among sea turtle species.
Storelli et al. (2008) analyzed tissues from stranded loggerhead sea turtles and found that
mercury accumulates in sea turtle livers while cadmium accumulates in their kidneys, as has
been reported for other marine organisms like dolphins, seals, and porpoises (Law et al. 1991).

Specific information regarding potential climate change impacts on loggerheads is also available.
Modeling suggests an increase of 2°C in air temperature would result in a sex ratio of over 80%
female offspring for loggerheads nesting near Southport, North Carolina. The same increase in
air temperatures at nesting beaches in Cape Canaveral, Florida, would result in close to 100%
female offspring. Such highly skewed sex ratios could undermine the reproductive capacity of
the species. More ominously, an air temperature increase of 3°C is likely to exceed the thermal
threshold of most nests, leading to egg mortality (Hawkes et al. 2007). Warmer sea surface
temperatures have also been correlated with an earlier onset of loggerhead nesting in the spring
(Hawkes et al. 2007; Weishampel et al. 2004), short inter-nesting intervals (Hays et al. 2002),
and shorter nesting seasons (Pike et al. 2006).

3.2.1.3 Green Sea Turtle – North Atlantic and South Atlantic DPS

The green sea turtle was originally listed as threatened under the ESA on July 28, 1978, except
for the Florida and Pacific coast of Mexico breeding populations, which were listed as
endangered. On April 6, 2016, the original listing was replaced with the listing of 11 distinct
population segments (DPSs) (81 FR 20057 2016). The Mediterranean, Central West Pacific, and
Central South Pacific DPSs were listed as endangered. The North Atlantic, South Atlantic,
Southwest Indian, North Indian, East Indian-West Pacific, Southwest Pacific, Central North
Pacific, and East Pacific were listed as threatened. For the purposes of this consultation, only the
South Atlantic DPS and North Atlantic DPS will be considered, as they are the only two DPSs
with individuals occurring in the Atlantic and Gulf of Mexico waters of the United States.




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Figure 6. Threatened (light) and endangered (dark) green turtle DPSs: 1. North Atlantic,
2. Mediterranean, 3. South Atlantic, 4. Southwest Indian, 5. North Indian, 6. East Indian-
West Pacific, 7. Central West Pacific, 8. Southwest Pacific, 9. Central South Pacific, 10.
Central North Pacific, and 11. East Pacific.
Species Description and Distribution
The green sea turtle is the largest of the hardshell marine turtles, growing to a weight of 350 lb
(159 kg) with a straight carapace length of greater than 3.3 ft (1 m). Green sea turtles have a
smooth carapace with 4 pairs of lateral (or costal) scutes and a single pair of elongated prefrontal
scales between the eyes. They typically have a black dorsal surface and a white ventral surface,
although the carapace of green sea turtles in the Atlantic Ocean has been known to change in
color from solid black to a variety of shades of grey, green, or brown and black in starburst or
irregular patterns (Lagueux 2001).

With the exception of post-hatchlings, green sea turtles live in nearshore tropical and subtropical
waters where they generally feed on marine algae and seagrasses. They have specific foraging
grounds and may make large migrations between these forage sites and natal beaches for nesting
(Hays et al. 2001). Green sea turtles nest on sandy beaches of mainland shores, barrier islands,
coral islands, and volcanic islands in more than 80 countries worldwide (Hirth 1997). The 2
largest nesting populations are found at Tortuguero, on the Caribbean coast of Costa Rica (part
of the North Atlantic DPS), and Raine Island, on the Pacific coast of Australia along the Great
Barrier Reef.

Differences in mitochondrial DNA properties of green sea turtles from different nesting regions
indicate there are genetic subpopulations (Bowen et al. 1992; FitzSimmons et al. 2006). Despite
the genetic differences, sea turtles from separate nesting origins are commonly found mixed
together on foraging grounds throughout the species’ range. Within U.S. waters individuals from
both the NA and South Atlantic DPSs can be found on foraging grounds. While there are
currently no in-depth studies available to determine the percent of NA and South Atlantic DPS
individuals in any given location, two small-scale studies provide an insight into the degree of
mixing on the foraging grounds. An analysis of cold-stunned green turtles in St. Joseph Bay,
Florida (northern Gulf of Mexico) found approximately 4% of individuals came from nesting
stocks in the South Atlantic DPS (specifically Suriname, Aves Island, Brazil, Ascension Island,
and Guinea Bissau) (Foley et al. 2007). On the Atlantic coast of Florida, a study on the foraging

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grounds off Hutchinson Island found that approximately 5% of the turtles sampled came from
the Aves Island/Suriname nesting assemblage, which is part of the South Atlantic DPS (Bass and
Witzell 2000). All of the individuals in both studies were benthic juveniles. Available
information on green turtle migratory behavior indicates that long distance dispersal is only seen
for juvenile turtles. This suggests that larger adult-sized turtles return to forage within the region
of their natal rookeries, thereby limiting the potential for gene flow across larger scales
(Monzón-Argüello et al. 2010). While all of the mainland U.S. nesting individuals are part of the
North Atlantic DPS, the U.S. Caribbean nesting assemblages are split between the NA and South
Atlantic DPS. Nesters in Puerto Rico are part of the North Atlantic DPS, while those in the U.S.
Virgin Islands are part of the South Atlantic DPS. We do not currently have information on what
percent of individuals on the U.S. Caribbean foraging grounds come from which DPS.

North Atlantic DPS Distribution
The North Atlantic DPS boundary is illustrated in Figure 6. Four regions support nesting
concentrations of particular interest in the North Atlantic DPS: Costa Rica (Tortuguero), Mexico
(Campeche, Yucatan, and Quintana Roo), U.S. (Florida), and Cuba. By far the most important
nesting concentration for green turtles in this DPS is Tortuguero, Costa Rica. Nesting also
occurs in the Bahamas, Belize, Cayman Islands, Dominican Republic, Haiti, Honduras, Jamaica,
Nicaragua, Panama, Puerto Rico, Turks and Caicos Islands, and North Carolina, South Carolina,
Georgia, and Texas, U.S.A. In the eastern North Atlantic, nesting has been reported in
Mauritania (Fretey 2001).

The complete nesting range of North Atlantic DPS green sea turtles within the southeastern
United States includes sandy beaches between Texas and North Carolina, as well as Puerto Rico
(Dow et al. 2007; NMFS and USFWS 1991b). The vast majority of green sea turtle nesting
within the southeastern United States occurs in Florida (Johnson and Ehrhart 1994; Meylan et al.
1995). Principal U.S. nesting areas for green sea turtles are in eastern Florida, predominantly
Brevard south through Broward counties.

In U.S. Atlantic and Gulf of Mexico waters, green sea turtles are distributed throughout inshore
and nearshore waters from Texas to Massachusetts. Principal benthic foraging areas in the
southeastern United States include Aransas Bay, Matagorda Bay, Laguna Madre, and the Gulf
inlets of Texas (Doughty 1984; Hildebrand 1982; Shaver 1994), the Gulf of Mexico off Florida
from Yankeetown to Tarpon Springs (Caldwell and Carr 1957), Florida Bay and the Florida
Keys (Schroeder and Foley 1995), the Indian River Lagoon system in Florida (Ehrhart 1983),
and the Atlantic Ocean off Florida from Brevard through Broward Counties (Guseman and
Ehrhart 1992; Wershoven and Wershoven 1992). The summer developmental habitat for green
sea turtles also encompasses estuarine and coastal waters from North Carolina to as far north as
Long Island Sound (Musick and Limpus 1997). Additional important foraging areas in the
western Atlantic include the Culebra archipelago and other Puerto Rico coastal waters, the south
coast of Cuba, the Mosquito Coast of Nicaragua, the Caribbean coast of Panama, scattered areas
along Colombia and Brazil (Hirth 1971), and the northwestern coast of the Yucatán Peninsula.

South Atlantic DPS Distribution
The South Atlantic DPS boundary is shown in Figure 6, and includes the U.S. Virgin Islands in
the Caribbean. The South Atlantic DPS nesting sites can be roughly divided into four regions:


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western Africa, Ascension Island, Brazil, and the South Atlantic Caribbean (including Colombia,
the Guianas, and Aves Island in addition to the numerous small, island nesting sites).

The in-water range of the South Atlantic DPS is widespread. In the eastern South Atlantic,
significant sea turtle habitats have been identified, including green turtle feeding grounds in
Corisco Bay, Equatorial Guinea/Gabon (Formia 1999); Congo; Mussulo Bay, Angola (Carr and
Carr 1991); as well as Principe Island. Juvenile and adult green turtles utilize foraging areas
throughout the Caribbean areas of the South Atlantic, often resulting in interactions with
fisheries occurring in those same waters (Dow et al. 2007). Juvenile green turtles from multiple
rookeries also frequently utilize the nearshore waters off Brazil as foraging grounds as evidenced
from the frequent captures by fisheries (Lima et al. 2010b; López-Barrera et al. 2012;
Marcovaldi et al. 2009b). Genetic analysis of green turtles on the foraging grounds off Ubatuba
and Almofala, Brazil show mixed stocks coming primarily from Ascension, Suriname and
Trindade as a secondary source, but also Aves, and even sometimes Costa Rica (North Atlantic
DPS)(Naro-Maciel et al. 2007; Naro-Maciel et al. 2012). While no nesting occurs as far south as
Uruguay and Argentina, both have important foraging grounds for South Atlantic green turtles
(Gonzalez Carman et al. 2011; Lezama 2009; López-Mendilaharsu et al. 2006; Prosdocimi et al.
2012; Rivas-Zinno 2012).

Life History Information
Green sea turtles reproduce sexually, and mating occurs in the waters off nesting beaches and
along migratory routes. Mature females return to their natal beaches (i.e., the same beaches
where they were born) to lay eggs (Balazs 1982; Frazer and Ehrhart 1985a) every 2-4 years
while males are known to reproduce every year (Balazs 1983). In the southeastern United States,
females generally nest between June and September, and peak nesting occurs in June and July
(Witherington and Ehrhart 1989b). During the nesting season, females nest at approximately 2-
week intervals, laying an average of 3-4 clutches (Johnson and Ehrhart 1996). Clutch size often
varies among subpopulations, but mean clutch size is approximately 110-115 eggs. In Florida,
green sea turtle nests contain an average of 136 eggs (Witherington and Ehrhart 1989b). Eggs
incubate for approximately 2 months before hatching. Hatchling green sea turtles are
approximately 2 in (5 cm) in length and weigh approximately 0.9 oz (25 grams). Survivorship at
any particular nesting site is greatly influenced by the level of man-made stressors, with the more
pristine and less disturbed nesting sites (e.g., along the Great Barrier Reef in Australia) showing
higher survivorship values than nesting sites known to be highly disturbed (e.g., Nicaragua)
(Campell and Lagueux 2005; Chaloupka and Limpus 2005).

After emerging from the nest, hatchlings swim to offshore areas and go through a post-hatchling
pelagic stage where they are believed to live for several years. During this life stage, green sea
turtles feed close to the surface on a variety of marine algae and other life associated with drift
lines and debris. This early oceanic phase remains one of the most poorly understood aspects of
green sea turtle life history (NMFS and USFWS 2007a). Green sea turtles exhibit particularly
slow growth rates of about 0.4-2 in (1-5 cm) per year (Green 1993), which may be attributed to
their largely herbivorous, low-net energy diet (Bjorndal 1982). At approximately 8-10 in (20-25
cm) carapace length, juveniles leave the pelagic environment and enter nearshore developmental
habitats such as protected lagoons and open coastal areas rich in sea grass and marine algae.
Growth studies using skeletochronology indicate that green sea turtles in the western Atlantic


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shift from the oceanic phase to nearshore developmental habitats after approximately 5-6 years
(Bresette et al. 2006; Zug and Glor 1998). Within the developmental habitats, juveniles begin
the switch to a more herbivorous diet, and by adulthood feed almost exclusively on seagrasses
and algae (Rebel 1974), although some populations are known to also feed heavily on
invertebrates (Carballo et al. 2002). Green sea turtles mature slowly, requiring 20-50 years to
reach sexual maturity (Chaloupka and Musick 1997a; Hirth 1997).

While in coastal habitats, green sea turtles exhibit site fidelity to specific foraging and nesting
grounds, and it is clear they are capable of “homing in” on these sites if displaced (McMichael et
al. 2003). Reproductive migrations of Florida green sea turtles have been identified through
flipper tagging and/or satellite telemetry. Based on these studies, the majority of adult female
Florida green sea turtles are believed to reside in nearshore foraging areas throughout the Florida
Keys and in the waters southwest of Cape Sable, and some post-nesting turtles also reside in
Bahamian waters as well (NMFS and USFWS 2007a).

Status and Population Dynamics
Accurate population estimates for marine turtles do not exist because of the difficulty in
sampling turtles over their geographic ranges and within their marine environments.
Nonetheless, researchers have used nesting data to study trends in reproducing sea turtles over
time. A summary of nesting trends and nester abundance is provided in the most recent status
review for the species (Seminoff et al. 2015), with information for each of the DPSs.

North Atlantic DPS
The North Atlantic DPS is the largest of the 11 green turtle DPSs, with an estimated nester
abundance of over 167,000 adult females from 73 nesting sites. Overall this DPS is also the
most data rich. Eight of the sites have high levels of abundance (i.e., <1000 nesters), located in
Costa Rica, Cuba, Mexico, and Florida. All major nesting populations demonstrate long-term
increases in abundance (Seminoff et al. 2015).

Tortuguero, Costa Rica is by far the predominant nesting site, accounting for an estimated 79%
of nesting for the DPS (Seminoff et al. 2015). Nesting at Tortuguero appears to have been
increasing since the 1970’s, when monitoring began. For instance, from 1971-1975 there were
approximately 41,250 average annual emergences documented and this number increased to an
average of 72,200 emergences from 1992-1996 (Bjorndal et al. 1999). Troëng and Rankin
(2005) collected nest counts from 1999-2003 and also reported increasing trends in the
population consistent with the earlier studies, with nest count data suggesting 17,402-37,290
nesting females per year (NMFS and USFWS 2007a). Modeling by Chaloupka et al. (2008)
using data sets of 25 years or more resulted in an estimate of the Tortuguero, Costa Rica
population’s growing at 4.9% annually.

In the continental United States, green sea turtle nesting occurs along the Atlantic coast,
primarily along the central and southeast coast of Florida where an estimated 200-1,100 females
nest each year (Meylan et al. 1994; Weishampel et al. 2003). Occasional nesting has also been
documented along the Gulf Coast of Florida (Meylan et al. 1995). Green sea turtle nesting is
documented annually on beaches of North Carolina, South Carolina, and Georgia, though nesting
is found in low quantities (nesting databases maintained on www.seaturtle.org).


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In Florida, index beaches were established to standardize data collection methods and effort on
key nesting beaches. Since establishment of the index beaches in 1989, the pattern of green sea
turtle nesting has generally shown biennial peaks in abundance with a positive trend during the
10 years of regular monitoring Figure 7). According to data collected from Florida’s index
nesting beach survey from 1989-2016, green sea turtle nest counts across Florida have increased
approximately ten-fold from a low of 267 in the early 1990s to a high of 27,975 in 2015. Two
consecutive years of nesting declines in 2008 and 2009 caused some concern, but this was
followed by increases in 2010 and 2011, and a return to the trend of biennial peaks in abundance
thereafter (Figure 7). Modeling by Chaloupka et al. (2008) using data sets of 25 years or more
has resulted in an estimate of the Florida nesting stock at the Archie Carr National Wildlife
Refuge growing at an annual rate of 13.9%.




Figure 7. Green sea turtle nesting at Florida index beaches since 1989.
Similar to the nesting trend found in Florida, in-water studies in Florida have also recorded
increases in green turtle captures at the Indian River Lagoon site, with a 661 percent increase
over 24 years (Ehrhart et al. 2007b), and the St Lucie Power Plant site, with a significant increase
in the annual rate of capture of immature green turtles (SCL<90 cm) from 1977 to 2002 or 26
years (3,557 green turtles total; M. Bressette, Inwater Research Group, unpubl. data;
(Witherington et al. 2006).

South Atlantic DPS


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The South Atlantic DPS is large, estimated at over 63,000 nesters, but data availability is poor.
More than half of the 51 identified nesting sites (37) did not have sufficient data to estimate
number of nesters or trends (Seminoff et al. 2015). This includes some sites, such as beaches in
French Guiana, which are suspected to have large numbers of nesters. Therefore, while the
estimated number of nesters may be substantially underestimated, we also do not know the
population trends at those data-poor beaches. However, while the lack of data was a concern due
to increased uncertainty, the overall trend of the South Atlantic DPS was not considered to be a
major concern as some of the largest nesting beaches such as Ascension Island, Aves Island
(Venezuela), and Galibi (Suriname) appear to be increasing. Others such as Trindade (Brazil),
Atol das Rocas (Brazil), and Poilão and the rest of Guinea-Bissau seem to be stable or do not
have sufficient data to make a determination. Bioko (Equatorial Guinea) appears to be in decline
but has less nesting than the other primary sites (Seminoff et al. 2015).

In the U.S., nesting of South Atlantic DPS green turtles occurs on the beaches of the U.S. Virgin
Islands, primarily on Buck Island. There is insufficient data to determine a trend for Buck Island
nesting, and it is a smaller rookery, with approximately 63 total nesters utilizing the beach
(Seminoff et al. 2015).

Threats
The principal cause of past declines and extirpations of green sea turtle assemblages has been the
overexploitation of the species for food and other products. Although intentional take of green
sea turtles and their eggs is not extensive within the southeastern United States, green sea turtles
that nest and forage in the region may spend large portions of their life history outside the region
and outside U.S. jurisdiction, where exploitation is still a threat. Green sea turtles also face many
of the same threats as other sea turtle species, including destruction of nesting habitat from storm
events, oceanic events such as cold-stunning, pollution (e.g., plastics, petroleum products,
petrochemicals), ecosystem alterations (e.g., nesting beach development, beach nourishment and
shoreline stabilization, vegetation changes), poaching, global climate change, fisheries
interactions, natural predation, and disease. A discussion on general sea turtle threats can be
found in Section 3.2.1.

In addition to general threats, green sea turtles are susceptible to natural mortality from
Fibropapillomatosis (FP) disease. FP results in the growth of tumors on soft external tissues
(flippers, neck, tail, etc.), the carapace, the eyes, the mouth, and internal organs (gastrointestinal
tract, heart, lungs, etc.) of turtles (Aguirre et al. 2002; Herbst 1994; Jacobson et al. 1989). These
tumors range in size from 0.04 in (0.1 cm) to greater than 11.81 in (30 cm) in diameter and may
affect swimming, vision, feeding, and organ function (Aguirre et al. 2002; Herbst 1994;
Jacobson et al. 1989). Presently, scientists are unsure of the exact mechanism causing this
disease, though it is believed to be related to both an infectious agent, such as a virus (Herbst et
al. 1995), and environmental conditions (e.g., habitat degradation, pollution, low wave energy,
and shallow water (Foley et al. 2005). FP is cosmopolitan, but it has been found to affect large
numbers of animals in specific areas, including Hawaii and Florida (Herbst 1994; Jacobson
1990; Jacobson et al. 1991).

Cold-stunning is another natural threat to green sea turtles. Although it is not considered a major
source of mortality in most cases, as temperatures fall below 46.4°-50°F (8°-10°C) turtles may


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lose their ability to swim and dive, often floating to the surface. The rate of cooling that
precipitates cold-stunning appears to be the primary threat, rather than the water temperature
itself (Milton and Lutz 2003). Sea turtles that overwinter in inshore waters are most susceptible
to cold-stunning because temperature changes are most rapid in shallow water (Witherington and
Ehrhart 1989a). During January 2010, an unusually large cold-stunning event in the southeastern
United States resulted in around 4,600 sea turtles, mostly greens, found cold-stunned, and
hundreds found dead or dying. A large cold-stunning event occurred in the western Gulf of
Mexico in February 2011, resulting in approximately 1,650 green sea turtles found cold-stunned
in Texas. Of these, approximately 620 were found dead or died after stranding, while
approximately 1,030 turtles were rehabilitated and released. During this same time frame,
approximately 340 green sea turtles were found cold-stunned in Mexico, though approximately
300 of those were subsequently rehabilitated and released.

Whereas oil spill impacts are discussed generally for all species in Section 3.2.1, specific impacts
of the DWH spill on green sea turtles are considered here. Impacts to green sea turtles occurred
to offshore small juveniles only. A total of 154,000 small juvenile greens (36.6% of the total
small juvenile sea turtle exposures to oil from the spill) were estimated to have been exposed to
oil. A large number of small juveniles were removed from the population, as 57,300 small
juveniles greens are estimated to have died as a result of the exposure. A total of 4 nests (580
eggs) were also translocated during response efforts, with 455 hatchlings released (the fate of
which is unknown) (DWH Trustees 2015). Additional unquantified effects may have included
inhalation of volatile compounds, disruption of foraging or migratory movements due to surface
or subsurface oil, ingestion of prey species contaminated with oil and/or dispersants, and loss of
foraging resources which could lead to compromised growth and/or reproductive potential.
There is no information currently available to determine the extent of those impacts, if they
occurred.

While green turtles regularly use the northern Gulf of Mexico, they have a widespread
distribution throughout the entire Gulf of Mexico, Caribbean, and Atlantic, and the proportion of
the population using the northern Gulf of Mexico at any given time is relatively low. Although it
is known that adverse impacts occurred and numbers of animals in the Gulf of Mexico were
reduced as a result of the Deepwater Horizon oil spill of 2010 (DWH), the relative proportion of
the population that is expected to have been exposed to and directly impacted by the DWH
event, as well as the impacts being primarily to smaller juveniles (lower reproductive value than
adults and large juveniles), reduces the impact to the overall population. It is unclear what
impact these losses may have caused on a population level, but it is not expected to have had a
large impact on the population trajectory moving forward. However, recovery of green turtle
numbers equivalent to what was lost in the northern Gulf of Mexico as a result of the spill will
likely take decades of sustained efforts to reduce the existing threats and enhance survivorship of
multiple life stages (DWH Trustees 2015).

3.2.1.4 Hawksbill Sea Turtle

The hawksbill sea turtle was listed as endangered throughout its entire range on June 2, 1970 (35
FR 8491), under the Endangered Species Conservation Act of 1969, a precursor to the ESA.



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Critical habitat was designated on June 2, 1998, in coastal waters surrounding Mona and Monito
Islands in Puerto Rico (63 FR 46693).

Species Description and Distribution
Hawksbill sea turtles are small- to medium-sized (99-150 pounds [lb] on average [45-68
kilograms [kg]]) although females nesting in the Caribbean are known to weigh up to 176 lb (80
kg) (Pritchard et al. 1983). The carapace is usually serrated and has a tortoise-shell" coloring,
ranging from dark to golden brown, with streaks of orange, red, and/or black. The plastron of a
hawksbill turtle is typically yellow. The head is elongated and tapers to a point, with a beak-like
mouth that gives the species its name. The shape of the mouth allows the hawksbill turtle to
reach into holes and crevices of coral reefs to find sponges, their primary adult food source, and
other invertebrates. The shells of hatchlings are 1.7 in (42 millimeters [mm]) long, are mostly
brown, and are somewhat heart-shaped (Eckert 1995; Hillis and Mackay 1989; van Dam and
Sarti 1989).

Hawksbill sea turtles have a circumtropical distribution and usually occur between latitudes
30°N and 30°S in the Atlantic, Pacific, and Indian Oceans. In the western Atlantic, hawksbills
are widely distributed throughout the Caribbean Sea, off the coasts of Florida and Texas in the
continental United States, in the Greater and Lesser Antilles, and along the mainland of Central
America south to Brazil (Amos 1989; Groombridge and Luxmoore 1989; Lund 1985; Meylan
and Donnelly 1999a; NMFS and USFWS 1998a; Plotkin and Amos 1990; Plotkin and Amos
1988). They are highly migratory and use a wide range of habitats during their lifetimes (Musick
and Limpus 1997; Plotkin 2003). Adult hawksbill sea turtles are capable of migrating long
distances between nesting beaches and foraging areas. For instance, a female hawksbill sea
turtle tagged at Buck Island Reef National Monument (BIRNM) in St. Croix, U.S. Virgin Islands
(USVI), was later identified 1,160 miles (1,866 km) away in the Miskito Cays in Nicaragua
(Spotila 2004a).

Hawksbill sea turtles nest on sandy beaches throughout the tropics and subtropics. Nesting
occurs in at least 70 countries, although much of it now only occurs at low densities compared to
that of other sea turtle species (NMFS and USFWS 2007b). Meylan and Donnelly (1999b)
believe that the widely dispersed nesting areas and low nest densities is likely a result of
overexploitation of previously large colonies that have since been depleted over time. The most
significant nesting within the United States occurs in Puerto Rico and the U.S. Virgin Islands,
specifically on Mona Island and BIRNM, respectively. Although nesting within the continental
United States is typically rare, it can occur along the southeast coast of Florida and the Florida
Keys. The largest hawksbill nesting population in the western Atlantic occurs in the Yucatán
Peninsula of Mexico, where several thousand nests are recorded annually in the states of
Campeche, Yucatán, and Quintana Roo (Garduño-Andrade et al. 1999; Spotila 2004a). In the
U.S. Pacific, hawksbills nest on main island beaches in Hawaii, primarily along the east coast of
the island. Hawksbill nesting has also been documented in American Samoa and Guam. More
information on nesting in other ocean basins may be found in the 5-year status review for the
species (NMFS and USFWS 2007b).

Mitochondrial DNA studies show that reproductive populations are effectively isolated over
ecological time scales (Bass et al. 1996). Substantial efforts have been made to determine the


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nesting population origins of hawksbill sea turtles assembled in foraging grounds, and genetic
research has shown that hawksbills of multiple nesting origins commonly mix in foraging areas
(Bowen and Witzell 1996). Since hawksbill sea turtles nest primarily on the beaches where they
were born, if a nesting population is decimated, it might not be replenished by sea turtles from
other nesting rookeries (Bass et al. 1996).

Life History Information
Hawksbill sea turtles exhibit slow growth rates although they are known to vary within and
among populations from a low of 0.4-1.2 in (1-3 cm) per year, measured in the Indo-Pacific
(Chaloupka and Limpus 1997; Mortimer et al. 2003; Mortimer et al. 2002; Whiting 2000), to a
high of 2 in (5 cm) or more per year, measured at some sites in the Caribbean (Diez and Van
Dam 2002; León and Diez 1999). Differences in growth rates are likely due to differences in
diet and/or density of sea turtles at foraging sites and overall time spent foraging (Bjorndal and
Bolten 2002; Chaloupka et al. 2004). Consistent with slow growth, age to maturity for the
species is also long, taking between 20 and 40 years, depending on the region (Chaloupka and
Musick 1997a; Limpus and Miller 2000). Hawksbills in the western Atlantic are known to
mature faster (i.e., 20 or more years) than sea turtles found in the Indo-Pacific (i.e., 30-40 years)
(Boulan 1983; Boulon Jr. 1994; Diez and Van Dam 2002; Limpus and Miller 2000). Males are
typically mature when their length reaches 27 in (69 cm), while females are typically mature at
30 in (75 cm) (Eckert et al. 1992; Limpus 1992).

Female hawksbills return to the beaches where they were born (natal beaches) every 2-3 years to
nest (Van Dam et al. 1991; Witzell 1983) and generally lay 3-5 nests per season (Richardson et
al. 1999). Compared with other sea turtles, the number of eggs per nest (clutch) for hawksbills
can be quite high. The largest clutches recorded for any sea turtle belong to hawksbills
(approximately 250 eggs per nest) ((Hirth and Latif 1980), though nests in the U.S. Caribbean
and Florida more typically contain approximately 140 eggs (USFWS hawksbill fact
sheet, http://www.fws.gov/northflorida/SeaTurtles/Turtle%20Factsheets/hawksbill-sea-
turtle.htm). Eggs incubate for approximately 60 days before hatching (USFWS hawksbill fact
sheet). Hatchling hawksbill sea turtles typically measure 1-2 in (2.5-5 cm) in length and weigh
approximately 0.5 oz (15 g).

Hawksbills may undertake developmental migrations (migrations as immatures) and
reproductive migrations that involve travel over many tens to thousands of miles (Meylan
1999a). Post-hatchlings (oceanic stage juveniles) are believed to live in the open ocean, taking
shelter in floating algal mats and drift lines of flotsam and jetsam in the Atlantic and Pacific
oceans (Musick and Limpus 1997) before returning to more coastal foraging grounds. In the
Caribbean, hawksbills are known to almost exclusively feed on sponges (Meylan 1988; Van
Dam and Diez 1997), although at times they have been seen foraging on other food items,
notably corallimorphs and zooanthids (León and Diez 2000; Mayor et al. 1998; Van Dam and
Diez 1997).

Reproductive females undertake periodic (usually non-annual) migrations to their natal beaches
to nest and exhibit a high degree of fidelity to their nest sites. Movements of reproductive males
are less certain, but are presumed to involve migrations to nesting beaches or to courtship
stations along the migratory corridor. Hawksbills show a high fidelity to their foraging areas as


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well (Van Dam and Diez 1998). Foraging sites are typically areas associated with coral reefs,
although hawksbills are also found around rocky outcrops and high energy shoals which are
optimum sites for sponge growth. They can also inhabit seagrass pastures in mangrove-fringed
bays and estuaries, particularly along the eastern shore of continents where coral reefs are absent
(Bjorndal 1997; Van Dam and Diez 1998).

Status and Population Dynamics
There are currently no reliable estimates of population abundance and trends for non-nesting
hawksbills at the time of this consultation; therefore, nesting beach data is currently the primary
information source for evaluating trends in global abundance. Most hawksbill populations
around the globe are either declining, depleted, and/or remnants of larger aggregations (NMFS
and USFWS 2007b). The largest nesting population of hawksbills occurs in Australia where
approximately 2,000 hawksbills nest off the northwest coast and about 6,000-8,000 nest off the
Great Barrier Reef each year (Spotila 2004a). Additionally, about 2,000 hawksbills nest each
year in Indonesia and 1,000 nest in the Republic of Seychelles (Spotila 2004a). In the United
States, hawksbills typically laid about 500-1,000 nests on Mona Island, Puerto Rico in the past
(Diez and Van Dam 2007), but the numbers appear to be increasing, as the Puerto Rico
Department of Natural and Environmental Resources counted nearly 1,600 nests in 2010 (Puerto
Rico Department of Environment and Natural Resources [PRDNER] nesting data). Another 56-
150 nests are typically laid on Buck Island off St. Croix (Meylan 1999b; Mortimer and Donnelly
2008a). Nesting also occurs to a lesser extent on beaches on Culebra Island and Vieques Island
in Puerto Rico, the mainland of Puerto Rico, and additional beaches on St. Croix, St. John, and
St. Thomas, U.S. Virgin Islands.

Mortimer and Donnelly (2008a) reviewed nesting data for 83 nesting concentrations organized
among 10 different ocean regions (i.e., Insular Caribbean, Western Caribbean Mainland,
Southwestern Atlantic Ocean, Eastern Atlantic Ocean, Southwestern Indian Ocean, Northwestern
Indian Ocean, Central Indian Ocean, Eastern Indian Ocean, Western Pacific Ocean, Central
Pacific Ocean, and Eastern Pacific Ocean). They determined historic trends (i.e., 20-100 years
ago) for 58 of the 83 sites, and also determined recent abundance trends (i.e., within the past 20
years) for 42 of the 83 sites. Among the 58 sites where historic trends could be determined, all
showed a declining trend during the long-term period. Among the 42 sites where recent (past 20
years) trend data were available, 10 appeared to be increasing, 3 appeared to be stable, and 29
appeared to be decreasing. With respect to regional trends, nesting populations in the Atlantic
(especially in the Insular Caribbean and Western Caribbean Mainland) are generally doing better
than those in the Indo-Pacific regions. For instance, 9 of the 10 sites that showed recent
increases are located in the Caribbean. Buck Island and St. Croix’s East End beaches support 2
remnant populations of between 17-30 nesting females per season (Hillis and Mackay 1989;
Mackay 2006). While the proportion of hawksbills nesting on Buck Island represents a small
proportion of the total hawksbill nesting occurring in the greater Caribbean region, Mortimer and
Donnelly (2008a) report an increasing trend in nesting at that site based on data collected from
2001-2006. The conservation measures implemented when BIRNM was expanded in 2001 most
likely explains this increase.

Nesting concentrations in the Pacific Ocean appear to be performing the worst of all regions
despite the fact that the region currently supports more nesting hawksbills than either the Atlantic


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or Indian Oceans (Mortimer and Donnelly 2008a). Even so, while still critically low in numbers,
sightings of hawksbills in the eastern Pacific appear to have been increasing since 2007, though
some of that increase may be attributable to better observations (Gaos et al. 2010). More
information about site-specific trends can be found in the most recent 5-year status review for the
species (NMFS and USFWS 2007b).

Threats
Hawksbills are currently subjected to the same suite of threats on both nesting beaches and in the
marine environment that affect other sea turtles (e.g., interaction with federal and state fisheries,
coastal construction, oil spills, climate change affecting sex ratios) as discussed in Section 3.2.1.
There are also specific threats that are of special emphasis, or are unique, for hawksbill sea
turtles discussed in further detail below.

While oil spill impacts are discussed generally for all species in Section 3.2.1, specific impacts of
the DWH spill on hawksbill turtles have been estimated. Hawksbills made up 2.2% (8,850) of
small juvenile sea turtle (of those that could be identified to species) exposures to oil in offshore
areas, with an estimate of 615 to 3,090 individuals dying as a result of the direct exposure (DWH
Trustees 2015). No quantification of large benthic juveniles or adults was made. Additional
unquantified effects may have included inhalation of volatile compounds, disruption of foraging
or migratory movements due to surface or subsurface oil, ingestion of prey species contaminated
with oil and/or dispersants, and loss of foraging resources which could lead to compromised
growth and/or reproductive potential. There is no information currently available to determine
the extent of those impacts, if they occurred. Although adverse impacts occurred to hawksbills,
the relative proportion of the population that is expected to have been exposed to and directly
impacted by the DWH event is relatively low, and thus a population-level impact is not believed
to have occurred due to the widespread distribution and nesting location outside of the Gulf of
Mexico for this species.

The historical decline of the species is primarily attributed to centuries of exploitation for the
beautifully patterned shell, which made it a highly attractive species to target (Parsons 1972).
The fact that reproductive females exhibit a high fidelity for nest sites and the tendency of
hawksbills to nest at regular intervals within a season made them an easy target for capture on
nesting beaches. The shells from hundreds of thousands of sea turtles in the western Caribbean
region were imported into the United Kingdom and France during the nineteenth and early
twentieth centuries (Parsons 1972). Additionally, hundreds of thousands of sea turtles
contributed to the region’s trade with Japan prior to 1993 when a zero quota was imposed
(Milliken and Tokunaga 1987), as cited in Brautigam and Eckert (2006).

The continuing demand for the hawksbills’ shells as well as other products derived from the
species (e.g., leather, oil, perfume, and cosmetics) represents an ongoing threat to its recovery.
The British Virgin Islands, Cayman Islands, Cuba, Haiti, and the Turks and Caicos Islands
(United Kingdom) all permit some form of legal take of hawksbill sea turtles. In the northern
Caribbean, hawksbills continue to be harvested for their shells, which are often carved into hair
clips, combs, jewelry, and other trinkets (Márquez M. 1990; Stapleton and Stapleton 2006).
Additionally, hawksbills are harvested for their eggs and meat, while whole, stuffed sea turtles
are sold as curios in the tourist trade. Hawksbill sea turtle products are openly available in the


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Dominican Republic and Jamaica, despite a prohibition on harvesting hawksbills and their eggs
(Fleming 2001). Up to 500 hawksbills per year from 2 harvest sites within Cuba were legally
captured each year until 2008 when the Cuban government placed a voluntary moratorium on the
sea-turtle fishery (Carillo et al. 1999; Mortimer and Donnelly 2008a). While current nesting
trends are unknown, the number of nesting females is suspected to be declining in some areas
(Carillo et al. 1999; Moncada et al. 1999). International trade in the shell of this species is
prohibited between countries that have signed the Convention on International Trade in
Endangered Species of Wild Flora and Fauna, but illegal trade still occurs and remains an
ongoing threat to hawksbill survival and recovery throughout its range.

Due to their preference to feed on sponges associated with coral reefs, hawksbill sea turtles are
particularly sensitive to losses of coral reef communities. Coral reefs are vulnerable to
destruction and degradation caused by human activities (e.g., nutrient pollution, sedimentation,
contaminant spills, vessel groundings and anchoring, recreational uses) and are also highly
sensitive to the effects of climate change (e.g., higher incidences of disease and coral bleaching)
(Crabbe 2008; Wilkinson 2004). Because continued loss of coral reef communities (especially in
the greater Caribbean region) is expected to impact hawksbill foraging, it represents a major
threat to the recovery of the species.

4     ENVIRONMENTAL BASELINE

This section is an analysis of the effects of past and ongoing human and natural factors leading to
the current status of the species, its habitat (including designated critical habitat), and the
ecosystem, within the action area. It does not include the effects of the action under review in
this consultation.

By regulation, environmental baselines for Biological Opinions include the past and present
impacts of all state, federal, or private actions and other human activities in the action area. We
identify the anticipated impacts of all proposed federal projects in the specific action area of the
consultation at issue, that have already undergone formal or early Section 7 consultation as well
as the impact of state or private actions which are contemporaneous with the consultation in
process (50 CFR 402.02).

Focusing on the impacts of the activities in the action area specifically, allows us to assess the
prior experience and state (or condition) of the endangered and threatened individuals, and areas
of designated critical habitat that occur in an action area, and that will be exposed to effects from
the actions under consultation. This is important because, in some phenotypic states or life
history stages, listed individuals will commonly exhibit, or be more susceptible to, adverse
responses to stressors than they would be in other states, stages, or areas within their
distributions. The same is true for localized populations of endangered and threatened species:
the consequences of changes in the fitness or performance of individuals on a population's status
depends on the prior state of the population. Designated critical habitat is not different: under
some ecological conditions, the physical and biotic features of critical habitat will exhibit
responses that they would not exhibit in other conditions.

4.1    Status of Green (North Atlantic and South Atlantic DPSs), Loggerhead (Northwest

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       Atlantic DPS), and Hawksbill Sea Turtles within the Action Area

In Sections 3.2.1.1 through 3.2.1.4, we described the range-wide status of green, loggerhead, and
hawksbill sea turtles. Loggerhead sea turtles are not common around Puerto Rico. The only
nesting of these animals reported for Puerto Rico has been on the east coast of the main island
and a beach on Culebra Island, also off the east coast of the main island (PRDNER, unpublished
data). Both of these areas are outside of the action area. Similarly, over a period of more than
20 years, only 4 strandings of this species have been reported around Puerto Rico (PRDNER,
unpublished data). Past aerial surveys around the entire island of Puerto Rico estimated that this
species represented only 0.5% of all sea turtle species observed (Rathbun et al. 1985).

Based on information from previous aerial surveys around Puerto Rico, green sea turtles
comprised approximately 30% of the sightings and hawksbills approximately 8% (Rathbun et al.
1985). PRDNER also has unpublished stranding data for the period from 1992 to 2008 and there
have been several reports of green and hawksbill sea turtles near the project area, all of which
stranded due to incidental or targeted capture by fishers or for unknown reasons. Aerial survey
data from the USFWS manatee project has also recorded sightings of sea turtles during periodic
overflights around all of Puerto Rico and Culebra and Vieques Islands in 1984 – 1985, 1992 –
1995, and 1996 – 2003, in years when sea turtles were observed during surveys, the majority
could not be identified to species and, when they could, there were approximately as many green
sea turtles observed as hawksbills. A total of 26 sea turtles were observed over all survey time
periods and of these 4 were green, 3 were hawksbill and 19 could not be identified to species.
During most survey years, 1 – 2 turtles were observed but during surveys in 1984, 12 turtles
were observed with 2 being green, 1 hawksbill, and the rest unidentified. Over the past 5 years
reported sightings within the SJH action area include 6 juvenile or sub-adult green turtles and 1
adult hawksbill (Carlos Diez, PRDNER, pers. comm. to Kelly Logan, NMFS, December 14,
2017).

Green sea turtle nesting activity is low in Puerto Rico when compared to other areas of the
Caribbean and Atlantic. In addition, PRDNER nesting data is gathered mainly for leatherback
sea turtles so nesting by other species and beaches that are not part of PRDNER’s set survey sites
is largely unreported. There has been no nesting reported within La Esperanza Park on the west
side of the SJH or within the action area (Carlos Diez, PRDNER, pers. comm. to Paul DeMarco,
USACE, July 12, 2016). However, leatherback and hawksbill sea turtle nesting has been
reported along the beach area within the Condado Lagoon (USFWS 2005), within the action area
for the proposed beneficial use disposal.

ESA-listed sea turtles are highly mobile and therefore not as susceptible to localized stressors,
though as juveniles green and hawksbill sea turtles have been found to establish home ranges in
some areas of Puerto Rico, particularly Culebra for greens and Mona/Monito for hawksbills.
There is evidence of increases in nesting by hawksbill sea turtles, particularly on Mona Island
where hawksbill nesting is closely monitored. However, there is no in-water data for Puerto
Rico or regular nesting surveys of beaches around the island that enable us to estimate
populations of each sea turtle species. Therefore, we believe the status of ESA-listed sea turtle
species described in Sections 3.2.1.1 through 3.2.1.4 is an accurate reflection of the species’
status within the action area.


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4.2      Factors Affecting Green (North Atlantic DPS and South Atlantic DPS), Loggerhead
         (Northwest Atlantic DPS), and Hawksbill Sea Turtles within the Action Area

4.2.1    Federal Actions

Federally-managed fisheries operate in federal waters near the action area from 9 nautical miles
from shore (the limit of Commonwealth jurisdictional waters) out to the limits of the Exclusive
Economic Zone (EEZ). NMFS has previously determined that threatened and endangered sea
turtles are adversely affected by fishing gears used throughout the continental shelf in the action
area. Net and hook-and-line gear have been documented as interacting with sea turtles in Puerto
Rico based on stranding data from Commonwealth waters (PRDNER unpublished data).
Incidental catch in fishing gear accounted for 1% of reported sea turtle strandings around Puerto
Rico for the period from 1991 – 2008 while directed capture, including shooting, accounted for
40% of strandings (PRDNER unpublished data). Abandoned or lost fishing gear can also affect
the quality of refuge and foraging habitat for green, loggerhead, and hawksbill sea turtles as
abandoned gear can lead to abrasion and breakage in hard bottom and coral reef habitats and
have shading impacts on seagrass and macroalgae if the gear is large enough such as traps and
nets.

Effects on listed species from Federal fishery management actions, including Fishery
Management Plan (FMP) and FMP Amendments pursuant to the Magnuson-Stevens Fishery
Conservation and Management Act, are evaluated under Section 7 of the ESA. All of these
Opinions found that the actions described were not likely to jeopardize the continued existence
of sea turtle species. Formal Section 7 consultations have been conducted on the following
fisheries occurring in the action area and found fisheries actions to be likely to adversely affect
threatened and endangered sea turtles, but not likely to jeopardize the continued existence of the
species at issue: Caribbean Reef Fish (NMFS 2011) and Caribbean Spiny Lobster (NMFS 2009)
FMPs under the jurisdiction of the Caribbean Fishery Management Council (CFMC).
Anticipated levels of take associated with these actions reflect the impact on sea turtles and other
listed species of each activity anticipated from the date of the ITS forward in time in the waters
of the EEZ off Puerto Rico and the U.S. Virgin Islands. Anticipated levels of take under the
Caribbean Reef Fish FMP are 75 lethal takes of green sea turtles over 3 years, and 51 lethal takes
of hawksbill sea turtles with no more than 3 non-lethal takes over 3 years. No take of loggerhead
sea turtles under the Caribbean Reef Fish FMP are anticipated, due to the scarcity of this species
in the U.S. Caribbean. Anticipated levels of take under the Spiny Lobster FMP are 12 lethal
takes of green and hawksbill sea turtles over 3 years. Section 7 consultations were also
completed for the Caribbean Coral and Queen Conch FMPs. NMFS concluded that the
implementation of the Coral and Queen Conch FMPs is not likely to adversely affect ESA-listed
sea turtles.

Because green, loggerhead, and hawksbill turtles are highly migratory, their status in the action
area can be affected by fishery activities occurring throughout their ranges, including federal
management of fisheries in the Gulf of Mexico and South Atlantic. Section 7 consultations for
Gulf of Mexico Fishery Management Council and South Atlantic Fishery Management Council
FMP include anticipated levels of take of sea turtles. Anticipated levels of take under the Gulf


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of Mexico/South Atlantic Spiny Lobster FMP are 1 lethal or nonlethal take for hawksbills and 3
lethal or nonlethal takes for greens and loggerheads over 3 years. Anticipated levels of take
under the South Atlantic Snapper-Grouper FMP (NMFS 2006a) are 111 North Atlantic DPS
green takes with no more than 42 lethal, 6 South Atlantic DPS green takes with no more than 3
lethal, 629 Northwest Atlantic DPS loggerhead takes with no more than 208 lethal, and 6
hawksbill takes with no more than 4 lethal over 3 years. Anticipated level of take under the Gulf
of Mexico Reef Fish FMP is 1,044 loggerhead takes with 575 lethal, 116 green takes with no
more than 75 lethal, and 9 hawksbill takes with no more than 8 lethal over 3 years. The
Southeast Region has also established anticipated levels of take for highly migratory species
(HMS) fisheries. Anticipated levels of take under the Coastal Migratory Pelagics FMP (NMFS
2015) are 1 lethal take for hawksbills, 31 total takes of North Atlantic DPS greens over 3 years
with 9 lethal, and 27 total takes of Northwest Atlantic DPS loggerheads with 7 lethal. Under the
Dolphin-Wahoo FMP (NMFS 2003b), 12 loggerhead takes with no more than 2 lethal, and up to
3 green or hawksbill takes with no more than 1 lethal over 1 year. Under the HMS-Pelagic
Longline FMP (NMFS 2007), 1,905 loggerhead takes with no more than 339 lethal, and 105
green and/or hawksbill takes with no more than 18 lethal over 3 years. And under the HMS-
Shark Fisheries FMP (NMFS 2012), 126 loggerhead takes with no more than 78 lethal, 57 green
takes with no more than 33 lethal, and 18 hawksbill takes with no more than 9 lethal.
Anticipated levels of take have also been established for the Southeastern U.S. Shrimp Fishery
(NMFS 2014b) as 1,453 green turtle mortalities, 7,778 loggerhead turtle mortalities, and 78
hawksbill turtle mortalities are expected per year. The take numbers for the shrimp fishery were
estimated based on turtle excluder device enforcement as a surrogate for actual numbers of
animals.

Potential sources of adverse effects from federal vessel operations in the action area include
operations of the United States Coast Guard (USCG). NMFS and the USCG completed a
programmatic consultation for the USCG’s Aids to Navigation (ATONS) program to determine
the magnitude of the adverse impacts resulting from ATON operations in portions of Florida,
Puerto Rico, and the USVI (SER-2011-03196). The consultation ended on August 5, 2013 and
NMFS’s Opinion determined that ATON maintenance activities were not likely to adversely
affect sea turtles. EPA conducts coral surveys at different locations around Puerto Rico, often
annually, using motorized vessels. NMFS has not completed a Section 7 consultation with EPA
for their coral survey program at this time. Similarly, NOAA, including NOS and other line
offices, conduct coral reef monitoring, benthic surveys, sediment sampling and other scientific
surveys in the action area. NOS and the Southeast Fishery Science Center lead the NOAA
National Coral Reef Monitoring Program efforts that take place every 2 years at randomly
selected sampling sites around Puerto Rico. NOAA’s Coral Reef Conservation Program has
been in conversations with NMFS’s Office of Protected Resources in Silver Spring regarding the
possibility of completing a programmatic Section 7 consultation for the monitoring program and
other efforts that receive some or all of their funding from the coral program but no consultation
has been completed to date. Through the Section 7 process, where applicable, NMFS will
establish conservation measures for federal agency vessel operations to avoid or minimize
adverse effects to sea turtles. At the present time, however, they present the potential for some
level of interaction.




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As noted in the Consultation History, NMFS previously issued a concurrence letter (SER-2013-
10961) on the placement of dredged material into the beneficial use area of the Condado Lagoon,
and 2 concurrence letters (SER-2005-3186 and SER-2010-2658) for the use of the SJH Ocean
Dredged Material Disposal Site.

NMFS and the USCG completed an informal Section 7 consultation for the Caribbean Marine
Event Program for annually occurring marine events in USVI and Puerto Rico. As a result of
this consultation, the USCG now includes guidelines to avoid and minimize potential impacts of
marine events, especially events involving motorized vessels such as speedboat races, to listed
sea turtles and their habitat as permit conditions the event participants must follow. A
programmatic consultation is now in progress with the USCG for their Caribbean Marine Event
Program that will include all activities that may be covered by the USCG under the program.

4.2.2    State or Private Actions

Fisheries managed by the Commonwealth operate in or may have effects on species in the action
area, as discussed in Section 3.2.1.1, especially since Commonwealth waters extend to 9 nautical
miles from the shore meaning they encompass shallow and deep water areas where all 3 sea
turtle species may be present. As noted above, incidental catch in fishing gear accounted for 1%
of reported sea turtle strandings in the action area for the period from 1991 – 2008 and sea turtle
poaching is common, accounting for 40% of strandings (PRDNER unpublished data).

Commercial and recreational vessel traffic can have adverse effects on sea turtles via propeller
and boat-strike injuries. None of the sea turtle strandings reported in Puerto Rico were found to
be due to vessels (PRDNER, unpublished data). Vessel operation and the associated
proliferation of docks and other boating facilities have resulted in the loss or degradation of
refuge and foraging habitat, particularly for greens and hawksbill sea turtles due to impacts to
seagrass and coral habitats from propeller scarring, propeller wash, accidental groundings, and
in-water construction. Coastal runoff, marina and dock construction, dredging, industrial
operations, increased underwater noise, and boat traffic can degrade marine habitats used by sea
turtles (Colburn et al. 1996). Fueling and pump-out facilities at marinas can sometimes
discharge oil, gas, and sewage into sensitive coastal habitats. Although these contaminant
concentrations do not likely affect pelagic waters, the species of turtles analyzed in this Opinion
travel between near shore and offshore habitats and various life stages of green and hawksbill sea
turtles in particular can be found in nearshore waters in the action area year-round.

4.2.3    Other Potential Sources of Impacts to the Environmental Baseline

Hurricanes and large coastal storms can significantly modify both nesting and in-water sea turtle
habitat, including in the action area. Beach profiles change in response to wave action and
storm-induced erosion on the coast, which can also lead to the loss of nests or the loss of nesting
habitat for a single season or multiple seasons depending on the size of the beach and the extent
to which the beach profile is altered. Intense storms that cover a broad area can eliminate or
damage large expanses of reef or result in blowouts and loss of seagrass habitats. Recent major
hurricanes, including Hurricanes Irma and Maria in 2017, have caused significant changes in the
physical structure of many reefs around Puerto Rico. Tropical storms and hurricanes can also


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result in severe flooding, leading to significant sediment transport to nearshore waters and
additional degradation of reef habitats. In addition to affecting the sessile benthic organisms
themselves, these changes in the structure of the reef affect species like sea turtles, in particular
greens and hawksbills that use reef habitats for refuge and foraging. In-water habitat for green
and hawksbill sea turtles is temporarily lost or temporarily or permanently degraded depending
on the magnitude of the storm.

4.2.4    Conservation and Recovery Actions Shaping the Environmental Baseline

NMFS has implemented a series of regulations aimed at reducing the potential for incidental
capture and mortality of sea turtles from commercial fisheries in the action area. These include
sea turtle release gear requirements for Caribbean fisheries, including long line and trap gears.

Under Section 6 of the ESA, NMFS may enter into cooperative research and conservation
agreements with states to assist in recovery actions for listed species. We currently have an
agreement with Puerto Rico and the Commonwealth has regulations to protect sea turtle species
as well. Any projects conducted under Section 6 agreements must be reviewed for compliance
with Section 7 of the ESA. Many of the projects are aimed at determining the population status
of ESA-listed species within the jurisdiction and working toward the recovery of the species.
The PRDNER conducts research on hawksbill sea turtles in the area of Mona and occasionally
Desecheo Islands and on green sea turtles in Culebra. As part of a recent Section 6 proposal,
PRDNER would like to expand this research to better determine population dynamics in various
natural reserves around Puerto Rico. PRDNER also monitors beaches around Puerto Rico,
although monitoring is mainly for leatherback sea turtle nesting. PRNDER is also working to
strengthen its volunteer sea turtle nesting monitoring network in order to obtain more
comprehensive information regarding nesting by all sea turtle species around the island.

NMFS has established stranding procedures to rescue and rehabilitate any live stranded sea
turtles. The PRDNER responds to sea turtle strandings in Puerto Rico. NMFS has issued
regulations (66 FR 67495, December 31, 2001) detailing handling and resuscitation techniques
for sea turtles that are incidentally caught during scientific research or fishing activities. Persons
participating in fishing activities or scientific research are required to handle and resuscitate (as
necessary) sea turtles as prescribed in the Final Rule. These measures help to prevent mortality
of hard-shelled turtles caught in fishing or scientific research gear.

A Final Rule (70 FR 42508, July 25, 2005) allows any agent or employee of NMFS, USFWS,
USCG, or any other federal land or water management agency, or any agent or employee of a
state agency responsible for fish and wildlife, when acting in the course of his or her official
duties, to take endangered sea turtles encountered in the marine environment if such taking is
necessary to aid a sick, injured, or entangled sea turtle, or dispose of a dead endangered sea
turtle, or salvage a dead endangered sea turtle that may be useful for scientific or educational
purposes. NMFS also affords the same protection to sea turtles listed as threatened under the
ESA (50 CFR 223.206(b)).

Recovery teams comprised of sea turtle experts have been convened to work toward revising sea
turtle recovery plans based on the latest and best available information. Five-year status reviews


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are completed for green, hawksbill, leatherback, and loggerhead sea turtles. These reviews are
conducted to comply with the ESA mandate for periodic status evaluation of listed species to
ensure that their threatened or endangered listing status remains accurate. Each review
determined that no delisting or reclassification of a species status (i.e, threatened or endangered)
was warranted at this time. However, further review of species data for the green and loggerhead
sea turtles resulted in a determination that DPS should be established for these species, which
was done for loggerhead sea turtles in 2011 and for green sea turtles in 2016.

5     EFFECTS OF THE ACTION

Effects of the action include direct and indirect effects of the action under consultation. Indirect
effects are those that result from the proposed action, occur later in time (i.e., after the proposed
action is complete), but are still reasonably certain to occur.

As described below, NMFS believes that the proposed action may adversely affect loggerhead,
green, and hawksbill sea turtles. Because the action will result in adverse effects to these
species, we must evaluate whether the action is likely to jeopardize the continued existence of
these species

5.1    Effects of Non-Hopper Dredging and Related Activities

For the reasons described in Section 3.1, we conclude that the following routes of effect are not
likely to adversely affect NWA DPS of loggerhead sea turtles, NA and SA DPSs of green sea
turtles, or hawksbill sea turtles: non-hopper dredging methods (clamshell, bucket dredging,
cutterhead dredging, and pipeline dredging); placement of dredged material in the ODMDS
including vessel strikes from dredges or disposal vessels, disposal of sediments, and exposure to
contaminants; disposal of material within the Condado Lagoon; bed leveling activities; and
temporary exclusion to forage and refuge habitat.

5.2    Hopper Dredge Effects and Estimated Sea Turtle Mortality

Potential routes of adverse effects of the proposed action to loggerhead, green, and hawksbill sea
turtles are limited to hopper dredging interactions.

Hopper Dredge Vessel Collisions
NMFS believes that the possibility that the hopper dredge vessel(s) will collide with and injure
or kill sea turtles during dredging and/or sand pump out operations is discountable, given the
following reasons: (1) the vessel’s slow speed (generally 3-5 kt during active dredging, and 10-
12 kt during transits) (pers. comm. Terri Jordan-Sellers, USACE to Kelly Logan, NMFS,
February 19, 2014), (2) the ability of these species to move out of the way, and (3) anticipated
avoidance behavior by sea turtles at the sea surface or in the water column.

Hopper Dredge Entrainment Effects
Previous NMFS Biological Opinions have determined that hopper dredges may adversely affect
green, loggerhead, and hawksbill sea turtles through crushing and/or entrainment by the dredge’s
suction dragheads. A typical hopper dredge vessel operates with 2 trailing, suction dragheads

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simultaneously, 1 on each side of the vessel. Material will be dredged from within the SJH and
transported to the disposal sites at the ODMDS and/or the Condado Lagoon. During all phases
of dredging operations, the dredge and crew will be required to adhere to NMFS’s Sea Turtle
and Smalltooth Sawfish Construction Conditions as well as the terms and conditions of the 1997
SARBO (or any subsequently issued SARBO).

We used data from previous hopper dredging projects in and around the action area as well as in
areas of South Florida to determine the effects to sea turtles. Because there is little data available
within the SJH area, we include South Florida as the nearest location with similar conditions
where data was available. South Florida water temperatures and benthic habitats are similar to
Puerto Rico and green, loggerhead, and hawksbill sea turtles are found in both locations. South
Florida also has a history of dredging numerous ports using similar equipment. From 1995
through 2017, records indicate that 45 projects used hopper dredges in South Florida and Puerto
Rico generating approximately 20,357,870 yd3 of material (Table 4). Thirty sea turtles were
documented/observed as taken in hopper dredges during these dredging events. This equates to a
catch per unit effort (CPUE) of 0.00000147 turtles per cubic yard dredged (30 turtles/20,357,870
yd3 of material = 0.00000147 turtles per y3).

Table 4. Dredged Material Removed and Observed Sea Turtle Takes from Dredging
Projects in and around SJH and South Florida, 1995-2017(Operations and Dredging
Endangered Species System 2017).




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                                  Year/ Time of      Quantity of                   Green    Total
    No.          Project                                              Loggerhead
                                      Year          Material (yd3)                   5
                                                                                           Turtles
              Palm Beach
                                    4/21/2005-
     1       Harbor Beach                              318,874               1               1
                                     7/2/2005
             Renourishment
              Palm Beach
                                    9/22/2004-
     2        Harbor/Lake                              302,007               1               1
                                    10/14-2004
                Worth
              Palm Beach
                                   12/30/1994-
     3        Harbor/Lake                              179,330               3       2       5
                                    2/14/1995
                Worth
              Juno Beach           12/19/2009-
     4                                                1,234,697                              0
             Renourishment          3/26/2010
              Jacksonville         11/27/2007-
     5                                                 191,103               1               1
                Harbor             12//12/2007
              Palm Beach
                                    2/24/2000-
     6        Harbor/Lake                              187,340               1               1
                                    3/18/2000
                Worth
             Brevard Beach          3/19/2005-
     7                                                 900,000               3               3
             Renourishment          5/14/2005
             Jupiter Beach           2/3/2006-
     8                                                 869,655               1               1
             Renourishment          4/27/2006
             Duval County
                                    6/10/2005-
     9           Beach                                 616,000               1               1
                                     8/7/2005
             Renourishment
              Palm Beach
                                    4/7/2003-
     10      Harbor Beach                              111,625               1               1
                                    4/23/2003
             Renourishment
              Palm Beach
     11       Harbor Lake           3/17/1999           64,779                               0
                Worth
             Brevard Beach          10/8/2000-
     12                                               4,596,516              1               1
             Renourishment           4/5/2001
             Brevard Beach           1/3/2002-
     13                                               1,632,105              1               1
             Renourishment           4/2/2002
             Jupiter Beach           4/6/2002-
     14                                               1,048,171              1               1
             Renourishment           5/1/2002
             Martin County
                                    3/25/2013-
     15          Beach                                 613,000               2               2
                                    4/22/2013
             Renourishment
            Key West Harbor
     16                             3/12/2004          111,710                               0
            West Palm Beach
     17                              4/5/2008          157,828                               0
             Miami Harbor
     18                             3/23/2006           86,198                               0
             Port Everglades
     19                              8/9/2005           60,210                               0
              Palm Beach
     20      Harbor Beach           2/15/1994          181,338                               0
             Renourishment
     21        Ft Pierce            8/16/1995          193,773                               0


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    Given the location of the projects, this includes both NA and SA DPSs.

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                           Year/ Time of    Quantity of                  Green    Total
 No.        Project                                         Loggerhead
                                Year       Material (yd3)                  5
                                                                                 Turtles
                            11/27/2013-
  22     Brevard County                       692,418           3                  3
                             4/22/2014
  23    Palm Beach Boca        4/25/14        200,000           1                  1
         Midtown Beach       1/20/2015-
  24                                          920,000           4          1       5
         Renourishment       4/24/2015
         Ft Pierce Beach    2/18/2015-
  25                                          300,000           1                  1
         Renourishment       5/31/2015
           Palm Beach
  26      Harbor Lake        5/17/2004        41,763                               0
              Worth
           Palm Beach
  27                         2/15/2007        120,000                              0
             Harbor
  28    San Juan Harbor      4/14/2000       1,594,940                             0
           Palm Beach
  29      Harbor Beach      12/15/1996        219,177                              0
         Renourishment
           Palm Beach
  30      Harbor Beach       1/16/1998        73,349                               0
         Renourishment
           Palm Beach
  31      Harbor Beach      12/11/2000        112,446                              0
         Renourishment
           Palm Beach
  32      Harbor Lake        1/12/2002        184,935                              0
              Worth
  33    Ft Pierce Harbor     1/16/1993        590,000                              0
  34     Miami Harbor        4/14/1990        171,294                              0
           Palm Beach
  35                        11/28/2005        70,698                               0
             Harbor
  36        Key West         4/22/2007         92,102                              0
  37    Ft Pierce Harbor      1/2/1998         12,672                              0
  38    Ft Pierce Harbor     2/28/1997         21,402                              0
  39    San Juan Harbor      11/1/2000        577,661                              0
           Palm Beach
  40                         6/1/2009         15,000                               0
             Harbor
           Palm Beach
  41                        12/27/2009        64,068                               0
             Harbor
           Palm Beach
  42                         8/19/2009        42,235                               0
             Harbor
  43     Port Everglades     2/25/2013        418,674                              0
           Palm Beach
  44                         3/23/2012        100,000                              0
             Harbor
           Palm Beach
  45                         1/28/2011        66,777                               0
             Harbor
                               Total       20,357,870           27         3       30
                              CPUE          0.00000147

Using this data, we can calculate that the proposed project will result in the observed take of 3
turtles (0.00000147 CPUE x 2,100,000 yd3 of dredge spoils for SJH = 3.08, rounded to 3 turtles).

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NMFS has previously determined that dredged material screening is only partially effective at
detecting entrained turtles, and observed interactions likely provide only partial estimates of total
sea turtle mortality. NMFS believes that some turtles killed by hopper dredges go undetected
because body parts are forced through the sampling screens by water pressure and are buried in
the dredged material, or animals are crushed or killed but their bodies or body parts are not
entrained by the suction and so the interactions may go unnoticed. Mortalities are only noticed
and documented when body parts float, are large enough to be caught in the screens, and can be
identified as sea turtle parts. Body parts that are forced through the suction dragheads’ 4-inch (or
greater) inflow screens by the suction-pump pressure and that do not float are very unlikely to be
observed, since they will sink to the bottom of the hopper and not be detected by the overflow
screening.

It is not known how many turtles are killed but unobserved. Therefore, to be conservative
towards the species, NMFS has previously estimated that up to 1 out of 2 impacted turtles may
go undetected (i.e., that observed interactions constitute only 50% of total takes). This estimated
rate of under-detection was used in the November 19, 2003 Regional Biological Opinion (SER-
2000-01287) on hopper dredging issued to the U.S. Army Corps of Engineers for their Gulf of
Mexico District’s (i.e., Jacksonville, Mobile, New Orleans, and Galveston) maintenance
dredging and beach renourishment operations. We apply this longstanding conservative
assumption in the present Opinion, as we have no new information that would change the basis
of that previous conclusion and estimate. Our Incidental Take Statement (ITS) is based on
observed takes, not only because observed mortality gives us an estimate of unobserved
mortality, but because observed, documented take numbers serve as triggers for some of the
reasonable and prudent measures, and for potential reinitiation of consultation if actual observed
takes exceed the anticipated/authorized number of observed takes. Our jeopardy analysis
accounts for total takes (observed takes plus undetected takes).

Experience has shown that the vast majority of hopper-dredge impacted turtles are immediately
killed by being crushed or through dismemberment from being trapped underneath and rolled
under the heavy suction dragheads and/or by the violent forces they are subjected to during
entrainment through the dredges’ powerful, high-velocity dredge pumps. A very few turtles
(over the years, a fraction of a percent) survive entrainment in hopper dredges; these are usually
smaller juveniles that are sucked through the pumps without being dismembered or badly
injured. Often they will appear uninjured only to die days later of unknown internal injuries
while in rehabilitation. Therefore, we are conservatively predicting that all entrainment events
by hopper dredges will be lethal.

Based on the previously discussed 50% detection rate of dredge-impacted turtles, NMFS
estimates that the proposed action will result in a total of 6 incidental, lethal interactions (3
observed and 3 unobserved). We anticipate that the turtles entrained will be a combination of
green and either loggerhead or hawksbill sea turtles. As mentioned in Section 4.1 of the
Environmental Baseline above, the majority of sea turtles observed in and around the action area
are green sea turtles. During past aerial surveys approximately 30% of sea turtles were identified
as greens; however, the majority of sea turtles spotted could not be identified to species, so
NMFS expects that there are likely more green turtles present than identified through aerial


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observations. Other data mentioned in Section 4.1, above, which includes unpublished data
from the DNER as well as personal communications also indicate that green sea turtles are the
most abundant in and around the action area. Therefore, we believe that green sea turtles are
likely to comprise the majority of the observed take for the proposed action. Based on available
data, the second most commonly observed species are hawksbills. However, we cannot rule out
that loggerheads may be taken, as they may also be present. Therefore, we believe that the
observed take will consist of 2 greens (NA and SA DPS combined) and either 1 hawksbill or 1
loggerhead (3 observed sea turtle takes in total).

We estimated above that for this project, hopper dredge entrainment will result in 6 sea turtle
mortalities due to entrainment (3 observed and 3 unobserved). However, the dredge draghead is
actually interacting with a larger (but unknown) number of turtles. We assume that sea turtle
deflector dragheads are fairly effective at pushing away turtles unharmed, based on studies
conducted by the USACE (Banks and Alexander 1994; Nelson and Shafer 1996). To be
conservative, we assume each draghead is only 50% effective (i.e., for every turtle killed, 1 is
safely deflected); therefore, estimating that 6 turtles will be killed in this project leads us to
conclude that 6 other turtles will be safely deflected. We believe that these deflection
interactions will not cause injury to sea turtles and will not rise to the level of a take, as the
deflectors themselves do not have sharp edges and move slowly; thus, we believe these
deflection effects will be insignificant.

6   CUMULATIVE EFFECTS

Cumulative effects include the effects of future state, tribal, local or private actions that are
reasonably certain to occur in the action area considered in this Biological Opinion. Future
federal actions that are unrelated to the proposed action are not considered in this section because
they require separate consultation pursuant to Section 7 of the ESA.

Sea turtle habitats have been degraded or modified throughout the southeastern United States and
Caribbean from activities like coastal development, channel dredging, and boating activities.
These threats were discussed above for each species. While the degradation and modification of
habitat is not likely the primary reason for the decline of sea turtle abundance or distribution, it
has likely been a contributing factor. No future actions with effects beyond those already
described are reasonably certain to occur in the action area.

7   JEOPARDY ANALYSIS

The analyses conducted in the previous sections of this Opinion serve to provide a basis to
determine whether the proposed actions would be likely to jeopardize the continued existence of
loggerhead, green, and hawksbill sea turtles. In Section 5.0, we outlined how the proposed
actions can affect these species. Now we turn to an assessment of the species response to these
impacts, in terms of overall population effects, and whether those effects of the proposed actions,
when considered in the context of the status of the species (Section 3.0), the environmental
baseline (Section 4.0), and the cumulative effects (Section 6.0), will jeopardize the continued
existence of the affected species.


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This section evaluates whether the proposed actions are likely to jeopardize the continued
existence of loggerhead, green, and hawksbill sea turtles in the wild. To jeopardize the
continued existence of is defined as “to engage in an action that reasonably would be expected,
directly or indirectly, to reduce appreciably the likelihood of both the survival and recovery of a
listed species in the wild by reducing the reproduction, numbers, or distribution of that species”
(50 CFR 402.02). Thus, in making this determination, NMFS must look at whether the proposed
actions directly or indirectly reduce the reproduction, numbers, or distribution of a listed species.
Then if there is a reduction in one or more of these elements, we evaluate whether it would be
expected to cause an appreciable reduction in the likelihood of both the survival and the recovery
of the species. Section 5 (“Effects of the Action”) describes the effects of the proposed actions
on these species, and the extent of those effects in terms of an estimate of the number of impacts.

7.1    Loggerhead Turtles (Northwest Atlantic DPS)

The lethal take of up to 2 loggerhead sea turtles (1 observed, 1 unobserved) will result in a
reduction in both numbers (the individuals lethally taken) and reproduction as a result of lost
reproductive potential, as the individuals could be a female who could have survived other
threats and reproduced in the future, thus eliminating the female’s contribution to future
generations. For example, an adult female loggerhead sea turtle can lay 3 or 4 clutches of eggs
every 2-4 years, with 100-130 eggs per clutch. The loss of an adult female sea turtle could
preclude the production of thousands of eggs and hatchlings of which a small percentage would
be expected to survive to sexual maturity. Because the potential lethal take would occur in a
limited, discrete action area, and the NWA DPS of loggerhead sea turtles have large ranges in
which they disperse, including along the coast of the United States, from southern Virginia to
Alabama, where nesting may occur, the distribution of loggerhead sea turtles is expected to be
unaffected by the lethal take.

Whether the reduction of up to 2 loggerhead sea turtles would appreciably reduce the likelihood
of survival for loggerheads depends on what effect this reduction in numbers and reproduction
would have on overall population sizes and trends. In other words, we consider whether the
reduction would be of such magnitude that adverse effects on population dynamics would be
appreciable when viewed within the context of the environmental baseline and status of the
species. In Section 3.2, we reviewed the status of the species in terms of nesting and female
population trends and several recent assessments based on population modeling (e.g., (Conant et
al. 2009b; NMFS-SEFSC 2009). In Section 4.2, we evaluated the Environmental Baseline,
including known sources of mortality affecting sea turtle populations in the action area.Below,
we synthesize what that information means in general terms and also in the more specific context
of the proposed action and the environmental baseline.

Loggerhead sea turtles are a slow growing, late-maturing species. Because of their longevity,
loggerhead sea turtles require high survival rates throughout their life to maintain a population.
In other words, late-maturing species cannot tolerate much anthropogenic mortality without
going into decline. Conant et al. (2009b) concluded because loggerhead natural growth rates are
low, natural survival needs to be high, and even low- to moderate mortality can drive the
population into decline. Because recruitment to the adult population is slow, population-
modeling studies suggest even small increases in mortality rates in adults and subadults could


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substantially impact population numbers and viability (Chaloupka and Musick 1997b; Crouse et
al. 1987; Crowder et al. 1994; Heppell et al. 1995).

NOAA’s Southeast Fisheries Science Center (SEFSC (2009)) estimates the adult female
population size for the NWA DPS is likely between approximately 20,000-40,000 individuals,
with a low likelihood of being up to 70,000 individuals. A more recent conservative estimate for
the entire western North Atlantic population was a mean of 38,334 adult females using data from
2001-2010 (Richards et al. 2011). A much less robust estimate for total benthic females in the
western North Atlantic was also obtained, with a likely range of approximately 30,000-300,000
individuals, up to less than 1 million. Further insight into the numbers of loggerhead sea turtles
along the U.S. coast is available in (NMFS-NEFSC 2011), which reported a conservative
estimate of 588,000 juvenile and adult loggerhead sea turtles present on the continental shelf
from the mouth of the Gulf of St. Lawrence to Cape Canaveral, Florida. Researchers in this
study used only positively identified loggerhead sightings from an aerial survey. A less
conservative analysis from the same study resulted in an estimate of 801,000 loggerheads in the
same geographic area when a proportion of the unidentified hardshell turtles were categorized as
loggerheads. This study did not include Florida’s east coast south of Cape Canaveral or the Gulf
of Mexico, areas where large numbers of loggerheads are also expected.

A detailed analysis of Florida’s long-term loggerhead nesting data (1989-2014) revealed 3
distinct annual trends. From 1989-1998, there was a 30% increase that was then followed by a
sharp decline over the subsequent decade. Large increases in loggerhead nesting have occurred
since then. FWRI examined the trend from the 1998 nesting high through 2013 and found the
decade-long post-1998 decline had reversed, and there was no longer a demonstrable trend.
Looking at the data from 1989 through 2014 (an increase of over 32%), FWRI concluded that
there was an overall positive change in the nest counts (http://myfwc.com/research/wildlife/sea-
turtles/nesting/loggerhead-trends/).

We believe that the incidental take and resulting mortality of up to 2 loggerhead sea turtles
associated with the proposed action, and in the context of the environmental baseline, is not
reasonably expected to cause an appreciable reduction in the likelihood of survival of the NWA
DPS of loggerhead sea turtles. We believe the current population is large (i.e., several hundred
thousand individuals) and is showing encouraging signs of stabilizing and possibly increasing.
We also expect that the proposed action will not cause the population to lose genetic
heterogeneity, broad demographic representation, or successful reproduction, nor affect
loggerheads’ ability to meet their lifecycle requirements, including reproduction, sustenance, and
shelter.

With respect to whether the proposed action would appreciably reduce the likelihood of the
species’ recovery, we evaluated the Services’ recovery plan for the Northwest Atlantic
population of the loggerhead sea turtle (NMFS and USFWS 2008a), which is the same
population of sea turtles as the NWA DPS. The recovery plan anticipates that, with
implementation of the plan, the western North Atlantic population will recover within 50-150
years, but notes that reaching recovery in only 50 years would require a rapid reversal of the then
declining trends of the Northern, Peninsular Florida, and Northern Gulf of Mexico Recovery
Units.


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The objectives of the recovery plan most pertinent to the threats posed by the proposed actions
are Objectives Nos. 1 and 2:

       1. Ensure that the number of nests in each recovery unit are increasing and that this
          increase corresponds to an increase in the number of nesting females.
       2. Ensure the in-water abundance of juveniles in both neritic and oceanic habitats is
          increasing and is increasing at a greater rate than strandings of similar age classes.

Recovery Objective No. 1, “Ensure that the number of nests in each recovery unit is
increasing…,” is the plan’s overarching objective and has associated demographic criteria.
Currently, none of the plan’s criteria are being met, but the plan acknowledges that it will take
50-150 years to do so. Further reduction of multiple threats throughout the North Atlantic, Gulf
of Mexico, and Greater Caribbean will be needed for strong, positive population growth,
following implementation of more of the plan’s actions. Although any continuing mortality can
affect the potential for population growth, we believe the mortality of up to 2 loggerhead sea
turtles from the proposed action will not impede or prevent achieving this recovery objective.

Recovery Objective No. 2 states, “Ensure the in-water abundance of juveniles in both neritic and
oceanic habitats is increasing and is increasing at a greater rate than strandings of similar age
classes.” Currently, there are not enough data to determine if this objective is being met. In
particular, data specific to loggerhead juvenile abundance is sparse. Therefore, research focusing
on adults and nesting trends provides some alternative data to assess the status of juveniles. The
nesting trends of the NWA DPS of loggerhead sea turtles appears to have stabilized and, as noted
above, may even be showing a slight positive trend based on nest counts. Overall, loggerhead
populations have a long way to go before the population decline is reversed and numerical
increases in population meet the goals of the recovery plan. As with Recovery Objective No. 1
above, continuing mortality combined with the loss of up to 2 loggerhead sea turtles from the
proposed action would not impede or prevent achieving this recovery objective over the
anticipated 50- to 150-year time frame. Because of high inter-annual variation in nesting and
stranding data, and due to the relatively long-term lens needed to discern species recovery for the
NWA population of loggerheads, recovery trends are assessed over decades. The loss of up to 2
NWA DPS loggerhead over the 3 year periods for the proposed action would not impede
recovery or significantly add to any negative recovery trend for this DPS.

The potential lethal take of up to 2 loggerhead sea turtles is not reasonably expected to cause an
appreciable reduction in the likelihood of recovery of the NWA DPS of loggerheads. The
potential lethal interaction associated with the proposed action would not impede progress on
achieving the identified relevant recovery objectives or achieving the overall recovery strategy.

Conclusion
The lethal take of up to 2 NWA DPS of loggerhead sea turtles associated with the proposed
action is not expected to cause an appreciable reduction in the likelihood of either the survival or
recovery of the species in the wild.

7.2    Green Turtles (North Atlantic and South Atlantic DPSs)

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Mixed-stock analyses of foraging grounds show that green sea turtles from multiple nesting
beaches commonly mix at feeding areas across the Caribbean and Gulf of Mexico, with higher
contributions from nearby large nesting sites and some contribution estimated from nesting
populations outside the DPS (Bass et al. 1998; Bass and Witzell 2000; Bjorndal and Bolten 2008;
Bolker et al. 2007). In other words, the proportion of animals on the foraging grounds from a
given nesting beach is proportional to the overall importance of that nesting beach to the entire
DPS. For example, Tortuguero, Costa Rica, is by far the largest nesting beach in the NA DPS
and the number of animals from that nesting beach on foraging grounds in the same area was
much higher than from any other nesting beach within the NA DPS. However, in some nesting
locations within the NA DPS closer to the border of the SA DPS, there may be significant
mixing between the DPSs. More specifically, Lahanas et al. (1998) showed through genetic
sampling that juvenile green sea turtles in The Bahamas originate mainly from the western
Caribbean (Tortuguero, Costa Rica) (79.5%) (NA DPS) but that a significant proportion may be
coming from the eastern Caribbean (Aves Island/Suriname; 12.9%) (SA DPS). In general, the
proportion of individuals on a given foraging ground is roughly proportional to the numbers of
individuals on nearby nesting beaches.

Flipper tagging studies provide additional information on the co-mingling of turtles from the NA
DPS and SA DPS. Flipper tagging studies on foraging grounds and/or nesting beaches have
been conducted in Bermuda (Meylan et al. 2011), Costa Rica (Troeng et al. 2005), Cuba
(Moncada et al. 2006), Florida (Johnson and Ehrhart 1996; Kubis et al. 2009), Mexico (Zurita et
al. 2003a; Zurita et al. 1994), Panama (Meylan et al. 2011), Puerto Rico (Collazo et al. 1992;
Patricio et al. 2011), and Texas (Shaver 1994; Shaver 2002). Nesters have been satellite tracked
from Florida, Cuba, Cayman Islands, Mexico, and Costa Rica. Troeng et al. (2005) report that
while there is some crossover of adult female nesters from the NA DPS into the SA DPS,
particularly in the equatorial region where the DPS boundaries are in closer proximity to each
other, NA DPS nesters primarily use the foraging grounds within the NA DPS.

As discussed in section 3.2, within U.S. waters individuals from both the NA and SA DPSs can
be found on foraging grounds. While there are currently no in-depth studies available to
determine the percent of NA and SA DPS individuals in any given location, two small-scale
studies provide an insight into the degree of mixing on the foraging grounds. An analysis of
cold-stunned green turtles in St. Joseph Bay, Florida (northern Gulf of Mexico) found
approximately 4% of individuals came from nesting stocks in the SA DPS and that the remainder
were from the NA DPS (Foley et al. 2007). On the Atlantic coast of Florida, a study on the
foraging grounds off Hutchinson Island found that approximately 5% of the turtles sampled
came from the SA DPS (Bass and Witzell 2000). All of the individuals in both studies were
benthic juveniles. While all of the mainland U.S. nesting individuals are part of the NA DPS, the
U.S. Caribbean nesting assemblages are split between the NA and SA DPS. Nesters in Puerto
Rico are part of the NA DPS, while those in the U.S. Virgin Islands are part of the SA DPS. We
do not currently have information on what percent of individuals on the U.S. Caribbean foraging
grounds come from which DPS.

We anticipate up to 4 green sea turtles (2 observed, 2 unobserved) may be taken due to the
proposed action. Since we have no information specific to U.S. Caribbean waters, we


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conservatively conduct a separate analysis for both the NA and the SA DPS as if all of the
anticipated takes from the project would occur to each of the DPSs.

NA DPS
The potential lethal take of up to 4 green sea turtles from the NA DPS would reduce the number
of green sea turtles, compared to their numbers in the absence of the proposed action, assuming
all other variables remained the same. A lethal interaction would also result in a potential
reduction in future reproduction, assuming the individuals would be female and would have
survived otherwise to reproduce. For example, an adult green sea turtle can lay 1-7 clutches
(usually 2-3) of eggs every 2-4 years, with 110-115 eggs/nest, of which a small percentage is
expected to survive to sexual maturity. The anticipated lethal interactions are expected to occur
in a small, discrete action area which is a tiny portion of the large range of the NA DPS of green
sea turtles in which they disperse; thus, no reduction in the distribution of the NA DPS of green
sea turtles is expected from this take. 6

Whether the reduction in numbers and reproduction of this species would appreciably reduce its
likelihood of survival depends on the probable effect the changes in numbers and reproduction
would have relative to current population sizes and trends. In Section 3.2, we reviewed the
status of the species in terms of nesting and female population trends and several recent
assessments based on population modeling (e.g., . (Bjorndal et al. 1999; NMFS and USFWS
2007a; Troëng and Rankin 2005) In Section 4.2, we evaluated the Environmental Baseline,
including known sources of mortality affecting sea turtle populations in the action area.
Seminoff et al. (2015) estimate there are greater than 167,000 nesting females in the NA DPS.
The nesting at Tortuguero, Costa Rica, accounts for approximately 79% of that estimate
(approximately 131,000 nesters), with Quintana Roo, Mexico (approximately 18,250 nesters;
11%), and Florida, USA (approximately 8,400 nesters; 5%) also accounting for a large portion of
the overall nesting (Seminoff et al. 2015).

At Tortuguero, Costa Rica, the number of nests laid per year from 1999 to 2003, was
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females each year (Troëng and Rankin 2005). The number of nests laid per year increased to an
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occurred despite substantial human impacts to the population at the nesting beach and at foraging
areas (Campell and Lagueux 2005; Troëng 1998; Troëng and Rankin 2005).

Nesting locations in Mexico along the Yucatan Peninsula also indicate the number of nests laid
each year has increased (Seminoff et al. 2015). In the early 1980s, approximately 875 nests/year
were deposited, but by the year 2000 this increased to over 1,500 nests/year (NMFS and USFWS
2007a). By 2012, more than 26,000 nests were counted in Quintana Roo (J. Zurita, CIQROO,
unpubl. data, 2013, in Seminoff et al. 2015)




6
  NA DPS green takes are anticipated from the action area at the Madeira Beach Fishing Pier but we expand outward within
Florida in the Gulf of Mexico because post-release mortalities may occur somewhere further away from the action area from the
time of release until the time of death. Usually, the time between release and mortality occurs over a period of hours to days, so
we would not expect a sea turtle to range too far outside the action area before dying.

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In Florida, most nesting occurs along the Atlantic coast of eastern central Florida, where a mean
of 5,055 nests were deposited each year from 2001 to 2005 (Meylan et al. 2006) and 10,377 each
year from 2008 to 2012 (B. Witherington, Florida Fish and Wildlife Conservation Commission,
pers. comm., 2013). As described in the Section 3.5, nesting has increased substantially over the
last 20 years and peaked in 2015 with 27,975 nests statewide. In-water studies conducted over
24 years in the Indian River Lagoon, Florida, suggest similar increasing trends, with green sea
turtle captures up 661% (Ehrhart et al. 2007b). Similar in-water work at the St. Lucie Power
Plant site revealed a significant increase in the annual rate of capture of immature green sea
turtles over 26 years (Witherington et al. 2006).

Seminoff et al. (2015) also conducted a population viability analysis for the Tortuguero, Costa
Rica, and Florida, USA nesting sites (as well as 2 others: Isla Aguada, Mexico and
Guanahacabibes, Cuba). 7 The population viability analysis evaluated the probabilities of nesting
populations declining to 2 separate biological thresholds after 100 years: (1) a trend-based
reference point where nesting populations decline by 50% and (2) the number of total adult
females falls to 300 or fewer at these sites (Seminoff et al. 2015). 8 Seminoff et al. (2015) point
out that population viability analyses do not fully incorporate spatial structure or threats. They
also assume all environmental and man-made pressures will remain constant in the forecast
period, while also relying solely on nesting data.

The Tortuguero, Costa Rica, population viability analysis indicated a 0.7% probability that this
population will fall below the 50% decline threshold at the end of 100 years, and a 0%
probability that this population will fall below the absolute abundance reference point of 100
nesting females per year at the end of 100 years (Seminoff et al. 2015). For the Florida, USA,
population, the population viability analysis indicated there is a 0.3% probability that this
population will fall below the 50% decline threshold at the end of 100 years, and a 0%
probability this population falls below the absolute abundance threshold of 100 nesting females
per year at the end of 100 years (Seminoff et al. 2015).

Nesting at the primary nesting beaches has been increasing over the course of the decades, while
anthropogenic sources of mortality have persisted, as noted in the environmental baseline. We
believe these nesting trends are indicative of a species with a high number of sexually mature
individuals. Since the abundance trend information for green sea turtles is clearly increasing, we
believe the potential lethal take of up to 4 green sea turtles from the NA DPS attributed to the
proposed action will not have any measurable effect on that trend. Therefore, we believe the
proposed action is not reasonably expected to cause an appreciable reduction in the likelihood of
survival of the NA DPS of green sea turtles in the wild.

The NA DPS of green sea turtles did not have a recovery plan in place at the time of listing.
However, an Atlantic Recovery Plan for the population of Atlantic green sea turtles (NMFS and
USFWS 1991b) does exist. Since the animals within the NA DPS all occur in the Atlantic Ocean

7
   Not enough information was available to conduct a population viability analysis on the Quintana Roo, Mexico,
nesting population.
8
  Since green sea turtles are believed to nest every 3 years, the analysis evaluated the likelihood that population
would fall to 100 or fewer nesters annually (300 adult females ÷ nesting every 3 years = 100 adult female nesters
annually).

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and would have been subject to the recovery actions described in that plan, we believe it is
appropriate to continue using that Recovery Plan as a guide until a new plan specific to the NA
DPS is developed. The Atlantic Recovery Plan lists the following relevant recovery objectives
over a period of 25 continuous years:

       Objective: The level of nesting in Florida has increased to an average of 5,000 nests per
                  year for at least 6 years.

       Objective: A reduction in stage class mortality is reflected in higher counts of individuals
                  on foraging grounds.

Green sea turtle nesting in Florida between 2001-2006 was documented as follows: 2001 – 581
nests, 2002 – 9,201 nests, 2003 – 2,622, 2004 – 3,577 nests, 2005 – 9,644 nests, 2006 – 4,970
nests. This averages 5,039 nests annually over those 6 years (2001-2006) (NMFS and USFWS
2007a). Subsequent nesting has shown even higher numbers (i.e., 2007 – 12,751 nests, 2008 –
9,228, 2009 – 4,462, 2010 – 13,225 nests, 2011 – 15,352, 2012 – 9,617, 2013 – 25, 553, 2014 –
3,502; 2015 – 27,975 (http://myfwc.com/research/wildlife/sea-turtles/nesting/2015-nesting-
trends/). There are currently no estimates available specifically addressing changes in abundance
of individuals on foraging grounds. Given the clear increases in nesting, however, it is likely
that numbers on foraging grounds will also have increased.

The potential lethal take of up to 4 green sea turtles from the NA DPS will result in a reduction
in numbers when takes occur, but it is unlikely to have any detectable influence on the recovery
objective and trends noted above. In addition, because of the relatively small number of lethal
takes as compared to the overall NA DPS population size, we would not anticipate any impact on
the species’ reproduction described above to have a detectable difference in the first recovery
objective for this DPS noted above. Thus, the proposed action will not impede achieving the
recovery objectives above and will not reasonably be expected to result in an appreciable
reduction in the likelihood of the NA DPS of green sea turtles’ recovery in the wild.

Conclusion
The lethal take of green sea turtles associated with the proposed action is not expected to cause
an appreciable reduction in the likelihood of either the survival or recovery of the NA DPS of
green sea turtle in the wild.

SA DPS
The potential lethal take of up to 4 green sea turtles from the SA DPS would reduce the number
of green sea turtles, compared to their numbers in the absence of the proposed action, assuming
all other variables remained the same. As discussed above, a lethal interaction would also result
in a potential reduction in future reproduction, assuming the individuals would be female and
would have survived otherwise to reproduce. The anticipated lethal interactions are expected to
occur in a small, discrete action area which is a tiny portion of the large range of the SA DPS of
green sea turtles in which they disperse; thus, no reduction in the distribution of the SA DPS of
green sea turtles is expected from this take.




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Whether the potential reduction in numbers of up to 4 green sea turtles would appreciably reduce
the likelihood of survival of green sea turtles from the South Atlantic DPS depends on the
probable effect the changes in numbers and reproduction would have relative to current
population sizes and trends. In Section 3.2, we reviewed the status of the species in terms of
nesting and female population trends and several recent assessments based on population
modeling (e.g., (Seminoff et al. 2015). In Section 4.2, we evaluated the Environmental Baseline,
including known sources of mortality affecting sea turtle populations in the action area. The SA
DPS is large, estimated at over 63,000 nesting females, but data availability is poor with 37 of
the 51 identified nesting sites not having sufficient data to estimate number of nesters or trends
(Seminoff et al. 2015). While the lack of data was a concern due to increased uncertainty, the
overall trend of the SA DPS was not considered to be a major concern as some of the largest
nesting beaches such as Ascension Island and Aves Island in Venezuela and Galibi in Suriname
appear to be increasing with others (Trindade, Brazil; Atol das Rocas, Brazil; Poiläo and the rest
of Guinea-Bissau) appearing to be stable. In the U.S., nesting of green sea turtles occurs in the
SA DPS on beaches of the U.S. Virgin Islands, primarily on Buck Island and Sandy Beach, St.
Croix, although there are not enough data to establish a trend. We believe the proposed action is
not reasonably expected to cause, directly or indirectly, an appreciable reduction in the
likelihood of survival of green sea turtles from the SA DPS in the wild. Although the potential
mortality of up to 4 sea turtles from this DPS may occur as a result of the proposed action and
would result in a reduction in absolute population numbers, the population of green sea turtles in
the SA DPS would not be appreciably affected. Likewise, the reduction in reproduction that
could occur due to lethal take of the individuals would not appreciably affect reproduction output
in the South Atlantic.

The Atlantic Recovery Plan for the population of Atlantic green sea turtles (NMFS and USFWS
1991b) lists the following recovery objective over a period of 25 continuous years that is relevant
to the impacts of the proposed action for the South Atlantic DPS:
    x A reduction in stage class mortality is reflected in higher counts of individuals on
        foraging grounds.

There are no reliable estimates of the number of immature green sea turtles that inhabit coastal
areas (where they come to forage) of the southeastern United States and the U.S. Caribbean.
Juvenile greens from multiple rookeries frequently utilize the nearshore waters off Brazil as
foraging grounds and juvenile and adult green turtles utilize foraging areas throughout the
Caribbean areas of the south Atlantic based on captures in fisheries (Dow and Eckert 2007; Lima
et al. 2010a; López-Barrera et al. 2012; Marcovaldi et al. 2009a). Culebra Island, which is on the
border between the North and South Atlantic DPSs, is an important developmental habitat based
on capture data from 2000 – 2006 of juveniles and subadults (Diez et al. 2007).

The potential lethal take of up to 4 green sea turtles from the SA DPS will result in a reduction in
numbers when take occurs, but it is unlikely to have any detectable influence on the recovery
objective and trends noted above. In addition, because of the relatively small number of lethal
takes as compared to the overall SA DPS population size, we would not anticipate any impact on
the species’ reproduction described above to have a detectable difference in the first recovery
objective for this DPS noted above. Thus, the proposed action will not impede achieving the



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recovery objectives above and is not reasonably expected to result in an appreciable reduction in
the likelihood of the SA DPS of green sea turtles’ recovery in the wild.

Conclusion
The lethal take of green sea turtles associated with the proposed action is not expected to cause
an appreciable reduction in the likelihood of either the survival or recovery of the SA DPS of
green sea turtle in the wild.

7.3    Hawksbill Turtles

The possible mortality of up to 2 hawksbill sea turtles (1 observed and 1 unobserved) would
reduce the number of hawksbill sea turtles, compared to the number that would have been
present in the absence of the proposed action, assuming all other variables remained the same.
No reduction in the distribution of hawksbill sea turtles is expected from this take as hawksbill
turtles will continue to be present throughout most waters surrounding Puerto Rico.

Whether the potential reduction in numbers due to lethal take or due to impacts to reproductive
output would appreciably reduce the likelihood of survival of hawksbill sea turtles depends on
the probable effect the changes in numbers and reproduction would have relative to current
population sizes and trends. In Section 3.2, we reviewed the status of the species in terms of
nesting and female population trends and several recent assessments based on population
modeling (e.g. (NMFS and USFWS 2007b; Spotila 2004b) In Section 4.2, we evaluated the
Environmental Baseline, including known sources of mortality affecting sea turtle populations in
the action area. There are currently no reliable estimates of population abundance and trends for
non-nesting hawksbills at the time of this consultation; therefore, nesting beach data is currently
the primary information source for evaluating trends in abundance. Mortimer and Donnelly
(2008b) found that for nesting populations in the Atlantic (especially in the Insular Caribbean
and Western Caribbean Mainland), 9 of the 10 sites with recent data (within the past 20 years)
that show nesting increases were located in the Caribbean. With increasing nesting trends in the
Caribbean, we believe the losses expected due to the proposed action will be replaced due to
increased nest production. Further, we believe the anticipated takes will not cause a change in
the number of sexually mature individuals producing viable offspring to an extent that changes in
nesting trends will occur.

We do not anticipate the mortality of up to 2 hawksbill sea turtles will have any detectable
impact on the population overall, and the action will not cause the population to lose genetic
diversity or the capacity to successfully reproduce. Therefore, we do not believe the proposed
action will cause an appreciable reduction in the likelihood of survival of hawksbill sea turtles in
the wild.

As to whether the proposed action will appreciably reduce the species’ likelihood of recovery,
the Recovery Plan for the population of the hawksbill sea turtle (NMFS and USFWS 1993) lists
the following relevant recovery objectives over a period of 25 continuous years:




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    x    The adult female population is increasing, as evidenced by a statistically significant trend
         in the annual number of nests at five index beaches, including Mona Island (Puerto Rico
         and Buck Island Reef National Monument (St. Croix).

    x    The numbers of adults, subadults, and juveniles are increasing, as evidenced by a
         statistically significant trend on at least five key foraging areas within Puerto Rico, U.S.
         Virgin Islands, and Florida.

Of the hawksbill sea turtle rookeries regularly monitored – Jumby Bay (Antigua/Barbuda),
Barbados, Mona Island (Puerto Rico), and Buck Island Reef National Monument (USVI), all
show increasing trends in the annual number of nests (NMFS and USFWS). In-water research
projects at Mona Island, Buck Island, and the Marquesas, Florida, which involve the observation
and capture of juvenile hawksbill turtles, are underway. Although there are over 15 years of data
for the Mona Island project, abundance indices have not yet been incorporated into a rigorous
analysis or a published trend assessment. The time series for the Marquesas project is not long
enough to detect a trend (NMFS and USFWS 2007b).

The take of up to 2 hawksbill sea turtles from the proposed action are not likely to reduce overall
population numbers over time due to expected recruitment based on the increasing trends in
nesting. With increased nesting in the Caribbean, the proposed action is not expected to affect
the numbers of adult females recruiting into the population nor the numbers of adults, subadults,
and juveniles. Therefore, we believe the proposed action is not likely to impede the recovery
objectives above and will not result in an appreciable reduction in the likelihood of hawksbill sea
turtles’ recovery in the wild. In conclusion, we believe the effects associated with the proposed
action are not reasonably expected to cause an appreciable reduction in the likelihood of survival
and recovery of hawksbill sea turtles in the wild.

Conclusion
The lethal takes of hawksbill sea turtles associated with the proposed action are not expected to
cause an appreciable reduction in the likelihood of either the survival or recovery of the species
in the wild.


8   CONCLUSION

After reviewing the current status of green (NA and SA DPSs), hawksbill, and loggerhead sea
turtles, the environmental baseline, the effects of the proposed action, and cumulative effects, it
is NMFS’s Biological Opinion that the proposed action is not likely to jeopardize the continued
existence of green NA DPS, green SA DPS, loggerhead (NWA DPS), or hawksbill sea turtles.

9   INCIDENTAL TAKE STATEMENT

Section 9 of the ESA and federal regulations issued pursuant to Section 4(d) of the ESA prohibit
the take of endangered and threatened species, respectively. Section 7(b)(4) and Section 7(o)(2)
provide that take that is incidental to an otherwise lawful agency action is not considered to be


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prohibited take under the ESA if that action is performed in compliance with the terms and
conditions of this Incidental Take Statement.

9.1    Amount and Extent of Take

NMFS anticipates incidental take will consist of a total of 6 sea turtles killed (3 observed and 3
unobserved) during hopper dredging for the SJH project. Based on previous experience, we
believe only 3 of these the 6 total takes may be entrained, detected, and/or documented by
onboard protected species observers. Therefore, take exceedance shall be accounted for on the
basis of observed takes.

The observed take as result of the proposed action will consist of up to 2 green sea turtles, which
may be of either the SA or NA DPS, and 1 NWA DPS loggerhead sea turtles or 1 hawksbill sea
turtle, not to exceed a total of 3 observed takes of all species combined.

Reinitiation of consultation will be required if any of the limits of observed take by hopper
dredges is exceeded.

If any takes of species under NMFS’s purview are taken during in-water construction authorized
using this Opinion as the Section 7 consultation, it shall be immediately reported to
takereport.nmfsser@noaa.gov (reference the NMFS Public Consultation Tracking System
identifier number [SER-2017-18763]).

9.2    Effect(s) of the Take

NMFS has determined the anticipated level of incidental take specified in Section 9.1 is not
likely to jeopardize the continued existence of green (North Atlantic DPS), loggerhead
(Northwest Atlantic DPS), or hawksbill sea turtles.


9.3    REASONABLE AND PRUDENT MEASURES

Section 7(b)(4) of the ESA requires NMFS to issue a statement specifying the impact of any
incidental take on listed species, which results from an agency action otherwise found to comply
with Section 7(a)(2) of the ESA. It also states that the RPMs necessary to minimize the impacts
of take and the terms and conditions to implement those measures must be provided and must be
followed to minimize those impacts. Only incidental taking by the federal agency or applicant
that complies with the specified terms and conditions is authorized.

The RPMs and terms and conditions are specified as required by 50 CFR 402.14 (i)(1)(ii) and
(iv) to document the incidental take by the proposed action and to minimize the impact of that
take on sea turtles. These measures and terms and conditions are nondiscretionary, and must be
implemented by USACE or the applicants in order for the protection of Section 7(o)(2) to apply.
USACE has a continuing duty to regulate the activity covered by this Incidental Take Statement
(ITS). If USACE or the applicants fail to adhere to the terms and conditions of the ITS through
enforceable terms, and/or fails to retain oversight to ensure compliance with these terms and


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conditions, the protective coverage of Section 7(o)(2) may lapse. To monitor the impact of the
incidental take, USACE must report the progress of the action and its impact on the species to
NMFS as specified in the ITS [50 CFR 402.14(i)(3)].

NMFS has determined that the following RPMs are necessary and appropriate to minimize
impacts of the incidental take of sea turtles related to the proposed action. The following RPMs
and associated terms and conditions are established to implement these measures, and to
document incidental takes. Only incidental takes that occur while these measures are in full
implementation are authorized. These restrictions remain valid until reinitiation and conclusion
of any subsequent Section 7 consultation.

  1. USACE will have measures in place to monitor and report all interactions with any
     protected species resulting from the proposed action. Reports shall be sent to the Assistant
     Regional Administrator (Mr. David Bernhart) for NMFS’s Protected Resources Division,
     Southeast Regional Office, 263 13th Avenue South, St. Petersburg, Florida 33701-5505.

  2. USACE shall implement best management practices, including the use sea turtle deflector
     dragheads, intake, and overflow screening to reduce the risk of injury or mortality of listed
     species and lessen the number of sea turtles killed by the proposed action.

  3. USACE will require NMFS-approved observers to monitor dredged material inflow and
     overflow screening baskets on the hopper dredge.

9.4    TERMS AND CONDITIONS

In order to be exempt from liability for take prohibited by Section 9 of the ESA, the USACE
and/or their applicants must comply with the following terms and conditions, which implement
the RPMs described above. These terms and conditions are nondiscretionary.

The following terms and conditions (T&Cs) implement the above RPMs:

  1. A project report summarizing the results of the dredging and the sea turtle take (if any)
     must be submitted to NMFS within 30 working days of completion. Reports shall contain
     information on project location, start-up and completion dates, cubic yards of material
     dredged, problems encountered, incidental takings (include photographs, if available) and
     sightings of protected species, mitigating actions taken, screening type (inflow, overflow)
     utilized, daily water temperatures, name of dredge, names of endangered species
     observers, percent observer coverage, and any other information the USACE and/or
     contractor deems relevant. This report must be provided to NMFS's Protected Resources
     Division at the address provided in RPM No. 1 above, and notification of take shall be
     provided to NMFS at the following email address within 24 hours, referencing the present
     Opinion by NMFS identifier number (SER-2017-18763), title, and
     date: takereport.nmfsser@noaa.gov and will cc Kelly.Logan@noaa.gov (RPM 1).




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  2. To prevent impingement of sea turtles in the water column, every effort shall be made to
     keep the dredge pumps disengaged when the dragheads are not firmly on the bottom
     (RPM 2).

  3. USACE will require the use of rigid sea turtle deflectors on all hopper dragheads. The
     hopper dredge's sea turtle deflector draghead is to be inspected prior to startup of hopper
     dredging operations to ensure they are functioning properly. In addition, USACE shall
     ensure that all contracted personnel involved in operating hopper dredges receive thorough
     training on measures of dredge operation that will minimize sea turtle takes (RPM 2).

  4. USACE shall arrange for NMFS-approved protected species observers to be aboard the
     hopper dredge to monitor the hopper bin, screening, and dragheads for sea turtles and their
     remains. For the proposed action, 100% shipboard observer monitoring of inflow screens
     is required year-round. If conditions disallow 100% inflow screening, inflow screening
     can be reduced gradually, but effective, 100% overflow screening is then required, and an
     explanation must be included in the project report, and NMFS notified beforehand.

      The hopper's inflow screens should initially have 4-in by 4-in screening, for effective
      screening and capture of entrained protected species body parts. However, if USACE, in
      consultation with observers and the draghead operator, determines that the draghead is
      clogging and reducing production substantially, the mesh size may be increased after prior
      consultation with and approval by NMFS, to 8-in by 8-in; if this still clogs, then 16-in by
      16-in openings. NMFS believes that this flexible, graduated-screen option is prudent
      since the need to constantly clear the inflow screens will increase the time it takes to
      complete the project; therefore, it will increase the exposure of sea turtles to the risk of
      impingement or entrainment. Inflow screen clogging should be greatly reduced with these
      flexible options; however, further clogging (e.g., as when encountering heavy clay or
      debris) may compel removal of the inflow screening altogether, in which case effective
      100% overflow screening is mandatory.

      USACE shall notify NMFS beforehand if inflow screening is going to be reduced or
      eliminated, and provide details of how effective overflow screening will be achieved.
      NMFS, in consultation with the dredging company and USACE, shall determine what
      constitutes effective overflow screening (RPM 3).

10 CONSERVATION RECOMMENDATIONS

Section 7(a)(1) of the ESA directs federal agencies to use their authorities to further the purposes
of the ESA by carrying out conservation programs for the benefit of endangered and threatened
species. Conservation recommendations are designed to minimize or avoid adverse effects of a
proposed action on listed species or critical habitat, to help implement recovery plans, or to
develop information.

NMFS believes the following conservation recommendations further the conservation of listed
species. NMFS strongly recommends that these measures be considered and implemented by
USACE and/or the applicant:

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   1. To the extent practicable, USACE should schedule dredging operations at times of year
      when listed species are least likely to be present in the action area.

   2. Whenever it is possible, outfit a hopper dredge with a rigid deflector draghead as
      designed by the USACE Engineering Research and Development Center. Or if that is
      unavailable, a rigid sea turtle deflector should be attached to the draghead.

   3. To the extent practicable, USACE should minimize the use of hopper dredges in favor of
      cutterhead dredges.

   4. USACE should conduct studies in conjunction with cutterhead dredging where disposal
      occurs on the beach to assess the potential for improved screening to: (1) establish the
      type and size of biological material that may be entrained in the cutterhead dredge, and
      (2) verify that monitoring the disposal site without screening is providing an accurate
      assessment of entrained material.

   5. USACE should support studies to determine the effectiveness of using a sea turtle
      deflector to minimize the potential entrainment of sturgeon during hopper dredging.

Please notify NMFS if the federal action agency carries out any of these recommendations so
that we will be kept informed of actions that are intended to improve the conservation of listed
species or their designated critical habitats.

11 REINITIATION OF CONSULTATION

This concludes NMFS’s formal consultation on the proposed actions. As provided in 50 CFR
402.16, reinitiation of formal consultation is required where discretionary federal action agency
involvement or control over the action has been retained, or is authorized by law, and if: (1) the
amount or extent of incidental take is exceeded, (2) new information reveals effects of the
agency action on listed species or designated critical habitat in a manner or to an extent not
considered in this Opinion, (3) the agency action is subsequently modified in a manner that
causes an effect on the listed species or critical habitat not considered in this Opinion, or (4) a
new species is listed or critical habitat designated that may be affected by the action. In
instances where the amount or extent of incidental take is exceeded, any operations causing such
take must cease pending reinitiation.




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APPENDIX A

                                      DEPARTMENT OF THE ARMY
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        CESAD- ET-PR         (1.1.05-2-1.0b)                                                  ,I 9 OCT '991

        MEMORANDUM     FOR

        COMMANDER, CHARLESTON DISTRICT
        COMMANDER, JACKSONVILLE DISTRICT
        COHKANDER, SAVANNAH DISTRICT
        COMMANDER, WILMINGTON DISTRICT
        Subject: Nationa1 Harine Fisheries Service, Regiona1 81010qica1
        Opinion o n Hopper Dredg1ng a10ng the South Atl.antlc Coast

        .,  Reference the Endangered Sp ecies Act Section 7 Consu1tation,
        Bi010gical Opinion for The Continued Hopper Dred9ing ot Chann e1s
        and Borrow Areas in the Southeastern United States, Nationa1
        Marine Fisheries Service (NMFS) 25 September 1997 (Enc1 1).
        2.  The reterenced docume nt was sent to your District Sea Turtle
        coordinator by e lectronic mail o n 29 September 1997, without the
        signed NMFS tranamittal l.ctter .  The purpose ot this memorandum
        is to tra n smit copies ot the compl.ete document to you, and to
        provide some guidance on it~ implementation.
        3.    During the s pring ot 1997 we experienced an unanticipated
        high level of sea turtl.e entrainment. in our hopper dredges along
        the At1antic coast.     within a month ot starting work, we were
        approaching our incidental take limit tor 1oggerheads, despite
        having taken all sea turt1e protection measures we had availab1e
        to us.    our commitme nt to protect sea turtles while mai ntaining
        sate navigation channels tor de tense and commerce, torced us to
        make some very hard choic.. .    Th. raeul.t was that trom Marc h
        until the ne w Regiona1 Biol.ogica1 opini on (RaO) went i nto ettect
        on 1 october 1997, we had taken 29 loggerhea d sea turt1es,
        completed work a t six projects and terminated the remaining six
        pro j ects with less than about halt ot the work being completed.
        Fortunatel.y we did not take a ny ot the e ndangered species ot sea
        turtle s and we ware abl. e to complete mos t or the critical work,
        or critical project reaches, d uring that period.
        4.  The Corps or Engineers has a commitment to protect sea
        turtles, a s was exempli tied by our wi11ingnes s to terminate Corps
        projects and tha NMFS r e ciprocated by being very cooperative
        during the Section 7 Consu l.tation process.




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           CESAD- ET-PR                                              Z9 ocr 1991
           subject: National Marine Fisheries Service, Reg i onal B10lO91cal
           Opinion on Hopper Dredging along the South Atlantic Coast

           We recei ved a n Interim Biological opinion which e xtende d our
           incidental take o f loggerhead sea turtles from 20 t o 35, enabling
           us to resume our necessary hopper dredging after just a brief
           delay. We must cont inue to do everything we can to maintain this
           excellent working relationship with the NMFs.
           5.  In implementing t h e new 1997 RBO. we again renew our
           commi tme nt to maintaining a ba lance between reducing sea turtle
           entrainments to the l owest levels we can achieve while pe rforming
           necessary dredging for navigation.      Tho Hopper Dredging Protocol
           for Atlantic coas t (Encl 2) is our guidance t or helping achieve
           this o bjective . The Protocol is a living document and wi ll be
           revised by CESAD as appr opriate . Your input into improving the
           Protocol is welcomed at any time, as are any suggest ions you may
           have on hoW we car. furt her reduce sea turtle takes. I also
           e ncourage you to s hare your views and ideas on this through our
           Internet n ewsgroup , usace . sad . turtles.
           6.   Should you have any q uestio ns or would l ike additional
           informati o n, you may cont act John DeVeaux, CESAD-ET-CO, at
           (404) 33 1-6742 or Rudy Nyc, CESAD- ET-PR, at (404) 33 1-4 6 19 or by
           e - mail which is preferred.


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          CF (w/encls):
          COMMANDER, HOBILE DISTRICT




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     R. L. VanAntwerp
      Brigadier General, U.S. Army
     Division Engineer
     South Atlantic Division, Corps of Engineers
     Room 313. 77 Forshyth St .• S. W.
     Atlanta, Georgia 30355·6801


     Dear Brigadier General VanAntwerp;
     Enc losed is the regional biological opinion concerning t he use of
     hopper dredges in channels and borrow areas along the Southeast
     u . s. Atlant ic coast . This biological opinio n amends the regional
     opinion conducted i n 1 995, and superoedea the interim biologi cal
     o pinion issued on April 9, 1997.      The opi ni o n recognizes the
     efforts of the Corps o f Engineer's (COE) South Atlantic Division
      (SAD) to minimize s ea turtle takes through application of ne w
     technology ouch as drag head deflectors , seasona l dredging
     wi ndows, termi nation of pro jects in whic h high rates of turtle
     takes a re o bserved, and elevated staff ef f ort to i de ntify and
     resol ve site·apecif i c problems. Despite t hese major ef forts and
     continuing plans by the COE to improve the effectiveness o f the
     rig i d draghead deflector and to resolve dredging SChedul e s to
     =educe t he like lihood of sea turtle interac tions, NMFS believes
     that fur t her sea tu=cl e takes are likely in futu re years.
     However, we bel i eve that these takes are not likely to jeopardi ze
     the continued existence of any species. An annual incidental
     take, by injury o r mort ality of J S loggerheads 7 Kemp' s ridleys,
     7 gre en turtles, 2 hawks bills, and 5 shortnos e sturgeon is listed
     in t he incidental t ake statement appended to the enclosed
     opinion. Thi s annua l take level can be monitored ove r fi acal
     years to be consistent with proj ec t contracts.
     I appreciate your con tinued commitment t o reduce sea turtle takes
     a Ssociated with dredging in your Division. ODE Divis ion a nd
     Distri ct staff have f acilitated the excellent working
     relationship that exists between our of fice s withi n the SAD. We
     look forward to cont inuing these cooperative effort s in sea
     turtle conserva t ion .
                                      Sincerely,




                             J-
                                     ~~
                                     Of fice Dire ctor
                                     Office of Protected Resources




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                  Endapgered Species Act • Section 7 Consultatiop

                                    Biol ogical Opinion


    Agenc y :                             U.S. Army Corps of Engineers, South
                                          Atlantic Division
    Act iyity ,                           The cont i nued hopper dredging of
                                          channels and borr o w areas in the
                                          southeastern Unit e d States
    Co n s yl t at ion Co nduc ted By :   National Marine Fisheries Service,
                                          Southeast Regiona l Office
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    Date Issy ed :                        .::Y:Cl. ·,/" { / 1 '-'{'~ ";          --r

    Ba ckgro und

    Hopper dredging in channels and borrow a r eas along the
    southeastern coast of the United States during the spring of 1997
    resu l ted in an unanticipated high rate of loggerhead turtle take .
    The number of takes quickly approached the incidental take level
    established in the regional biological op i nion (BO) issued to the
    Army CorpS of Engi neers (COE) on August 2 5 , 1995. A formal
    consultation con sideri ng the take rates as we ll as the dredging
    loca t ions and conditions was conducted and an interim biologica l
    opinion (IBO) was issued on April 9, 1997 a nd is incorporated
    herein by reference. The 180 concluded tha t continued hopper
    dredging during the 199 7 fiscal year was likely to take
    addi t ional sea tu r tles but was not likely to jeopardize the
    continued existence of any species. The incidental take, by
    injury or mortality, of seven (7) documented Kemp'S ridleys,
    seven (7) green turtles, two (2) hawksbi l ls, sixteen (16)
    loggerhead turtles , and five (5) shortnose sturgeon was set
    pursuant in the IBO . This modification added 15 loggerheads to
    the annual incident al take level, bringing the 1997 fiscal yea r
    total incidental take level to 35 loggerhe a d s .

    The history of Endanger ed Species Ac t ( ESA) Section 7
    consultations on the dep loymen t of hopper dredges to maintain t h e
    depths of southeast e rn channels is discussed in the August 25,
    1995 BO and is incorporated herein by re f erence.   Al though no
    endangered sea turtles have been taken in any channel dredging
    projects during the 1997 fiscal year, 28 loggerheads have been
    taken, including 9 loggerheads taken subsequent to the issuance
    o f the ISO (Table 1).




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   During 1997, the COE responded to high rates of sea turtle takes
   by assessi ng each dredging project, modifying draghead deflectors
   when apparently necessary, conducting relative abundance s urveys
   and relocation trawl ing, a nd ultimately ending a number of
   projects prior to completion (Kings Bay , Brunswick Harbor,
   Savannah Harbor, Mo rehead City) .

   1 99 1 Biologic a l Opini on

   Two hundred twenty· five sea turtle takes, including 22 live
   turtles, were documented between 1980 and 1990 in the Southeast
   channels despite limited observer coverage in mos t channels
   throughout most of that decade (Table 2a.).   Seve nty -one of these
   turtles were taken in four months of dredging in the Canaveral
   s hip channel in 1980, the first year in which observers were
   required. Twenty-one were obse rved in over two years of dredging
   in the Kings Bay Channel in 1987-1989 , after observers were first
   deployed on dredges in that channel. Observers were required on
   most hopper dredges after 1989. Documented takes of turtles on
   dredges i n Brunswick and other Southeast U.S. channels indicated
   that sea turtles were vulnerable to hopper dredges in al l
   southeastern channels during warmer months. These observations
   resulted in the Section 7 consultation that concluded with a 80
   issued o n November 25, 1991.

   The November 1991 80 was the first cumulative a rea consultation
   between NMFS and COE's South Atlantic Division (SAD) regardi ng
   hopper dredging.  The BO considered hopper dredging in channels
   from the Canaveral in Florida through Oregon Inlet, North
   Carolina. The 1991 80 concluded that continued unrestricted
   hopper dredging in Southeast U.S . channels could jeopardize the
   continued existence of listed sea turtles.   The .Opinion
   established a reasonable and prudent alternative to unrestricted
   hopper dredging which prohibited the use of a hopper dredge in
   the Canaveral ship cha nnel, and from April 1 through November 30
   in other southeastern channels north of Canaveral. An incidental
   take level was established based on assumptions that takes would
   be significantly reduced due to limited dredging windows, but
   that water temperatures in some years would result in turtle
   presence in channels during December and March.    Observers were
   required on dredges equipped with outflow and/or inflow sc reening
   in March and December. The presence or absence of turtles in
   December would determine the further need for observer coverage
   into January. The documented incidental take of a total of five
   (5) kemp's ridley, green, hawksbill o r leatherback turtle
   mortalities in any combination of which no more than two (2) are
   Kemp's ridley, or fifty (50) loggerhead turtle mortalities was
   set. The Opinion anticipated that seasonal restrictions on
   hopper dredging would be adjusted on a channel-by-channel basis
   as better information on turtle occurrence was collected.


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   Additionally, the development and testing of a draghead deflector
   was promoted.

   1995 Biologi cal Opinion

   Between 19 92 and 1995, only 16 sea turtle takes were documented
   (Tabl e 2b.), including three that were alive when collected
   during dredging operations in the SAD under the dredging windows
   established in the November 1991 BO (see above )    During that
   period COE developed a rigid draghead deflector that appeared to
   be effective during videotaped dredging trials using mock
   turtles, as well as during experimental dredging associated with
   trawling in the Canaveral Channel. COE also completed a study of
   six Southeast channels to determine seasonal abundance and
   spatial distribution of these turtles. A discussion of the
   findings can be found in the COE repo rt entitled ~ Assessment of
   Sea TUrtle Abundance in Six South Atlantic U.S. Channels~
   (Dickerson et al. 1994), summarized in the 1995 BO. Based on the
   new information, COE requested expanded dredging windows and
   observer r~quirements. NMFS considered their request and
   developed alternative dredging windows and observer requirements
   and added requirements for the use of hopper dredges in borrow
   areas along the east coast.

   After 1995, COE districts within the SAD generally required
   observers in some channels, such as Kings Bay, thr oughout the
   winter, beyond the new mon itoring windows.   SAD hopper dredge
   projects were initially conducted in the middle of the dredging
   windows, when nearshore waters were cool.    During 1996, only nine
   sea turtle takes, including one green turtle and eight
   loggerheads, were documented (Table 2c. ) . No more thsn three
   takes occurred in any pro j ect. The new dre dging wi ndows and
   draghead deflector requirements appeared to provide good
   protection to sea turtles.

   Hopper dredging operations contracted for the 1997 fiscal year
   were planned for early in the calendar year, however a number of
   operations were not begun until late winter.    Beginning on March
   2, 1997, loggerhead takes occurred in Kings Bay at rates higher
   than previously observed. Six turtles were taken in four days of
   dredging. While consulting with NMFS regarding this
   unprecedented rate of loggerhead takes, a COE specialist from the
   Waterways Experiment Station proposed some modifications to the
   draghead with the potential to reduce sea turtle takes .
   Relocation trawling was also initiated, beginning March 9,1997;
   however, as can be seen on Table 2, these efforts did not
   preclude further sea turtle takes in Kings Bay.    Dredging was
   t erminated on March 12 , 1997, with only 53 percent of the project
   completed.



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   Table 1 lists the sea turtle takes observed i n hopper dredges
   throughout the SAD during 1997, as well as the steps taken by COE
   to reduce the likelihood of takes. Deflector dragheads were re -
   engineered to fit specific dredges wherever possible and
   relocation trawling was initiated. Dredgi ng was terminated pr i or
   to completion of projects in Kings Bay, Brunswick Harbor,
   Savannah Harbor and Charleston Harbor. Consultation was
   reinitiated to consider the effects of the remaining hopper
   dredging projects antic ipated for the 1997 fiscal year.    In
   addition to those speci fi c projects listed in the resulting April
   1997 lBO, dredging at Reach II of the Myrtle Beach dredge
   disposal area is likely to begin before the fiscal year ends .
   De spite ongoing dredging at the Oregon Inlet, no sea turtle takes
   have been docume n ted since May 15.
   Proposed Activity

   This consult ation addresses the use of hopper dredges in channel s
   a nd borrow areas along the Atlantic portion of COE's SAD within
   the existing dredging windows (Table 3 ) . Channels dredged by
   hopper dredges include: Oregon Inlet, Morehead and Wilmington
   Har bors, Charleston, Port Royal and Savannah harbors, Brunswick.
   Kings Bay. Jacksonville, St. Augustine and Ponce de Leon inlets.
   West Pal m Beach, Miami and Key west c hannels. Borrow areas tha t
   may be dredged by hopper dredges include a r eas off of Dade Count y
   Fl orida and Myrtle Beach South Carolina.

   Draghe ad deflectors will be used on all projects and observers
   will be requ ired at least during those periods identified in
   Table 3.   Year-round observer coverage will likely be required by
   the COE for most channe ls, particularly t hose with histories of
   high sea t urtle catch r ates such as Kings Bay. Within the South
   Atlantic Division, the COE will try to schedule dredging of the
   highest risk areas (Canaveral, Brunswick, Savannah, and Kings
   Bay) during periods when nearshore waters are coolest -- afte r
   December 15 but well before March.    Priority for winter dredging
   will also be given to areas that have substrates that reduce the
   efficiency of the deflector (Wilmington Harbor channel, Reach 1
   of Myrtle Beach).   Completion of all projects during the cold-
   wat er months will be attempted when possible .

   Listed Species and Crit ical Habitat

   Listed species under the jurisdiction of the NMFS that may occur
   in channels along the southeastern United States and which may be
   affected by dredging include:
   THREATENED:
   (1) the threatened loggerhead turtle - ca re t t a caretta

   ENDANGERED:

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   (1)    t he   e ndangered right whale - Eybal aena 9laci91i8
   (2)    the    humpback whale - Megaptera ooyaeangliae
   (3)    the    endangered/threatened green turtle - Chelonja ~
   (4 )   the    endangered Kemp's ridley turtle - Lepidochel ys kempij
   (5)    the    endangered hawksbill turtle - Eretrnochelys imbricata
   (6)    the    endangered short nose sturgeon - Acipenser breyirost rum

   Green turtles in U.S. waters are listed as threatened, except for
   the Florida breeding population which is listed as endangered.
   Additi onal e ndangered species which are known to occur along the
   Atlantic coast include the finback (Ba laenoptera physalys), the
   sei (Balaeooptera borealis), and sperm (Physeter macrocephalus)
   whales and the leatherback sea turtle (permochelys coriacea)
   NMFS has determined that these species are unlikely to be
   adversely affected by hopper dredgi ng activities.

   Information on the biology and d i stribution of sea turtles can be
   found in the 1991 and 1995 BOs, which are incorporated by
   reference.  Channel specific information has been collected by
   COE for channels at Morehead City, Charleston, Savannah,
   Brunswick, Fernandina and Canaveral, and is presented in detai l
   in COE summary report entitled ~Assessment of Sea Turtle
   Abundance in Six Sou th Atlantic US Channels h (Dickerson ~ 41.,
   1994) and in the COE Biological Assessment.

   There is no significant new information regarding the status of
   these species that has not been discussed in the BOs that have
   been incorporated by reference (March 12, 1997 and August 25,
   1995 ) .

   Assessment of Impacts

  The Biological Opinion issued in 1991 contained strict dredging
  windows that appeared to be very effective at limiting the number
  of sea turtles taken by hopper dredges during channel maintenance
  dredging in the Southeast U.S. along the Atlantic coast.    Between
  1991 and 1 995, no more than 8 turtles were taken in any year, and
  many of those taken were released alive.    Studies conducted by
  the COE (Dickerson ~ ai., 1994) documented turtle distribution
  and abundance in six channels that suggest ing the existing
  Windows were accurate . However, the COE requested expansion of
  existing windows to lessen the burden of maintenance dredging
  while testing and further developing a rigid draghead deflector
  design. The deflector was effective at pushing aside mock
  turtles when tested during 1994, and preliminary field trials in
  the Canaveral shipping channel had encouraging results. NMFS
  considered this new information, presented by the COE in a
  biological assessment forwarded to NMFS in November 1994. The
  resulti ng BO, issued August 25 1 995 expanded dredging windows and
  modified observer requirements.

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   only 9 sea turtle takes were documented in 1996, suggesting that
   the expanded dredging windows and the deflector requirements
   provided protection to sea turtles that was similar to the
   previously more-restrictive windows. However, the COE's internal
   policy resulted in conduct of most of the hopper dredging
   projects during months when coastal water s were still cold,
   consistent with the pre vious dredging. The increased rate of
   take observed during 1997 and discussed below suggests that the
   restriction of hopper dredging to months when nearshore waters
   are cold remains the best method for minimizing sea turtle takes.

   Unfortunately, a number of dredging projects contracted for early
   1997 in the SAD but not restricted to mid-winter months, were
   delayed into the Spring. This delay coinc i ded with a
   unseasonably warm winter, when the waters o f Kings Bay reached
   60°F in early March. The incidental take o f nine loggerheads i n
   Kings Bay over only 11 days of dredging indi cated that the
   nearshore abundance of loggerheads was high, apparently higher
   than during the late 1960's when observers were first deployed on
   hopper dredges in Kings Bay.

   The re we r e other indicators of high nearshore sea turtle
   abundance along the Southeast U.S. Atlantic coast during 1997.
   Commercial shrimp trawling conducted without the use of tu r tle
   excluder devices (TEDs) offshore of South Carolina and Georgia
   between May 15 and July 15 resulted in sea turtle catch rates
   higher than previously documented. Sixty nine sea turtles were
   taken in 29 days of shrimping o ff of South Carolina, including 65
   loggerheads, 3 ridleys and 1 leatherback.     Forty -s ix sea tu r tles
   were taken in 17 days of towing off o f Georgia . The sea turtle
   catch per unit effort (CPUE) for this operation is about 0.35
   turtles per hour of trawling, standardized to 100 feet (30 .S m)
   o f total headrope length fished.    The CPUE (same units) for
   commercial shrimp trawling in the 1970s and 1980s reported by
   Henwood and Stuntz (19 87a ) was only 0.0487. Loggerhead turtles
   were the predominant species reported by Henwood and Stunt z and
   have also been predominantly observed in this study.       They
   account for most of the increase in overall CPUE. The CPUE for
   loggerheads alone has been greater than 0.30 turt les per hour,
   while the value reported in Henwood and Stuntz was 0 .0456 turtles
   per hour . The rates of taking for leatherback and Kemp's ridley
   turtles in the Atlantic study area have also been higher than
   anticipated.
   T~e high relative density of sea turtles during 1997 may be due
   to an unseasonably warm winter or other factors contributing to
   annual variations in abundance, due to an actual increase in the
   abundance of ben thic immature sea turtles in the loggerhead
   population, or due to a combination of theBe factors.   Trends in
   the status of loggerheads are generally identified at the nesting
   beach, when the most accessible life stage, adult nesting

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   females , can be counted. Because they mature at 20 to 30 years
   o f age, increases or decreases in the abundance of ben thic
   immature loggerheads as determined by incidental captu res in
   nearshore waters would not be observed for decades . While
   nesting beach surveys suggest t hat the South Florida population
   o f loggerheads i ncreased and now appears to be stabl e, increases
   have no t been apparent on nesting beaches of Geo rgia and South
   Car o lina. Further work on the development of multi -year in-water
   sampling sites is needed to identify trends in multiple age-
   cla sses of the loggerhead population .

  The COE noted that l~ of the 28 takes that occurred during 1997
  were on the same dredge, the Eagle. The high rate of takes,
  particularly on this dredge, sugges ted that the deflecting
  draghead was not installed properly or was not being operated
  properly . Takes occurred in a number o f the 1997 dredge projects
  during clean-up. Ridges left behind after the initial dredging
  are leveled during clean-up, but the draghead passes over
  t roughs.  Takes occurring during cl ean-up may be difficult to
  avoid since the d r aghead ~eflector must remain hard on the bottom
  to be effective.

  The COE has been conducting meetings between districts within the
  SAD to discuss the results of assessments of c h a nnel conditions
  and dredge inspections . They have determine d that the draghead
  d eflector has not been working properly due to poor education of
  the dredge ope rat o rs on its pro per use, and due to poor tailoring
  of the deflect o r to specific dragheads.    Increased efforts to
  e ducate dredge operators are planned. Additionally, since f e wer
  than 10 private hopper dredges operate within SAD, engineers that
  have designed the conceptual deflector will be sent to the
  dredges to insure that the deflectors are adapted to each
  drag head and that the operators understand how to use the
  deflector effectively.

  CUMULATIVE EFFECTS
  ·Cumulative effects· are those eff ects of future s tate or private
  activities, not i nvolving Federal actions, that are reasonably
  ce rtain to occur within the ac t ion area of the Federal action
  subject to consultation . These are discussed in detail in the
  biological o pinions incorporated by reference.
  Conclusion:

  NMFS believes that the e levated rate of observed sea turtle takes
  by dredges in the southeastern Uni ted States during March of 1997
  was likely due to increased a bundance of loggerheads in nearshore
  waters due to an unseasonably warm winter.   There is no way to
  predict whether similar conditions will be encountered in
  upcoming seasons. Over the past si x years, the COE's SAD has

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  continuously expressed a commitment to minimize sea turtle takes,
  and has conducted research and taken repeated steps to further
  this goal.    Repeated termination of dredging operations due to
  high sea turtle takes during 1997 confirms their commitment to
  avoid sea turtle takes. Further efforts to educate the dredging
  industry and recruit their interest and involvement in avoiding
  sea turtle takes are necessary and are planned by the COE.
  Additionally, the COE has committed to additional efforts to
  improve the effectiveness of the deflecting draghead. The sea
  turtle deflector should be tailored to each hopper dredge
  draghead and the dredge operators should be fully trained in the
  operation of the draghead to ensure proper use and improve
  effectiveness.    Improvements in operator and deflector
  p e rformance are necessary prior to reliance on the draghead as a
  mechanism for reducing sea turtle takes.

  NMFS anticipates that the COE's interest in improving the
  performance of the deflector, their commitment to limit the use
  of hopper dredges in channels of high sea turtle abundance during
  periods when nearshore waters are likely to be cold, and their
  overall goal of further reducing sea turtle takes during hopper
  dredge activities will minimize the interactions of hopper
  dredges with sea turtles. However, annual variation in the
  abundance of sea turtles in some channels and borrow areas make
  it likely that sea turtle takes will still occur . Additionally,
  overall increases in loggerhead and Kemp's ridley populations are
  anticipated due to TED requirements that have reduced the
  mortality rates of benthic lifestages of these species.   Lastly,
  in some years high levels of hopper dredging activity may be
  necessary.  For example, termination of projects prior to
  completion during FY 1997 may result in an increase in the number
  and length of hopper dredging projects necessary for channel
  maintenance during FY 1998. Therefore, NMFS believes tha t up to
  35 loggerheads may be taken by injury or mortality, as well as 7
  Kemp's ridleys, 7 green turtles, 2 hawksbills, and 5 shortnose
  sturgeon. These takes are not likely to jeopardize the continued
  existence of these species and the ongoing commitment by the COE
  to further minimize takes may reduce the likelihood of sea turtle
  takes in the future even if nearshore sea turtle abundances
  increase.
  Con se rvatio n Recommendati on .

  Pursuant to section 7(a) (1) of the ESA, conservation
  recommendations are made to assist COE in reducing or eliminating
  adverse impacts to loggerhead, green, and Kemp's ridley turtles
  that result from hopper dredging in the southeastern United
  States. The recommendations made in the 1995 80 are pertinent to
  this consultation as well, and therefore remain valid.  Further
  recommendations are given below.


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           Because of the possibility of annual variation in water
           temperatures, sea turtle abundance, and hopper dredging
           demand, NMFS has retained the dredging windows
           established in the 1995 BO. However, the CaE has
           expressed a commitment to deploy hopper dredges during
           cold-water periods in channels with high sea turtle
           abundance or with substrates that render the deflector
           ineffective. NMFS appreciates the CaE's commitment to
           do this, and recommends that the SAD priority list be
           finali~ed and distributed to the Districts and NMFS
           prior to the initiation of dredging during FY 1998.



           The COE should work with the dredging industry to
           insure their understanding of the importance of sea
           turtle conservation and to increase the industry'S
           interest in minimizing sea turtle takes.
           Greater than 50' of the loggerheads taken in North
           Carolina may be from the northern nesting assemblage of
           loggerheads. While recent loggerhead nesting beach
           surveys did not identify a decline in the number of
           nesting females on beaches north of Cape Canaveral,
           increases observed in the south Florida nesting
           assemblage have not been noted. High sea turtle catch
           rates during only the early weeks of the wood debris
           clean-up conducted by COE off Cape Fear during 1997, as
           well as preliminary work conducted in North Carolina,
           suggest that turtles may be abundant in North Carolina
           channels primarily during migration into and emigration
           out of North Carolina inshore waters. The CaE should
           work with the NMFS Beaufort Laboratory and the North
           Carolina Division of Marine Fisheries to document the
           movements of sea turtles off North Carolina during
           spring and fall months. Results from these studies may
           provide insights into further safe dredging windows to
           minimi~e the likelihood of takes of loggerheads from
           the more vulnerable northern nesti~g assemblage. Summer
           windows would reduce the pressure to complete all SAD
           hopper dredging during cold-water periods.

           The CaE should investigate further modifications of the
           draghead to minimize the need for clean-up.  Some
           method to level the peake and valleys created by
           dredging would reduce the amount of time dragheads are
           removed from the bottom sediments.




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                       Incidental Take Statement


  Section 7(b) (4) of the Endangered Species Act (ESA) requires that
  when a proposed agency action is found to be consistent with
  section 7(a) (2) of the ESA, and the p r oposed Action may
  incidentally take individuals of listed species, NMFS will issue a
  statement that speci fies the impact of any incidental taking of
  endangered or threatened species.    It also states that reasonabl e
  and prudent measures, and terms and conditi ons to implement the
  measures, be provided that are necessary to minimize such impacts.
  Onl y incidental taking resulting from the agency action, including
  incidentAl takings caused by activities approv ed by the agency,
  thAt are identified in this statement and t hAt comply with the
  specified reasonable and prudent alternatives, And terms and
  conditions, are exempt from the takings prohibition of section
  9(a), pursuant to s ection 7 of the ESA.

  BAsed on the high rate of sea turtle takes observed during o f
  1997, increases in the Kemp's ridley population, possible
  increases in the benthic lifestages of loggerhead populations,
  annUAl variation in nearsho re abundance of sea turtles and hopper
  dredge demands, the NMFS anticipAtes that hopper dredging in the
  Southeast U.S. Atlantic area of the SAD may result i n the injury
  or mortality of sea turtles and shortnose sturgeon. Therefore, a
  low level of incidental take, and terms and conditions necessary
  to minimize and mon itor takes, are established. The a nnual (by
  fiscal year) documented incidental take, by injury or mortality,
  of seven (7) Kemp's ridleys, seven (7) green turtles, two (2)
  hawksbills, thirty-five (35) loggerhead turtles, and five (5)
  short nose sturgeon is set pursuant to section 7(b) (4) of the ESA.

  To ensure that the specified levels of take are not exceeded ea~iy
  in any project, COE should reinitiate consultation f or any project
  in which more tha n one turtle is take n within 24 hours, or once
  five or more turtles are taken. The Southeast Region, NMFS, will
  coopera te with COE in the review of such incidents to determine
  t he need for developing further mitigation measures or to
  termina te the remaining dredging activity.

  Section 7(b) (4) (c) of the ESA specifies that in orde r to provide
  an incidental take statement for an endangered or threatened
  s pecies of marine mammal, the taking must be authorized under
  sectio n 101(a) (5) of the Marine Mammal Protection Act of 1972
   (MMPA).  Since no incidental take in the Atlantic Region has been
  authorized under section 101(a) (5) of the MMPA, no statement on
  incidenta l take of endangered right whales is provided.

  The reasonable and prudent measures that the NMFS believes are
  necessary to minimize the impact of hopper dredging in channels
  a nd borrow areas in the southeastern United StAtes have been

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  discussed with COE. The following terms and conditions are
  established, in addition to those identified in the . 1995 BO, to
  implement these measures and to document the incidental take
  should such take occur.

  1.  The COE's draghead deflector engineer that assistant in this
  design design should inspect the rigid drag head deflector annually
  to ensure that the deflector has been tailored appropriately to
  each draghead. Additionally, the inspector should assess whether
  the dredge operator appears to be familiar with the operation of
  the draghead deflector and provide necessary training where
  appropriate.
  2.  If the rigid draghead deflector appears to be ineffective in
  Wilmington Harbor and slows the dredging project such that the
  amount of time the hopper dredge will be deployed is increased.
  the deflector should be removed from the draghead for that
  channel.
  3.  The COE should develop an educational/training program for
  dredge operators to increase their understanding of how the
  draghead deflector works and why it is necessary.




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Tabie 2a.     Sea turtle takea (includea live. injured and killed) obaerved on hopper dredges
              prior to the regional con8ultation .      Obs.rvers were not r.quired all. .. 11
              projects until 1989. after which ext.nsive monitoring wa. required.


            Year                   Proj.et                               Tu.rtl. Takes

            1980                  Canavaral                 50 Cc.     , a..     U     UnidentiU.d
      Tot.l
               ·"
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                   TABLB 3: CUrrent requirements for dredging windows, observer requirements and use of hopper dredges in borrow
                   areas   ,"'V"   .....~ ~_~ ... coast established in the August                              199~    !:SU_



                                      -
                            ~~ Carolina to Pawley'
                                                             WHALE MONITORING

                                                             One ob6erver (daytime
                                                                                               SeA TURTLE MONITORING;
                                                                                                NAVIGATION CHANNELS

                                                                                              WINDOWS

                                                                                              Year Round
                                                                                                                MONITORING

                                                                                                                Two OO$Elrvers
                                                                                                                                    SEA TURTLE MONITORING:
                                                                                                                                        BORROW AREAS

                                                                                                                                  WINDOWS

                                                                                                                                  Year Round
                                                                                                                                                MONITORING

                                                                                                                                                 One observer
                              Island, SC (Include!        ooverage) between I Dec and                         (100% moniloring)                (50% monitoring)
                            chaMels al Oregon Inlet.      31 Mar. Monitoring by dredge                          I Apr- 30 Nov                   1 Apr-3O Nov
                               Morehead City and          perator and sea turtle observer
                                   WUmioQton               belWtlen I At>r and 30 Nov.

                              Pawleys ISland. SC to          One observer (daytime           1 NO'o'-31 May     Two observers     Year Round     One observer
                             ybe8lsland. GA (includes     ooveri\ge) between 1 De<; and                       (100% monlloring)                (50% moniloring)
                             channels al Charleston.      31 Mar. Moni1orinog by dredge                         I Nov- 30 Nov                   1 Apr - 3D Nov
                             orl Royal and Savannah)      peralor a~ :     tur1Ie observer                     ndlApf-3lMay
                                                           between 1      and 30 Nov.

                               Tyb4le Island. GA to        Aerial survey" in right whale     I 0ec - 15Apr      Two observers     Year Round     One observer
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                             Titusville . .FL (Includes    critical habital, I Dec Uwu 31                     (100% monitoring)                (50% monitoring)
                             channels al Brunswick.        Mar. One observer (daytime                           I Apr-15Apr                     I Apr-150ec
                            Kings Bay. Jadlsonville.      coverage) between 1 De<; and
                            SI. Augus~ne, and Ponce                    31 Mar.
                                  de Leon Inlel)

                            ~usviJ l e. FL 10 Key Wesl.    Whale observations are not         YaarRound         Two observers     Year Round    One obs8l\ler
                            FL ( incJudes channels al        necessary beyond those                           (100% monitoring)                (:>O"I'ol'OOl1itoring)
                            Wast Palm Beach, Miami        conducted ~:~ monitoring                               year round                       year round
                                  and Key Wasl                   of dill e spoil.
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                    South Atl antic Division Corps of Engineers
                   Hopper Dredging Protocol for Atlantic Coast
                                   FY 98 - FY 03



    1.   Sea turtle deflecting dragheads will be used at all times.
    2. Districts will inspect sea turtle deflect ing dragheads
    systems to ensure that they are fully operational, prior to
    initiation of work.
    3. Districts will ensure that draghead operators know how to
    properly use the sea turtle deflecting system.
    4. Maintenance dredging at Savannah, Bru nswick and Kings Bay
    Harbors must be restricted to 15 December through t h e end of
    March. Maintenance dredging at Charleston and Wilmington Harbors
    must be restricted to I December through the end of March where
    the sea tur tl e deflecting draghead system can not be used
    effectively . Dredging may begin as soon as mid-November in those
    portions of the Wilmington and Charleston Harbor channels where
    the sea turtle deflecting draghead can be used effectively. All
    Districts will cooperate to ensure that their scheduling of
    hopper dredging cont racts, does not i nterfere with this Division
    priority work area.

    5.   Sea turtle observers, inflow screens and overflow screens
    will be used during all dredging operations, except for the
    months of January and February, which are optional. Variations
    from this provision may be granted by Di vision, but mus t be
    justified from a technical perspective .
    6. Al l sea turtle takes will be repo r t e d promptly to
    SAD-ET - CO/PD and posted at usace.sad.turtle newsgroup on the
    Internet.
    7.  If two sea turtle takes occur within 24 hours, you s hould
    immediatel y notify the Division POC so that he can initia t e
    reconsultation with National Marine Fisheries Service.
    8. If a third take occurs on t he project the district will cease
    o perations and notify the South Atlantic Division . Continuation
    of dredging will occur only after cleared by Division . Upon
    t aking three turtles, District will develop a risk assessment
    along with an appropriate risk management plan, and submit that
    to Division for assessment. Generally relative abundance and
    relocation trawling would be an i ntegral part of a risk
    assessment and management plan. Should a tota l t ake of 5 sea
    turtles occu r, for whatever reason, all work wi l l be terminated
    unless other prior agreements had been reached with Division.




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APPENDIX B




     J,ckson\lille
     Oi$trict




                     Site Management and Monitoring Plan for the San Juan Harbor
                              Puerto Rico Dredged Material Disposal Site




                                            January 6, 2011




        u.s. Anny Corps of Engineers                    u .s. Environmental Protection Agency
        Jacksonville District                           Region 2
        P.O. Box 4970                                   290 Broadway
        Jacksonville, Florida 32232                     New York, New York 10007-1 &66




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            To All Interested Parties:

            Section S06 of lhe Watt'!" Resources and Deve lopment Act (WRDA ) of [992, which amended the Marine
            Protection, Research. and Sanctuaries Act of 1972 (MPRSA), requires tile U.S. Environmental Protection
            Agency (EPA) and tile U.S. Anny Corps of Engi neers (USACE) to p~pare a Site Management and
            Monitoring Pia}! (S MMI') for 1111 Ocean Disposal Sites.

            Section 102 of MPRSA describes requimnents for designated dmi~ material disposal siles. including
            tile requiremen t or. schedule for review and revision orlhc SMMP ("whicb shall 001 be reviewed and
            revised less froqucnlly than 10 yean after adoplion orlbe plan and every 10 years thereafter"). The
            SMMP (or the San Juan Harbor, Pucno Rico Ocean Dredged Material Disposal Sitt (SJ5) was final ized
            on January S, 2000. On May 12.2010. EPA Region 2 and USACE Jacksonville District issued a public
            notice for a 30·day public review of the draft revised SMMP. Comments ....ere received from seven!
            Commonwealth of Puerto Rico and Fedeml agencies.

            Based on the COItIments received on the draft SMMP. EPA Region 2 has prepared a ReSlXlnse to
            Comments. and has revised the St.-1M? accordingly. The SJS SMMP is hereby approved by the Region 2
            Adm inislllItor, and will be in effect unt il the ne xt requ ired SMMP revision.

            lfyou have any questions concern ing the SJS SMMP or require a copy. please contact Mr. Mark Reiss
            (EPA Region 2) at (212) 637-37991 Email: Reiss.Mark@epa.gov,of Mr. Ivan Acosta (USACE·
            Jacksonville District) /I' 904·232·16931 Email: Ivan.Acosta@usacc.lI1lDy.mil




           Judith A. Enc:k. Regional Admin istnltor
            U.S. Environmental Protection Agency
            Region 2
            290 Broadway
            New York, New York 10007-1866

            Enclosures




REGION II FORM 1320-1 tll"l




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                                       List of Acronyms



   COTP - Captai n oflhe Pon

   DA - Department of the Army

   DMI- Dredged Material Inspector, in this case approved by USACE-SAJ

   EPA- U.S. Environmental Protection Agency

   EPA-R2 - U.S. Environmental Protedion Agency - Region 2

   fA - Interagcncy Agreement

   GPS - Global Positioning Systcm

   MP - Monitoring Plan

   MPRSA - Marine Protection, Research, & Sanctuaries Ac t of 1972

   NMFS - National Marine Fisheries Service

   NOAA - National Oceanic and Atmo~phc ric Administration

   NODC - National Ocean Data Center

   PCBs - Polychlorinated biphenyls

   ODMDS - Ocean Dredged Material Disposal Sitc

   SJH - San Juan Harbor

   SJS - San Juan, Pucno Rico Ocean Dredged Matcrial Disposal Sitc

   SMMP - Site Management and Monitoring Plan

   SP I - Sediment Profile Imaging

   TOC - Total organic carbon

   USACE - U.S. Army Corps o f Engineers


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    USACE-S AJ - U.S. Anny Corps of Eng in em - South Atlantic Jacksonville

    USCG - Uni ted States Coast Guard

    USFWS - United States Fish & Wildlife Service

    W/QAPP - WorklQual ily Assurance ProjC(;1 Plan

    WRJ)A - Walcr Resources and Development Act




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  I . Backgr ound
  St:(:tion 506 of the Water Resources and Development Act (WRDA) of 1992, which amended the
  Marine Protection, Rese;m;h, and Saoctuaries Act of 1972 (MPRSA), requi res the U.S.
  En viroruncntall'rot~ti on Agency (EPA) and the: U.S. Anny Corps of Engi neers (USACE) \0
  prcpare a Site Management and Monitoring Plan (SMMI') fo r each ocean dredged material
  disposal site (OD MDS). For sites designated prior to Janua!)' I. 1995, such HS the San Juan
  Harbor, PuerlO Rico Dredged Material Disposal Site (5JS), WRDA provides that SMM l's shall
  be developed by January I, 1997. Further pennitting or authorizatio n of projccts for di ~posal at
  ocean sites oot having SMMPs after that date were prohibited until an SMMP "'~ prepared. The
  final SMMI' fo r the SJS was ado pted on January 5, 2000. MJ'RSA 102 (cX3Xf) requires that the
  SM MP be rev iewed and revised no tess frequently than 10 years after adoption of the plan, and
  every 10 years thereuftc:r.

   This document revises the WRDA-tequ ircd SMMP for the fi nal-designated (40 CFR 228.15 (d)
  (\ 1» San Juan Harbor, PUerto Rico Dredged Material Site (SJS); prepared by EPA Region 2
  (EPA-R2) and USAC E Jacksonville District (USACE-SAJ). 'This SMMI' idl'lltifies a number of
  actions, provisions, and pr~ices to manage operational aspeets of dredging and disposal
  Ilctivities and to peri'onn site monitoring at the SJS,

  l. L History of/he San Juan Harbor, Puerto Rico Dredged MiJtrrla/ Dlspo,~al Sile
  Prior 10 1974, all dredged material (except for Bar Channc:J matcrial) taken from San Juan I-Iarbor
  and its vicinity was placed in upland di~sa l areas. In 1974, these areas were exhausted and no
  new upland site could be obtained for dredged material disposal. Since 1975. all dred ged
  material from San Juan Harbor has been disposed offshore.            .
  Th e SJS was designated as an Interim Ocean Dredged Material Disposal Site in 1977 under
  MPRSA. In Mareh 1988, the SJS was designated as a Final Occan Dredged Material Disposal
  Site to receive materials from the San Juan Harbor area.

  /. 2 SJS Boundaries
  The SJS is an ap proximately I sq uare nautical mile area located approximately 2.2 nautical miles
  no rth-northwest of Ihc entrance to San Juan Harbor positioned in a rectangle bounded by the
  fo llowing coordinates:


   Degrees. Minulc~, Seconds                         Degr ees, Minulu (decima l)
   18° 30' 10" N 66°09' 31" W                        18° 30.17' N 66° 09.52' W
   I SO 30' 10" N 66° 08' 29" W                      18 0 30.17' N 66° 08,48' W
   18° 31' 10" N 66°08' 29" W                        18° 31.1 7' N 66° 08.48' W
   18° 3\' 10" N 66° 09' 31" W                       18~ 3 1. 17' N 66" 09.52' W




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                G""""·
                Levittown

  Figure l. Loca/ion o/San Juan NorMr, Puerto Rico Dredged Material Disposal Sile.


  1.3 Enfo rcement Activities 01 rhe S.lS
  Since the SJS was designated, no significant violations and/or enforcement actions have been
  taken (i.e. actions rcsulling in fines and/or criminal proceedings), However, both EPA-R2 and
  the USACE-SAJ have taken corrective actions to bring specific disposal proje<:ts into compliance
  with permit conditions.
  EPA-R2 and the USACE-SAJ have used the experiences of these instances \0 modify the
  exisling gui delines for disposal of dredged material at the SIS and to ensure that future dredged
  material disposal takes place in accordancefcompl iance with applicable pennit or contract
  conditions.



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 II Trorwx)f/ot;nn and DiSPOsal Me/hods Used a I /hI'! SJS
 Dredll(.."(j m!lterial disposed al the SlS may be removed from projct:1 areas using hopper,
 clamshell, or other Iyp:S of dredges. Dredged material has been placed lit I'ucn o Rico OD~DS
 (San Ju::m and Ponce) primarily utilizing split-hull barges. Specific instruclio1W'requirements are
 contained in the Dcpanment ohhe Anny (DA) permits issued by lhe USACE-SAJ, listed as
 contract specifications in Federal dredging eontrocts, and provided to c:onlntClo rs in placement
 guidelines !t$sociated with each dredging projcct (see Section 10 of this SMMP).

 2, Kcgulatur),lStatutory Responsibilitin Under M.PRSA
 USACE and EPA have been assigned various dutie s pertaining to ocean disposal site
 manllgement under MPRSA. EPA and USACE share responsibiJi ry for MI'RSA permitting and
 ocean disposal site designation and management, as briefly summari1.ed below.

 1. 1 SectiOl! 102 ofthe MPRSA
 Undcr Secti on 102, EP A designates recommended li nles and l ocatiOIL~ for material disposed at
 ocean sitcs (indu di ng dredged material) and develops the cllvirolUn~nlal criteria used in
 reviewing permi t applications.

 1.2 Section }OJ of the MPRSA
 Undcr Section 103, USACE is assigned regulatory responsibi lity for transportation and d isposal
 of drcdg(..-d material, subject to EPA review and colltWTellte that the material meets applicab le
 ocean disposal criteria.

 J . Dred&ed Material Testing Requiremen tll
 As pan of tile pe rmitt ing process., applicants are requ ired to tcstlcharucterize all dredged material
 proposed for disposal at SJS 10 determ ine if it mce.ts the ocean disposal criteria (i.e .. is suitable
 for occan disposal). Dredged material testiDg procedures/requirements (includi ng quali ty
 assurance requirements) are contained in the following documents:

    -Ocean Dumping Regulations (40 CFR Pan 227, "Criteria for the EvalU:l.tion of I'ermil
    Applications for Ocean Dumping of Materials' )

     -EPAfUSACE 1991. "Evaluatio n of Dredged Material Proposed for Ocean Disposal, Testing
     Manual" as amended (otherwise known as the 'Green Book ').

     -EPA Region 2fUSACE-NYD 1992 (or most recent revision). "Guidance tor Performing Tests
     011 Dredgcd Matcrial proposed for <X:ean Disposal" (otherwise known liS the Regional Testi ng
     Manual).

  EPA-Rl and US ACE· SAJ will prepare a regional implementation manuill thut provides guidance
  specific 10 ocean disposal of dredged material III the SJS and other ocean sites in thc Cllribbean
  region. U~,ti1 this guidance manual is prepared and approved. howe ver, the EI'A-R2/USACE-
  NYD (1992) ;,,8nl:al (or its ::105\ recenl) rcvisio;; ,', ill be used I.;:. eval uate Ihe S ",; ilOb~ lity :;\f
  dred ged material fA'Oposed for disposal a\ the $JS.

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 The suitability of dredged material for ocean disposal must be determined by the USACE-SAJ
 and concurred with by EPA·R2 in writing prior to each authorization. The determination of
 suitability will be valid for three years from the time of testing, unless it is determined that
 conditions at the dredging site may have changed significantly since that time (e.g., chemical
 spills). EPA-R2 may extend the authorization for an additional period withc:.ut further testi ng if:
 I) conditions at the dredging site are deemed to not have changed significantly since the ti me of
 testing (reduced levels of testing effort may, in fact, be required to confirm this); and 2) no
 unacceptable impacts have occurred or are expected at the dredgi ng and disposa l sites.

 4. Past a nd Anticipated SJS Usc a nd Quantity of Malerial I>isposed
 MPRSA 102 (c)(3XD and E) rcquires thatthc SMMP ind ude consideration of thc quantity of
 materia! to be disposed of at the site, and the presence, nature, and bioavailahility of
 contaminants in the material, as weI! as the anticipated use of the site over the long-lenn.

 The following table reports volumes deposited by the USACE-SAJ for dredging and disposaL at
 thc Sl S in }-YOO-FYlO.


  Complelion Date       Ty pe of Action                      Volume (c.y.)      Composition
  FY94                  SJ H Widening/Deepening              1,053,000          silty sand, fines
  FY98                  sm WideninglDeepe ning               3.9 13,663         silty sand, fines
  FY99                  SJH WideningfDeepcning               3,802,346          silty sand, fines
  FY99-01               Rio Puerto Nuevo Flood               1,500,000          sands, clays, fines
                        Control Projl.'Ct Construction
  FYO I                 sm Berthing Areas                    160,000            silt
                        Maintenance
  FY06                  SJH Maintenance                      446,565            silty sand, fines

 The foll o wing table reports volumes that are anticipated by the USACE-SAJ for dredging and
 disposal at the SJS in FY 10-FY20.


  Completion Date       Type of Action                       Volume (c.y.)      Composition
  FY IO                 Rio Puc rto Nuevo Flood              2,600.000          silty sand, fines
                        Control Project Construction
  FYI I                 SJH Mai ntenance                     420.000             silty sand, fi nes
  FYI I                 SJH Berthing Maintenance             30.000              silt
  FYI5                  SJ H Maintenance                     350,000             silty sand, fines
  FYI9                  SJH Maintcnancc                      350,000             silty sand, fines


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 l be only s()urce of m aterial that is expected to be placed at the site during the projccted period is
 dredged material resulting from maintenance of navigable depths in San Juan Harbor and
 dredged material resu lting from construction and maintenance of the Rio Put:rto Nuevo Flood
 Control I'roject. Materials will consist of variable percentages of silt, clay, and sand . There arc
 no proposed limitations on the quantity of material that may be placed at the si te.


 S. Inter-Age ncy Coordination
 5.1 Transfer o[lnNrmation
 EPA· R2 and the USACE-SAJ jointly manage the San Juan Harbor dredged material disposal
 program and the SJS. EPA-R2 and the USACE· SAJ will continue to coordinate the exchange of
 informati on, management and monitoring resources, and the documentation of site management
 decisions at SJS. EPA·R2 and USACE-SAJ will continue to provide each other with all
 pertinent data and information as it becomes available. Spccifieal!y. upon discovery/notification,
 any infonnation concerning disposal/dredging violations '.vill be shared between EE' A-R2 and the
 USACE-SAJ.

 This SMMP constitutes an official agreement between EPA-R2 and USACE-SAJ to continue \0
 coopcl1l1ivcly manage and monitor the SJS and to coordinate the collection and transfer of
 information pertinent to the management and monitoring of the SJS as set forth herein.

 5.2 Funding ofSMMP Tasks aOO Activities
 The costs of site management and monitoring will be shared between EI' A-R2 and the USAC E-
 SAl 10 the extent allowed by funding levels in any given fiscal year (i.e., cost·sharing will be
 subjec t to appropriations).

 Consistent with Section \o2(e)(3) of the MPRSA, the SMMP dcveloped by EI'A-R2 in
 conjunction with the USACE-SAJ shall incl ude a program for monitoring the site that includes
 the responsible agency(ies) for each monitoring activity. The SMMP and, as applicabl e, permit
 conditions will also specify whcn site uscrs will be required to undertake monitoring activities
 associated with the ir proj.:cts in accordance with 40 CFR § 228.9. Each Agency will bear its
 own costs for activities it undertakes in furtherance of the responsibilities establi shed in the
 SMMP except as provided for in duly executed Intcragcncy Ab'Tceme nts (I A~) pursuant to Ih.:
 Economy Act or the cooperative authority of Section 203 of the MPRSA.

 The USA CE-SAJ will support the monitoring and management of Caribbean Ocean D redged
 Material Disposal Sites. lAs between EPA-R2 and the USACE-SAJ are encouraged in order:o
 pool resources to implement SMMP acti vities. When appropriate, the USACE·SA J may provide
 funds to EP A· R2 vi a !Ul IA for studies of prevailing current conditions, transport pathways,
 mapping of coral reefresources and assessments of baseli ne sediment conditions at or near
 Caribbean Dc" -n Dr:%lge Materi al Dis;msal Sites, a board the O SV BOLD (EPA's ocean
 monitoring ve csel) or lhro ugh contracllIal mechani sms. EI' A-R2 has thc highly spc:cialized
 experti se and ··':SOC.l~CCS to cond uct ad','ilnCe<! technical work allh e Caribbean 'Jeean Dredged
 Mat eria l Dispc,al Siles and to comp l~m cn! USACE· SAJ capabilities by providin g support ill


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 specific areas of expertise in oceanography, marine ecology, and marine instrumentation that are
 required for work at the Caribbean Ocean Dredged Material Disposal Sites,

 Thes.e lAs allow the Govemment to conduct work in the most reasonable and cost efTective
 manner and to realize significant cost savings by using the OSV BOLD (EPA' s ocean monitoring
 vesse!) to suppon the lengthy surveys required for mappi ng resources and conducting sam pling.
 EPA ·R2 can also provide such specialized support as side scan SONAR and underwater
 videography via remote operating vehicle at no additional cost. EI'A-Rl stafTis uniquely capable
 to oversee the technical merits or limi tations of any work products arising fro m any contractor
 provid ing individual site monitoring and management infonnation services through contractual
 mechanisms.

 5.3 Proiecl specific coordination
 ]'rior to issue of ncw permits for private dredging projects, Antilles Regulatory Section and EPA-
 R2 will discuss special conditions of the penni!. As monitoring requirements and placement
 condi tions change, t~e special conditi ons may also be changed to hdp cnsure pennit holders
 conduct dredged material disposal operations at the SJS as safely and efficient ly as possible.
 Likewise, prior to Federal dredging projects, contract specifications are reviewed and updated as
 necessary to rdlect changes in monitoring requirements and placement conditions.

 6. Objccli\'es of the Si\1MP
 The objectives of th is SMMP are to collect sullicient information to:

 a. provide that no unacceptable environmental impacts occur from the disposal of dredged
 material at the SJS;

 b. recognize and correct any potential unacceptable conditions before they cause any
 unacceptable impacts to the marine environmcnt or present a navigational hazard to co mmercial
 waterborne vessel trallie;

 c. dctcmlindenforce com pliance with MPRSA pennit conditions;

 d. provide a baseline assessment of oonditions at the S1S;

 e. outline a program for monitori ng the SJS;

 f. describe special management conditions/practices to be implemenlcd at the SJS;

 g. estimate the quant ity of material to be disposed at the SJS, considering thc presence, nature,
 and bioavaiiabiiily of me contaminants in the dn:dged material;

 h. specify Ihe intended usc and possible closure date, if necessary, of the SJS;

 1. provide a schedule for review and revision of the SJS SMMP.

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7. Site l>escription/Assessmenf of Baseline Conditions at SJS
MPRSA 102 (eX3XA) requires that the SMMP include a baseli ne assessment of conditions al the
site. Baseline conditions measured by IE Corporat ion in 1980 were summarized in the
Environmental Impac t Statement prepared to sup port designation of the SJS (EPA, 1982).
Additional baseline biological, geological and geochemical data was collected from the SJS in
1984 by JRll Associates (under contract 10 EPA). In NovemberfDecember 1996 EP A-R2
collected sidescan sonar, sediment chemistry, and ben th ic co mmunity structure data in an d
aroWld the SJS to augment the baseline assessmen t of conditions at the SJS. The data from the
1996 survey will be incofIXlrated into the baseli ne assessment as it becomes availab le. Further
efforts wi ll be made to enhance our knowledge ofbasclinc conditions during monitoring
operations at the SJS.

7.1 Physical. A·teleor%giral and Oceanographic Features flfthe SlS:
a. Water depths at the SJS average 292 m (965 ft). Bottom depths at the southern boundary are
approximately 213 m (700 ft) and slope moderately to approximately 400 m (1,300 fI) at the
northern boundary (EPA, 1982).

b. Easterly trade winds predominate at the SJS throughout the entire year. pri marily from the
EN E direction. Wind speeds in the area are moderate. The mean annual wind speed is 14.2
kmfhr, but shows considerable daily and month ly variation . Maximum wind speeds occur in July
(mean monthly velocity'" 16.1 kmJhr) and minimum wind speeds generally occur in October
(11.3 kmIhr). Infrequent tropical storms and hurricanes are sometimes severe, OCCUT any time
fro m August to October, and gL"Ilerally produce considerable rainfa ll (EPA, 1982).

e. Currents at the SJS arc greatly influenced by the direction and strength of the trade winds. The
trades blow primari ly from the northeast, which in conjunction with the east-west alignment of
the coastline results in a westerly, alongshore current, Surface currents show general westward
drift (mean speed 0.6 knots) with a significant tidal componenL Subsurface currents are not we ll
defined, but appear to be weak. This fact is also evidenced by the relatively undisturbed
deposi tional environment within the SJS and surrounding area.

d. Water column structure at the SJS is more or less unifo rm thro ugho ut the year. Salinity and
temperature data reveal the existence of a well-mixed layer of surface water. The depth of this
surface layer varies with season from less than 30 m (April- December) to deeper than 100 m
(varies from 100 to 330 ft). The average annual temperatufC and salinity of this surface water
range ben.veen 26-28 °c and 35.5 _ 36.2 ppt. Below this surface layer, a permanent den~ity
gradient (pycnocline) ex tends to approximately 240 m.

e. Meas·;rer.lent, ofbascline dissolved oxygen, tota l suspended solids, and turbidity levels in the
water colu:m at the SJS were ge nerally within ranges typ ically associated with unpo ll uted
tropi cal conditi ons. Surface to bottom di ssolved oxygen concc;mations range from 5.4 to 7.3
mg/l, dec['easing ',vith depth bd ow the pycnocline. Total suspended solids concen tra~ions

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measured at the SJS ranged fro m below detection limits to approximately 1.8 mg/I. Turbidity at
the SJS ranged from 0.15·0.59 NTU. Suspended solids and turbidity tend to be high in surface
walers due to phytoplankton production, incrc:asc 10 a localizoo maximwn nl!aT thl! pyc nocline
and decrease significantly al depth.

72 Sediment Composition/Chemistry and Benthos ai/he SJS
u. $edime,,/ary Compositio,,: Bottom sediments al the SJS are predominantly fine -grained (i.e.
silts and clays) with locali zed sand and gravcl areas. Samples of bottom sedimen ts taken from
the site thc SJS average 48% silt and 45% clay. Side·sean sonar illlilging conducted in 1996
rcvcaled debris and acti ve venti ng of bioge nic gases over limited portions of the silc.

h. Sediment Chemislry: As described above, sedi ments at the SJS are predominately fine-grained.
The total organic carbon content (TOe) of SJS sediments ranges from 0.5% to 2.3%. Sediment
samples collected in 1984 from within and outside the boundaries of the SJS wcre analY-.led for
concentrations of trace metals, hydrocarbons and chlorinated organic contaminants (i.e. PCBs
and selected pcsti~ides). Analysis of sedimcnl samples for hydrocarbons and chlorinated
organics, from a station at the center of the SJS, indicated the presence of variable le vels of well-
wcathered petroleum and biogenic Hydrocarbons. Low levels of PCBs were also detected.
Pesticides were not detected in thc samples. All sediment samples were analyzed for trace metal
levels; the resu lts are re ported in Table 1. Concentrations of cenain mctals (chromi um, copper,
iron, nickel, and zi nc) were found 10 be somewhat elevated at 2 stations v.~th in the SJS.
However, traec mctal concentrations at the remain ing survey stations were not particularly high
and withi n expected rangcs for areas receiving some degree of anthropogenic input. Metals
levels did not differ significantly bt:lwcen stati ons taken inside and outside of SIS boundaries.

Table 1. Co nce ntrations or selected contaminants in sediment sampled at SJS (JRH, 1984).

 Pa ramelH (/I ofSiatiolls, observations)            Vltll            Conecltlration, dry wt.

 Totall'CBs                                          nglg (ppb)       <:87-1580 (A roclor 1260)
                                                     ~glg (ppm)       ND - 84.7
 Arsenic (18 Sins; 38 obs.)
                                                     ~glg (ppm)       0.04 - 1.32
 Cadmium (18 stns; 38 obs.)
                                                     ~glg (ppm)       5.6 - 95.8
 Chromium (18 sIns; 38 obs.)
                                                     ~ glg(ppm )      2.3 - 122
 Copper (18 stns; 38 obs.)
                                                     ~glg (ppm)       0.008 - 1.34
 Mereu I)" ( 18 SIns; 38 obs.)
                                                     ).Iglg (ppm )    2.1 - 48.1
 Nickel ( 18 sms: 38 obs.)

 Lud ( 18 ~Ins; 38 obs.)                              j.lg/g (pp m)   0.4-129.6

                                                      flgJ~( ppm)     3.0- 331
 Zinc -; I S SlllS; 38 oUs.)


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c. Benthic Biola: Benthic samples taken from lhc vicinity o f the SJS yi eld low but highly variable
numbers of taxa and individuals. The benthic community is characteristic of fi ne-grnined
bottoms, i.e. the community was dominated by deposit-feeding organisms. Numerically
dominan! taxa in the study area include polychaetes ( 197 taxa), nustaceans (97 taxa) and
molluscs (60 taxa, primarily gastropods (snails) and pelecypods (bivalves». echinodenns (19
taxa), and 25 minor taxa (primarily sipunculids, but also including phofOnids, pogonophorans
and cephalochordates). Significant differences in community oompositi on between areas wit hin
and outside the SJS have not been detected and the diversity and abundance of organisms are
positively correlatcd wi th increasing heterogeneity of the bottom sediment.

7.3 Usage o(SJS by Fish. Marine Mammals and Endangered Species

a. Marine mammals una sef/sitiw ljJI:cies: TIle SJS dues nut e:Jl"'Ulll~S any knuwn l>r.xdi llg,
feeding, or nursery areas of marine mammals, sea tunics or birds. Waters off San Juan arc
regularly visited during the wi nter months (January-mid-March) by migrati ng Humpback whales
(Megaplera novaeangUae). Humpbacks do not feed while in tropical waters, but Me often seen
spy hopping and cngaging in other social display behaviors. Newborn calves may accompany
fe male whales, since both Silver Bank (offN. coast of Hispaniola) and Mona Island (W. of
Puerto Rico) arc known calving grounds for this species. Whales can pass within less than I
mile of shore, but are also observed further offshore. Dolphins are common resi dents and may be
present in waters of the SJS at any time. West Indian manatees have be<:: n sighted in shallower
coastal waters of Puerto Rico.

Four species of sea turtles are also known to inhabit Puerto Rican waters. Juvenile green and
hawksbill turtles may be found ofT the northern shore of Puerto Rico, assoc iated with rafts of
Sargassum . Waters of the SJS are too deep to provide foraging habitat for adults of green.
hawksbill or loggerhead tunIcs. Leathe rback marine turtles approach the north shore of Puerto
Rico during their nesting season (Murc h-June) and may be present in offshore waters during this
time, but basicall y spend the rest of their adult lives in the temperate zone. The endangered
brown pelican is resident to Puerto Rico, but is primarily present inshore.

b. Fish: Open walers of SJS may be feeding grounds for pelagic fish (e.g. tuna, jacks, mackerel)
and deeper site wate~ may be feeding areas for various snappers and other species. but the SJS is
not a critical area in this regard. Deep waters of the site may be inhabiied by various species
having wide depth rang~ (e.g. elasmobranchs, conger eels, batfishes) as well as slope species
(e.g. grenadiers).

A modest, but significant, commercial pot fishery operates out of San Juan. This fishery.
howewr, is restricted to shallower, inshore she lf walers. Mackerel, sardine, snook and snappers
co nsti::.!!:! the bu!k ofl:mdings in this fishery. A hand line fishery wrgeting snap pers ulse
( :)(.o:ra' ; out of S:m Juan; this fishery operates primarily in shall ower \\~llef but extends to depths
of appw ximolcly GOO ft. In addit io n, there are numerous priyalc Tecn.'ational and deep S23 charter

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fishing operations centcrcd at San Juan. Effort is gcnerally directed al bi ll fish, tuna, and other
peiagics in this fishery.

c. Endal1gered alld Ihreafened corals: There are two !pecies of corals in Pucrto
Rican waters listed by NOAA-NMFS under the Endangered Species Act (ESA) as
threatened (Acropora palmara and A. cervicornis). A;ropora spp.are important
reef building corals, typicall y occurring in high energy, shallow water areas.
NOA,\ identified critical habitat for Acropora spp. as areas having consolidated
hardbollom subsll1ltcs devoid of macroa lgae and sediment cover in depths
between the Mean High Water line and 30 meters. The SJS is located in waters
su bstantially deeper and far removed from areas meeting this depth criterion.
Critical habitat areas may however be located along the transport routes typically
used by barges to trave l to and from the SJS.

NOAA also identifies a species of deep water coral (Oeulina spp.) as a species of concern in
Pueno Rico. The presence of this species howeve r has not been confirmed on the northern coast
ofPucrto Rico in the vicinity of the SIS. In addition, NOAA_NMFS i~ Drorosing to list
additional species of coral as threatened under the ESo'\. Many of these species occur as part of
coastal or shelf edge reef habitats (i.e., depths <6 1 m). The SJS is located in waters substantially
deeper and far removed f10m areas meeting this depth criterion. (see Shelf Edge ReefResourccs
(sec tion 7.4)


7.4. Shelf Edge Reef Resources
Reef resources on the Pueno Rican shelf and along the shelf edge havc been iden ti fied by the
National Oceanic and Aunospherie Administration (NOAA) as essential fish habitat. NOAA has
indicated thatthcse areas are generally restricted to areas shallowe r than 200 feet (61 m). Side
scan SONAR and remotely openltcd video mapping snowed that coral growth is limi ted along
the coastline cast of San Juan Harbor wi thin this depth range. Sidescan SONAR and video
mappi ng of areas that are potentially affected by transport and disposal of dredged material at
SJS will be im plemented as early monitori ng efforts io. implementation of this revised SMMP,
belore determining any further monitoring or management requiremen ts at the site for prolL"ning
shelf edge reef resources,


8. SJ S Monitoring Program
MPRSA 102 (e)(3)(B) requires that the SMMP for a given dredged material ocean disposal site
include a program for moni toring the site.

EPA-RWSACE-SAJ have developed a tiered monitoring ap proach 10 investigate the physical,
biological, and che mi cal impacts of ocean disposal of dredged material at sites in the Caribbean.
EPA- R2IUSACE-SAJ's Ocean Disposal Site Mo nitoring Progra m (MP) addresses both
re.~u latory and techn ical issues associated with the disposal of dredged material at th e SJS. The



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tiered ap proach described herein is comprised of levels of incrcasing investigative intensity
designed to generate the technical information necessary to propcrly manage the di sposal site in
an environmentally sound and cost-effective manner.

Monitoring effort under the SJS MP is dependent upon volume and frequency of disposal. In
gencral, if no disposal occurs, then no monitoring wi ll be required. Inversely, in a period during
which thcre is disposal activity, monitoring wou ld be conducted proportionate to volume of .
disposal, as necessary. Specific monitoring activities may also be required for individual
projects.

8.1 Goals Qftho SJS MP
The SJS MP will focus on the overall impacts of dredged material on the enlire SJS and
surrounding area. In addition to addressing the Null Hypotheses (Ho) (see Section 8.2), the
overall goals of the SJS SMMP are to:

a. verify that drcdg(.:d material disposed al the SJS docs not cause any unacceptable impacts.

b. assess and monitor (trends) condi tions at the SJS as defi ned in 40 CFR Section 228 .10. and
compare them to baseline data.

8.2 Questi01u/ NulllJvootheses fHJ to he addressed hI' the SJS MP :
The SJS MP will focus specifically on verifying the following four null hypotheses CHo) for
individual projects andfor disposal locations:

H., I: Dredged material di sposal operations are consistent with the requi rements of the olOean
dumping pennits.

Actions:
-Use the USACE-approved disposal inspector (ship rider) reports and infonnation submitled by
permi ttees to determine compliance.
-Require GPS-based automated disposal survei llance systems on all di sposal scows at the SJS.
-Conduct independent surveillance of di sposal operations

H.,2: Dredged material disposal operations are not causing unacceptabk impacts (physical,
chemical, and biological) at the SJS and surrounding area.

Actions:
-Cond uct sediment profile imagery surveys (Tier 2) at the SJS and surroundi ng area.
-Cond uct benthic community structure, sediment chemistry and body burden analyses within the
SJS w'len de emed necessary based on results of Tier 2 physical and biological efforts
- --




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HoJ: Dredged lIlaterial disposal has no significant impact on endangered species.

Actions:
-Review USACE-appro\,cd disposal inspector (ship rider) reports to ensure that no dredged
materia l disposal occurs in the presence of any marine mammals/endangered turtle,;.
- Monitor marine mammal$lsea turtle sigh ti ngs, landings (bycatch), and strandings in the San
Juan vicinity.

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the area of the SJS.

Actions:
- Use sediment profile inaging (SP I) photography to assess sediment lind be nthos distribution.
-Conduct Tier 3 benthic community structure monitoring in and around the site




9. Monitoring Aetivitinrreehniques
9.1 WorkiOualitv Assurance Project Plan
The SJS MP consists of a three-tiered approach 10 monitor the physical, chemical and biological
effects of dredged material disposed at the SJS, the components of th ese ticrs arc outlined below
in Sections 9.2 to 9.4 . [nfonnation from these monitoring activilies will be ex tremely impo rtan t
for detcnnini ng the potenti al for unacceptable impacts to occur due to disposal of dredged
material at th e SJS. For th is reason, th e data obtained in these surveys must be of high quality.
All moniloring work cond ucted in accordance \vith this SMMP must .confonn to a work/qual ity
assurance project plan (WIQA PP) Ihat has been reviewed and approved by USACE-S AJ and
EPA-R2.

Monitoring and sampling will occ ur using a design that allows quantitative analysis of results;
the sampling area may include all or part of the S1S, the surroundings and a reference area
geographically removed from the effect of dredged material disposal at the SJS. W/QAPPs must
reflect the design selected by the Agencies for lhe monitoring tasks.

9.2 Physical Moniloring
Physical monitoring is designed to detenni nc the physical nature and d istribution of dredged
material du ring and after disposal at the SJS and environs. Measurements of the phys ical nature
of the material proposed for disposal at the SJS will allow first order tracking of physical impacts
at the ~jte and support modeling of initial mix ing and seafloor deposition follo ......;ng disposal.
Sediment profile imaging (SPI) will be used to confinn the fate of the material following
disposaL sri technology consists of a frame-mounted apparatus that enables a camera to take a
piclure of the sediment-water interface. Useful infonnation can be obtained from the pictures to
prod uce fine scale description ofthc spread of material on Ihe bottom and its eITee: on the
environ ment. Under cenain circumstances, the collection and analysis of sediment samples may


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be required to fully assess the final disposition of dredged material discharged at the SJS.

a. Tier J." Dredged Material Tes/ing/Modeling of Disposal Events/Disposallnspeclion
Grai n size distribution, percent moisture, Atterberg li mits, and total organic oontent of proposed
m aterials will be measured for all dredged materials proposed for disposal al the si te. This data
is acq uired in suppon of the evaluation of dredged material proposed for ocean disposal, as
required by the 1991 Green Book and the regional implementation manual governing disposal at
the SJS.

Disposals will be mode led usi ng available computcr models (e.g., STF ATE) to estimate Ihc
footprint and plumc anticipated from a proposed project prior to commencement of di sposal at
the site. Results will be used to detennine disposal locations at the SJS.

GPS·based automated disposal surveillance techno logy will be used to ascertain that loading and
disposal of dredged material is occurring at authorized locations, that m aterial is not being lost en
route to the site, and that material has been discharged within the site boundaries. This
technology simultaneously records the draft and position of the vessel to which it is attached.
USACE-approved disposal inspectors (ship riders) will accompany all scows and hopper dredges
disposing at the S1S.

I:regucncy: Tcsting and modeling conductcd prior to each initial MPRSA ooneurrence. GPS·
based automated disposal surveillance to be co nducted with eac h scow load of material
transported for disposa l at SJS.

b. Tier 2: Sediment profile imagery (SI'/)
Sediment profi le im agery (SP[) cameras wi ll be deployed at an array of stations extendi ng
radial ly o utward from the center of the S1S to defin e the footprim of dredged matcrial within and
around thc site. Sampling locations will be detenninedjointly by EPA-R2 and USACE· SA1
prior to the surveys. Because. SPI has not yet been eonduct\:d at the site, the optimallenglh and
spacing of radial transects will be detenn incd from the first s urvey. From these images, grain
size, sediment color and roughness can be detennincd and ilsed to identifY and map dredged
material on thc bottom . (Images obta ined using SPI will also be used in T ier 2 biological
evalua tion of the site.)

Frequency: S PI records will be collected approximately every 5 years when the site has been
acti ve. USACE-SAJ and EPA-R2 will generally oonduct these investigations, ho wever the
agencies may require surveys to be conducted by pcnn ittees (or by the USACE·SAJ), foll owing
disposal of large volume projects.

" · Note: The results of SPI '-vill be used \0 adjust the Tier 1 model and/or disposal operati ons, as
necessary· " "




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c. Tier 3: Sedimenr sampling and analysis
In cases where additional information is required to refine the fina l disposition of discharged
dredged mate rials , it may be requi red to actually collect sedime nt samples from wi th in the SJS
and its vicinity for analysis. Box core sedi mcnt sam ples will be collected from areas of inte rest
inside and/or o utside the site. G rain size distribut ion, percent moisture and total organic conte nt
of sedim ent samples w ill be analyzed. Tier 3 physical mo nitoring may be cond ucted alone or in
co njunction with T ier 213 chemical (bulk sediment chemisuylbody burdc n analyses) o r Tier 3
biological cffons (benthic community analyses). Sam ples of the sedi ment will be coll ected u.sing
approprime methods to allow for Tier 2 chemicHI analysis (bulk sedimen t chemistry). Organisms
scrccned from the sediment wi n be pre served and arc hived in a manner that allows T ier 3
biological (benthic co mm un ity analysis) andlor chemical analyses (body burden analysis).

Frequency: The need for and the areal extent of T ie r 3 physical monitori ng efforts will bc
dctermincd by T ier 2 physical an d biological evaluations (i.e., SPi). In addition, T ier 2
mon itoring may requ ire confirmatio n/validation usi ng box core samples.

*" - Note: Sedi mcnt samp les can also be used to assist in the interpretation of sri imagery
Ihrough e)\amination of features present in the sample ~'"


d. Special Studies (PhYSical)
In the event that hi gh resolution o f site bathymetry is required, a survey using m id-water
multibeam soundi ng equipment would be conducted at the site. This Iype of leclmology is
required for obtaining balhymelry at the SJS becausc of lhe great deptb of the water. However,
owi ng to the high cost of this type o f surveying and the ex pec tation that acc re tion of deposited
sediments will not resu lt in seafl oor fcaturcs (th is e )\peclalion is based on the rcsults of
moni toring of a dee pwater d redged material ocean disposal site off San Francisco. CA l it is
env isioned that bathymetric s urveys of the SJS w ill not be co nducted on a regular basis.


In the evcn! that areas that w arrant additi onal conce rn arc identified in the vicinity of the site,
a rrays of sediment LIaps may be deployed along the margins of the si te and in the direction of
d redged materiallTanSport. Scdintent traps can detennine if significant q uantiti es of dredged
material arc being transported ofTt he site in the direction of the reso urce of concern. (The trJ.PS
would have to be deployed for approximately si)\ m onths of active disposal and wou ld be
compared to sedime ntati on rates at a refcrence site, i.e. a n area that is wi thin the area of influence
of hydrographic regimes affecting the SJS but that is unaffected by dredged material disposal ). It
is not envisioned that sediment traps will need to be deploycd on a regula r basis.

Addi tiona l studies and technologies may be used as requircd to address specific data needs but
are 1101 intended for app licatio n on a routine basis. E)\amples include sub·bottom profi ling and
side-scan sonar technologics.

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9.3 Biological Monitoring
The review of96-h exposures of sensitive marine organisms to the suspended and liquid phases,
and I O-d exposures to th e solid phase of dredgcd material, prior to approval for disposal at SJS,
provides assurances that no acute toxicity is expected to result from disposal of dredged materials
at the SJS. Iktennination oflong tenn trends in the benthic community, however will require
SPI photography or collection and analysis of benth ic samples. SI'I photography provides useful
infonnation on the abundances, taxa, and successional stage of communities present at a given
location without the expense of sampling. Under certain circumstances, actual sampling and
amllysis of benthic communities in and ar01.md the S}S may be required.

Tier J: Review oJTesting Results/Monitoring/or Sensitive and Fisheries !;;pecies Impacts
a. Toxicity of all project material proposed for ocean disposal will be assessed using sensitive
marine organisms and the procedures outl ined in the 1991 Green Book and the regional
implementation manual governing disposal at the SJS. The results of toxicity tests will be used
in conjunction with the STF ATE mixing model to ensure that disposal of the projcct material
docs not result in violations ofthc initial mixing requirements followi ng disposal at the SJ S. By
prohi biting materials that show acute tox icity in lO-d tests from disposal at the 5JS, thc first level
of assurancc that adverse impacts to the benthos or to other marine organisms are not OCC UlTing
due to th~ disposal of dredged material is gained. Thc results of bulk sediment and
bioaccumulation tcsts will be used by USACE-SAJ and EPA-R1 to identify and track im pacted
wnes and direct biological sampling efforts at the higbcr monitoring tiers. Impacts to sensitive
species (e.g. marine mammals, sea turtles, brown pelicans) will be avoided or minimized through
the usc of on board obscrvers: disposal wi ll not be allowed to occur in the presence of identified
sensitive species. Fisheries issues are re-evaluated for the 5JS during each pennit/authorization
process. (Impacts to fisheri es due to disposal operations are not Mtieip!lted, however in the ev,:nt
that iss ues regarding fi sheries arc rais~d to the USACE-SAJ andlor EPA-R2, the agencies will
consult with resource authorities at NMFS, USFWS and the Commonwcalth of Puerto Rico to
fCview the issues in the context of dredged material disposal al the SJ5.)

 Frequcncy: Testing an d Essential Fish Habitat consultations will be conducted prior to each
 initial project 10J concurrence. On board disposal inspectors will accompany cach load of
 material transported for disposal at SJS .

 h. Tie;- 2: &diment profile imagery (SP/)
 SI'I cameras will be used to identify and describe colonization and suc~ession slatus of
 communities insidc and outsidc site (SI'I also serves as Tier 2 physical monitoring). If, based on
 comparisons with a refercnce sitc, areas outside the sitc appear to be biologically impacted by
 disposal acti vities then the areal extent ofimpact wi ll be considcred in the decision to pursue
 higher tier testing involving box core sampling (Tier 2 Chemical. Tier 3 Physical! Chcmicall
 Biologica:) and may result in conditions placed on permits or contract specifications.

 FrcgUG,;" : sri reeo: -':3 wi ll be collected appl'0x:matel y eL;Y 5 years ',','hen the site has ",een
 active or if modeling predicts excecdance ofsile boun~. USACE-SAJ and EPA-R2 will

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gen erally conduct these in vestigations. however the agenci es may req uire surv~ to be
cond uctcd by penni ttces (or by the USAC E-SA1), foll o\";nl: d ispo~ al of large volwne projects.

c. Ticr J : Benrhie sampling and ol1olysls
Tier 3 biologica l monitoring e nLUils counting and identifying bcnl hie organisms collected with
box cores to define the status and hea lth o f the benthic community (e.g. s pecies identification.
divcrsity, biolTlilSs, tro phic status. successional s tage). Ide ntificatio n o f organism s wi ll be to
lowest practicab le taxono m ic unit. Sampling o f beothos will o ccur in a strati fied. random des ign
10 allow quantitative analysis of res ults; the sampling area may inc lude all or part of thc SJS the
surround ings and a rcfcrence area geo graphically removed from the effect of dredged material
di sposal at S1S.

f.!3;guencv; Impacts withi n the si te IIl"C expected due to the disrurbances causc:d by d isposal
events. Impacts outside the 5itc, or an absence of progress in the succession or in coloniwtion of
the site for extended periods of ti me after cessation of di sposal, may be cause for concern and
thcr.::fore prompt more defi nitive study in higher tie rs ofi nvcsli gation (i.e, Tie r 3 biological,
Tie rs 2/3 chemica l). These ind ications would be detccted using 51'1 in Tier 2.

~·· No te ; T ier 3 biological mo nitoring results v.ilI also be used to assist in the future
in terpre tation of feat ures present in SPI imagCT)'~ " ·

d. Special SJ/ldies (lJiological)
In tnc event that conce rns regardi ng local populations offish o r ot her s pe<: ies (e. g. crustacean
m acrofauna o r sensitive species) are identified, standard i7.cd quantitative surveys and/or body
burden surveys may be required. These surveys would use nppropri ate gear for capturing the
target species (e.g. bc::nthic sleds or trawls) an d again usc a reference area for comparisons.

.En;,guency: A s nceded

9.4 Chemical Monirorfn~
Chemica l anal yses of sed iments and tissues of organisms exposed to the material proposed fo r
ocean dis posal enables USACE·SAI and EPA·R2 to assess the presence, naruTe and
bioovailability o f contaminants in dredged material prior \0 authorizing d isposal at the 5J5.
Periodic collection a nd WUl lysis o f sediment and resident organ ism tissue samp les from the SJS
arKi its en .... irons will provide USACE·SAJ and EPA-R2 with infonnation rtCCCllsary 10 confinn
that no unacceptable effects ure occurring and to identify long term trends in and around the SJS.

(l Tier J: Rel'few %ctan disposal testing results
Bulk sediment chemistry (and a measure of its bioavailabili ty through biological tests) o f
proposed dredged mu terial will be determi ned usin g the proccdures outli ned in the 1991 Green
r>ook a nd the regiona l imp le illentation manual governing disposal at the SIS p rior to
com men ce ment of any disposal of the mate rial at Ihe site.




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GPS-hased technology will be used to ascertain dtall oading and disposal of dredged material is
occurring at the authorized locations and that material is not being lost en route to the site.
Visual inspectors will also be deployed.

Freq uency: Conducted with every project.

h. Tier 2: Bulk sOidimenl chemical analysis
Bulk sediment chemistry will be conducted on surface samples collected from the SJS and its
envi rons. This data will be used to help determine the areal extent and distribution of dredged
material and specific contaminants. Dependi ng on site manage ment data needs, the list of
contaminants for a given effort may include all contaminants of concern or a few contaminants
selected for their useful ness as tracers of dredged materi al or for thcir ecological significance.
All sediment samples collected for bulk chemistry analysis will also be analyzed for grai n size
and total organic carbon content (Tier 3 1'hysieal Mon itoring). Modeling of the theoretical
bioaceumulation potential of non-polar organic contaminants will be used to estimate
bioavailability and to determine whether there is I) potential for bioaeeumulation ofthesc
contaminants to unacceptable levels and need for body burdcn analyses.

Frequency: The need for Tier 2 chemical monitoring will be determi ned from Ute resuhs of SPI
conducted under Tier 2 biological and physical monitoring. Possible tri ggers include
observations that dredged material appears to have spread significantl y outside the site or ifSPI
imi.lgery suggesg that colonizatiowSutcession is not occurring at rates com parable to reference
sites. It is anticipated that these analyses will be conducted on the order of every 10 years.

e. Tier 3.- AlUlfysis of body burdens of conlamincmlS in ben/hie organisms
Conduct tissue chemical analysis of organisms from box core samples collected during Ticr 3
PhysicallBiological Monitoring. The species selected for body burden analyses will reflect their
abundances in collected samples. The substrate in which collected organisms were residing will
also be sampled and analyzed rncr 2 chemical analyses (bulk sediment chemistry) and Tier 3
physical analyses (grain sizefTOCJpercem moisture)J and tissue lipid levels v.ill be analyzed, to
the max imum extent practicable. Ideally, Tier 3 chemical monitoring will also be conducted
synoptically with an evalumion of the health of the benthic community (Ticr 3, biological
monitoring).

Frequency: Tier 3 chemical evaluation will be conducted if TBP modeling usin g Tier 2 (b ulk
sediment) chemistry re sults suggests Utat there is the potential for unacceptable bioacc um ulation
of contaminants from the dredged material or if sediment levels exceed reference concentrations
by an order of magnitude.

~ * *Note: The results of Tier 3 analysis will be used (in conj unction with Tier 2 chemical (bulk
sediment c.hemistry) an d Tier 3 physical results (rOC)) to refine the inputs used in future TBP
uodel i ng ~ ~ *




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9.5 Frequencv o{/lfrmiloring/Need fOr f/igher Tier Inwsligalion~
Moni toring at Tie r 1 will be cond ucted prior to disposal of eac h authorizcd project. An
anticipated schedule for monitoring is listed in Table 2, however if results indicate the need for
further investigations, any required monitoring (T iers 2 and 3) would be initiated . Specific
circumstances that '''trigger'' advancing to highertiers of monitoring will be decided by EPA-R2
and the USACE-SAJ, in consultation v:ith the Commonwealth of Puerto Rieo and other
stakeholders. Exist ing monilOring data, anticipated or proposed disposals (inc ludi ng the type and
quam ity of anticipated material). and o ther relevant factors will be considered to determine
appropriate monitoring and management preferenccs. The actual frequencies and schedules for
all jointly fWlded mon itoring will be by mutual agree ment o f USACE-SAJ and EPA- In.

9.6 Moniluring Dara Management: Processing. Evalualion and huerprelutiQn
a_ Dala coll ected from SJS sur.rcys arc to be processed and analp.oo by (or as specified by) the
USACE-SAJ and EI'A-R2 (or their respective contractors). l besc data are 115(.-d to make
management decisions regarding dredged material disposal operations and pennit decisions and
must therefore be of reliable quality and in a consistcnt [onnal.

b. EPA·R2 requires data to be in thc Nationa l Ocean Data Center (NODC) fonnat, whcre
appropriatc. Survey data will be summ ari7.cd in a report generated by the action agency. l b c
report will indicate how the survey related to th_e SMMP and to previoll5 SJS surveys. Rcpons
should be provided within 90 days after completion. Exception to the time lim it will be possible
if outside contracts stipulate a longer period of time. The report will provide data interpretations,
conclusions, and recommendations relative to needs and goals of the SMMP.

Dala coll ected will be made available to Fedeml and Commonwealth agencies and OIher
stakeho lders, as appropriate. Reports summarizing data will also be made avai lable.

T:oble 2: SJS Monitoring Activi ties and Frequencies


 Tie r 1 monitoring activities will be conducted with each authorized projcct, as noted in text


 T ie r 2 - i\·l onitorin g Activity   Anticipated          Triggered by ..   Responsible Entity
                                       Frequencl

 Physical- S PI photography            5 Yrs                Usage             USACE-SAJfEPA-
                                                                              R2 , or penn ittce

 Bio logical- SPI photography          5 Vrs                Usage             USACE·SAJfEP A-R2

 Chemica l- SJS Sed iments             10 Yrs               Tier2 Physical    USACE-SAJ/EPA-R2
                                                            and Biological




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 Tier 3 · Monilo rin &: Ae1h'ity           Anticipated            Triggered by,,,           Respcnsi ble Entity
                                           Freque ncy'

 Physical-Sediment Analy ses               10 Yrs                 Volume_ Usage             USACE-SAJfEPA-R2

 Chcmical- Benthic Tissue                  liS needed             T ier 2 Chemical          USACE-SAJfEPA-Rl
                                                                  and l1i ologiclll

 Ri nlngic.11_ Com m unity                 as needed              Ti {'l" 2 C hemical       USACE-SAJ fE PA-R2
 Analysis                                                         and Biological


 Spr-cial S tudies will be perfonnl'Cl when deemed necessary 10 conlinn that unacceptable
 effects arc not occurring o r to address any identified deficiencies in comprehension of
 baseline .
• LISted years are pTCliCIIlcd as mrgetl r()rtlt~ antIcipated frnIumcy ()rconductt~g th" montl(m~g 111.'1'. Tar&e1S are
not intended 10 be bindint Hnd art! dependent on ,ite we hislory.



10. SJS Disposal Permit CODditionslEn(orcemenl
MPRSA 102 (c)(3)(C) requires that the SMMP include s pecial management cond itions or
practices to be implemented at the site that are necessary for the pTO(cction of tt.e environment.

Within approximately ten days prior to the stan of dredging of SJS·sui table maleria!, a ~ ·
co nstruction mcct ing is held with dredging contractor representatives, penni nees, and, members
of the US AC&SAJ Regulatory Branch personnel for projects, or wi th USACE dredging
contractor and COl1SlJuCtionlOpe1'1'lli ons Di vision pcrsormcl for I;edcral construction and/or
maintenance dredginS projects. I'ermi t requirements and placement cond iti ons are di5(;usscd ·to
ensure that everyone is familiar with SMMP require ments prior to the start of SJS· mlltcrilll
dredgi ng.

/0./ Regulatory Frame'>lo-'OrJ;: f erm lt Conditions
De partment o f the Army (OA) pennits will be issued for SJS disposal ac tivities invol ving non-
Corps projects, and typically llI"e vali d for a pe riod of throc )·ellf$. Copies of the issued permits o r
the letters modifying the se penni ts lire maintai ned and made: available upon request by the
USACE-SAJ, .....llich issues the documents. Placement of dredged material caMol occur at the
SIS wilhoul a pennit (or M PRSA S'ection 103 (e) equ ivalent, e ,g. Federa l projects authorized by
Congress).


0) Ge neral Con'!ilions: Genera l permit restrictions reflecting standard marit ime ind ustry and
   U.S. Coast Guard requirements so thai a waterbome/sea-going acti vity can be carried Ollt
   \\'il~lin the m;:"limum or basic guideli nes set, pri marily for saf~ty reasons, by the regu lat in g
   1l:J .;,ority. In mOSl, if nOI all, CllseS the U.S. Coast Gua rd is d .ll aUlho rity.




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b) Special/Specific Condilions: Special and/or specific permit restrictions will be listed in the
   lext oflhe permit and will include, but not necessarily be li mited to:

            I. Seasonal restrictions or special conditions regarding dredging and disposal
            (ass:gned on a case by case baSIS). At present, no disposal restrictions related to
            seasonal variations in ocean current or biotic activity have been determined to be
            necessary for SJS disposal. Should any such restrictions appear necessary as
            monitoring results are compiled, they will be incorporated into future ocean disposal
            authorizations. Addi tio nally, if new information indicates that endangered, or
            threatened. species are being adversely impacted. restrictions will be implemented.

            2. Requirements for the submission oftransportation and placement Jogs. USACE-
            SAl approved Dredged Matcrial lnspcctors (DMls) are required to docwnent each
            place ment (rip on the Tran.'lportation and Placement Log Form (Appendix A) and
            notiiY (he USACE· SAJ. The permittee shall hire a OM! independent of the dredge
            contractor.

            3. P..eporling requirements for un-anticipated events and discrepanCies.

            4. Guidance pa/aining to aspects of the disposal activity; including boundary
            coordinares, release/discharge procedures, and requirements to discharge within
            specific areOJ. The gui dance within the permit is also supplemented by the
            Guidelines provided in Appendix B ofthi ;; document

10.2 Federal Authorization
In cases where permits are not issued, as is the case with Federal Navigation Projects, lite above
permit condi ti ons will be incorporated into dredging contract specifications (see MPRSA Section
103 (e)). Whe n USACE vesse ls, or their contractors, conduct the dredging. they will comply
with the same requirements, monitorin g, and safeguards that are included in permits issued to
(hird party cont'dclors. Permi t-l ike instructions specifying all requirements are (0 he co ntained
within (he worh speci licationsiorders for the project. These conditions arc equivalent to permit
condi tions and -.viII he cnforeeable on the contractor under applicable law.

10.3 Violation/ Enforcemenl Cases
a. Disposal at th e SJS is to occur only with prior USACE-SAJ approval and EP A-R2
conctllTence. Projects not in compliance ....ith the DA permi t '-'<ill be subject to enforcement
action.

b. A USACE-SAJ approved Dredged Materia! Inspector (OMI) mus( accompany all trips for
placcment of dredged material at the SJS and be present during all dredged material discharge
events in order to certify compliance with the USACE-SAl permit cond itions. The DMI must
report i:ldcpendcntly to the applicant (not to the dredging con tractor). The DMI is required to


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complete, sign, submit and maintain within the official record a Transportation and "Iact.-ment
Log Form (Appendix A) for each event.

c. The DMI must also completc, sign and submit an Inspector Checklist of requiremcnls
.. ~sudalcd wiu, "'<lei> I'l"ccml;ultrip (App<:mlil< C). TIle Ulrtt sections of thl; Inspector Cllecklist
arc completed by the DMI d uring three phases of transportation and discharge. Many checklist
items relate to the dred gin g site. Ensu ri ng that all required equipment and procedures are
followed prio r to dc panure from th e dredging site helps ensure ~fe and accurate discharge of
dredged material at the SJS. Any item on the checklist that receives a ''NO'' allswer, meaning
that a required procedure has not been followed, or required equipment is not present or operable,
re quires an immediate telephone call to USACE-SAJ for follow-up action.

d. If any action takes place which does nOl confonn to authorized activities described in any
pennit (Contract Specificatio n and/or Work Order for Federal Projects). reauthorization.
response letter, or other communi cated requirements/restri ctions, the USACE-SAJ should be
notified immediately by the OMI. In cases where activitics beyond thc scope of those authorized
occur, appropriate action will be detennined by consultation between EPA-R2 and the USACE-
SA).

10.4 Sile Insptclion/Sllrwdl/ullce
a. To ensure compliance with the DA pennit condi tions and Federal authorization. routi ne
observations of dredgin g activities in the San Juan Harbor area are perfonned by the USACE-
S AJ.

b. USACE-SAJ and EPA-R2 (and/or their designated representatives), reserve all rights under
appl icable law to free and unlimited access to and/or inspection of:

            -the d redging project site (incl uding the dredge plant. towing vesscl and scow) at any
            ti me d uring the project;

            ·any equ ipment used for towing, surveyi ng, monitoring or navigation;

            -any and all records pertaining to specific (Federal or non-Federal) dredging and
            di sposal projects including logs, reports, memoranda, notes, etc.

c. For all disposal activi ti es, the dredging contractor will be required to prepare and operate under
an approved electronic verification plan for all disposal operations. As part of this rlan, the
contractor will provide an automated system that is o perated by an independent (3' party)
contractor to conti nuously track the horizontal locatlon and draft condition (vertical ) of the
d i ~po~ a l Ye5~el from t~ point of dredging to the dispo sal area, and re turn to the point of
dredgi ng.




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11. Dis posal Htporting' ncqllirtmtnts lind Data ManagcmtDt

ILl . USCG Rerorling Requirement.~:
The dredging/towing contractor must notify the Captain of the Pon (COTP) of San Juan/USCG
for a rcference number before each ves!lC1 depans thc drcdging site for the SIS. Every trip made
under the permit authori zation is required to be recorded and endorsed by the master of the tow
or the person acting in such a capacity.

11.1 Record Keepingl DocumenlalionlDala Reporting:
a. Navigatio n logs will be maintained for each vessel (tugboat/barge) used for ocean disposal of
dredged material. lbese logs should include accuracy, calib ration methods, and any problems
and actions ta ken associated with navigation. EP A-R2 and the USACE-SAJ require that each
tugboat/bargc uscd for the ocean disposal of dredged material use D-GPS for navigation
purposes.

b. An electronic Transponation and Discharge Log form must be completed by the DMlto
provide a record of each voyage involving an actual di sposal event at thc SJS. An example orthe
log form is included in Appendix A. The log forms must be emailed to USACE·SAJ and EPA-
R2 within 2 hours of any di scharge at the SJS. An electronic copy of each log form is to be
saved with a filename that includes trip number and retained wi thin a dedicated projcct folder to
allow for auditing of information. These not ificati on systems ensure that the USACE-SA J and
EPA·R2 are completely infonned o f daily dredging and di sposal activities undenaken within the
Port of San Juan.

c. The DMI must also compkte. sign and submit an inspector Cbcduist of requirements
associated with each plaecmcnttrip (Appendix C). An electronic copy of the checklist for eaeh
tri p must be retained with the corresponding TDL form in the dedicaK-d project folder to allow
for auditi ng of information. The three sections of the Inspector Checklist are compleh.:d by the
DM I during three phases oftranspon ation and discharge. Many checklist items relate to the
dredging site. Ensuri ng that all requi red eq ui pment and procedures are followed prior to
dcpanure from the dredging site helps (''flsure safe and accurate discharge of dredged mate ri al at
the SJS.

d. GPS-based automated disposal surveillance (i.e., vessel draft and position) data must be
ma intained for eaeh vessel used to transport and dispose of dredged matcrial at thc SJS.
Surveillance data is 10 be submitted to the Agencies on a weekly basis in electronic format.
Repons should include views ofloaded and unloaded paths taken by vessels used for
transportation and disposal of dredged material at SJS and the discharge location at SIS. This
information must be superimposed on a figure that includes the dredging area, Brljaeem
shorelines, and SJS boundaries). In addition, a graphical depiction of draft versus time must be
provided with the above information.

Discil3.rge locations must he made available fo r EPA and US ACE inspection via a websi te withi n


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12 hours of discharge. The website must allow several view sizes to observe the location of
discharge. Vessel draft readings must be clearly discern ible; superimposed o n a figure that
includes the dredging area, adjacent shorelines, and SJS boundaries.

11.3 Federal S.lS Dafa Management and Renorting
A spreadsheet lile containing contractor-reponed scow volumes information is maintained by the
USACE-SAJ. All disposal records and submitted month ly disposal vo lumes for each project are
proofread, verified and any discrepancies are corrected before entry of data into this spreadsheet.
On a yearly basis, USACE-SAJ will compile all dredging, disposal and testi ng dam and submit
them to USACE Hcadquaners.

All dred ged material disposal dam submilled to USACE-SAJ will be compiled, analyzed and
evaluated in a final end-of-the-year report that will be provided to EP A-R2 during the first
quarter of eueh calendar year andlor upon request. An annual repon will not be necessary if there
has been no di sposal activity during the previous calendar year.


The data fil e mai ntained by USACE·SAJ contains information pertaining to the foll ov.ing:

           ·PennitfFederal Project number

           · Pcnnil1ce or Federal Project name

           . WaterwayfReachiChullflcl

           ·Was the project maintenance or improvement?

           . Disposal area/buoy at which the material was released/discharged


           - Coordinates al whi ch the material \.vas released/discharged

           · Disposal activity commencement and completion dates

           · Volume of male rial disposed

           -The year-to-datc volumes of private (no n-fedcral) and federal navigation projects
           disposed at the SJS, noted separately and collectively


i2. SJ;:; SMMP Rcv icw and R cYisio:1
MPRS: . 102 (c)(3)(F) requires th at the SMM P in ~l udc a Sdl~dulc for review and revisio n of the
SMMP;:;;ch s~;] not be reviewed a~.:! revised ;ess freq :.lently ths:a 10 years ~:';.(!r adOpti:.l of
lhe plan. and every 10 years thereafter.

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A need for modi fi cation of the usc of the SJS because of unacceptable impacts is not anti cipated
due to the management and monitoring outl ined in thi~ SMMP. However, should the results of
monitoring surveys indicate that continu ing use of the SJS will lead to unacceptable impacts; thc
SJS SMMP will incorporate furt her resnictionslrevisions to alleviate the impacts. The SMMP
will be reviewed annual ly, in conjunction with monitoring data, by the interagency SMMP team
\0 identify necessary revisions for management of the S1S.


EPA-R2 and the USACE-SAJ will con\'ene a Scientific Review Panel, consisting predominantly
of professionals from the fields of engineering, oceanography, and representatives of
go\'errunelltal resource agencies, as necessary, to review the SJS SMMP and relevant monitoring
dala. Membershi p will include qua lified representatives from academia, federal agencies, state
agencies, public interest groups, port representati ves, and consultants. Attendance at meetings
will be by invi tation only.


13. Rcfcren~Cl!i

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APP ENDIX A- US ACE T RA NS PORTATION AND DISCHARGE LO G

Datc: _ _ _ _ _ Dredging Contractor:_________

Proj ect Lnfo rma tion
Name  and Reaeh:,c-;~~;:::=====___
Pennit No. (If applicable):
Trip Number: _ _ _ __

Tug MOo'" lind Dredge Information
Tug Name: _ _ _ _ __ _ _-,,---;-_ _ _ _ _ _ _ _ _ _~_
Scow                        Dredge
Tug c;;,;;pi:t,;;:========::':':&O~;;;;;;::==========
lnspc.:o::torNamc: _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

LoadingiPre-Transit Information
Timo:: of loading Completion (hh:mm:ss)::-;("'cl:~===__
Volume (cubic yards):                  Percent Rock:
Desuipt.: (e.g.. color, water content, type):;,=====- - -
Scow Draft: Forc (ft):                 Aft (ft):
Scow Condition: _ ______________________

Discharge Site Conditions
Wind:
Sea     Dircc~~
    State:  _ t ~;O~"=====w, SPCCd
                          Wave     ",~===:.-_
                               Height:
VisibiliW_ _ _ _ _ __

T ransif/Placement Information
Time ofDepanure:",~=oc:""CiCc-,7.:'"
Marine Mammals/Sea Tunles Sighted (Yes / No)

START - Time (DOORS OP EN):_--o---,o-",~_
Speed (kts)     Bearing        Draft (ft .• immcd. bc"fo~~"_'o:pc:"~;:
                                                                     "g~)'==:_--
Latitude (dec. deg.)                  longitude (dec. deg.) _

END -- Timc (DOORS CLOSED):,_ _-,,--;c-c-_.-
Speed (kts)              Bearing         Draft ( immcd. aftcr"~':lo:,:;":g),===:_--
Latitude (dec. deg.)                  longitude (dec. deg.) _

NOT ES:_ ~'i(>d;c j)l"afiITimdPosilion ob.' c,,· :,tiMIS fO be rcrorded here: conclusion tlS /0
whether Ih~ re is evidence orrOlenlialleairoge recorded here. statement as to which. irany ilWIJ
an Insp?ct· , Chcddis! "~quir,'d renortingo/n//ow un ' mher ohse" 'arinns a.~ necessarji



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API'ENI)IX 11 - DlSCHARGK GUIUELl NE:S FOR AN SolS DlS I'OSAL I'ROJECf

I. Vessel speeds must not exceed 3 knots du ring discharge, weathe r and sea conditi ons
penni tt ing.

2. T o help ensure proper d ischarge within· the SJS, and reduce the need for loaded
scows to return to the dredging site, the following discharge protocol mu st be follow ed:

     a) Prior to leavi ng the dredging site. seows mus t be inspected to ensure correct operation of
     mechanical features. Scows must also be inspected for the presence of any conditions tha t
     may cause navigation problems. The scow radio-control system (if used on the project) and
     scow moni toring systems mus t be inspecled for correct operation If any prob lems ....ith Ihe
     scow, radio-control system, or scow monitoring systems afe encounlcrcd, corrections mus t
     be madc before offshore transport of the scow may proceed. However, when the pri mary
     scow monito ring systems (PSMS) are mal:Unctioning, dredged materia! may be transported
     from the dredging site if scow monitoring contractor personnel are on board, or are
     com m uni cating with the USACE-SAJ approved DM I to fix/se rvice the equipment.
     Alternatively, the backup scow monitoring syste m (BSMS) m:ly be used w hi le problems
     with the PSMS arc being corrected. However, the BSMS is considered to be emergency
     backup equipment and may only be used an two consec utive trips offshore. The BSMS is
     not to be used as a long-tcnn backup to the I'S MS.

     b) Scows mus t be monitored for possible leaks. After leaving the dredging site,
     the OM! shoul d check the PSMS scow draft count values on a periodic basis a nd
     1"C(:ord the d raftflime/position observatio ns in the notes section orthe
     transportation and d ischarge log form (in lhe notes section) alo ng wit h a
     <;onc1 usion as to whetiler there is any evidence of possible leakage. If the counts
     begi n to significantly <;hange durin g transpo rt. either leakage of dredge material
     from the scow m ay be occurring (counts decreasing), or the scow's h ull may be
     taking o n wa ter (counts increasing) . However, depending on the specific location
     of a leak, the op posite treod may occur, according to the direction of a list <; auscd
     by a leak. Scows suspected of leaki ng must be inspected before using the scow
     again. If any leaks arc fo und. they mus t Ix repaired prior \0 using the scow again.

     c) Scows mu st be broug ht to the SJS using the OOPS (Differential Global
     Posi ti onin g System) navigation systems of the tugboat and scow. Scow position
     wi ll be monitored by the PSMS onboard the tugboat. Discharge in SJS
     boundaries will be documented by the OMJ using the PSMS while the scow
     position and draft infonnation are mon itored. automatica!ly by the PSMS.

     d) If the I'SMS docs not show reliab le DOl'S coordi nates in the vicinity of the
     51S , the tugboa t OOPS and BSMS must be used to estimate the scow position
     z:ll rir.g discharge. LCllgth of towlin es m ust be est imated and the bearing to the


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   scow from the towing vessel course must also be noted at the time of discharge.
   Tow lengths must be less than 200 feet u nless ocean/weather conditions require
   longer li nes for safe navigation. The DMI must reeord the following inronnation
   if this option is used:
                  I) coordinates of the tug at the start and end of discharge
                  2) estimated length and bearing of tow line (distance from tug stem
                  to scow bow)
                  3) estimate of lateral displacement of scow from target longitude

   e) Discharge mus t only occur at the SIS when reliable GPS coordinates are
   displayed by navigation systcms onboard the towi ng vessels or scows being used
   al the SJS.

   I) If the PSMS fails after lcaving the dredging site, the scow must not be used
   again until a fully operational PSMS is instal led. If scow monitoring contractor
   persoMel are onboard, or communicating by telephone with the DMJ, 10 correcl
   probl ems, or the B5MS is functional, offshore transport may occur. Hov.<ever,
   the I3SMS is considered to be cmcrgcncy backup to the PSMS, is not to be
   routinely used for ofTshore discharge, and may only be used on two consecutive
   offshore discharge trips.

   g) If the PSMS is not functioning properly, discharge must occur within the SJS
   only if the scow and lowing vessel are both within the SJS at the time scow doors
   are opened.

   h) If a situation arises that requires emergency dumping of dredged material
   outside of the SJS, all reasonable efforts to dump outSide of navigation channels
   and into areas deeper than 200 feet must be made.

   i) If radio communication with the scow is lost, preventing operation of radio-
   controlled scows, a person must board the scow to either fix the problem or
   operate the scow. Persons must only ride aboard scows certified for passengers by
   thc U.S. Coast Guard. Extreme care must be taken when boarding a scow at sea.
   Anyone on a scow must have at least two working radios. Voice contact, through
   radio or direct communication, must be maintained wi th the scowman while
   riding aboard the scow. Scow opening must only occur when a direct, voice
   command has been given to the scowman, or radio communication with radio-
   controlled scows is maintained. If the radio control system can not be fi xed, the
   scow must be towed to the designah..-d discharge location and manually
   :';seharged fol :J wing steps (d) through (I). If the scow' s engine can not be
   operated by the radio-control syste m, and the scow is boarded to attempt to fix the
   e -~ine, the sec" : m ~sc be located at the designated disch:irgc positi on if the
   scow's engi ne :s started. Past usc of radi o-contro lled scows revealed that


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      manually starting a scow's engine after a failed radio·controllcd engine start could
      cause the "scow open" command to be completed, causing th~ scow to dump at
      the location of engine startup. Any problems with a radio co ntrol system must be
      fi xed prior to sub,equent usc of the scow.

3. Voice contact, through radio or direct communication, must be maintained wilh the
scowman (if used) for thc durati on of trips. Scow opening must only occur .... hen a
di rect, voice command has been given to the scov./man, or, in the case of radio·
controlled scows, direct radio communication wi th the scow is mainta incd. A backup
radio must be onboard all manncd scows. Hand signals must "neT be used to direct
the ~cowman regarding scow opening/closing. R.1dio cheeks with the scov.man must
be performed prior 10 depart ing the dredgc site and cnroutc in the vicinity Of lhc harbor
mouth. r.l anned scows must nOl be Iransportcd to thc discharge location without at
least two work ing modes ofradio commwlicati on. Radi os must have adequa:c powcr
sources and extra sets of batteries must be kept with any battery operated radios. OMls
will note in their logs the smtus of radio checks made prior to site departure and cnroule
to thc disc harge location. in the commcnts scction oflhe log form.

4. Scows conmining dr~ged material must not be lowed from the dn.:d ging site for
01;\.'aJ] discharge unless all of the following items arc prescnt and fully operational
aboard the towing vessel:

               Legible copy of the permit or contract specifications. as related to scow loading,
               transpo t1, and dredged material discharge;
               A legible copy of the Discharge Guidelines and SJS boundary coordinates
               received at thc pre-construction meeti ng, or any additional inslructi ons or
               guidelines as related to scow loading, Iranspot1, and dredged matcrial discharge
               PSMS aod BSMS· , including bi n level sensor on scow
               oaps navigation system aboard tug
               Radio-control system for scow operation (if scowman is not used)
               Radio and backup radio system aboard scow (if scowman is used)
               Falhomcter aboard tug
               a full y operational fliX machinc must be onboard the towing vessel for
               use by the SAJ Inspcctor within 2 hours of each discharge C" ent at the
               SiS
               an 8" - 12" wide protractor with degrees printed or embossed on the
               I;urved surface
               4" - 8" long dividcrs for scaling distances ofT of maps and cha'ts
               scow loading tables for each scow used to transpoJ1 dredged material
                access 10 the lowi~ vessel DGPS. fathometer, and radar
               fully operable personal cellphones in possession of each DMI at all
               times wi th active phone numbers unique to each phone ava ilable for
               j:·ladng and receivi ng calls at all times


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                sui table location for completing papcrv..ork associated with OMI d uties
                Full compli3nCe with any other contract or regu latory requi remcnts
                related to dredged material discharge

        • If the PSMS is not func tionin g propt:rly at the time a !!Cow is ready to be
        transpcrted from d~ dgins site, the BSMS may be used while the I'SMS
        problems arc: being corrected.

5. Scows contai ning dredged material mu st not be towed from the dredging site for
ocean discharge un less ocean/weather conditions art forecast to al low safc and accurate
diS<lharge of dredged material with in the SJS.

6. Dredged fI1lIterial mtUt neve r be discharged anywhere outside o f thc SJS ooundary except in
ClUes o f emergency. Any discharges at outside the boundaries will be investigated for pmential
enforcement a...'1:ions.

7. Scow monitori ng equipment, di$Charge guiddints, and other !lSpcct$ of dredged materia l
dbeharge at the SJS may be changed. Notice of any changes will be provided to the dredg ing
contractor for impl eme ntation as soon as practicable.

8. Transportation and discharge Jog (TOL) forins \\.il l be completed electronically or by hllnd
within 30 minutes of discharge at the S JS. An elecrronic copy of the TOL fonn is to be emailed
to EPA-Rl and USACE-SAJ with in two hours o f scow' s rd um from SJS. Printed copies o fIDL
fonns must be signed by the OMI after com pletion of each tri p and placed in a file/folder for
submission to USACE-SAJ after projcct com pletion or when the OM.I permanently or
temporarily di>continucs working on the project.

9. Disposallnspcctors who have bee n approved by USACE-S AJ (OMls), but have not
prcviously worked on it New York District or USACE-SAJ (i.c., EPA-R2) dred gi ng project, m ust
be accompanied by scow mon itoring contractor personnel, or by a OMI w ho has been working on
the project, during the fi rst two trips the DMI works on the project. DM Is who have pre\iou.-;Iy
workro on at least one New York District or USACE-SAJ (i.e., EPA -R2) dredging project. but
who have not worked on this project. must be accompanied by scow monitoring contrnclOr
personnel during their first tri p serving as a OMI on this project.

10. Possible changes in the di scharge guidelines may be proyided after dredging begins.

I I. To help ensure that dredged material is transported and placed at the SJS in accordanc e wit h
the gujdc1in ~ described above , the attac hed checklist has been prepared . Items in the chc.:dlist
IIl t.st be rev' e·.\'ed by the DM I a11he dredging site, ',I.'hil e underway. and at the S.IS. j::ach ite:n
that is penincnt to the tri p must be answered with a " YES" or "NO" answer. al ong with other
infommtion sj~cific to II checkli st item. Any item olllhe checkli st that receives a "NO" ar.swcr
m ust be reponed imm e~ iall!; ly to th::: USACE-SAJ at NAME O F CONTA CT, and a drecgiag


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contractor representative oot onboard the towing \'essel . If the "NO" answer is related to th e
scow monitoring systems, the scow moniloring conlractor Dlust also be notified imm<..-dill tcly at
NAME OF CONTACT. Eac h discharge trip must usc a checklist, 10 be comple!!.-d by the DMI
working aboard the tow ing vessel. Checklists must be signed lind dated by the DMI and placed
in a file. All ori ginal, siglloo checklists associated with this project must be submitted to Ihc
USACE-SAJ on a weekl y hasis fo r the duration of the project. Checkli sts must be hand
delivered or mai led 10:
USACE ADDRESS HERE

12. Original copies ofT!)L forms for each trip to the SJS, signed and dated by the OMI on duty
during each trip, must be submitted to NAM E OF CONI6C[ at Ihe above address at the
com pletion of the proj«:t.

13. Switching of lugs once an ocean discharge lrip has begun must not occur. Towing of IIny
SCOw loaded with dredged rnlUcrial n;ust be monitored by Ihc scow moniToring
equipmentlsoftwarc and doc umented by a DM] riding aboard the towing vessel.

14. Wh ile underway, dred ging contractor must adhere to 1111 measures required in Append ix J) of
this SMMP (i.e., NMI!S, Southeast Region Vessel Strike Avoi dance Measures and Reporting for
Mariners)

15. Upon arrival at the ODMDS, the DMI (dredging inspector) must ma intain a watch at al!
times for marine mammals and sea turtlcs. Discharge of dredged materi al may not occur when
there is a lun le or mammal present III the site; discharge mu.s l not occur until the sighted animal
has left the disposal area. Animals may not be harassed in IIny manner 10 make them leave the
urea.

16. Failure to adhere to the specifications discussed in these discharge guide li nes may resu lt in
revocati on of the dred ging permit and/or a monetary fine.

l7. If there are any questions pertaining to the guidance gin::n in this document. or additional
clarification of procedures is needed, please co ntac t Mr. Mark Reiss o r the EPA at (212) 637-
3799.




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Appendix C - Inspector Checklist

DREDGING PROJECTIREACH : ~~~==~~~~~~_
TUGNAME:."R~~====D>~'===~SC~O~W~======
TRIP NUMB~R:     DATE
                                       __________

INSPECTOR NAME: ~<E'====================--_
INSI'ECTOR SIGNATURE:

Answer YES or NO to the following questions. Circle other choices and/or fill in blanks as
appropri ate. Any item on the checklist that receives a "NO" lUlS\ver must be reported
immediately to USACE-SM at; POINT OF CONTACT and a dredgi ng comractor representative
not onboatd the towing vessel. If the "NO" answer is related to the scow monitoring systems, the
scow monitoring contractor must also be notified immediate ly at POINT OF CeNT ACT. Items
recei ving "NO" answers must be indiellh,,"(! on the TDL fonn using the letter-number code next to
each item description and described on the TDL form comments section. A supplemental report
must be prepared and emailed to USAC E-SA] at POINT        or  CONTACT to explain any
discrepancies/deviations from the Inspector checklist.


PART A. DREDGING SITE

A I_   A legible copy oCthe contract specifications, as rdated to scow loading, transport. and
        dredged material discharge, is in possession of the DMI.

A2_    A legible copy of the Discharge Guidelines and ODMDS boundary coordinates received
        at the pre-construction meeti ng, or any additional instructions or guidelines a'l related to
        scow loading, transport, and dredged material discharge, is in possession of the DMI.

AJ_    The scow being used to transport the dredged material is mechanically sound, does not
         leak, and has no visible damage that may cause leaking.

A4_    A regularly used scow was used, no backup scow was used.

A5_    A scow loading table for the scow being towed is aboard the lowing vessel and available
         for the DM1to usc.

A6_    The material being dredged has been observed by the DMI for general chanlcteris!ies
        (grain size. color, consistency) . Majority of material is dry/thick/watery, color:_ __ •
         mudlsandlgraveJ/rock.

A7_    For scows loaded with any rock (rock is J ",fined as any stOI1<;S grealer than 2.5 inches in
        diameter), t~lC estimated ro ck percent has been recorded on the TDL foml.



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.8_    An eSlimatc of the volume of material in the scow has been calculated by tlte DMI using
         tne scow loading table and recorded on the TDL form.

A9_    Scow con tains less volume of dredged material than Ihe maximum vol wne allowed for
        discharge during a ~inBle trip.


If a scow contains a volume o f dredged material greater than the maximum volume allo wed for
discharge d uring a single trip, the volume must be decreased below the maximum volume bcron:
Ihe dredged m'lIeri al can be transported away from the d redge sile.

A 10_ The scow monitori ng systems (PSMS and BSMS) arc fu ll y operational aoo are
       functioning. Any scow monitoring system m al functio ns musl be reported immffi ia lclv
       \0 Ihe scow monitoring contractor POINT Of CONTACT. Tran sportation vessels are
       not allowed to leave the drc:dging site ....ith any dredged material if a PSMS is not fully
       operational. However, if seow moni toring system contmctor personnel are onboard the
       transporting vessel to se rvice the equipment, or in communication with the DMI via
       cellphone or radio, the vesse l may depart from the dredging siTe while malfWlctions are
       being repaired/corrected. Alternatively, if the B5MS is functional, the seow may be
       transported from the dredging site. If the PSMS is not functional, the BSMS may onl y
       be used on two consec utive offshore discharge trips.

A 11 _ The scow d raft pressure valuc, as displayed by the PSMS system. has been recorded on
         the TDL fonn.

A 12_ A fathomctcr is fully operational, functioning, and instal led on the transporting vessel.

A 13_ A radio onboard the transporting vessel is opcrable and can TCl:eive NOAA m ari nc
        weathcr forecasts and ocean condilions.

A 14_ Curren t and forecasted marine weather and ocean condit ions at the designated discharge
      location have been monitored on the radio and \.\-ill all ow safe and accurate discharge o r
      dredged material. Winds al a reponing slalion closest \0 the disc harge location an::
      presently blowing           from the - ' with _ _ n seas. Winds forecast for the
      discharge locatio n aTe        from the _ ' w ith _ _ seas.

A 15_ OO PS navigation system is fully operational, fWlCtioning, and installed aboard the
       transporting vcssc::l.

t\ 16_ A radar systcm is fully opcrnti onal, functioning, and insta ll ed aboard the trnmponin g
         vessel.

.11.17_ Radio-control system for scow operation (if scowman is not usc::d) is fully operational and


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         functioning.

A 18~ Radio and backup radio system, for communication between seows and towing vesse ls,
       are aboard scow (if scowman is used), arc fully operational and functioning.

A 19_ A fu lly operable cel l phone that can send and receive calls is in the possession of the OMI
       onboard the towing vessel.

A20~ A protractor is avai lab le for use by the DMI aboard the towing vessel.

A21~ A compass, for map/chan distance scaling, is available for usc by the DM! aboard the
         towing vessel.

A22~ An up-to-date nautical chart that includes the discharge area is available for usc by the
         DM! .

A23~ OMl is provided full access to fathometer, radar, vessel OGPS, and any other
         (..""quipmentlinformat ion necessary to conduct DMI duties.

A24 _ Radio and backup radio ch(..""Cks with the $Cowman's radios have been performed with no
       problems detected, if II scowman is used.

A25 _ Full compliance with any othcr contract or regulatory requirements related to drt..-JgL-d
       material discharge has been met.

A26~ Time of departure from dredging site has been recorded on the TDL form .


A27 _ All other information relative to the dredging site has been entered into the T DL fonn.


PART 8 . ENROUTE TO THE DISCHARGE LOCAnON

B I~ In the vicinity of the Harbor mouth, radio and backu p radios aboard the scow have been
         ehecked to ensure they are both functioning, if a seowman is used.

B2~ Scow draft is bcing monitored with PSMS.


BJ~ If the DMI is also a NMFS-appro,·ed marine mammal/endangered species observer,
         observation and appropriate reponing is conducted.

B4_· _ Scow draft pres sue varies less than 20 points, or 1.5 feet of draft, from the value.at the
         dredge site.

B5~ A gradual increase or decrease in sco w draft pressure values (or actual scow draft) is not


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         observed.

"6_    If visible, scow docs t"lot appear to be listing.

87_    Water be hi t"ld sco w has been observed, if possib le. to ensure thai no turbid wa ter plu mes
        are presct"lt.

B8_ Towing ve sscl DGPS and scow DGPS positio t"ls agree us it"lg a fixed ref~encc position
      (channel marker. buo)'. etc.)

B'_ MariTIC wcalher and sea cond ilio ns present and forecasllo be prescnl at the discharge
         location are pe riodically monitored. An updated mari ne forecast does not pred ic t
         cond it ions th:il rcqui rcrelUm ing to the dredging site to await safer condi tions.




PART C. IN THE VI C INITY          or THI<: DESIGNATED DISCHARGE LOCATION

Por d ischarge at the SJS:

C1 _   Scow rad io control equipment operates witham any problems.

C2_    Discharge OCCUJTCd in ODM DS bo und ari es and was coordinated wilh towing \"Csscl crew.

C3_    Scow draft in fonnation immediate ly prior to scow door opening has been recorded on the
        T DL fonn .

C4_    TDL fonn was com pleted using the sco w monitoring system, o r by hand if the scow
         monitorin g s)'Stcm malfunc tions, w ithi n 30 minutes of scow d oor opaling.

CS_    Sco w mo nito ring t'Quipmenl, transponation vesse l nav igal ion ~quipment, and a ll other
         equipment re lltcd to discharge of dredged material ..... orked " '; Iho u\ My problems.

C6_    All aeti"ities associated with d ischarge of dredged materia ls appeared to be conduelcd in
         a safe manner.

C7 _ No thing occurred lh~l may have resulted in incorrect discharge of dredged material.


CX _ TDL form and a ny sup plemental repons e-m ~ilcd to POINT OF CONT ACT within 2 ho urs
       of scow door, or hopper bin, opening.




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C9_   A copy of the TDL ronn has been electronically signed by the OM] and saved to a
       file/folder to become pan of the permanent record oflhe trip. A disc containing all the
       folder and all TDL forms, checklists and supplemental reports and informati on must be
       sUl\mitted to USACE-SAJ when offshore transpott of dredged material assoc:atcd with
       the project ends, or when the OM! finishes work ing on the projcct.




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APPENDIX D . Vessel Strike A\'oidanee Mea sures lind Reporting for Mariners
NO AA Fisheries Servke, Southeast Region (Re\'ised September 2008)

Rae kground
The Nationa l Marine Fisheries Servicc (NMFS) has dctermined thm collisions with vcssels can injure
or kill protected species (e.g., endangered and threatened species, and marine mammals). The
following standard measures should be implemented to reduce the risk associated wilh vesse l strikes
or disturbance of these protected species to discountable levels. NMFS should be contacted to ide nt ify
any addit ional conservation and reCO\'ery issues of concern, and to assist in the develo pment of
measures that m"y be necessary.

Proleeted Species Identifica tion Training
Vessel crews should use an Atlantic and Gu lf of Mexico reference gu ide that hel ps identify protected
species that might be encoun tered in U.S. waters of lhe Atlantic Ocean, includ ing the Ca ri bbean Sea,
an d Gu lf of Mexico. Additional lraining shou ld be provided regard ing infonnation and resources
availab le regarding federal laws and regul ations for prot~ted species, sh ip strike information, critical
habitat, migratory routes and seasonal ab undance, and recent sightings of prolee ted species.

Vessel Strike Avoid a nce
In order to avoid causing injury or death to marine mam mals and sea turtles Ihe fo llowing measures
should be taken when consistent with safe nav igation:

    1. Vesse l operators and crews shou ld maintain a vigilant watch for marine mammals and sea
        turtles 10 avoid strik ing sighted protected species.

    2. When whales are sighted. maintain a distance of 100 yards or sreater between the whale and
        the vessel.

    3. When sea turtles or s mall cetaceans are sighted, alte mptto maintain a distance of 50 yards or
        greater between the an imal and Ihe vessel whenever possible.

    4. When small cetaceans are sighted while a vessel is underway (e.g., how-riding), atlempt 10
        rema in pa rallel to the animal 's course. Avoid e)(ccssi~e speed or abrupt changes in direction
        unt il the cetacean has left the area.               .

    5. Reduce \'essel speed to 10 knots or less when mother/calf pairs, groups, or large assemblages of
         cetaceans are observed ncar an underway vessel, when safety perm its. A sing le cetacean at the
         surface may indicate Ihe presence of su bmerged animals in the vicinity; therdore, prudent
       , precautio nary measures should alwa}'s be exercised. The vessel should allempt to route
         arou nd th e animals, maintaining a minimum distance of I 00 yards \\'hencver possible.




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    6, Whales may surface in unpredictable localions or approach slowly movi ng vessels. When an
        an imal is sighted in the vessel's pa~ or in close proximity to a moving vessel and when safety
        pcnn ils, reduce speed and shift the engine to neutral. Do not engage the engines until the
        animals are clear ofth e area.

Additional Requirements for the North Atlantic Ri, ht Whale

    I . If a sighted whale is be li eved \0 be a North Atlantic ri ght whale, federal regu lation req uires a
          mi nimum distance of 500 yards be ma intained from the an imal (50 CFR 224. 103 (c)).

    2. Vessels en tering North Atlantic right whale criti cal habitat are requ ired to report into the
        Mandatory Ship Repo rting System.

    3. Mariners shou ld check with various commun ication media for gcncral information regarding
        avoiding shi p strikes and specific infonnation regarding North Atlantic ri ght wha le sighting
        locations. These in clude NOAA weather radio, U.S. Coast Guard NA VTEX broadcasts, and
        Notices 10 Mari ners. Commercial mariners call in g on United States ports shou ld view the
        most recent version of the NOAAfUSCG produced train ing C D entit led "A Pru de nt Mariner's
        Gu ide to Right Wh ale Protection"' (contact the NMFS So utheast Region. Protected Resources
        Division for more information regarding the CD),

    4. Inj ured, dead, or entangled right wha les should be immediately reported 10 the U.S. Coast
         Guard via VHF C hanncll6.

Injuroo o r Dead I'rotected Sp-eclcs Reporting
Vesscl cre ws should report s ighti ngs of any inj ured or dead protected species immediately, regardlcss
o f whether the inj ury or death is caused by your vessel.

Repon marine mammals to the Southeast U.S. Stra nding Hotli ne: 877-433-8299
Report sea turtles to the NMFS Southeast Regional Office: 727-8 24-5312

If the injury o r death of a marine mammal wa s caused by a collision w ith yo ur vessel, respons ible
parties shou ld remai n availab le to assist the respective salvage and strand ing network as needed.
NMFS' Southeast Regiona l Office should be immediately notified of th e stri ke by email
(takereport. nm fsser@no!la .gov)usingthealtachcd vesscl strike reporting form .

•'or additional inrormation, please contact the Protected Resources Division at:
NOAA Fisheries Service
Southcasl Regional Office
        •
263 13 Avenue Sout h
~t. P~~~:s b\::'g, : 'L 3370 1
Tel: (n7) 824-5312
Visit CIS o n the W,, ') at htl p:!lsero.nr·,fs.noaa.gov




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                                                                         Kelly Logan - NOAA Federal <kelly.logan@noaa.gov>



         SER-2017-18763 San Juan Harbor Improvements Study
         1 message

                                                                                                        Fri, Dec 1, 2017 at 11:11
         DeMarco, Paul M CIV USARMY CESAJ (US) <Paul.M.DeMarco@usace.army.mil>
                                                                                                                              AM
         To: Kelly Logan - NOAA Federal <kelly.logan@noaa.gov>
         Cc: Mark Lamb - NOAA Federal <mark.lamb@noaa.gov>, "Spinning, Jason J CIV USARMY CESAJ (US)"
         <Jason.J.Spinning@usace.army.mil>, "Ralph, Gina P CIV USARMY CESAJ (US)" <Gina.P.Ralph@usace.army.mil>




1 of 4                                                                                                                  1/11/2018, 3:47 PM
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           2,149cy per scow trip. The proposed action would remove approximately
           2.1MCY which using this last contractor's scow average could result in 977
           scow trips assuming a mechanical dredge would be used and all the
           construction dredged material would be deposited in the ODMDS.



           3. See Section 4. Past and Anticipated SJS Use and Quantity of Material
           Disposed on page 9 of the attached SMMP. The turbidity report examples
           were from maintenance dredging projects in 2007 and 2017. Both used clam
           shell mechanical dredges to bottom dump scows, dredged between
           350-450kcy of silty sand and fines. Both projects lasted several months. The
           primary material difference for the proposed action would be the addition of
           clay to the construction dredged material as seen in the FY99-01 construction
           project (See SMMP Section 4 on page 9). Also attached is Table 80fthe
           engineering appendix from the draft feasibility study which depicts anticipated
           sediments from the proposed action based on our feasibility level
           geotechnical analysis.



           4. Maybe we can monitor the scows in transit through the harbor mouth with
           the turbidity vessel and if a plume is seen coming from the scow then monitor
           turbidity? It might be difficult to differentiate between natural background
           and scow related turbidity but taking the sample within any visible scow
           plume could work. Perhaps we can finalize these additional turbidity
           monitoring conditions if listed species are documented during surveys
           conducted in the PED phase after project authorization. The surveys would
           focus on verifying the NOAA 2000 polygons for colonized pavement and linear
           reef which are currently estimated to be located at least 200 meters from the
           edge of the channel and to identify any listed corals there.



           5. Attached is the 2011 EPA SMMP and a link (https:/Iwww.epa.gov/ocean-
           dumping/site-management-and-monitoring-plan-smmp-san-juan-harbor-
           ocean-dredged-material) is also located on page 7 of the biological
           assessment.


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           Thanks,PaulDeMarco




           From:KellyLogan9NOAAFederal[mailto:kelly.logan@noaa.gov]
           Sent:Thursday,November30,20172:54PM
           To:DeMarco,PaulMCIVUSARMYCESAJ(US)<Paul.M.DeMarco@usace.army.mil>
           Cc:MarkLamb9NOAAFederal<mark.lamb@noaa.gov>
           Subject:[EXTERNAL]SJH


           Hello and thank you for the supplemental information on turbidity and scow monitoring. I have a few questions on the
           materials that you sent.

           1. Can you explain how the scow monitoring is used to determine if there was any material leakage during transit? It
           seems to only show the location in transit and the location of where the material lands within the ODMDS. Likewise,
           how would we determine that the doors were not left open to allow material to wash out during return transit like we
           saw at the Miami project?



           2. How many trips are expected between the dredge site and the ODMDS as part of the proposed project?



           3. As far as the turbidity reports, can you tell us what type of dredge was used and what type of material was removed
           during those projects? And how does that compare with what's expected during the proposed action? How long did
           the previous maintenance projects last?



           4. Has there been any further discussion regarding employing turbidity monitoring near the known hardbottom
           locations adjacent to the mouth of the channel as NMFS recommended on the previous call?



           5. Finally, can you please send us the site management plan for the ODMDS? It's referenced a few times but was not
           included in the appendices that we received and I was unable to track it down in our previous consultation files.




           Thanks,

           --KL




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            3 attachments

                SJS_FINAL_SMMP.PDF
                1682K

                Table 8 from SanJuan_Draft_EN_Appendix_A.PDF
                288K

                SJH-ODMDS.xlsx
                9K




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   ![  ?  !  ^ [     [ >  { +   [ >
   [  ] > \ >< [ ? ^       ^ \ + +   {{$
     <   +   <\   $$     !  !  < 
   [ ? > X \ ? !  =+    \   }              !=}? 
      ^ \ +  +  [   >[     ^     $
   !=}  <   { ] > \ >< [    + \   +   
   +    \ ^  <  \    $  < ^ < >           
     [ >      > [  ^         +    +$ !
   +? ! [   [<<  [ > >    ]           
   +    +$

$ } + \      [ >    < + $    +< {
     +   >   >   + *  ?  [ <     [++ 
    +   ?   + [  [ >    < ^   + *$ `  
      +       +        ^  < < + *
   ^        >   *    + *  ? ^     >  
      > \ $  ^\ ?   +<?        
   *    [         \  <|  < [        
   [ \ $      + +                      < + \  
   [      + ^ > \     $

    +< ?   [   ]~! >  < +  [   > {   ^
   `  { >  < +          < <   ^     <   >
   ? {  [ ¥ !{{? ]~! \^    
     ^ $  \ $ ]~!   ?  <  { 
         $  \ ?  <    +?       
           <     <  {{$   
   ^ [    >  < +                  < +  [ < > [  $
        ++>   + +   | < < + *? ^ 
         +      $     ++ +  [++ 
    [  <  <                 + +   $

        > \? ]~!      [   [ >  
     +   < <           <     +  \?
                                             




                                                                                        NMFS_00171
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   ^  [   |      ^             <  + 
    [$

     ! 
$ ]~!        [     |+    >  <
   [ \   ^   [ ^ [ \      [>               |
         [   + *  $   \  ?        ^ \
   [ \  [ >  + ^     ^ [ \   [$  [>
           |      ^   >   *     [ 
     >    [ > + \           [   +   +$ 
      > \?      \ |   +  > + 
    [ ^    $  ^\ ?      + \     
    [>      |            |+  [ \ \ 
   >  + >[       +>   \ $ ~[+     ?
    [ < ]~! \ ? \         [       
    [\    \ <     +    [ \ ? \      
   X Z < ? ]~!? [ ?  +    ^    =< ?  \ 
   }[    X Z < ? ]~!? [ ?    +      \ ? ]~!? 
   X Z < ? ]~!? [<[ ? $ ![  ?       [ \  ^ >
   +     <    [    \    < [  < +
    *[  [  [  < +  +  $      <   \ < ^ [
   > + > [     [ $

          ^ [ >      [ \  [        
   <   + *  $ ]~!     [  [+    [    ^ > 
      \  +    [    + *  $  ¦ |=<   \ 
     \  [ [ \  < }[  =        $ [
   \          \ [ \     ^   
     [     ^\ ? ^ \   \   + $     
    \  }[   \     \      ^ 
       ^ [ >     + + <    [+  < [ [ \ \$
     \  ]~! >   \ =\     ^ <   
   ^ <  < [ \     $  ?     [  
     ^   > >[             ^        *   
    [    +      \ ? ]~!?  X Z < ? ]~!? [<[ ?
   $

!                    !  
$ } + \         <  < +   }  ~  
    [   ^        $ ]~!     > [       [   ^
      >  +    }  ~ + *$ ! +?   
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       + < + +<  |    ^   <   +    \ < 
      [   < [+ ^  +       $  ^\ ?   =  
        +    [   +     \ ?     \    
    |   $  {$ $     >   +  
   [ \   +    $         \     $ = 
    + |  [     + ? +< \    ^  +   [ >    \^
        +  ^      [    \    > |$

        +   }  ~ ^    ^ \      
    +  >[     + < +        ^   
             ^    < <      [  [  
     \ [   >< [  \  |    + < + +< $
         [  +  >[ >  [ \ [     >< [ 
   \ ^    [ >    <  < <  }  ~$     
       >[     + ^  [  \        >[ 
   <      + ^    ^   < <    $

            + + *  ~  > [ 
   +          ^  < <?  ^\     ^   
    *      ^   ? [   ^   < < \
   ^  >   *     >              
        ^   ¨ + < +          +< $  \ ? ]~! 
        +           $ ![  ?  
   ^            +      ? ^    +    $
   `+     ^     > ]~!   \  \  + 
   ++  $  ? \  +  $  ? <    +  ++ 
   $  ?    +  ++  {$  ?    ^ +  $  
    ~       $ !  +       \  \ ?  > 
          >      \  ^  >< [       \$ !          
    ?  ]~!        [   \  ^ ><         
     \   ? ^  [  \   $    \  >< ?  
   +     >   +  ?  ?      >[ 
    +  <      [    $ < ?     +   +$

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$ } + \          <  <   +          >  \
    \  < <?    ^      > +     \   + <\
      <   <  \   + *      + +   \   
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